   Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 1 of 75




                  Exhibit B
      Myers & Stauffer Arrays Created at
        Direction of Mark G. Duggan




Exhibit to the March 12, 2010 Motion In Limine to Exclude Certain Evidence and Argument
                           Related to Plaintiffs’ Damages Claim
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 2 of 75




                DMERC-A Arrays
                 (2001Q4-2003Q4)




                                2
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 3 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE:               J7644                                                         EFFECTIVE DATE:         4/1/2000
DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                          SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                          UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.92

SOURCE:                   1999 REDBOOK CD ROM

GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS            95% NDC#
ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.47                          $        1.40 54569-4910-00
ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $        4.29 00472-0751-23
ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $        4.29 00472-0751-30
ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $        3.76 00472-0751-60
APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $        4.26 60505-0806-01
DEY                       SOL           0.02% 2.5ml 25s $  44.10 $          3.52                          $        3.34 49502-0685-03
DEY                       SOL           0.02% 2.5ml 30s $  52.80 $          3.52                          $        3.34 49502-0685-33
DEY                       SOL           0.02% 2.5ml 60s $ 105.60 $          3.52                          $        3.34 49502-0685-60
PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.87                          $        1.78 54868-4082-01
PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.39                          $        1.32 54868-4082-00
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.56                          $        3.34 00054-8402-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.56                          $        3.34 00054-8402-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.56                          $        3.34 00054-8402-21
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $        3.34 00054-8404-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $        3.34 00054-8404-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $        3.34 00054-8404-21

                                                                                                 MEDIAN   $        3.34

BRAND NAMES:
ATROVENT                  SOL            0.02% 2.5ml 25s   $   68.90   $     5.24                         $        4.98    00597-0080-62

                                                                       EX           $   52.80             KO&KP            $       3.34
                                                                       DIV                30S             UD (mg)X                   0.5
                                                                                    $    1.76                                       1.67
                                                                       X                     2            J7051-                    0.21
                                                                                    $    3.52                                       1.59
                                                                                          -5%             DIV                        0.5
                                                                                    $    3.34                                       2.92




REVISED ARRAY - DEY ONLY

HCPCS CODE:               J7644                                                         EFFECTIVE DATE:         4/1/2000
DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                          SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                          UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.92

SOURCE:                   1999 REDBOOK CD ROM

GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS            95% NDC#
ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.49                          $        1.42 54569-4910-00
ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $        4.29 00472-0751-23
ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $        4.29 00472-0751-30
ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $        3.76 00472-0751-60
APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $        4.26 60505-0806-01
DEY                       SOL           0.02% 2.5ml 25s $  10.81 $          0.86                          $        0.82 49502-0685-03
DEY                       SOL           0.02% 2.5ml 30s $  12.55 $          0.84                          $        0.80 49502-0685-33
DEY                       SOL           0.02% 2.5ml 60s $  25.14 $          0.84                          $        0.80 49502-0685-60
PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.88                          $        1.79 54868-4082-01
PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.41                          $        1.34 54868-4082-00
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $        3.34 00054-8402-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $        3.34 00054-8402-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $        3.34 00054-8402-21
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $        3.34 00054-8404-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $        3.34 00054-8404-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $        3.34 00054-8404-21

                                                                                                 MEDIAN   $        3.34

BRAND NAMES:
ATROVENT                  SOL            0.02% 2.5ml 25s   $   68.90   $     5.52                         $        5.24    00597-0080-62

                                                                       EX           $   52.80             KO&KP            $       3.34
                                                                       DIV                30S             UD (mg)X                   0.5
                                                                                    $    1.76                                       1.67
                                                                       X                     2            J7051-                    0.21
                                                                                    $    3.52                                       1.46
                                                                                          -5%             DIV                        0.5
                                                                                    $    3.34                                       2.92




                                                                                                                                           2001 Q4
                                                                                                                                                 1
                                                                  3
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 4 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:             4/1/2000
DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               3.34
                                SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               3.34
                                UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               2.92

SOURCE:                         1999 REDBOOK CD ROM

GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                95% NDC#
ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $        1.42 54569-4910-00
ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $        4.29 00472-0751-23
ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $        4.29 00472-0751-30
ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $        3.76 00472-0751-60
APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $        4.26 60505-0806-01
DEY                             SOL              0.02% 2.5ml 25s $  44.10 $          3.53                                           $        3.35 49502-0685-03
DEY                             SOL              0.02% 2.5ml 30s $  52.80 $          3.52                                           $        3.34 49502-0685-33
DEY                             SOL              0.02% 2.5ml 60s $ 105.60 $          3.52                                           $        3.34 49502-0685-60
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $        1.79 54868-4082-01
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $        1.34 54868-4082-00
ROXANE                          SOL              0.02% 2.5ml 25s $  10.11 $          0.81                                           $        0.77 00054-8402-11
ROXANE                          SOL              0.02% 2.5ml 30s $  12.57 $          0.84                                           $        0.80 00054-8402-13
ROXANE                          SOL              0.02% 2.5ml 60s $  22.88 $          0.76                                           $        0.72 00054-8402-21
ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $        3.34 00054-8404-11
ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $        3.34 00054-8404-13
ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $        3.34 00054-8404-21

                                                                                                                       MEDIAN        $       3.34

BRAND NAMES:
ATROVENT                        SOL                0.02% 2.5ml 25s       $   68.90    $            5.52                              $       5.24    00597-0080-62

                                                                                     EX                   $   52.80                 KO&KP            $         3.34
                                                                                     DIV                        30S                 UD (mg)X                     0.5
                                                                                                          $    1.76                                             1.67
                                                                                     X                             2                J7051-                      0.21
                                                                                                          $    3.52                                             1.46
                                                                                                                -5%                 DIV                          0.5
                                                                                                          $    3.34                                             2.92


REVISED ARRAY - DEY & ROXANE

HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:             4/1/2000
DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               1.60
                                SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               1.60
                                UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               1.18

SOURCE:                         1999 REDBOOK CD ROM

GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                95% NDC#
ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $        1.42 54569-4910-00
ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $        4.29 00472-0751-23
ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $        4.29 00472-0751-30
ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $        3.76 00472-0751-60
APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $        4.26 60505-0806-01
DEY                             SOL              0.02% 2.5ml 25s $  10.81 $          0.86                                           $        0.82 49502-0685-03
DEY                             SOL              0.02% 2.5ml 30s $  12.55 $          0.84                                           $        0.80 49502-0685-33
DEY                             SOL              0.02% 2.5ml 60s $  25.14 $          0.84                                           $        0.80 49502-0685-60
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $        1.79 54868-4082-01
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $        1.34 54868-4082-00
ROXANE                          SOL              0.02% 2.5ml 25s $  10.11 $          0.81                                           $        0.77 00054-8402-11
ROXANE                          SOL              0.02% 2.5ml 30s $  12.57 $          0.84                                           $        0.80 00054-8402-13
ROXANE                          SOL              0.02% 2.5ml 60s $  22.88 $          0.76                                           $        0.72 00054-8402-21
ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $        3.34 00054-8404-11
ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $        3.34 00054-8404-13
ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $        3.34 00054-8404-21

                                                                                                                       MEDIAN        $       1.60

BRAND NAMES:
ATROVENT                        SOL                0.02% 2.5ml 25s      $    68.90    $            5.52                             $        5.24    00597-0080-62

                                                                                     EX                   $   52.80                 KO&KP            $         1.60
                                                                                     DIV                        30S                 UD (mg)X                     0.5
                                                                                                          $    1.76                                             0.80
                                                                                     X                             2                J7051-                      0.21
                                                                                                          $    3.52                                             0.59
                                                                                                                -5%                 DIV                          0.5
                                                                                                          $    3.34                                             1.18


NOTES:

1. Source: Hard copy array, AWQ057-0108
2. According to the carrier array document, the Medicare allowance amounts are calculated in cells I4-I6 of the original array and cells I46-I48, I87-I89 and I128-
I130 of the revised arrays. The allowance amounts for the KO and KP modifiers are the lower of 95% of the median per-unit price of the generic products or
95% of the per-unit price of the lowest brand product. The allowance amount for the KQ modifier is the lower of 95% of the median per-unit price of the generic
products or 95% of the per-unit price of the lowest brand product, adjusted by unit dose and compounding factors.




                                                                                                                                                                       2001 Q4
                                                                                                                                                                             2
                                                                                 4
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 5 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                          SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                          UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

SOURCE:                   1999 REDBOOK CD ROM

GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.47                          $         1.40 54569-4910-00
ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
DEY                       SOL           0.02% 2.5ml 25s $  44.10 $          3.52                          $         3.34 49502-0685-03
DEY                       SOL           0.02% 2.5ml 30s $  52.80 $          3.52                          $         3.34 49502-0685-33
DEY                       SOL           0.02% 2.5ml 60s $ 105.60 $          3.52                          $         3.34 49502-0685-60
PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.87                          $         1.78 54868-4082-01
PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.39                          $         1.32 54868-4082-00
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.56                          $         3.34 00054-8402-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.56                          $         3.34 00054-8402-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.56                          $         3.34 00054-8402-21
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                 MEDIAN   $         3.34

BRAND NAMES:
ATROVENT                  SOL            0.02% 2.5ml 25s   $   68.90   $     5.24                         $         4.98    00597-0080-62

                                                                       EX           $   52.80             KO&KP             $       3.34
                                                                       DIV                30S             UD (mg)X                    0.5
                                                                                    $    1.76                                        1.67
                                                                       X                     2            J7051-                     0.19
                                                                                    $    3.52                                        1.48
                                                                                          -5%             DIV                         0.5
                                                                                                                                     2.98




REVISED ARRAY - DEY ONLY

HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                          SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                          UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

SOURCE:                   1999 REDBOOK CD ROM

GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.49                          $         1.42 54569-4910-00
ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
DEY                       SOL           0.02% 2.5ml 25s $  10.17 $          0.81                          $         0.77 49502-0685-03
DEY                       SOL           0.02% 2.5ml 30s $  11.64 $          0.78                          $         0.74 49502-0685-33
DEY                       SOL           0.02% 2.5ml 60s $  23.47 $          0.78                          $         0.74 49502-0685-60
PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.88                          $         1.79 54868-4082-01
PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.41                          $         1.34 54868-4082-00
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8402-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8402-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8402-21
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                 MEDIAN   $         3.34

BRAND NAMES:
ATROVENT                  SOL            0.02% 2.5ml 25s   $   68.90   $     5.52                         $         5.24    00597-0080-62

                                                                       EX           $   52.80             KO&KP             $       3.34
                                                                       DIV                30S             UD (mg)X                    0.5
                                                                                    $    1.76                                        1.67
                                                                       X                     2            J7051-                     0.19
                                                                                    $    3.52                                        1.49
                                                                                          -5%             DIV                         0.5
                                                                                    $    3.34                                        2.98




                                                                                                                                            2002 Q1
                                                                                                                                                  1
                                                                  5
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 6 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               3.34
                                SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               3.34
                                UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               2.98

SOURCE:                         1999 REDBOOK CD ROM

GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $         1.42 54569-4910-00
ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
DEY                             SOL              0.02% 2.5ml 25s $  44.10 $          3.53                                           $         3.35 49502-0685-03
DEY                             SOL              0.02% 2.5ml 30s $  52.80 $          3.52                                           $         3.34 49502-0685-33
DEY                             SOL              0.02% 2.5ml 60s $ 105.60 $          3.52                                           $         3.34 49502-0685-60
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
ROXANE                          SOL              0.02% 2.5ml 25s $   9.39 $          0.75                                           $         0.71 00054-8402-11
ROXANE                          SOL              0.02% 2.5ml 30s $  11.27 $          0.75                                           $         0.71 00054-8402-13
ROXANE                          SOL              0.02% 2.5ml 60s $  21.35 $          0.71                                           $         0.67 00054-8402-21
ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                       MEDIAN        $        3.34

BRAND NAMES:
ATROVENT                        SOL                0.02% 2.5ml 25s       $   68.90    $            5.52                              $        5.24    00597-0080-62

                                                                                     EX                   $   52.80                 KO&KP             $        3.34
                                                                                     DIV                        30S                 UD (mg)X                     0.5
                                                                                                          $    1.76                                             1.67
                                                                                     X                             2                J7051-                      0.19
                                                                                                          $    3.52                                             1.49
                                                                                                                -5%                 DIV                          0.5
                                                                                                          $    3.34                                             2.98


REVISED ARRAY - DEY & ROXANE

HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               1.60
                                SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               1.60
                                UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               1.24

SOURCE:                         1999 REDBOOK CD ROM

GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $         1.42 54569-4910-00
ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
DEY                             SOL              0.02% 2.5ml 25s $  10.17 $          0.81                                           $         0.77 49502-0685-03
DEY                             SOL              0.02% 2.5ml 30s $  11.64 $          0.78                                           $         0.74 49502-0685-33
DEY                             SOL              0.02% 2.5ml 60s $  23.47 $          0.78                                           $         0.74 49502-0685-60
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
ROXANE                          SOL              0.02% 2.5ml 25s $   9.39 $          0.75                                           $         0.71 00054-8402-11
ROXANE                          SOL              0.02% 2.5ml 30s $  11.27 $          0.75                                           $         0.71 00054-8402-13
ROXANE                          SOL              0.02% 2.5ml 60s $  21.35 $          0.71                                           $         0.67 00054-8402-21
ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                       MEDIAN        $        1.60

BRAND NAMES:
ATROVENT                        SOL                0.02% 2.5ml 25s      $    68.90    $            5.52                             $         5.24    00597-0080-62

                                                                                     EX                   $   52.80                 KO&KP             $        1.60
                                                                                     DIV                        30S                 UD (mg)X                     0.5
                                                                                                          $    1.76                                             0.80
                                                                                     X                             2                J7051-                      0.19
                                                                                                          $    3.52                                             0.62
                                                                                                                -5%                 DIV                          0.5
                                                                                                          $    3.34                                             1.24


NOTES:

1. Source: Hard copy array, AWQ057-0140
2. According to the carrier array document, the Medicare allowance amounts are calculated in cells I4-I6 of the original array and cells I46-I48, I87-I89 and I128-
I130 of the revised arrays. The allowance amounts for the KO and KP modifiers are the lower of 95% of the median per-unit price of the generic products or
95% of the per-unit price of the lowest brand product. The allowance amount for the KQ modifier is the lower of 95% of the median per-unit price of the generic
products or 95% of the per-unit price of the lowest brand product, adjusted by unit dose and compounding factors.




                                                                                                                                                                       2002 Q1
                                                                                                                                                                             2
                                                                                 6
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 7 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                          SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                          UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

SOURCE:                   1999 REDBOOK CD ROM

GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.47                          $         1.40 54569-4910-00
ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
DEY                       SOL           0.02% 2.5ml 25s $  44.10 $          3.52                          $         3.34 49502-0685-03
DEY                       SOL           0.02% 2.5ml 30s $  52.80 $          3.52                          $         3.34 49502-0685-33
DEY                       SOL           0.02% 2.5ml 60s $ 105.60 $          3.52                          $         3.34 49502-0685-60
PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.87                          $         1.78 54868-4082-01
PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.39                          $         1.32 54868-4082-00
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.56                          $         3.34 00054-8402-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.56                          $         3.34 00054-8402-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.56                          $         3.34 00054-8402-21
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                 MEDIAN   $         3.34

BRAND NAMES:
ATROVENT                  SOL            0.02% 2.5ml 25s   $   70.97   $     5.67                         $         5.39    00597-0080-62

                                                                       EX           $   52.80             KO&KP             $       3.34
                                                                       DIV                30S             UD (mg)X                    0.5
                                                                                    $    1.76                                        1.67
                                                                       X                     2            J7051-                     0.19
                                                                                    $    3.52                                        1.48
                                                                                          -5%             DIV                         0.5
                                                                                    $    3.34                                        2.96




REVISED ARRAY - DEY ONLY

HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                          SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                          UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

SOURCE:                   1999 REDBOOK CD ROM

GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.49                          $         1.42 54569-4910-00
ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
DEY                       SOL           0.02% 2.5ml 25s $   9.02 $          0.72                          $         0.68 49502-0685-03
DEY                       SOL           0.02% 2.5ml 30s $  10.48 $          0.70                          $         0.67 49502-0685-33
DEY                       SOL           0.02% 2.5ml 60s $  20.97 $          0.70                          $         0.67 49502-0685-60
PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.88                          $         1.79 54868-4082-01
PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.41                          $         1.34 54868-4082-00
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8402-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8402-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8402-21
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                 MEDIAN   $         3.34

BRAND NAMES:
ATROVENT                  SOL            0.02% 2.5ml 25s   $   70.97   $     5.68                         $         5.40    00597-0080-62

                                                                       EX           $   52.80             KO&KP             $       3.34
                                                                       DIV                30S             UD (mg)X                    0.5
                                                                                    $    1.76                                        1.67
                                                                       X                     2            J7051-                     0.19
                                                                                    $    3.52                                        1.49
                                                                                          -5%             DIV                         0.5
                                                                                    $    3.34                                        2.98




                                                                                                                                            2002 Q2
                                                                                                                                                  1
                                                                  7
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 8 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               3.34
                                SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               3.34
                                UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               2.98

SOURCE:                         1999 REDBOOK CD ROM

GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $         1.42 54569-4910-00
ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
DEY                             SOL              0.02% 2.5ml 25s $  44.10 $          3.53                                           $         3.35 49502-0685-03
DEY                             SOL              0.02% 2.5ml 30s $  52.80 $          3.52                                           $         3.34 49502-0685-33
DEY                             SOL              0.02% 2.5ml 60s $ 105.60 $          3.52                                           $         3.34 49502-0685-60
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
ROXANE                          SOL              0.02% 2.5ml 25s $   9.40 $          0.75                                           $         0.71 00054-8402-11
ROXANE                          SOL              0.02% 2.5ml 30s $  11.59 $          0.77                                           $         0.73 00054-8402-13
ROXANE                          SOL              0.02% 2.5ml 60s $  20.56 $          0.69                                           $         0.66 00054-8402-21
ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                       MEDIAN        $        3.34

BRAND NAMES:
ATROVENT                        SOL                0.02% 2.5ml 25s       $   70.97    $            5.68                              $        5.40    00597-0080-62

                                                                                     EX                   $   52.80                 KO&KP             $        3.34
                                                                                     DIV                        30S                 UD (mg)X                     0.5
                                                                                                          $    1.76                                             1.67
                                                                                     X                             2                J7051-                      0.19
                                                                                                          $    3.52                                             1.49
                                                                                                                -5%                 DIV                          0.5
                                                                                                          $    3.34                                             2.98


REVISED ARRAY - DEY & ROXANE

HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               1.60
                                SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               1.60
                                UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               1.24

SOURCE:                         1999 REDBOOK CD ROM

GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $         1.42 54569-4910-00
ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
DEY                             SOL              0.02% 2.5ml 25s $   9.02 $          0.72                                           $         0.68 49502-0685-03
DEY                             SOL              0.02% 2.5ml 30s $  10.48 $          0.70                                           $         0.67 49502-0685-33
DEY                             SOL              0.02% 2.5ml 60s $  20.97 $          0.70                                           $         0.67 49502-0685-60
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
ROXANE                          SOL              0.02% 2.5ml 25s $   9.40 $          0.75                                           $         0.71 00054-8402-11
ROXANE                          SOL              0.02% 2.5ml 30s $  11.59 $          0.77                                           $         0.73 00054-8402-13
ROXANE                          SOL              0.02% 2.5ml 60s $  20.56 $          0.69                                           $         0.66 00054-8402-21
ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                       MEDIAN        $        1.60

BRAND NAMES:
ATROVENT                        SOL                0.02% 2.5ml 25s      $    70.97    $            5.68                             $         5.40    00597-0080-62

                                                                                     EX                   $   52.80                 KO&KP             $        1.60
                                                                                     DIV                        30S                 UD (mg)X                     0.5
                                                                                                          $    1.76                                             0.80
                                                                                     X                             2                J7051-                      0.19
                                                                                                          $    3.52                                             0.62
                                                                                                                -5%                 DIV                          0.5
                                                                                                          $    3.34                                             1.24


NOTES:

1. Source: Hard copy array, AWQ057-0034 - AWQ057-0035
2. According to the carrier array document, the Medicare allowance amounts are calculated in cells I4-I6 of the original array and cells I46-I48, I87-I89 and I128-
I130 of the revised arrays. The allowance amounts for the KO and KP modifiers are the lower of 95% of the median per-unit price of the generic products or
95% of the per-unit price of the lowest brand product. The allowance amount for the KQ modifier is the lower of 95% of the median per-unit price of the generic
products or 95% of the per-unit price of the lowest brand product, adjusted by unit dose and compounding factors.




                                                                                                                                                                       2002 Q2
                                                                                                                                                                             2
                                                                                 8
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 9 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                          SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                          UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

SOURCE:                   1999 REDBOOK CD ROM

GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.47                          $         1.40 54569-4910-00
ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
DEY                       SOL           0.02% 2.5ml 25s $  44.10 $          3.52                          $         3.34 49502-0685-03
DEY                       SOL           0.02% 2.5ml 30s $  52.80 $          3.52                          $         3.34 49502-0685-33
DEY                       SOL           0.02% 2.5ml 60s $ 105.60 $          3.52                          $         3.34 49502-0685-60
PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.87                          $         1.78 54868-4082-01
PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.39                          $         1.32 54868-4082-00
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.56                          $         3.34 00054-8402-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.56                          $         3.34 00054-8402-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.56                          $         3.34 00054-8402-21
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                 MEDIAN   $         3.34

BRAND NAMES:
ATROVENT                  SOL            0.02% 2.5ml 25s   $   70.97   $     5.67                         $         5.39    00597-0080-62

                                                                       EX           $   52.80             KO&KP             $       3.34
                                                                       DIV                30S             UD (mg)X                    0.5
                                                                                    $    1.76                                        1.67
                                                                       X                     2            J7051-                     0.19
                                                                                    $    3.52                                        1.48
                                                                                          -5%             DIV                         0.5
                                                                                    $    3.34                                        2.96




REVISED ARRAY - DEY ONLY

HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                          SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                          UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

SOURCE:                   1999 REDBOOK CD ROM

GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.49                          $         1.42 54569-4910-00
ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
DEY                       SOL           0.02% 2.5ml 25s $   8.54 $          0.68                          $         0.65 49502-0685-03
DEY                       SOL           0.02% 2.5ml 30s $   9.92 $          0.66                          $         0.63 49502-0685-33
DEY                       SOL           0.02% 2.5ml 60s $  19.81 $          0.66                          $         0.63 49502-0685-60
PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.88                          $         1.79 54868-4082-01
PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.41                          $         1.34 54868-4082-00
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8402-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8402-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8402-21
ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                 MEDIAN   $         3.34

BRAND NAMES:
ATROVENT                  SOL            0.02% 2.5ml 25s   $   70.97   $     5.68                         $         5.40    00597-0080-62

                                                                       EX           $   52.80             KO&KP             $       3.34
                                                                       DIV                30S             UD (mg)X                    0.5
                                                                                    $    1.76                                        1.67
                                                                       X                     2            J7051-                     0.19
                                                                                    $    3.52                                        1.49
                                                                                          -5%             DIV                         0.5
                                                                                    $    3.34                                        2.98




                                                                                                                                            2002 Q3
                                                                                                                                                  1
                                                                  9
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 10 of 75



 REVISED ARRAY - ROXANE ONLY

 HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
 DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               3.34
                                 SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               3.34
                                 UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               2.98

 SOURCE:                         1999 REDBOOK CD ROM

 GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
 ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $         1.42 54569-4910-00
 ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
 ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
 ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
 APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
 DEY                             SOL              0.02% 2.5ml 25s $  44.10 $          3.53                                           $         3.35 49502-0685-03
 DEY                             SOL              0.02% 2.5ml 30s $  52.80 $          3.52                                           $         3.34 49502-0685-33
 DEY                             SOL              0.02% 2.5ml 60s $ 105.60 $          3.52                                           $         3.34 49502-0685-60
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
 ROXANE                          SOL              0.02% 2.5ml 25s $   9.04 $          0.72                                           $         0.68 00054-8402-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  11.39 $          0.76                                           $         0.72 00054-8402-13
 ROXANE                          SOL              0.02% 2.5ml 60s $  20.10 $          0.67                                           $         0.64 00054-8402-21
 ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
 ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                        MEDIAN        $        3.34

 BRAND NAMES:
 ATROVENT                        SOL                0.02% 2.5ml 25s       $   70.97    $            5.68                              $        5.40    00597-0080-62

                                                                                      EX                   $   52.80                 KO&KP             $        3.34
                                                                                      DIV                        30S                 UD (mg)X                     0.5
                                                                                                           $    1.76                                             1.67
                                                                                      X                             2                J7051-                      0.19
                                                                                                           $    3.52                                             1.49
                                                                                                                 -5%                 DIV                          0.5
                                                                                                           $    3.34                                             2.98


 REVISED ARRAY - DEY & ROXANE

 HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
 DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               1.60
                                 SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               1.60
                                 UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               1.24

 SOURCE:                         1999 REDBOOK CD ROM

 GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
 ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $         1.42 54569-4910-00
 ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
 ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
 ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
 APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
 DEY                             SOL              0.02% 2.5ml 25s $   8.54 $          0.68                                           $         0.65 49502-0685-03
 DEY                             SOL              0.02% 2.5ml 30s $   9.92 $          0.66                                           $         0.63 49502-0685-33
 DEY                             SOL              0.02% 2.5ml 60s $  19.81 $          0.66                                           $         0.63 49502-0685-60
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
 ROXANE                          SOL              0.02% 2.5ml 25s $   9.04 $          0.72                                           $         0.68 00054-8402-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  11.39 $          0.76                                           $         0.72 00054-8402-13
 ROXANE                          SOL              0.02% 2.5ml 60s $  20.10 $          0.67                                           $         0.64 00054-8402-21
 ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
 ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                        MEDIAN        $        1.60

 BRAND NAMES:
 ATROVENT                        SOL                0.02% 2.5ml 25s      $    70.97    $            5.68                             $         5.40    00597-0080-62

                                                                                      EX                   $   52.80                 KO&KP             $        1.60
                                                                                      DIV                        30S                 UD (mg)X                     0.5
                                                                                                           $    1.76                                             0.80
                                                                                      X                             2                J7051-                      0.19
                                                                                                           $    3.52                                             0.62
                                                                                                                 -5%                 DIV                          0.5
                                                                                                           $    3.34                                             1.24


 NOTES:

 1. Source: Hard copy array, AWQ057-0156
 2. According to the carrier array document, the Medicare allowance amounts are calculated in cells I4-I6 of the original array and cells I46-I48, I87-I89 and I128-
 I130 of the revised arrays. The allowance amounts for the KO and KP modifiers are the lower of 95% of the median per-unit price of the generic products or
 95% of the per-unit price of the lowest brand product. The allowance amount for the KQ modifier is the lower of 95% of the median per-unit price of the generic
 products or 95% of the per-unit price of the lowest brand product, adjusted by unit dose and compounding factors.




                                                                                                                                                                        2002 Q3
                                                                                                                                                                              2
                                                                                 10
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 11 of 75



 ORIGINAL ARRAY (Per Carrier Array Documents)

 HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
 DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                           SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                           UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

 SOURCE:                   1999 REDBOOK CD ROM

 GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
 ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.46 $          1.47                          $         1.40 54569-4910-00
 ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
 ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
 ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
 APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
 DEY                       SOL           0.02% 2.5ml 25s $  44.10 $          3.52                          $         3.34 49502-0685-03
 DEY                       SOL           0.02% 2.5ml 30s $  52.80 $          3.52                          $         3.34 49502-0685-33
 DEY                       SOL           0.02% 2.5ml 60s $ 105.60 $          3.52                          $         3.34 49502-0685-60
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.87                          $         1.78 54868-4082-01
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.39                          $         1.32 54868-4082-00
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.56                          $         3.34 00054-8402-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.56                          $         3.34 00054-8402-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.56                          $         3.34 00054-8402-21
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                  MEDIAN   $         3.34

 BRAND NAMES:
 ATROVENT                  SOL            0.02% 2.5ml 25s   $   73.09   $     5.67                         $         5.39    00597-0080-62

                                                                        EX           $   52.80             KO&KP             $       3.34
                                                                        DIV                30S             UD (mg)X                    0.5
                                                                                     $    1.76                                        1.67
                                                                        X                     2            J7051-                     0.19
                                                                                     $    3.52                                        1.48
                                                                                           -5%             DIV                         0.5
                                                                                     $    3.34                                        2.96




 REVISED ARRAY - DEY ONLY

 HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
 DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                           SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                           UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

 SOURCE:                   1999 REDBOOK CD ROM

 GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
 ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.46 $          1.48                          $         1.41 54569-4910-00
 ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
 ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
 ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
 APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
 DEY                       SOL           0.02% 2.5ml 25s $   8.62 $          0.69                          $         0.66 49502-0685-03
 DEY                       SOL           0.02% 2.5ml 30s $   9.28 $          0.62                          $         0.59 49502-0685-33
 DEY                       SOL           0.02% 2.5ml 60s $  18.89 $          0.63                          $         0.60 49502-0685-60
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.88                          $         1.79 54868-4082-01
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.41                          $         1.34 54868-4082-00
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8402-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8402-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8402-21
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                  MEDIAN   $         3.34

 BRAND NAMES:
 ATROVENT                  SOL            0.02% 2.5ml 25s   $   73.09   $     5.85                         $         5.56    00597-0080-62

                                                                        EX           $   52.80             KO&KP             $       3.34
                                                                        DIV                30S             UD (mg)X                    0.5
                                                                                     $    1.76                                        1.67
                                                                        X                     2            J7051-                     0.19
                                                                                     $    3.52                                        1.49
                                                                                           -5%             DIV                         0.5
                                                                                     $    3.34                                        2.98




                                                                                                                                             2002 Q4
                                                                                                                                                   1
                                                                  11
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 12 of 75



 REVISED ARRAY - ROXANE ONLY

 HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
 DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               3.34
                                 SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               3.34
                                 UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               2.98

 SOURCE:                         1999 REDBOOK CD ROM

 GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
 ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.46 $          1.48                                           $         1.41 54569-4910-00
 ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
 ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
 ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
 APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
 DEY                             SOL              0.02% 2.5ml 25s $  44.10 $          3.53                                           $         3.35 49502-0685-03
 DEY                             SOL              0.02% 2.5ml 30s $  52.80 $          3.52                                           $         3.34 49502-0685-33
 DEY                             SOL              0.02% 2.5ml 60s $ 105.60 $          3.52                                           $         3.34 49502-0685-60
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
 ROXANE                          SOL              0.02% 2.5ml 25s $   9.03 $          0.72                                           $         0.68 00054-8402-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  11.19 $          0.75                                           $         0.71 00054-8402-13
 ROXANE                          SOL              0.02% 2.5ml 60s $  19.12 $          0.64                                           $         0.61 00054-8402-21
 ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
 ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                        MEDIAN        $        3.34

 BRAND NAMES:
 ATROVENT                        SOL                0.02% 2.5ml 25s       $   73.09    $            5.85                              $        5.56    00597-0080-62

                                                                                      EX                   $   52.80                 KO&KP             $        3.34
                                                                                      DIV                        30S                 UD (mg)X                     0.5
                                                                                                           $    1.76                                             1.67
                                                                                      X                             2                J7051-                      0.19
                                                                                                           $    3.52                                             1.49
                                                                                                                 -5%                 DIV                          0.5
                                                                                                           $    3.34                                             2.98


 REVISED ARRAY - DEY & ROXANE

 HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
 DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               1.60
                                 SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               1.60
                                 UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               1.22

 SOURCE:                         1999 REDBOOK CD ROM

 GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
 ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.46 $          1.48                                           $         1.41 54569-4910-00
 ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
 ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
 ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
 APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
 DEY                             SOL              0.02% 2.5ml 25s $   8.62 $          0.69                                           $         0.66 49502-0685-03
 DEY                             SOL              0.02% 2.5ml 30s $   9.28 $          0.62                                           $         0.59 49502-0685-33
 DEY                             SOL              0.02% 2.5ml 60s $  18.89 $          0.63                                           $         0.60 49502-0685-60
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
 ROXANE                          SOL              0.02% 2.5ml 25s $   9.03 $          0.72                                           $         0.68 00054-8402-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  11.19 $          0.75                                           $         0.71 00054-8402-13
 ROXANE                          SOL              0.02% 2.5ml 60s $  19.12 $          0.64                                           $         0.61 00054-8402-21
 ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
 ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                        MEDIAN        $        1.60

 BRAND NAMES:
 ATROVENT                        SOL                0.02% 2.5ml 25s      $    73.09    $            5.85                             $         5.56    00597-0080-62

                                                                                      EX                   $   52.80                 KO&KP             $        1.60
                                                                                      DIV                        30S                 UD (mg)X                     0.5
                                                                                                           $    1.76                                             0.80
                                                                                      X                             2                J7051-                      0.19
                                                                                                           $    3.52                                             0.61
                                                                                                                 -5%                 DIV                          0.5
                                                                                                           $    3.34                                             1.22


 NOTES:

 1. Source: Hard copy array, AWQ057-1161
 2. According to the carrier array document, the Medicare allowance amounts are calculated in cells I4-I6 of the original array and cells I46-I48, I87-I89 and I128-
 I130 of the revised arrays. The allowance amounts for the KO and KP modifiers are the lower of 95% of the median per-unit price of the generic products or
 95% of the per-unit price of the lowest brand product. The allowance amount for the KQ modifier is the lower of 95% of the median per-unit price of the generic
 products or 95% of the per-unit price of the lowest brand product, adjusted by unit dose and compounding factors.




                                                                                                                                                                        2002 Q4
                                                                                                                                                                              2
                                                                                 12
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 13 of 75



 ORIGINAL ARRAY (Per Carrier Array Documents)

 HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
 DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                           SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                           UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

 SOURCE:                   1999 REDBOOK CD ROM

 GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
 ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.47                          $         1.40 54569-4910-00
 ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
 ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
 ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
 APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
 DEY                       SOL           0.02% 2.5ml 25s $  44.10 $          3.52                          $         3.34 49502-0685-03
 DEY                       SOL           0.02% 2.5ml 30s $  52.80 $          3.52                          $         3.34 49502-0685-33
 DEY                       SOL           0.02% 2.5ml 60s $ 105.60 $          3.52                          $         3.34 49502-0685-60
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.87                          $         1.78 54868-4082-01
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.39                          $         1.32 54868-4082-00
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.56                          $         3.34 00054-8402-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.56                          $         3.34 00054-8402-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.56                          $         3.34 00054-8402-21
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                  MEDIAN   $         3.34

 BRAND NAMES:
 ATROVENT                  SOL            0.02% 2.5ml 25s   $   70.97   $     5.67                         $         5.39    00597-0080-62

                                                                        EX           $   52.80             KO&KP             $       3.34
                                                                        DIV                30S             UD (mg)X                    0.5
                                                                                     $    1.76                                        1.67
                                                                        X                     2            J7051-                     0.19
                                                                                     $    3.52                                        1.48
                                                                                           -5%             DIV                         0.5
                                                                                     $    3.34                                        2.96




 REVISED ARRAY - DEY ONLY

 HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
 DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                           SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                           UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

 SOURCE:                   1999 REDBOOK CD ROM

 GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
 ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.49                          $         1.42 54569-4910-00
 ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
 ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
 ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
 APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
 DEY                       SOL           0.02% 2.5ml 25s $   8.52 $          0.68                          $         0.65 49502-0685-03
 DEY                       SOL           0.02% 2.5ml 30s $   9.11 $          0.61                          $         0.58 49502-0685-33
 DEY                       SOL           0.02% 2.5ml 60s $  18.65 $          0.62                          $         0.59 49502-0685-60
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.88                          $         1.79 54868-4082-01
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.41                          $         1.34 54868-4082-00
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8402-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8402-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8402-21
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                  MEDIAN   $         3.34

 BRAND NAMES:
 ATROVENT                  SOL            0.02% 2.5ml 25s   $   70.97   $     5.68                         $         5.40    00597-0080-62

                                                                        EX           $   52.80             KO&KP             $       3.34
                                                                        DIV                30S             UD (mg)X                    0.5
                                                                                     $    1.76                                        1.67
                                                                        X                     2            J7051-                     0.19
                                                                                     $    3.52                                        1.49
                                                                                           -5%             DIV                         0.5
                                                                                     $    3.34                                        2.98




                                                                                                                                             2003 Q1
                                                                                                                                                   1
                                                                  13
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 14 of 75



 REVISED ARRAY - ROXANE ONLY

 HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
 DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               3.34
                                 SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               3.34
                                 UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               2.98

 SOURCE:                         1999 REDBOOK CD ROM

 GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
 ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $         1.42 54569-4910-00
 ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
 ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
 ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
 APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
 DEY                             SOL              0.02% 2.5ml 25s $  44.10 $          3.53                                           $         3.35 49502-0685-03
 DEY                             SOL              0.02% 2.5ml 30s $  52.80 $          3.52                                           $         3.34 49502-0685-33
 DEY                             SOL              0.02% 2.5ml 60s $ 105.60 $          3.52                                           $         3.34 49502-0685-60
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
 ROXANE                          SOL              0.02% 2.5ml 25s $   8.97 $          0.72                                           $         0.68 00054-8402-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  11.05 $          0.74                                           $         0.70 00054-8402-13
 ROXANE                          SOL              0.02% 2.5ml 60s $  18.99 $          0.63                                           $         0.60 00054-8402-21
 ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
 ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                        MEDIAN        $        3.34

 BRAND NAMES:
 ATROVENT                        SOL                0.02% 2.5ml 25s       $   70.97    $            5.68                              $        5.40    00597-0080-62

                                                                                      EX                   $   52.80                 KO&KP             $        3.34
                                                                                      DIV                        30S                 UD (mg)X                     0.5
                                                                                                           $    1.76                                             1.67
                                                                                      X                             2                J7051-                      0.19
                                                                                                           $    3.52                                             1.49
                                                                                                                 -5%                 DIV                          0.5
                                                                                                           $    3.34                                             2.98


 REVISED ARRAY - DEY & ROXANE

 HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
 DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               1.60
                                 SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               1.60
                                 UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               1.24

 SOURCE:                         1999 REDBOOK CD ROM

 GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
 ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $         1.42 54569-4910-00
 ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
 ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
 ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
 APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
 DEY                             SOL              0.02% 2.5ml 25s $   8.52 $          0.68                                           $         0.65 49502-0685-03
 DEY                             SOL              0.02% 2.5ml 30s $   9.11 $          0.61                                           $         0.58 49502-0685-33
 DEY                             SOL              0.02% 2.5ml 60s $  18.65 $          0.62                                           $         0.59 49502-0685-60
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
 ROXANE                          SOL              0.02% 2.5ml 25s $   8.97 $          0.72                                           $         0.68 00054-8402-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  11.05 $          0.74                                           $         0.70 00054-8402-13
 ROXANE                          SOL              0.02% 2.5ml 60s $  18.99 $          0.63                                           $         0.60 00054-8402-21
 ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
 ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                        MEDIAN        $        1.60

 BRAND NAMES:
 ATROVENT                        SOL                0.02% 2.5ml 25s      $    70.97    $            5.68                             $         5.40    00597-0080-62

                                                                                      EX                   $   52.80                 KO&KP             $        1.60
                                                                                      DIV                        30S                 UD (mg)X                     0.5
                                                                                                           $    1.76                                             0.80
                                                                                      X                             2                J7051-                      0.19
                                                                                                           $    3.52                                             0.62
                                                                                                                 -5%                 DIV                          0.5
                                                                                                           $    3.34                                             1.24


 NOTES:

 1. Source: Hard copy array, AWQ057-1019
 2. According to the carrier array document, the Medicare allowance amounts are calculated in cells I4-I6 of the original array and cells I46-I48, I87-I89 and I128-
 I130 of the revised arrays. The allowance amounts for the KO and KP modifiers are the lower of 95% of the median per-unit price of the generic products or
 95% of the per-unit price of the lowest brand product. The allowance amount for the KQ modifier is the lower of 95% of the median per-unit price of the generic
 products or 95% of the per-unit price of the lowest brand product, adjusted by unit dose and compounding factors.




                                                                                                                                                                        2003 Q1
                                                                                                                                                                              2
                                                                                 14
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 15 of 75



 ORIGINAL ARRAY (Per Carrier Array Documents)

 HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
 DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                           SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                           UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

 SOURCE:                   1999 REDBOOK CD ROM

 GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
 ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.47                          $         1.40 54569-4910-00
 ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
 ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
 ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
 APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
 DEY                       SOL           0.02% 2.5ml 25s $  44.10 $          3.52                          $         3.34 49502-0685-03
 DEY                       SOL           0.02% 2.5ml 30s $  52.80 $          3.52                          $         3.34 49502-0685-33
 DEY                       SOL           0.02% 2.5ml 60s $ 105.60 $          3.52                          $         3.34 49502-0685-60
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.87                          $         1.78 54868-4082-01
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.39                          $         1.32 54868-4082-00
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.56                          $         3.34 00054-8402-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.56                          $         3.34 00054-8402-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.56                          $         3.34 00054-8402-21
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                  MEDIAN   $         3.34

 BRAND NAMES:
 ATROVENT                  SOL            0.02% 2.5ml 25s   $   70.97   $     5.67                         $         5.39    00597-0080-62

                                                                        EX           $   52.80             KO&KP             $       3.34
                                                                        DIV                30S             UD (mg)X                    0.5
                                                                                     $    1.76                                        1.67
                                                                        X                     2            J7051-                     0.19
                                                                                     $    3.52                                        1.48
                                                                                           -5%             DIV                         0.5
                                                                                     $    3.34                                        2.96




 REVISED ARRAY - DEY ONLY

 HCPCS CODE:               J7644                                                         EFFECTIVE DATE:            4/1/00
 DESCRIPTION:              IPRATROPIUM BROMIDE, INHALATION                                    J7644KO    $           3.34
                           SOLUTION ADMINISTERED THROUGH DME                                  J7644KP    $           3.34
                           UNIT DOSE FORM, PER MILLIGRAM                                      J7644KQ    $           2.98

 SOURCE:                   1999 REDBOOK CD ROM

 GENERIC                   FORM     STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY            STATUS             95% NDC#
 ALLSCRIPTS                SOL           0.02% 2.5ml 25s $  18.62 $          1.49                          $         1.42 54569-4910-00
 ALPHARMA                  SOL           0.02% 2.5ml 25s $  56.50 $          4.52                          $         4.29 00472-0751-23
 ALPHARMA                  SOL           0.02% 2.5ml 30s $  67.80 $          4.52                          $         4.29 00472-0751-30
 ALPHARMA                  SOL           0.02% 2.5ml 60s $ 118.80 $          3.96                          $         3.76 00472-0751-60
 APOTEX CORP               SOL           0.02% 2.5ml 25s $  56.00 $          4.48                          $         4.26 60505-0806-01
 DEY                       SOL           0.02% 2.5ml 25s $   7.34 $          0.59                          $         0.56 49502-0685-03
 DEY                       SOL           0.02% 2.5ml 30s $   8.26 $          0.55                          $         0.52 49502-0685-33
 DEY                       SOL           0.02% 2.5ml 60s $  16.74 $          0.56                          $         0.53 49502-0685-60
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 25s $  23.54 $          1.88                          $         1.79 54868-4082-01
 PHYS TOTAL CARE           SOL           0.02% 2.5ml 60s $  42.25 $          1.41                          $         1.34 54868-4082-00
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8402-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8402-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8402-21
 ROXANE                    SOL           0.02% 2.5ml 25s $  44.06 $          3.52                          $         3.34 00054-8404-11
 ROXANE                    SOL           0.02% 2.5ml 30s $  52.87 $          3.52                          $         3.34 00054-8404-13
 ROXANE                    SOL           0.02% 2.5ml 60s $ 105.74 $          3.52                          $         3.34 00054-8404-21

                                                                                                  MEDIAN   $         3.34

 BRAND NAMES:
 ATROVENT                  SOL            0.02% 2.5ml 25s   $   70.97   $     5.68                         $         5.40    00597-0080-62

                                                                        EX           $   52.80             KO&KP             $       3.34
                                                                        DIV                30S             UD (mg)X                    0.5
                                                                                     $    1.76                                        1.67
                                                                        X                     2            J7051-                     0.19
                                                                                     $    3.52                                        1.49
                                                                                           -5%             DIV                         0.5
                                                                                     $    3.34                                        2.98




                                                                                                                                             2003 Q2
                                                                                                                                                   1
                                                                  15
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 16 of 75



 REVISED ARRAY - ROXANE ONLY

 HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
 DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               3.34
                                 SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               3.34
                                 UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               2.98

 SOURCE:                         1999 REDBOOK CD ROM

 GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
 ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $         1.42 54569-4910-00
 ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
 ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
 ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
 APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
 DEY                             SOL              0.02% 2.5ml 25s $  44.10 $          3.53                                           $         3.35 49502-0685-03
 DEY                             SOL              0.02% 2.5ml 30s $  52.80 $          3.52                                           $         3.34 49502-0685-33
 DEY                             SOL              0.02% 2.5ml 60s $ 105.60 $          3.52                                           $         3.34 49502-0685-60
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
 ROXANE                          SOL              0.02% 2.5ml 25s $   8.87 $          0.71                                           $         0.67 00054-8402-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  10.95 $          0.73                                           $         0.69 00054-8402-13
 ROXANE                          SOL              0.02% 2.5ml 60s $  18.53 $          0.62                                           $         0.59 00054-8402-21
 ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
 ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                        MEDIAN        $        3.34

 BRAND NAMES:
 ATROVENT                        SOL                0.02% 2.5ml 25s       $   70.97    $            5.68                              $        5.40    00597-0080-62

                                                                                      EX                   $   52.80                 KO&KP             $        3.34
                                                                                      DIV                        30S                 UD (mg)X                     0.5
                                                                                                           $    1.76                                             1.67
                                                                                      X                             2                J7051-                      0.19
                                                                                                           $    3.52                                             1.49
                                                                                                                 -5%                 DIV                          0.5
                                                                                                           $    3.34                                             2.98


 REVISED ARRAY - DEY & ROXANE

 HCPCS CODE:                     J7644                                                                         EFFECTIVE DATE:                4/1/00
 DESCRIPTION:                    IPRATROPIUM BROMIDE, INHALATION                                                    J7644KO    $               1.60
                                 SOLUTION ADMINISTERED THROUGH DME                                                  J7644KP    $               1.60
                                 UNIT DOSE FORM, PER MILLIGRAM                                                      J7644KQ    $               1.24

 SOURCE:                         1999 REDBOOK CD ROM

 GENERIC                         FORM        STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                         STATUS                 95% NDC#
 ALLSCRIPTS                      SOL              0.02% 2.5ml 25s $  18.62 $          1.49                                           $         1.42 54569-4910-00
 ALPHARMA                        SOL              0.02% 2.5ml 25s $  56.50 $          4.52                                           $         4.29 00472-0751-23
 ALPHARMA                        SOL              0.02% 2.5ml 30s $  67.80 $          4.52                                           $         4.29 00472-0751-30
 ALPHARMA                        SOL              0.02% 2.5ml 60s $ 118.80 $          3.96                                           $         3.76 00472-0751-60
 APOTEX CORP                     SOL              0.02% 2.5ml 25s $  56.00 $          4.48                                           $         4.26 60505-0806-01
 DEY                             SOL              0.02% 2.5ml 25s $   7.34 $          0.59                                           $         0.56 49502-0685-03
 DEY                             SOL              0.02% 2.5ml 30s $   8.26 $          0.55                                           $         0.52 49502-0685-33
 DEY                             SOL              0.02% 2.5ml 60s $  16.74 $          0.56                                           $         0.53 49502-0685-60
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 25s $  23.54 $          1.88                                           $         1.79 54868-4082-01
 PHYS TOTAL CARE                 SOL              0.02% 2.5ml 60s $  42.25 $          1.41                                           $         1.34 54868-4082-00
 ROXANE                          SOL              0.02% 2.5ml 25s $   8.87 $          0.71                                           $         0.67 00054-8402-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  10.95 $          0.73                                           $         0.69 00054-8402-13
 ROXANE                          SOL              0.02% 2.5ml 60s $  18.53 $          0.62                                           $         0.59 00054-8402-21
 ROXANE                          SOL              0.02% 2.5ml 25s $  44.06 $          3.52                                           $         3.34 00054-8404-11
 ROXANE                          SOL              0.02% 2.5ml 30s $  52.87 $          3.52                                           $         3.34 00054-8404-13
 ROXANE                          SOL              0.02% 2.5ml 60s $ 105.74 $          3.52                                           $         3.34 00054-8404-21

                                                                                                                        MEDIAN        $        1.60

 BRAND NAMES:
 ATROVENT                        SOL                0.02% 2.5ml 25s      $    70.97    $            5.68                             $         5.40    00597-0080-62

                                                                                      EX                   $   52.80                 KO&KP             $        1.60
                                                                                      DIV                        30S                 UD (mg)X                     0.5
                                                                                                           $    1.76                                             0.80
                                                                                      X                             2                J7051-                      0.19
                                                                                                           $    3.52                                             0.62
                                                                                                                 -5%                 DIV                          0.5
                                                                                                           $    3.34                                             1.24


 NOTES:

 1. Source: Hard copy array, AWQ057-1049
 2. According to the carrier array document, the Medicare allowance amounts are calculated in cells I4-I6 of the original array and cells I46-I48, I87-I89 and I128-
 I130 of the revised arrays. The allowance amounts for the KO and KP modifiers are the lower of 95% of the median per-unit price of the generic products or
 95% of the per-unit price of the lowest brand product. The allowance amount for the KQ modifier is the lower of 95% of the median per-unit price of the generic
 products or 95% of the per-unit price of the lowest brand product, adjusted by unit dose and compounding factors.




                                                                                                                                                                        2003 Q2
                                                                                                                                                                              2
                                                                                 16
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 17 of 75



  ORIGINAL ARRAY (Per Carrier Array Documents)

  HCPCS CODE:                  J7644                                                      EFFECTIVE DATE:            7/1/03
  DESCRIPTION:                 IPRATROPIUM BROMIDE, INHALATION                                 J7644KO    $           3.34
                               SOLUTION ADMINISTERED THROUGH DME                               J7644KP    $           3.34
                               UNIT DOSE FORM, PER MILLIGRAM                                   J7644KQ    $           3.06

                                                                                                                     4/1/00
                                                                                                  J7644KO   $         3.34
  SOURCE:                                                                                         J7644KP   $         3.34
                                                                                                  J7644KQ   $         2.98
  GENERIC                      FORM    STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY         STATUS               95% NDC#
  ALLSCRIPTS                   SOL          0.02% 2.5ml 25s $  18.84 $          1.50                        $         1.43 54569-4910-00
  ALPHARMA                     SOL          0.02% 2.5ml 25s $  56.50 $          4.52                        $         4.29 00472-0751-23
  ALPHARMA                     SOL          0.02% 2.5ml 30s $  67.80 $          4.52                        $         4.29 00472-0751-30
  ALPHARMA                     SOL          0.02% 2.5ml 60s $ 118.80 $          3.96                        $         3.76 00472-0751-60
  APOTEX CORP                  SOL          0.02% 2.5ml 25s $  56.00 $          4.48                        $         4.26 60505-0806-01
  DEY                          SOL          0.02% 2.5ml 25s $  44.10 $          3.52                        $         3.34 49502-0685-03
  DEY                          SOL          0.02% 2.5ml 30s $  52.80 $          3.52                        $         3.34 49502-0685-33
  DEY                          SOL          0.02% 2.5ml 60s $ 105.60 $          3.52                        $         3.34 49502-0685-60
  PHYS TOTAL CARE              SOL          0.02% 2.5ml 25s $  23.54 $          1.87                        $         1.78 54868-4082-01
  PHYS TOTAL CARE              SOL          0.02% 2.5ml 60s $  42.25 $          1.39                        $         1.32 54868-4082-00
  ROXANE                       SOL          0.02% 2.5ml 25s $  44.06 $          3.56                        $         3.34 00054-8402-11
  ROXANE                       SOL          0.02% 2.5ml 30s $  52.87 $          3.56                        $         3.34 00054-8402-13
  ROXANE                       SOL          0.02% 2.5ml 60s $ 105.74 $          3.56                        $         3.34 00054-8402-21
  ROXANE                       SOL          0.02% 2.5ml 25s $  44.06 $          3.52                        $         3.34 00054-8404-11
  ROXANE                       SOL          0.02% 2.5ml 30s $  52.87 $          3.52                        $         3.34 00054-8404-13
  ROXANE                       SOL          0.02% 2.5ml 60s $ 105.74 $          3.52                        $         3.34 00054-8404-21
                                                                                                  MEDIAN    $         3.34

  BRAND NAMES:
  ATROVENT (Boehr Ingelheim)   SOL          0.02% 2.5ml 25s   $   84.06   $     6.72                        $         6.38    00597-0080-62

                                                                          EX           $ 52.80              KO&KP             $       3.34
                                                                          DIV              30S              UD (mg)X                    0.5
                                                                                       $  1.76                                         1.67
                                                                          X                   2             J7051-                     0.13
                                                                                       $  3.52                                         1.53
                                                                                           -5%              DIV                         0.5
                                                                                       $  3.34                                         3.06



  REVISED ARRAY - DEY ONLY

  HCPCS CODE:                  J7644                                                      EFFECTIVE DATE:            7/1/03
  DESCRIPTION:                 IPRATROPIUM BROMIDE, INHALATION                                 J7644KO    $           3.34
                               SOLUTION ADMINISTERED THROUGH DME                               J7644KP    $           3.34
                               UNIT DOSE FORM, PER MILLIGRAM                                   J7644KQ    $           3.06

                                                                                                                     4/1/00
                                                                                                  J7644KO   $         3.34
  SOURCE:                                                                                         J7644KP   $         3.34
                                                                                                  J7644KQ   $         2.98
  GENERIC                      FORM    STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY         STATUS               95% NDC#
  ALLSCRIPTS                   SOL          0.02% 2.5ml 25s $  18.84 $          1.51                        $         1.43 54569-4910-00
  ALPHARMA                     SOL          0.02% 2.5ml 25s $  56.50 $          4.52                        $         4.29 00472-0751-23
  ALPHARMA                     SOL          0.02% 2.5ml 30s $  67.80 $          4.52                        $         4.29 00472-0751-30
  ALPHARMA                     SOL          0.02% 2.5ml 60s $ 118.80 $          3.96                        $         3.76 00472-0751-60
  APOTEX CORP                  SOL          0.02% 2.5ml 25s $  56.00 $          4.48                        $         4.26 60505-0806-01
  DEY                          SOL          0.02% 2.5ml 25s $   6.86 $          0.55                        $         0.52 49502-0685-03
  DEY                          SOL          0.02% 2.5ml 30s $   7.91 $          0.53                        $         0.50 49502-0685-33
  DEY                          SOL          0.02% 2.5ml 60s $  15.78 $          0.53                        $         0.50 49502-0685-60
  PHYS TOTAL CARE              SOL          0.02% 2.5ml 25s $  23.54 $          1.88                        $         1.79 54868-4082-01
  PHYS TOTAL CARE              SOL          0.02% 2.5ml 60s $  42.25 $          1.41                        $         1.34 54868-4082-00
  ROXANE                       SOL          0.02% 2.5ml 25s $  44.06 $          3.52                        $         3.34 00054-8402-11
  ROXANE                       SOL          0.02% 2.5ml 30s $  52.87 $          3.52                        $         3.34 00054-8402-13
  ROXANE                       SOL          0.02% 2.5ml 60s $ 105.74 $          3.52                        $         3.34 00054-8402-21
  ROXANE                       SOL          0.02% 2.5ml 25s $  44.06 $          3.52                        $         3.34 00054-8404-11
  ROXANE                       SOL          0.02% 2.5ml 30s $  52.87 $          3.52                        $         3.34 00054-8404-13
  ROXANE                       SOL          0.02% 2.5ml 60s $ 105.74 $          3.52                        $         3.34 00054-8404-21
                                                                                                  MEDIAN    $         3.34

  BRAND NAMES:
  ATROVENT (Boehr Ingelheim)   SOL          0.02% 2.5ml 25s   $   84.06   $     6.72                        $         6.38    00597-0080-62

                                                                          EX           $ 52.80              KO&KP             $       3.34
                                                                          DIV              30S              UD (mg)X                    0.5
                                                                                       $  1.76                                         1.67
                                                                          X                   2             J7051-                     0.13
                                                                                       $  3.52                                         1.53
                                                                                           -5%              DIV                         0.5
                                                                                       $  3.34                                         3.06




                                                                                                                                              2003 Q3
                                                                                                                                                    1
                                                                    17
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 18 of 75



  REVISED ARRAY - ROXANE ONLY

  HCPCS CODE:                    J7644                                                                       EFFECTIVE DATE:               7/1/03
  DESCRIPTION:                   IPRATROPIUM BROMIDE, INHALATION                                                  J7644KO    $              3.34
                                 SOLUTION ADMINISTERED THROUGH DME                                                J7644KP    $              3.34
                                 UNIT DOSE FORM, PER MILLIGRAM                                                    J7644KQ    $              3.06

                                                                                                                                           4/1/00
                                                                                                                    J7644KO       $         3.34
  SOURCE:                                                                                                           J7644KP       $         3.34
                                                                                                                    J7644KQ       $         2.98
  GENERIC                        FORM       STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                      STATUS                   95% NDC#
  ALLSCRIPTS                     SOL             0.02% 2.5ml 25s $  18.84 $          1.51                                         $         1.43 54569-4910-00
  ALPHARMA                       SOL             0.02% 2.5ml 25s $  56.50 $          4.52                                         $         4.29 00472-0751-23
  ALPHARMA                       SOL             0.02% 2.5ml 30s $  67.80 $          4.52                                         $         4.29 00472-0751-30
  ALPHARMA                       SOL             0.02% 2.5ml 60s $ 118.80 $          3.96                                         $         3.76 00472-0751-60
  APOTEX CORP                    SOL             0.02% 2.5ml 25s $  56.00 $          4.48                                         $         4.26 60505-0806-01
  DEY                            SOL             0.02% 2.5ml 25s $  44.10 $          3.53                                         $         3.35 49502-0685-03
  DEY                            SOL             0.02% 2.5ml 30s $  52.80 $          3.52                                         $         3.34 49502-0685-33
  DEY                            SOL             0.02% 2.5ml 60s $ 105.60 $          3.52                                         $         3.34 49502-0685-60
  PHYS TOTAL CARE                SOL             0.02% 2.5ml 25s $  23.54 $          1.88                                         $         1.79 54868-4082-01
  PHYS TOTAL CARE                SOL             0.02% 2.5ml 60s $  42.25 $          1.41                                         $         1.34 54868-4082-00
  ROXANE                         SOL             0.02% 2.5ml 25s $   8.94 $          0.72                                         $         0.68 00054-8402-11
  ROXANE                         SOL             0.02% 2.5ml 30s $  10.78 $          0.72                                         $         0.68 00054-8402-13
  ROXANE                         SOL             0.02% 2.5ml 60s $  20.25 $          0.68                                         $         0.65 00054-8402-21
  ROXANE                         SOL             0.02% 2.5ml 25s $  44.06 $          3.52                                         $         3.34 00054-8404-11
  ROXANE                         SOL             0.02% 2.5ml 30s $  52.87 $          3.52                                         $         3.34 00054-8404-13
  ROXANE                         SOL             0.02% 2.5ml 60s $ 105.74 $          3.52                                         $         3.34 00054-8404-21
                                                                                                                    MEDIAN        $         3.34

  BRAND NAMES:
  ATROVENT (Boehr Ingelheim)     SOL               0.02% 2.5ml 25s      $    84.06   $            6.72                            $         6.38    00597-0080-62

                                                                                     EX                  $ 52.80                  KO&KP             $       3.34
                                                                                     DIV                     30S                  UD (mg)X                    0.5
                                                                                                         $  1.76                                             1.67
                                                                                     X                          2                 J7051-                     0.13
                                                                                                         $  3.52                                             1.53
                                                                                                             -5%                  DIV                         0.5
                                                                                                         $  3.34                                             3.06


  REVISED ARRAY - DEY & ROXANE

  HCPCS CODE:                    J7644                                                                       EFFECTIVE DATE:               7/1/03
  DESCRIPTION:                   IPRATROPIUM BROMIDE, INHALATION                                                  J7644KO    $              1.61
                                 SOLUTION ADMINISTERED THROUGH DME                                                J7644KP    $              1.61
                                 UNIT DOSE FORM, PER MILLIGRAM                                                    J7644KQ    $              1.34

                                                                                                                                           4/1/00
                                                                                                                    J7644KO       $         3.34
  SOURCE:                                                                                                           J7644KP       $         3.34
                                                                                                                    J7644KQ       $         2.98
  GENERIC                        FORM       STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                      STATUS                   95% NDC#
  ALLSCRIPTS                     SOL             0.02% 2.5ml 25s $  18.84 $          1.51                                         $         1.43 54569-4910-00
  ALPHARMA                       SOL             0.02% 2.5ml 25s $  56.50 $          4.52                                         $         4.29 00472-0751-23
  ALPHARMA                       SOL             0.02% 2.5ml 30s $  67.80 $          4.52                                         $         4.29 00472-0751-30
  ALPHARMA                       SOL             0.02% 2.5ml 60s $ 118.80 $          3.96                                         $         3.76 00472-0751-60
  APOTEX CORP                    SOL             0.02% 2.5ml 25s $  56.00 $          4.48                                         $         4.26 60505-0806-01
  DEY                            SOL             0.02% 2.5ml 25s $   6.86 $          0.55                                         $         0.52 49502-0685-03
  DEY                            SOL             0.02% 2.5ml 30s $   7.91 $          0.53                                         $         0.50 49502-0685-33
  DEY                            SOL             0.02% 2.5ml 60s $  15.78 $          0.53                                         $         0.50 49502-0685-60
  PHYS TOTAL CARE                SOL             0.02% 2.5ml 25s $  23.54 $          1.88                                         $         1.79 54868-4082-01
  PHYS TOTAL CARE                SOL             0.02% 2.5ml 60s $  42.25 $          1.41                                         $         1.34 54868-4082-00
  ROXANE                         SOL             0.02% 2.5ml 25s $   8.94 $          0.72                                         $         0.68 00054-8402-11
  ROXANE                         SOL             0.02% 2.5ml 30s $  10.78 $          0.72                                         $         0.68 00054-8402-13
  ROXANE                         SOL             0.02% 2.5ml 60s $  20.25 $          0.68                                         $         0.65 00054-8402-21
  ROXANE                         SOL             0.02% 2.5ml 25s $  44.06 $          3.52                                         $         3.34 00054-8404-11
  ROXANE                         SOL             0.02% 2.5ml 30s $  52.87 $          3.52                                         $         3.34 00054-8404-13
  ROXANE                         SOL             0.02% 2.5ml 60s $ 105.74 $          3.52                                         $         3.34 00054-8404-21
                                                                                                                    MEDIAN        $         1.61

  BRAND NAMES:
  ATROVENT (Boehr Ingelheim)     SOL               0.02% 2.5ml 25s      $    84.06   $            6.72                            $         6.38    00597-0080-62

                                                                                     EX                  $ 52.80                  KO&KP             $       1.61
                                                                                     DIV                     30S                  UD (mg)X                    0.5
                                                                                                         $  1.76                                             0.81
                                                                                     X                          2                 J7051-                     0.13
                                                                                                         $  3.52                                             0.67
                                                                                                             -5%                  DIV                         0.5
                                                                                                         $  3.34                                             1.34


  NOTES:

  1. Source: Hard copy array, AWQ057-1129 - AWQ057-1130
  2. According to the carrier array document, the Medicare allowance amounts are calculated in cells I4-I6 of the original array and cells I47-I49, I89-I91 and
  I131-I133 of the revised arrays. The allowance amounts for the KO and KP modifiers are the lower of 95% of the median per-unit price of the generic
  products or 95% of the per-unit price of the lowest brand product. The allowance amount for the KQ modifier is the lower of 95% of the median per-unit price
  of the generic products or 95% of the per-unit price of the lowest brand product, adjusted by unit dose and compounding factors.
  3. In the original array, certain price-per-unit amounts did not appear to calculate correctly; however, the Medicare allowance amounts were determined
  correctly. The formulas used in the revised arrays result in certain amounts differing from the original array, but the Medicare allowance amounts remain the
  same.




                                                                                                                                                                    2003 Q3
                                                                                                                                                                          2
                                                                                18
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 19 of 75



  ORIGINAL ARRAY (Per Carrier Array Documents)

  HCPCS CODE:                  J7644                                                      EFFECTIVE DATE:            7/1/03
  DESCRIPTION:                 IPRATROPIUM BROMIDE, INHALATION                                 J7644KO    $           3.34
                               SOLUTION ADMINISTERED THROUGH DME                               J7644KP    $           3.34
                               UNIT DOSE FORM, PER MILLIGRAM                                   J7644KQ    $           3.06

                                                                                                                     4/1/00
                                                                                                  J7644KO   $         3.34
  SOURCE:                                                                                         J7644KP   $         3.34
                                                                                                  J7644KQ   $         2.98
  GENERIC                      FORM    STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY         STATUS               95% NDC#
  ALLSCRIPTS                   SOL          0.02% 2.5ml 25s $  18.83 $          1.51                        $         1.43 54569-4910-00
  ALPHARMA                     SOL          0.02% 2.5ml 25s $  56.50 $          4.52                        $         4.29 00472-0751-23
  ALPHARMA                     SOL          0.02% 2.5ml 30s $  67.80 $          4.52                        $         4.29 00472-0751-30
  ALPHARMA                     SOL          0.02% 2.5ml 60s $ 118.80 $          3.96                        $         3.76 00472-0751-60
  APOTEX CORP                  SOL          0.02% 2.5ml 25s $  56.00 $          4.48                        $         4.26 60505-0806-01
  DEY                          SOL          0.02% 2.5ml 25s $  44.10 $          3.52                        $         3.34 49502-0685-03
  DEY                          SOL          0.02% 2.5ml 30s $  52.80 $          3.52                        $         3.34 49502-0685-33
  DEY                          SOL          0.02% 2.5ml 60s $ 105.60 $          3.52                        $         3.34 49502-0685-60
  PHYS TOTAL CARE              SOL          0.02% 2.5ml 25s $  23.54 $          1.87                        $         1.78 54868-4082-01
  PHYS TOTAL CARE              SOL          0.02% 2.5ml 60s $  42.25 $          1.39                        $         1.32 54868-4082-00
  ROXANE                       SOL          0.02% 2.5ml 25s $  44.06 $          3.56                        $         3.34 00054-8402-11
  ROXANE                       SOL          0.02% 2.5ml 30s $  52.87 $          3.56                        $         3.34 00054-8402-13
  ROXANE                       SOL          0.02% 2.5ml 60s $ 105.74 $          3.56                        $         3.34 00054-8402-21
  ROXANE                       SOL          0.02% 2.5ml 25s $  44.06 $          3.52                        $         3.34 00054-8404-11
  ROXANE                       SOL          0.02% 2.5ml 30s $  52.87 $          3.52                        $         3.34 00054-8404-13
  ROXANE                       SOL          0.02% 2.5ml 60s $ 105.74 $          3.52                        $         3.34 00054-8404-21
                                                                                                  MEDIAN    $         3.34

  BRAND NAMES:
  ATROVENT (Boehr Ingelheim)   SOL          0.02% 2.5ml 25s   $   84.06   $     6.72                        $         6.38    00597-0080-62

                                                                          EX           $ 52.80              KO&KP             $       3.34
                                                                          DIV              30S              UD (mg)X                    0.5
                                                                                       $  1.76                                         1.67
                                                                          X                   2             J7051-                     0.13
                                                                                       $  3.52                                         1.53
                                                                                           -5%              DIV                         0.5
                                                                                                                                       3.06



  REVISED ARRAY - DEY ONLY

  HCPCS CODE:                  J7644                                                      EFFECTIVE DATE:            7/1/03
  DESCRIPTION:                 IPRATROPIUM BROMIDE, INHALATION                                 J7644KO    $           3.34
                               SOLUTION ADMINISTERED THROUGH DME                               J7644KP    $           3.34
                               UNIT DOSE FORM, PER MILLIGRAM                                   J7644KQ    $           3.06

                                                                                                                     4/1/00
                                                                                                  J7644KO   $         3.34
  SOURCE:                                                                                         J7644KP   $         3.34
                                                                                                  J7644KQ   $         2.98
  GENERIC                      FORM    STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY         STATUS               95% NDC#
  ALLSCRIPTS                   SOL          0.02% 2.5ml 25s $  18.83 $          1.51                        $         1.43 54569-4910-00
  ALPHARMA                     SOL          0.02% 2.5ml 25s $  56.50 $          4.52                        $         4.29 00472-0751-23
  ALPHARMA                     SOL          0.02% 2.5ml 30s $  67.80 $          4.52                        $         4.29 00472-0751-30
  ALPHARMA                     SOL          0.02% 2.5ml 60s $ 118.80 $          3.96                        $         3.76 00472-0751-60
  APOTEX CORP                  SOL          0.02% 2.5ml 25s $  56.00 $          4.48                        $         4.26 60505-0806-01
  DEY                          SOL          0.02% 2.5ml 25s $   6.19 $          0.50                        $         0.48 49502-0685-03
  DEY                          SOL          0.02% 2.5ml 30s $   6.83 $          0.46                        $         0.44 49502-0685-33
  DEY                          SOL          0.02% 2.5ml 60s $  13.61 $          0.45                        $         0.43 49502-0685-60
  PHYS TOTAL CARE              SOL          0.02% 2.5ml 25s $  23.54 $          1.88                        $         1.79 54868-4082-01
  PHYS TOTAL CARE              SOL          0.02% 2.5ml 60s $  42.25 $          1.41                        $         1.34 54868-4082-00
  ROXANE                       SOL          0.02% 2.5ml 25s $  44.06 $          3.52                        $         3.34 00054-8402-11
  ROXANE                       SOL          0.02% 2.5ml 30s $  52.87 $          3.52                        $         3.34 00054-8402-13
  ROXANE                       SOL          0.02% 2.5ml 60s $ 105.74 $          3.52                        $         3.34 00054-8402-21
  ROXANE                       SOL          0.02% 2.5ml 25s $  44.06 $          3.52                        $         3.34 00054-8404-11
  ROXANE                       SOL          0.02% 2.5ml 30s $  52.87 $          3.52                        $         3.34 00054-8404-13
  ROXANE                       SOL          0.02% 2.5ml 60s $ 105.74 $          3.52                        $         3.34 00054-8404-21
                                                                                                  MEDIAN    $         3.34

  BRAND NAMES:
  ATROVENT (Boehr Ingelheim)   SOL          0.02% 2.5ml 25s   $   84.06   $     6.72                        $         6.38    00597-0080-62

                                                                          EX           $ 52.80              KO&KP             $       3.34
                                                                          DIV              30S              UD (mg)X                    0.5
                                                                                       $  1.76                                         1.67
                                                                          X                   2             J7051-                     0.13
                                                                                       $  3.52                                         1.53
                                                                                           -5%              DIV                         0.5
                                                                                       $  3.34                                         3.06




                                                                                                                                              2003 Q4
                                                                                                                                                    1
                                                                    19
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 20 of 75



  REVISED ARRAY - ROXANE ONLY

  HCPCS CODE:                    J7644                                                                       EFFECTIVE DATE:               7/1/03
  DESCRIPTION:                   IPRATROPIUM BROMIDE, INHALATION                                                  J7644KO    $              3.34
                                 SOLUTION ADMINISTERED THROUGH DME                                                J7644KP    $              3.34
                                 UNIT DOSE FORM, PER MILLIGRAM                                                    J7644KQ    $              3.06

                                                                                                                                           4/1/00
                                                                                                                    J7644KO       $         3.34
  SOURCE:                                                                                                           J7644KP       $         3.34
                                                                                                                    J7644KQ       $         2.98
  GENERIC                        FORM       STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                      STATUS                   95% NDC#
  ALLSCRIPTS                     SOL             0.02% 2.5ml 25s $  18.83 $          1.51                                         $         1.43 54569-4910-00
  ALPHARMA                       SOL             0.02% 2.5ml 25s $  56.50 $          4.52                                         $         4.29 00472-0751-23
  ALPHARMA                       SOL             0.02% 2.5ml 30s $  67.80 $          4.52                                         $         4.29 00472-0751-30
  ALPHARMA                       SOL             0.02% 2.5ml 60s $ 118.80 $          3.96                                         $         3.76 00472-0751-60
  APOTEX CORP                    SOL             0.02% 2.5ml 25s $  56.00 $          4.48                                         $         4.26 60505-0806-01
  DEY                            SOL             0.02% 2.5ml 25s $  44.10 $          3.53                                         $         3.35 49502-0685-03
  DEY                            SOL             0.02% 2.5ml 30s $  52.80 $          3.52                                         $         3.34 49502-0685-33
  DEY                            SOL             0.02% 2.5ml 60s $ 105.60 $          3.52                                         $         3.34 49502-0685-60
  PHYS TOTAL CARE                SOL             0.02% 2.5ml 25s $  23.54 $          1.88                                         $         1.79 54868-4082-01
  PHYS TOTAL CARE                SOL             0.02% 2.5ml 60s $  42.25 $          1.41                                         $         1.34 54868-4082-00
  ROXANE                         SOL             0.02% 2.5ml 25s $   8.82 $          0.71                                         $         0.67 00054-8402-11
  ROXANE                         SOL             0.02% 2.5ml 30s $   9.80 $          0.65                                         $         0.62 00054-8402-13
  ROXANE                         SOL             0.02% 2.5ml 60s $  21.50 $          0.72                                         $         0.68 00054-8402-21
  ROXANE                         SOL             0.02% 2.5ml 25s $  44.06 $          3.52                                         $         3.34 00054-8404-11
  ROXANE                         SOL             0.02% 2.5ml 30s $  52.87 $          3.52                                         $         3.34 00054-8404-13
  ROXANE                         SOL             0.02% 2.5ml 60s $ 105.74 $          3.52                                         $         3.34 00054-8404-21
                                                                                                                    MEDIAN        $         3.34

  BRAND NAMES:
  ATROVENT (Boehr Ingelheim)     SOL               0.02% 2.5ml 25s      $    84.06   $            6.72                            $         6.38    00597-0080-62

                                                                                     EX                  $ 52.80                  KO&KP             $       3.34
                                                                                     DIV                     30S                  UD (mg)X                    0.5
                                                                                                         $  1.76                                             1.67
                                                                                     X                          2                 J7051-                     0.13
                                                                                                         $  3.52                                             1.53
                                                                                                             -5%                  DIV                         0.5
                                                                                                         $  3.34                                             3.06


  REVISED ARRAY - DEY & ROXANE

  HCPCS CODE:                    J7644                                                                       EFFECTIVE DATE:               7/1/03
  DESCRIPTION:                   IPRATROPIUM BROMIDE, INHALATION                                                  J7644KO    $              1.61
                                 SOLUTION ADMINISTERED THROUGH DME                                                J7644KP    $              1.61
                                 UNIT DOSE FORM, PER MILLIGRAM                                                    J7644KQ    $              1.34

                                                                                                                                           4/1/00
                                                                                                                    J7644KO       $         3.34
  SOURCE:                                                                                                           J7644KP       $         3.34
                                                                                                                    J7644KQ       $         2.98
  GENERIC                        FORM       STRENGTH QUANTITY AWP         PRICE PER UNIT ARRAY                      STATUS                   95% NDC#
  ALLSCRIPTS                     SOL             0.02% 2.5ml 25s $  18.83 $          1.51                                         $         1.43 54569-4910-00
  ALPHARMA                       SOL             0.02% 2.5ml 25s $  56.50 $          4.52                                         $         4.29 00472-0751-23
  ALPHARMA                       SOL             0.02% 2.5ml 30s $  67.80 $          4.52                                         $         4.29 00472-0751-30
  ALPHARMA                       SOL             0.02% 2.5ml 60s $ 118.80 $          3.96                                         $         3.76 00472-0751-60
  APOTEX CORP                    SOL             0.02% 2.5ml 25s $  56.00 $          4.48                                         $         4.26 60505-0806-01
  DEY                            SOL             0.02% 2.5ml 25s $   6.19 $          0.50                                         $         0.48 49502-0685-03
  DEY                            SOL             0.02% 2.5ml 30s $   6.83 $          0.46                                         $         0.44 49502-0685-33
  DEY                            SOL             0.02% 2.5ml 60s $  13.61 $          0.45                                         $         0.43 49502-0685-60
  PHYS TOTAL CARE                SOL             0.02% 2.5ml 25s $  23.54 $          1.88                                         $         1.79 54868-4082-01
  PHYS TOTAL CARE                SOL             0.02% 2.5ml 60s $  42.25 $          1.41                                         $         1.34 54868-4082-00
  ROXANE                         SOL             0.02% 2.5ml 25s $   8.82 $          0.71                                         $         0.67 00054-8402-11
  ROXANE                         SOL             0.02% 2.5ml 30s $   9.80 $          0.65                                         $         0.62 00054-8402-13
  ROXANE                         SOL             0.02% 2.5ml 60s $  21.50 $          0.72                                         $         0.68 00054-8402-21
  ROXANE                         SOL             0.02% 2.5ml 25s $  44.06 $          3.52                                         $         3.34 00054-8404-11
  ROXANE                         SOL             0.02% 2.5ml 30s $  52.87 $          3.52                                         $         3.34 00054-8404-13
  ROXANE                         SOL             0.02% 2.5ml 60s $ 105.74 $          3.52                                         $         3.34 00054-8404-21
                                                                                                                    MEDIAN        $         1.61

  BRAND NAMES:
  ATROVENT (Boehr Ingelheim)     SOL               0.02% 2.5ml 25s      $    84.06   $            6.72                            $         6.38    00597-0080-62

                                                                                     EX                  $ 52.80                  KO&KP             $       1.61
                                                                                     DIV                     30S                  UD (mg)X                    0.5
                                                                                                         $  1.76                                             0.81
                                                                                     X                          2                 J7051-                     0.13
                                                                                                         $  3.52                                             0.67
                                                                                                             -5%                  DIV                         0.5
                                                                                                         $  3.34                                             1.34


  NOTES:

  1. Source: Hard copy array, AWQ057-0996
  2. According to the carrier array document, the Medicare allowance amounts are calculated in cells I4-I6 of the original array and cells I47-I49, I89-I91 and
  I131-I133 of the revised arrays. The allowance amounts for the KO and KP modifiers are the lower of 95% of the median per-unit price of the generic
  products or 95% of the per-unit price of the lowest brand product. The allowance amount for the KQ modifier is the lower of 95% of the median per-unit price
  of the generic products or 95% of the per-unit price of the lowest brand product, adjusted by unit dose and compounding factors.
  3. In the original array, certain price-per-unit amounts did not appear to calculate correctly; however, the Medicare allowance amounts were determined
  correctly. The formulas used in the revised arrays result in certain amounts differing from the original array, but the Medicare allowance amounts remain the
  same.




                                                                                                                                                                    2003 Q4
                                                                                                                                                                          2
                                                                                20
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 21 of 75




          AdminaStar Federal Arrays
                 (2001Q4-2003Q4)




                                21
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 22 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE: J7644 (K0518 3/31/00)                                         Oct 01                                   EFFECTIVE DATE:             4/1/2000
                                                                                                                              Previous         Current     Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                               Price            Price      95%
            unit dose form, per milligram                                                                          J7644KO    $    3.52       $     3.52   $  3.34
                                                                                                                   J7644KP    $    3.52       $     3.52   $  3.34
SOURCE: July 2001 Redbook Database                                                                                 J7644KQ    $    3.14       $     3.08   $  2.93

                                                                                                                   STATUS:        No Change =
                                                                                                                                  Changed Fee = **
                                                                                                                                  Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR            FORM      STRENGTH   QUANTITY        NDC         AWP PRICE       PRICE         ARRAY         STATUS
                                                                                                      PER MG          ALL
Dey                                   SOL, IH     0.02%    2.5ml 30s   49502-0685-33     52.80          3.52          3.52
Dey                                   SOL, IH     0.02%    2.5ml 25s   49502-0685-03     44.10          3.53          3.53
Dey                                   SOL, IH     0.02%    2.5ml 60s   49502-0685-60     105.60         3.52          3.52
Alpharma USPD                         SOL, IH     0.02%    2.5ml 60s   00472-0751-60     118.80         3.96          3.96            **
Alpharma USPD                         SOL, IH     0.02%    2.5ml 25s   00472-0751-23     56.50          4.52          4.52            **
Alpharma USPD                         SOL, IH     0.02%    2.5ml 30s   00472-0751-30     67.80          4.52          4.52            **
Roxane                                SOL, IH     0.02%    2.5ml 25s   00054-8402-11     44.06          3.52          3.52
Roxane                                SOL, IH     0.02%    2.5ml 30s   00054-8402-13     52.80          3.52          3.52
Roxane                                SOL, IH     0.02%    2.5ml 60s   00054-8402-21     105.74         3.52          3.52
Zeinith Goldline                      SOL, IH     0.02%    2.5ml 25s   00172-6407-44     44.10          3.53          3.53
Zeinith Goldline                      SOL, IH     0.02%    2.5ml 60s   00172-6407-49     118.75         3.96          3.96
Phys Total Care                       SOL, IH     0.02%    2.5ml 60s   54868-4082-00     53.95          1.80          1.80
Phys Total Care                       SOL, IH     0.02%    2.5ml 25s   54868-4082-01     26.31          2.10          2.10
                                                                                                                   MEDIAN         $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              SOL, IH     0.02%    2.5ml 25s   00597-0080-62     63.72          5.10
Atrovent/Compumed                     SOL, IH     0.02%    2.5ml 25s   00403-0645-18     49.95          4.00
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 25s   00054-8404-11     44.06          3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 30s   00054-8404-13     52.87          3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 60s   00054-8404-21     105.74         3.52           3.52


Unit dose form: SOL, IH - 0.02%                                                                    J7644KO & KP    $      3.52
Unit dose amt.: 0.5mg                                                                                   UD(mg) x            0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                         =           1.76
                                                                                                         J7051 -           0.22
                                                                                                              =           1.54
                                                                                                        UD(mg) ÷            0.5
                                                                                                   J7644KQ         $      3.08


REVISED ARRAY - DEY ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                         Oct 01                                   EFFECTIVE DATE:             4/1/2000
                                                                                                                              Previous         Current     Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                               Price            Price      95%
            unit dose form, per milligram                                                                          J7644KO    $    3.52       $     3.52   $  3.34
                                                                                                                   J7644KP    $    3.52       $     3.52   $  3.34
SOURCE: July 2001 Redbook Database                                                                                 J7644KQ    $    3.14       $     3.08   $  2.93

                                                                                                                   STATUS:        No Change =
                                                                                                                                  Changed Fee = **
                                                                                                                                  Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR            FORM      STRENGTH   QUANTITY        NDC         AWP PRICE       PRICE         ARRAY         STATUS
                                                                                                      PER MG          ALL
Dey                                   SOL, IH     0.02%    2.5ml 30s   49502-0685-33     12.55          0.84          0.84
Dey                                   SOL, IH     0.02%    2.5ml 25s   49502-0685-03     10.81          0.86          0.86
Dey                                   SOL, IH     0.02%    2.5ml 60s   49502-0685-60     25.14          0.84          0.84
Alpharma USPD                         SOL, IH     0.02%    2.5ml 60s   00472-0751-60     118.80         3.96          3.96            **
Alpharma USPD                         SOL, IH     0.02%    2.5ml 25s   00472-0751-23     56.50          4.52          4.52            **
Alpharma USPD                         SOL, IH     0.02%    2.5ml 30s   00472-0751-30     67.80          4.52          4.52            **
Roxane                                SOL, IH     0.02%    2.5ml 25s   00054-8402-11     44.06          3.52          3.52
Roxane                                SOL, IH     0.02%    2.5ml 30s   00054-8402-13     52.80          3.52          3.52
Roxane                                SOL, IH     0.02%    2.5ml 60s   00054-8402-21     105.74         3.52          3.52
Zeinith Goldline                      SOL, IH     0.02%    2.5ml 25s   00172-6407-44     44.10          3.53          3.53
Zeinith Goldline                      SOL, IH     0.02%    2.5ml 60s   00172-6407-49     118.75         3.96          3.96
Phys Total Care                       SOL, IH     0.02%    2.5ml 60s   54868-4082-00     53.95          1.80          1.80
Phys Total Care                       SOL, IH     0.02%    2.5ml 25s   54868-4082-01     26.31          2.10          2.10
                                                                                                                   MEDIAN         $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              SOL, IH     0.02%    2.5ml 25s   00597-0080-62     63.72          5.10
Atrovent/Compumed                     SOL, IH     0.02%    2.5ml 25s   00403-0645-18     49.95          4.00
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 25s   00054-8404-11     44.06          3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 30s   00054-8404-13     52.87          3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 60s   00054-8404-21     105.74         3.52           3.52


Unit dose form: SOL, IH - 0.02%                                                                    J7644KO & KP    $      3.52
Unit dose amt.: 0.5mg                                                                                   UD(mg) x            0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                         =           1.76
                                                                                                         J7051 -           0.22
                                                                                                              =           1.54
                                                                                                        UD(mg) ÷            0.5
                                                                                                   J7644KQ         $      3.08




                                                                                                                                                                     2001 Q4
                                                                                                                                                                           1
                                                                           22
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 23 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                   Oct 01                                    EFFECTIVE DATE:               4/1/2000
                                                                                                                                         Previous           Current     Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                          Price              Price      95%
            unit dose form, per milligram                                                                                     J7644KO    $    3.52         $     3.52   $  3.34
                                                                                                                              J7644KP    $    3.52         $     3.52   $  3.34
SOURCE: July 2001 Redbook Database                                                                                            J7644KQ    $    3.14         $     3.08   $  2.92

                                                                                                                              STATUS:          No Change =
                                                                                                                                               Changed Fee = **
                                                                                                                                               Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR               FORM      STRENGTH       QUANTITY           NDC        AWP PRICE         PRICE         ARRAY           STATUS
                                                                                                                 PER MG          ALL
Dey                                      SOL, IH      0.02%        2.5ml 30s    49502-0685-33      52.80           3.52          3.52
Dey                                      SOL, IH      0.02%        2.5ml 25s    49502-0685-03      44.10           3.53          3.53
Dey                                      SOL, IH      0.02%        2.5ml 60s    49502-0685-60      105.60          3.52          3.52
Alpharma USPD                            SOL, IH      0.02%        2.5ml 60s    00472-0751-60      118.80          3.96          3.96              **
Alpharma USPD                            SOL, IH      0.02%        2.5ml 25s    00472-0751-23      56.50           4.52          4.52              **
Alpharma USPD                            SOL, IH      0.02%        2.5ml 30s    00472-0751-30      67.80           4.52          4.52              **
Roxane                                   SOL, IH      0.02%        2.5ml 25s    00054-8402-11      10.11           0.81          0.81
Roxane                                   SOL, IH      0.02%        2.5ml 30s    00054-8402-13      12.57           0.84          0.84
Roxane                                   SOL, IH      0.02%        2.5ml 60s    00054-8402-21      22.88           0.76          0.76
Zeinith Goldline                         SOL, IH      0.02%        2.5ml 25s    00172-6407-44      44.10           3.53          3.53
Zeinith Goldline                         SOL, IH      0.02%        2.5ml 60s    00172-6407-49      118.75          3.96          3.96
Phys Total Care                          SOL, IH      0.02%        2.5ml 60s    54868-4082-00      53.95           1.80          1.80
Phys Total Care                          SOL, IH      0.02%        2.5ml 25s    54868-4082-01      26.31           2.10          2.10
                                                                                                                              MEDIAN           $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                 SOL, IH      0.02%        2.5ml 25s    00597-0080-62      63.72           5.10
Atrovent/Compumed                        SOL, IH      0.02%        2.5ml 25s    00403-0645-18      49.95           4.00
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 25s    00054-8404-11      44.06           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 30s    00054-8404-13      52.87           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 60s    00054-8404-21      105.74          3.52            3.52


Unit dose form: SOL, IH - 0.02%                                                                              J7644KO & KP      $       3.52
Unit dose amt.: 0.5mg                                                                                             UD(mg) x               0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                   =              1.76
                                                                                                                   J7051 -              0.22
                                                                                                                        =              1.54
                                                                                                                  UD(mg) ÷               0.5
                                                                                                             J7644KQ           $       3.08


REVISED ARRAY - DEY & ROXANE

HCPCS CODE: J7644 (K0518 3/31/00)                                                   Oct 01                                    EFFECTIVE DATE:               4/1/2000
                                                                                                                                         Previous           Current     Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                          Price              Price      95%
            unit dose form, per milligram                                                                                     J7644KO    $    3.52         $     1.80   $  1.70
                                                                                                                              J7644KP    $    3.52         $     1.80   $  1.70
SOURCE: July 2001 Redbook Database                                                                                            J7644KQ    $    3.14         $     1.36   $  1.29

                                                                                                                              STATUS:          No Change =
                                                                                                                                               Changed Fee = **
                                                                                                                                               Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR               FORM      STRENGTH       QUANTITY           NDC        AWP PRICE         PRICE         ARRAY           STATUS
                                                                                                                 PER MG          ALL
Dey                                      SOL, IH      0.02%        2.5ml 30s    49502-0685-33      12.55           0.84          0.84
Dey                                      SOL, IH      0.02%        2.5ml 25s    49502-0685-03      10.81           0.86          0.86
Dey                                      SOL, IH      0.02%        2.5ml 60s    49502-0685-60      25.14           0.84          0.84
Alpharma USPD                            SOL, IH      0.02%        2.5ml 60s    00472-0751-60      118.80          3.96          3.96              **
Alpharma USPD                            SOL, IH      0.02%        2.5ml 25s    00472-0751-23      56.50           4.52          4.52              **
Alpharma USPD                            SOL, IH      0.02%        2.5ml 30s    00472-0751-30      67.80           4.52          4.52              **
Roxane                                   SOL, IH      0.02%        2.5ml 25s    00054-8402-11      10.11           0.81          0.81
Roxane                                   SOL, IH      0.02%        2.5ml 30s    00054-8402-13      12.57           0.84          0.84
Roxane                                   SOL, IH      0.02%        2.5ml 60s    00054-8402-21      22.88           0.76          0.76
Zeinith Goldline                         SOL, IH      0.02%        2.5ml 25s    00172-6407-44      44.10           3.53          3.53
Zeinith Goldline                         SOL, IH      0.02%        2.5ml 60s    00172-6407-49      118.75          3.96          3.96
Phys Total Care                          SOL, IH      0.02%        2.5ml 60s    54868-4082-00      53.95           1.80          1.80
Phys Total Care                          SOL, IH      0.02%        2.5ml 25s    54868-4082-01      26.31           2.10          2.10
                                                                                                                              MEDIAN           $    1.80
BRAND NAMES:
Atrovent/Boehr Ingelheim                 SOL, IH      0.02%        2.5ml 25s    00597-0080-62      63.72           5.10
Atrovent/Compumed                        SOL, IH      0.02%        2.5ml 25s    00403-0645-18      49.95           4.00
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 25s    00054-8404-11      44.06           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 30s    00054-8404-13      52.87           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 60s    00054-8404-21      105.74          3.52            3.52


Unit dose form: SOL, IH - 0.02%                                                                              J7644KO & KP      $       1.80
Unit dose amt.: 0.5mg                                                                                             UD(mg) x               0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                   =              0.90
                                                                                                                   J7051 -              0.22
                                                                                                                        =              0.68
                                                                                                                  UD(mg) ÷               0.5
                                                                                                             J7644KQ           $       1.36


NOTES:

1. Source: Hard copy array, AWP033-0737 - AWP033-0738
2. The original array did not contain NDC numbers. The NDC numbers were annotated by Myers and Stauffer from the 2001 annual Drug Topics Red Book, pages 202 & 368 (the
NDC numbers for the Atrovent/Compumed product were annotated from the 1999 annual Drug Topics Red Book, page 198.
3. According to the carrier array document, the Medicare allowance amounts are calculated in cells K6-K8 of the original array and cells K51-K53, K96-K98, and K141-K143 of the
revised arrays. The allowance amounts for the KO and KP modifiers are 95% of the median of the "ARRAY ALL" values. The allowance amount for the KQ modifier is 95% of the
median of the "ARRAY ALL" values adjusted by unit dose and compounding factors.
4. The original array did not contain the 95% adjustment of the Medicare allowance. The arrays in this workbook contain the 95% adjustment.
5. The original array contained $52.80 as the AWP for NDC number 00054-8402-13. The AWP per the 2001 annual Drug Topics Red Book is $52.87.




                                                                                                                                                                                  2001 Q4
                                                                                                                                                                                        2
                                                                                      23
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 24 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE: J7644 (K0518 3/31/00)                           Jan 02                                                 EFFECTIVE DATE:              4/1/2000
                                                                                                                              Previous          Current     Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                               Price             Price      95%
            unit dose form, per milligram                                                                          J7644KO    $    3.52        $     3.52   $  3.34
                                                                                                                   J7644KP    $    3.52        $     3.52   $  3.34
SOURCE: OCT 2001 Redbook Database                                                                                  J7644KQ    $    3.14        $     3.08   $  2.93

                                                                                                                       STATUS: No Change =
                                                                                                                               Changed Fee = **
                                                                                                                               Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR            FORM      STRENGTH   QUANTITY        NDC         AWP PRICE       PRICE        ARRAY          STATUS
                                                                                                      PER MG          ALL
Dey                                   SOL, IH     0.02%    2.5ml 30s   49502-0685-33     52.80          3.52          3.52
Dey                                   SOL, IH     0.02%    2.5ml 25s   49502-0685-03     44.10          3.53          3.53
Dey                                   SOL, IH     0.02%    2.5ml 60s   49502-0685-60     105.60         3.52          3.52
Alpharma USPD                         SOL, IH     0.02%    2.5ml 60s   00472-0751-60     118.80         3.96          3.96             **
Alpharma USPD                         SOL, IH     0.02%    2.5ml 25s   00472-0751-23     56.50          4.52          4.52             **
Alpharma USPD                         SOL, IH     0.02%    2.5ml 30s   00472-0751-30     67.80          4.52          4.52             **
Roxane                                SOL, IH     0.02%    2.5ml 25s   00054-8402-11     44.06          3.52          3.52
Roxane                                SOL, IH     0.02%    2.5ml 30s   00054-8402-13     52.80          3.52          3.52
Roxane                                SOL, IH     0.02%    2.5ml 60s   00054-8402-21     105.74         3.52          3.52
Zeinith Goldline                      SOL, IH     0.02%    2.5ml 25s   00172-6407-44     44.10          3.53          3.53
Zeinith Goldline                      SOL, IH     0.02%    2.5ml 60s   00172-6407-49     118.75         3.96          3.96
Phys Total Care                       SOL, IH     0.02%    2.5ml 60s   54868-4082-00     53.95          1.80          1.80
Phys Total Care                       SOL, IH     0.02%    2.5ml 25s   54868-4082-01     26.31          2.10          2.10
                                                                                                                   MEDIAN          $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              SOL, IH     0.02%    2.5ml 25s   00597-0080-62     63.72          5.10
Atrovent/Compumed                     SOL, IH     0.02%    2.5ml 25s   00403-0645-18     49.95          4.00
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 25s   00054-8404-11     44.06          3.52            3.52
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 30s   00054-8404-13     52.87          3.52            3.52
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 60s   00054-8404-21     105.74         3.52            3.52


Unit dose form: SOL, IH - 0.02%                                                                    J7644KO & KP    $       3.52
Unit dose amt.: 0.5mg                                                                                   UD(mg) x             0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                         =            1.76
                                                                                                         J7051 -            0.22
                                                                                                              =            1.54
                                                                                                        UD(mg) ÷             0.5
                                                                                                   J7644KQ         $       3.08


REVISED ARRAY - DEY ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                           Jan 02                                                 EFFECTIVE DATE:              4/1/2000
                                                                                                                              Previous          Current     Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                               Price             Price      95%
            unit dose form, per milligram                                                                          J7644KO    $    3.52        $     3.52   $  3.34
                                                                                                                   J7644KP    $    3.52        $     3.52   $  3.34
SOURCE: OCT 2001 Redbook Database                                                                                  J7644KQ    $    3.14        $     3.08   $  2.93

                                                                                                                       STATUS: No Change =
                                                                                                                               Changed Fee = **
                                                                                                                               Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR            FORM      STRENGTH   QUANTITY        NDC         AWP PRICE       PRICE        ARRAY          STATUS
                                                                                                      PER MG          ALL
Dey                                   SOL, IH     0.02%    2.5ml 30s   49502-0685-33     11.64          0.78          0.78
Dey                                   SOL, IH     0.02%    2.5ml 25s   49502-0685-03     10.17          0.81          0.81
Dey                                   SOL, IH     0.02%    2.5ml 60s   49502-0685-60     23.47          0.78          0.78
Alpharma USPD                         SOL, IH     0.02%    2.5ml 60s   00472-0751-60     118.80         3.96          3.96             **
Alpharma USPD                         SOL, IH     0.02%    2.5ml 25s   00472-0751-23     56.50          4.52          4.52             **
Alpharma USPD                         SOL, IH     0.02%    2.5ml 30s   00472-0751-30     67.80          4.52          4.52             **
Roxane                                SOL, IH     0.02%    2.5ml 25s   00054-8402-11     44.06          3.52          3.52
Roxane                                SOL, IH     0.02%    2.5ml 30s   00054-8402-13     52.80          3.52          3.52
Roxane                                SOL, IH     0.02%    2.5ml 60s   00054-8402-21     105.74         3.52          3.52
Zeinith Goldline                      SOL, IH     0.02%    2.5ml 25s   00172-6407-44     44.10          3.53          3.53
Zeinith Goldline                      SOL, IH     0.02%    2.5ml 60s   00172-6407-49     118.75         3.96          3.96
Phys Total Care                       SOL, IH     0.02%    2.5ml 60s   54868-4082-00     53.95          1.80          1.80
Phys Total Care                       SOL, IH     0.02%    2.5ml 25s   54868-4082-01     26.31          2.10          2.10
                                                                                                                   MEDIAN          $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              SOL, IH     0.02%    2.5ml 25s   00597-0080-62     63.72          5.10
Atrovent/Compumed                     SOL, IH     0.02%    2.5ml 25s   00403-0645-18     49.95          4.00
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 25s   00054-8404-11     44.06          3.52            3.52
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 30s   00054-8404-13     52.87          3.52            3.52
Ipratropium Bromide-Novaplus/Roxane   SOL, IH     0.02%    2.5ml 60s   00054-8404-21     105.74         3.52            3.52


Unit dose form: SOL, IH - 0.02%                                                                    J7644KO & KP    $       3.52
Unit dose amt.: 0.5mg                                                                                   UD(mg) x             0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                         =            1.76
                                                                                                         J7051 -            0.22
                                                                                                              =            1.54
                                                                                                        UD(mg) ÷             0.5
                                                                                                   J7644KQ         $       3.08




                                                                                                                                                                      2002 Q1
                                                                                                                                                                            1
                                                                           24
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 25 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                   Jan 02                                                    EFFECTIVE DATE:               4/1/2000
                                                                                                                                         Previous           Current     Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                          Price              Price      95%
            unit dose form, per milligram                                                                                     J7644KO    $    3.52         $     3.52   $  3.34
                                                                                                                              J7644KP    $    3.52         $     3.52   $  3.34
SOURCE: OCT 2001 Redbook Database                                                                                             J7644KQ    $    3.14         $     3.08   $  2.92

                                                                                                                                   STATUS: No Change =
                                                                                                                                           Changed Fee = **
                                                                                                                                           Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR               FORM      STRENGTH       QUANTITY           NDC        AWP PRICE         PRICE        ARRAY           STATUS
                                                                                                                 PER MG          ALL
Dey                                      SOL, IH      0.02%        2.5ml 30s    49502-0685-33      52.80           3.52          3.52
Dey                                      SOL, IH      0.02%        2.5ml 25s    49502-0685-03      44.10           3.53          3.53
Dey                                      SOL, IH      0.02%        2.5ml 60s    49502-0685-60      105.60          3.52          3.52
Alpharma USPD                            SOL, IH      0.02%        2.5ml 60s    00472-0751-60      118.80          3.96          3.96              **
Alpharma USPD                            SOL, IH      0.02%        2.5ml 25s    00472-0751-23      56.50           4.52          4.52              **
Alpharma USPD                            SOL, IH      0.02%        2.5ml 30s    00472-0751-30      67.80           4.52          4.52              **
Roxane                                   SOL, IH      0.02%        2.5ml 25s    00054-8402-11       9.39           0.75          0.75
Roxane                                   SOL, IH      0.02%        2.5ml 30s    00054-8402-13      11.27           0.75          0.75
Roxane                                   SOL, IH      0.02%        2.5ml 60s    00054-8402-21      21.35           0.71          0.71
Zeinith Goldline                         SOL, IH      0.02%        2.5ml 25s    00172-6407-44      44.10           3.53          3.53
Zeinith Goldline                         SOL, IH      0.02%        2.5ml 60s    00172-6407-49      118.75          3.96          3.96
Phys Total Care                          SOL, IH      0.02%        2.5ml 60s    54868-4082-00      53.95           1.80          1.80
Phys Total Care                          SOL, IH      0.02%        2.5ml 25s    54868-4082-01      26.31           2.10          2.10
                                                                                                                              MEDIAN           $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                 SOL, IH      0.02%        2.5ml 25s    00597-0080-62      63.72           5.10
Atrovent/Compumed                        SOL, IH      0.02%        2.5ml 25s    00403-0645-18      49.95           4.00
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 25s    00054-8404-11      44.06           3.52             3.52
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 30s    00054-8404-13      52.87           3.52             3.52
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 60s    00054-8404-21      105.74          3.52             3.52


Unit dose form: SOL, IH - 0.02%                                                                              J7644KO & KP      $       3.52
Unit dose amt.: 0.5mg                                                                                             UD(mg) x               0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                   =              1.76
                                                                                                                   J7051 -              0.22
                                                                                                                        =              1.54
                                                                                                                  UD(mg) ÷               0.5
                                                                                                             J7644KQ           $       3.08


REVISED ARRAY - DEY & ROXANE

HCPCS CODE: J7644 (K0518 3/31/00)                                   Jan 02                                                    EFFECTIVE DATE:               4/1/2000
                                                                                                                                         Previous           Current     Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                          Price              Price      95%
            unit dose form, per milligram                                                                                     J7644KO    $    3.52         $     1.80   $  1.70
                                                                                                                              J7644KP    $    3.52         $     1.80   $  1.70
SOURCE: OCT 2001 Redbook Database                                                                                             J7644KQ    $    3.14         $     1.36   $  1.29

                                                                                                                                   STATUS: No Change =
                                                                                                                                           Changed Fee = **
                                                                                                                                           Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR               FORM      STRENGTH       QUANTITY           NDC        AWP PRICE         PRICE        ARRAY           STATUS
                                                                                                                 PER MG          ALL
Dey                                      SOL, IH      0.02%        2.5ml 30s    49502-0685-33      11.64           0.78          0.78
Dey                                      SOL, IH      0.02%        2.5ml 25s    49502-0685-03      10.17           0.81          0.81
Dey                                      SOL, IH      0.02%        2.5ml 60s    49502-0685-60      23.47           0.78          0.78
Alpharma USPD                            SOL, IH      0.02%        2.5ml 60s    00472-0751-60      118.80          3.96          3.96              **
Alpharma USPD                            SOL, IH      0.02%        2.5ml 25s    00472-0751-23      56.50           4.52          4.52              **
Alpharma USPD                            SOL, IH      0.02%        2.5ml 30s    00472-0751-30      67.80           4.52          4.52              **
Roxane                                   SOL, IH      0.02%        2.5ml 25s    00054-8402-11       9.39           0.75          0.75
Roxane                                   SOL, IH      0.02%        2.5ml 30s    00054-8402-13      11.27           0.75          0.75
Roxane                                   SOL, IH      0.02%        2.5ml 60s    00054-8402-21      21.35           0.71          0.71
Zeinith Goldline                         SOL, IH      0.02%        2.5ml 25s    00172-6407-44      44.10           3.53          3.53
Zeinith Goldline                         SOL, IH      0.02%        2.5ml 60s    00172-6407-49      118.75          3.96          3.96
Phys Total Care                          SOL, IH      0.02%        2.5ml 60s    54868-4082-00      53.95           1.80          1.80
Phys Total Care                          SOL, IH      0.02%        2.5ml 25s    54868-4082-01      26.31           2.10          2.10
                                                                                                                              MEDIAN           $    1.80
BRAND NAMES:
Atrovent/Boehr Ingelheim                 SOL, IH      0.02%        2.5ml 25s    00597-0080-62      63.72           5.10
Atrovent/Compumed                        SOL, IH      0.02%        2.5ml 25s    00403-0645-18      49.95           4.00
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 25s    00054-8404-11      44.06           3.52             3.52
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 30s    00054-8404-13      52.87           3.52             3.52
Ipratropium Bromide-Novaplus/Roxane      SOL, IH      0.02%        2.5ml 60s    00054-8404-21      105.74          3.52             3.52


Unit dose form: SOL, IH - 0.02%                                                                              J7644KO & KP      $       1.80
Unit dose amt.: 0.5mg                                                                                             UD(mg) x               0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                   =              0.90
                                                                                                                   J7051 -              0.22
                                                                                                                        =              0.68
                                                                                                                  UD(mg) ÷               0.5
                                                                                                             J7644KQ           $       1.36


NOTES:

1. Source: Hard copy array, AWP033-0550 - AWP033-0551
2. The original array did not contain NDC numbers. The NDC numbers were annotated by Myers and Stauffer from the 2001 annual Drug Topics Red Book, pages 202 & 368 (the
NDC numbers for the Atrovent/Compumed product were annotated from the 1999 annual Drug Topics Red Book, page 198.
3. According to the carrier array document, the Medicare allowance amounts are calculated in cells K6-K8 of the original array and cells K51-K53, K96-K98, and K141-K143 of the
revised arrays. The allowance amounts for the KO and KP modifiers are 95% of the median of the "ARRAY ALL" values. The allowance amount for the KQ modifier is 95% of the
median of the "ARRAY ALL" values adjusted by unit dose and compounding factors.
4. The original array did not contain the 95% adjustment of the Medicare allowance. The arrays in this workbook contain the 95% adjustment.
5. The original array contained $52.80 as the AWP for NDC number 00054-8402-13. The AWP per the 2001 annual Drug Topics Red Book is $52.87.




                                                                                                                                                                                  2002 Q1
                                                                                                                                                                                        2
                                                                                     25
 Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 26 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                EFFECTIVE DATE:             4/1/2000
                                                                                                                            Previous         Current      Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                             Price            Price       95%
            unit dose form, per milligram                                                                        J7644KO    $    3.52      $       3.52   $  3.34
                                                                                                                 J7644KP    $    3.52      $       3.52   $  3.34
SOURCE: Jan 2002 Redbook Database                                                                                J7644KQ    $    3.14      $       3.14   $  2.98

                                                                                                                 STATUS:       No Change =
                                                                                                                               Changed Fee = **
                                                                                                                               Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                NDC           FORM      STRENGTH QUANTITY      AWP     PRICE       PER ARRAY ALL STATUS
                                                                                        PRICE         MG
Dey                                   49502-0685-33     SOL, IH     0.02%   2.5ml 30s    52.80        3.52          3.52
Dey                                   49502-0685-03     SOL, IH     0.02%   2.5ml 25s    44.10        3.53          3.53
Dey                                   49502-0685-60     SOL, IH     0.02%   2.5ml 60s   105.60        3.52          3.52
Alpharma USPD                         00472-0751-60     SOL, IH     0.02%   2.5ml 60s   118.80        3.96          3.96           **
Alpharma USPD                         00472-0751-23     SOL, IH     0.02%   2.5ml 25s    56.50        4.52          4.52           **
Alpharma USPD                         00472-0751-30     SOL, IH     0.02%   2.5ml 30s    67.80        4.52          4.52           **
Roxane                                00054-8402-11     SOL, IH     0.02%   2.5ml 25s    44.06        3.52          3.52
Roxane                                00054-8402-13     SOL, IH     0.02%   2.5ml 30s    52.80        3.52          3.52
Roxane                                00054-8402-21     SOL, IH     0.02%   2.5ml 60s   105.74        3.52          3.52
Zeinith Goldline                      00172-6407-44     SOL, IH     0.02%   2.5ml 25s    44.10        3.53          3.53
Zeinith Goldline                      00172-6407-49     SOL, IH     0.02%   2.5ml 60s   118.75        3.96          3.96
Phys Total Care                       54868-4082-00     SOL, IH     0.02%   2.5ml 60s    53.95        1.80          1.80
Phys Total Care                       54868-4082-01     SOL, IH     0.02%   2.5ml 25s    26.31        2.10          2.10
                                                                                                                 MEDIAN        $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              00597-0080-62     SOL, IH     0.02%   2.5ml 25s    63.72        5.10
Atrovent/Compumed                     00403-0645-18     SOL, IH     0.02%   2.5ml 25s    49.95        4.00
Ipratropium Bromide-Novaplus/Roxane   00054-8404-11     SOL, IH     0.02%   2.5ml 25s    44.06        3.52             3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-13     SOL, IH     0.02%   2.5ml 30s    52.87        3.52             3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-21     SOL, IH     0.02%   2.5ml 60s   105.74        3.52             3.52

Unit dose form: SOL, IH - 0.02%                                                                  J7644KO & KP    $     3.52
Unit dose amt.: 0.5mg                                                                                 UD(mg) x           0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                       =           1.76
                                                                                                       J7051 -          0.19
                                                                                                            =           1.57
                                                                                                      UD(mg) ÷           0.5
                                                                                                 J7644KQ         $     3.14

                                                                            April 02                                                              J7644 K0518.xls

REVISED ARRAY - DEY ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                EFFECTIVE DATE:             4/1/2000
                                                                                                                            Previous         Current      Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                             Price            Price       95%
            unit dose form, per milligram                                                                        J7644KO    $    3.52      $       3.52   $  3.34
                                                                                                                 J7644KP    $    3.52      $       3.52   $  3.34
SOURCE: Jan 2002 Redbook Database                                                                                J7644KQ    $    3.14      $       3.14   $  2.98

                                                                                                                 STATUS:       No Change =
                                                                                                                               Changed Fee = **
                                                                                                                               Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                NDC           FORM      STRENGTH QUANTITY      AWP         PRICE        ARRAY         STATUS
                                                                                        PRICE       PER MG          ALL
Dey                                   49502-0685-33     SOL, IH     0.02%   2.5ml 30s    10.48        0.70          0.70
Dey                                   49502-0685-03     SOL, IH     0.02%   2.5ml 25s    9.02         0.72          0.72
Dey                                   49502-0685-60     SOL, IH     0.02%   2.5ml 60s    20.97        0.70          0.70
Alpharma USPD                         00472-0751-60     SOL, IH     0.02%   2.5ml 60s   118.80        3.96          3.96           **
Alpharma USPD                         00472-0751-23     SOL, IH     0.02%   2.5ml 25s    56.50        4.52          4.52           **
Alpharma USPD                         00472-0751-30     SOL, IH     0.02%   2.5ml 30s    67.80        4.52          4.52           **
Roxane                                00054-8402-11     SOL, IH     0.02%   2.5ml 25s    44.06        3.52          3.52
Roxane                                00054-8402-13     SOL, IH     0.02%   2.5ml 30s    52.80        3.52          3.52
Roxane                                00054-8402-21     SOL, IH     0.02%   2.5ml 60s   105.74        3.52          3.52
Zeinith Goldline                      00172-6407-44     SOL, IH     0.02%   2.5ml 25s    44.10        3.53          3.53
Zeinith Goldline                      00172-6407-49     SOL, IH     0.02%   2.5ml 60s   118.75        3.96          3.96
Phys Total Care                       54868-4082-00     SOL, IH     0.02%   2.5ml 60s    53.95        1.80          1.80
Phys Total Care                       54868-4082-01     SOL, IH     0.02%   2.5ml 25s    26.31        2.10          2.10
                                                                                                                 MEDIAN        $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              00597-0080-62     SOL, IH     0.02%   2.5ml 25s    63.72        5.10
Atrovent/Compumed                     00403-0645-18     SOL, IH     0.02%   2.5ml 25s    49.95        4.00
Ipratropium Bromide-Novaplus/Roxane   00054-8404-11     SOL, IH     0.02%   2.5ml 25s    44.06        3.52             3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-13     SOL, IH     0.02%   2.5ml 30s    52.87        3.52             3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-21     SOL, IH     0.02%   2.5ml 60s   105.74        3.52             3.52

Unit dose form: SOL, IH - 0.02%                                                                  J7644KO & KP    $     3.52
Unit dose amt.: 0.5mg                                                                                 UD(mg) x           0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                       =           1.76
                                                                                                       J7051 -          0.19
                                                                                                            =           1.57
                                                                                                      UD(mg) ÷           0.5
                                                                                                 J7644KQ         $     3.14

                                                                            April 02                                                              J7644 K0518.xls




                                                                                                                                                                    2002 Q2
                                                                                                                                                                          1
                                                                               26
 Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 27 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                    EFFECTIVE DATE:              4/1/2000
                                                                                                                                                Previous          Current      Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                                 Price             Price       95%
            unit dose form, per milligram                                                                                            J7644KO    $    3.52       $       3.52   $  3.34
                                                                                                                                     J7644KP    $    3.52       $       3.52   $  3.34
SOURCE: Jan 2002 Redbook Database                                                                                                    J7644KQ    $    3.14       $       3.14   $  2.98

                                                                                                                                     STATUS:        No Change =
                                                                                                                                                    Changed Fee = **
                                                                                                                                                    Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                   NDC            FORM       STRENGTH QUANTITY               AWP              PRICE         ARRAY          STATUS
                                                                                                      PRICE            PER MG           ALL
Dey                                     49502-0685-33      SOL, IH        0.02%       2.5ml 30s        52.80             3.52           3.52
Dey                                     49502-0685-03      SOL, IH        0.02%       2.5ml 25s        44.10             3.53           3.53
Dey                                     49502-0685-60      SOL, IH        0.02%       2.5ml 60s       105.60             3.52           3.52
Alpharma USPD                           00472-0751-60      SOL, IH        0.02%       2.5ml 60s       118.80             3.96           3.96            **
Alpharma USPD                           00472-0751-23      SOL, IH        0.02%       2.5ml 25s        56.50             4.52           4.52            **
Alpharma USPD                           00472-0751-30      SOL, IH        0.02%       2.5ml 30s        67.80             4.52           4.52            **
Roxane                                  00054-8402-11      SOL, IH        0.02%       2.5ml 25s        9.40              0.75           0.75
Roxane                                  00054-8402-13      SOL, IH        0.02%       2.5ml 30s        11.59             0.77           0.77
Roxane                                  00054-8402-21      SOL, IH        0.02%       2.5ml 60s        20.56             0.69           0.69
Zeinith Goldline                        00172-6407-44      SOL, IH        0.02%       2.5ml 25s        44.10             3.53           3.53
Zeinith Goldline                        00172-6407-49      SOL, IH        0.02%       2.5ml 60s       118.75             3.96           3.96
Phys Total Care                         54868-4082-00      SOL, IH        0.02%       2.5ml 60s        53.95             1.80           1.80
Phys Total Care                         54868-4082-01      SOL, IH        0.02%       2.5ml 25s        26.31             2.10           2.10
                                                                                                                                     MEDIAN         $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                00597-0080-62      SOL, IH        0.02%       2.5ml 25s        63.72             5.10
Atrovent/Compumed                       00403-0645-18      SOL, IH        0.02%       2.5ml 25s        49.95             4.00
Ipratropium Bromide-Novaplus/Roxane     00054-8404-11      SOL, IH        0.02%       2.5ml 25s        44.06             3.52                3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8404-13      SOL, IH        0.02%       2.5ml 30s        52.87             3.52                3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8404-21      SOL, IH        0.02%       2.5ml 60s       105.74             3.52                3.52

Unit dose form: SOL, IH - 0.02%                                                                                   J7644KO & KP       $      3.52
Unit dose amt.: 0.5mg                                                                                                  UD(mg) x               0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                        =               1.76
                                                                                                                        J7051 -              0.19
                                                                                                                             =               1.57
                                                                                                                       UD(mg) ÷               0.5
                                                                                                                  J7644KQ            $      3.14

                                                                                       April 02                                                                        J7644 K0518.xls

REVISED ARRAY - DEY & ROXANE

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                    EFFECTIVE DATE:              4/1/2000
                                                                                                                                                Previous          Current      Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                                 Price             Price       95%
            unit dose form, per milligram                                                                                            J7644KO    $    3.52       $       1.80   $  1.71
                                                                                                                                     J7644KP    $    3.52       $       1.80   $  1.71
SOURCE: Jan 2002 Redbook Database                                                                                                    J7644KQ    $    3.14       $       1.42   $  1.35

                                                                                                                                     STATUS:        No Change =
                                                                                                                                                    Changed Fee = **
                                                                                                                                                    Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                   NDC            FORM       STRENGTH QUANTITY               AWP              PRICE         ARRAY          STATUS
                                                                                                      PRICE            PER MG           ALL
Dey                                     49502-0685-33      SOL, IH        0.02%       2.5ml 30s        10.48             0.70           0.70
Dey                                     49502-0685-03      SOL, IH        0.02%       2.5ml 25s        9.02              0.72           0.72
Dey                                     49502-0685-60      SOL, IH        0.02%       2.5ml 60s        20.97             0.70           0.70
Alpharma USPD                           00472-0751-60      SOL, IH        0.02%       2.5ml 60s       118.80             3.96           3.96            **
Alpharma USPD                           00472-0751-23      SOL, IH        0.02%       2.5ml 25s        56.50             4.52           4.52            **
Alpharma USPD                           00472-0751-30      SOL, IH        0.02%       2.5ml 30s        67.80             4.52           4.52            **
Roxane                                  00054-8402-11      SOL, IH        0.02%       2.5ml 25s        9.40              0.75           0.75
Roxane                                  00054-8402-13      SOL, IH        0.02%       2.5ml 30s        11.59             0.77           0.77
Roxane                                  00054-8402-21      SOL, IH        0.02%       2.5ml 60s        20.56             0.69           0.69
Zeinith Goldline                        00172-6407-44      SOL, IH        0.02%       2.5ml 25s        44.10             3.53           3.53
Zeinith Goldline                        00172-6407-49      SOL, IH        0.02%       2.5ml 60s       118.75             3.96           3.96
Phys Total Care                         54868-4082-00      SOL, IH        0.02%       2.5ml 60s        53.95             1.80           1.80
Phys Total Care                         54868-4082-01      SOL, IH        0.02%       2.5ml 25s        26.31             2.10           2.10
                                                                                                                                     MEDIAN         $    1.80
BRAND NAMES:
Atrovent/Boehr Ingelheim                00597-0080-62      SOL, IH        0.02%       2.5ml 25s        63.72             5.10
Atrovent/Compumed                       00403-0645-18      SOL, IH        0.02%       2.5ml 25s        49.95             4.00
Ipratropium Bromide-Novaplus/Roxane     00054-8404-11      SOL, IH        0.02%       2.5ml 25s        44.06             3.52                3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8404-13      SOL, IH        0.02%       2.5ml 30s        52.87             3.52                3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8404-21      SOL, IH        0.02%       2.5ml 60s       105.74             3.52                3.52

Unit dose form: SOL, IH - 0.02%                                                                                   J7644KO & KP       $      1.80
Unit dose amt.: 0.5mg                                                                                                  UD(mg) x               0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                        =               1.76
                                                                                                                        J7051 -              0.19
                                                                                                                             =               1.57
                                                                                                                       UD(mg) ÷               0.5
                                                                                                                  J7644KQ            $      1.42

                                                                                       April 02                                                                        J7644 K0518.xls

NOTES:

1. Source: Hard copy arrays, AWP038-0346 and AWP033-1474
2. The original array did not contain NDC numbers. The NDC numbers were annotated by Myers and Stauffer from the 2002 annual Drug Topics Red Book, pages 219 & 389. The NDC
number for the Zeinith Goldline product was annotated from the 2001 annual Drug Topics Red Book, page 368 and the NDC number for the Atrovent/Compumed product was annotated
from the 1999 annual Drug Topics Red Book, page 198.
3. According to the carrier array document, the Medicare allowance amounts are calculated in cells K6-K8 of the original array and cells K51-K53, K96-K98, and K141-K143 of the revised
arrays. The allowance amounts for the KO and KP modifiers are 95% of the median of the "ARRAY ALL" values. The allowance amount for the KQ modifier is 95% of the median of the
"ARRAY ALL" values adjusted by unit dose and compounding factors.
4. The original array contained $52.80 as the AWP for NDC number 00054-8402-13. The AWP per the 2002 annual Drug Topics Red Book is $52.87.




                                                                                                                                                                                          2002 Q2
                                                                                                                                                                                                2
                                                                                          27
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 28 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                        EFFECTIVE DATE:                    4/1/2000
                                                                                                                                      Previous              Current      Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                       Price                 Price       95%
            unit dose form, per milligram                                                                                J7644KO     $      3.52          $       3.52   $   3.34
                                                                                                                         J7644KP     $      3.52          $       3.52   $   3.34
SOURCE: April 2002 Redbook Database                                                                                      J7644KQ     $      3.14          $       3.14   $   2.98

                                                                                                                         STATUS:        No Change =
                                                                                                                                        Changed Fee = **
                                                                                                                                        Source Deleted = ##

   MANUFACTURER/DISTRIBUTOR                 NDC          FORM       STRENGTH QUANTITY            AWP          PRICE        ARRAY            STATUS
                                                                                                PRICE        PER MG         ALL
Dey                                    49502-0685-03    SOL, IH        0.02%        2.5ml 25s    44.10         3.53         3.53
Dey                                    49502-685030     SOL, IH        0.02%        2.5ml 25s    44.10         3.53         3.53
Dey                                    49502-0685-33    SOL, IH        0.02%        2.5ml 30s    52.80         3.52         3.52
Dey                                    49502-685330     SOL, IH        0.02%        2.5ml 30s    52.80         3.52         3.52
Dey                                    49502-685600     SOL, IH        0.02%        2.5ml 60s   105.60         3.52         3.52
Dey                                    49502-0685-60    SOL, IH        0.02%        2.5ml 60s   105.60         3.52         3.52
Alpharma USPD                          00472-0751-60    SOL, IH        0.02%        2.5ml 60s   118.80         3.96         3.96              **
Alpharma USPD                          00472-0751-23    SOL, IH        0.02%        2.5ml 25s    56.50         4.52         4.52              **
Alpharma USPD                          00472-0751-30    SOL, IH        0.02%        2.5ml 30s    67.80         4.52         4.52              **
Apotex                                 60505-0806-01    SOL, IH        0.02%        2.5ml 25s    56.00         4.48         4.48
Allscripts                             54569-4910-00    SOL, IH        0.02%        2.5ml 25s    18.62         1.49         1.49
Ivax Pharm                             00172-6407-44    SOL, IH        0.02%        2.5ml 25s    44.10         3.53         3.53
Ivax Pharm                             00172-6407-49    SOL, IH        0.02%        2.5ml 60s   105.60         3.52         3.52
Phys Total Care                        54868-4082-00    SOL, IH        0.02%        2.5ml 60s    42.25         1.41         1.41
Phys Total Care                        54868-4082-01    SOL, IH        0.02%        2.5ml 25s    23.54         1.88         1.88
                                                                                                                         MEDIAN         $          3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim               00597-0080-62    SOL, IH        0.02%        2.5ml 25s    70.97         5.68
Ipratropium Bromide-Novaplus/Roxane    00054-8404-11    SOL, IH        0.02%        2.5ml 25s    44.06         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane    00054-8402-11    SOL, IH        0.02%        2.5ml 25s    44.06         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane    00054-8402-11    SOL, IH        0.02%        2.5ml 30s    52.87         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane    00054-8402-11    SOL, IH        0.02%        2.5ml 30s    52.87         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane    00054-8402-21    SOL, IH        0.02%        2.5ml 60s   105.74         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane    00054-8404-21    SOL, IH        0.02%        2.5ml 60s   105.74         3.52          3.52

                                                                                                         J7644KO & KP    $      3.52
Unit dose form: SOL, IH - 0.02%                                                                               UD(mg) x            0.5
Unit dose amt.: 0.5mg                                                                                              =             1.76
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                          J7051 -           0.19
                                                                                                                   =             1.57
                                                                                                             UD(mg) ÷             0.5
                                                                                                         J7644KQ         $      3.14

                                                                                     July 02                                                                      J7644 K0518.xls


REVISED ARRAY - DEY ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                        EFFECTIVE DATE:                    4/1/2000
                                                                                                                                      Previous              Current      Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                       Price                 Price       95%
            unit dose form, per milligram                                                                                J7644KO     $      3.52          $       3.52   $   3.34
                                                                                                                         J7644KP     $      3.52          $       3.52   $   3.34
SOURCE: April 2002 Redbook Database                                                                                      J7644KQ     $      3.14          $       3.14   $   2.98

                                                                                                                         STATUS:        No Change =
                                                                                                                                        Changed Fee = **
                                                                                                                                        Source Deleted = ##

   MANUFACTURER/DISTRIBUTOR                 NDC          FORM       STRENGTH QUANTITY            AWP          PRICE        ARRAY            STATUS
                                                                                                PRICE        PER MG         ALL
Dey                                    49502-0685-03    SOL, IH        0.02%        2.5ml 25s    8.54          0.68         0.68
Dey                                    49502-0685-33    SOL, IH        0.02%        2.5ml 30s    9.92          0.66         0.66
Dey                                    49502-0685-60    SOL, IH        0.02%        2.5ml 60s    19.81         0.66         0.66
Ipratropium Bromide-Novaplus/Roxane    00054-8402-11    SOL, IH        0.02%        2.5ml 25s    44.06         3.52         3.52
Ipratropium Bromide-Novaplus/Roxane    00054-8402-13    SOL, IH        0.02%        2.5ml 30s    52.87         3.52         3.52
Ipratropium Bromide-Novaplus/Roxane    00054-8402-21    SOL, IH        0.02%        2.5ml 60s   105.74         3.52         3.52
Alpharma USPD                          00472-0751-60    SOL, IH        0.02%        2.5ml 60s   118.80         3.96         3.96              **
Alpharma USPD                          00472-0751-23    SOL, IH        0.02%        2.5ml 25s    56.50         4.52         4.52              **
Alpharma USPD                          00472-0751-30    SOL, IH        0.02%        2.5ml 30s    67.80         4.52         4.52              **
Apotex                                 60505-0806-01    SOL, IH        0.02%        2.5ml 25s    56.00         4.48         4.48
Allscripts                             54569-4910-00    SOL, IH        0.02%        2.5ml 25s    18.62         1.49         1.49
Ivax Pharm                             00172-6407-44    SOL, IH        0.02%        2.5ml 25s    44.10         3.53         3.53
Ivax Pharm                             00172-6407-49    SOL, IH        0.02%        2.5ml 60s   105.60         3.52         3.52
Phys Total Care                        54868-4082-00    SOL, IH        0.02%        2.5ml 60s    42.25         1.41         1.41
Phys Total Care                        54868-4082-01    SOL, IH        0.02%        2.5ml 25s    23.54         1.88         1.88
                                                                                                                         MEDIAN         $          3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim               00597-0080-62    SOL, IH        0.02%        2.5ml 25s    70.97         5.68          5.68
Ipratropium Bromide-Novaplus/Roxane    00054-8404-11    SOL, IH        0.02%        2.5ml 25s    44.06         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane    00054-8404-13    SOL, IH        0.02%        2.5ml 30s    52.87         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane    00054-8404-21    SOL, IH        0.02%        2.5ml 60s   105.74         3.52          3.52

                                                                                                         J7644KO & KP    $      3.52
Unit dose form: SOL, IH - 0.02%                                                                               UD(mg) x            0.5
Unit dose amt.: 0.5mg                                                                                              =             1.76
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                          J7051 -           0.19
                                                                                                                   =             1.57
                                                                                                             UD(mg) ÷             0.5
                                                                                                         J7644KQ         $      3.14

                                                                                     July 02                                                                      J7644 K0518.xls




                                                                                                                                                                                    2002 Q3
                                                                                                                                                                                          1
                                                                                        28
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 29 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                              EFFECTIVE DATE:                      4/1/2000
                                                                                                                                                            Previous                Current      Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                                             Price                   Price       95%
            unit dose form, per milligram                                                                                                      J7644KO     $      3.52            $       3.52   $   3.34
                                                                                                                                               J7644KP     $      3.52            $       3.52   $   3.34
SOURCE: April 2002 Redbook Database                                                                                                            J7644KQ     $      3.14            $       3.14   $   2.98

                                                                                                                                               STATUS:          No Change =
                                                                                                                                                                Changed Fee = **
                                                                                                                                                                Source Deleted = ##

   MANUFACTURER/DISTRIBUTOR                     NDC             FORM          STRENGTH QUANTITY                AWP                PRICE          ARRAY              STATUS
                                                                                                              PRICE              PER MG           ALL
Dey                                        49502-0685-03        SOL, IH          0.02%      2.5ml 25s          44.10               3.53           3.53
Dey                                        49502-0685-33        SOL, IH          0.02%      2.5ml 30s          52.80               3.52           3.52
Dey                                        49502-0685-60        SOL, IH          0.02%      2.5ml 60s         105.60               3.52           3.52
Ipratropium Bromide-Novaplus/Roxane        00054-8402-11        SOL, IH          0.02%      2.5ml 25s          9.04                0.72           0.72
Ipratropium Bromide-Novaplus/Roxane        00054-8402-13        SOL, IH          0.02%      2.5ml 30s          11.39               0.76           0.76
Ipratropium Bromide-Novaplus/Roxane        00054-8402-21        SOL, IH          0.02%      2.5ml 60s          20.10               0.67           0.67
Alpharma USPD                              00472-0751-60        SOL, IH          0.02%      2.5ml 60s         118.80               3.96           3.96                **
Alpharma USPD                              00472-0751-23        SOL, IH          0.02%      2.5ml 25s          56.50               4.52           4.52                **
Alpharma USPD                              00472-0751-30        SOL, IH          0.02%      2.5ml 30s          67.80               4.52           4.52                **
Apotex                                     60505-0806-01        SOL, IH          0.02%      2.5ml 25s          56.00               4.48           4.48
Allscripts                                 54569-4910-00        SOL, IH          0.02%      2.5ml 25s          18.62               1.49           1.49
Ivax Pharm                                 00172-6407-44        SOL, IH          0.02%      2.5ml 25s          44.10               3.53           3.53
Ivax Pharm                                 00172-6407-49        SOL, IH          0.02%      2.5ml 60s         105.60               3.52           3.52
Phys Total Care                            54868-4082-00        SOL, IH          0.02%      2.5ml 60s          42.25               1.41           1.41
Phys Total Care                            54868-4082-01        SOL, IH          0.02%      2.5ml 25s          23.54               1.88           1.88
                                                                                                                                               MEDIAN           $          3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                   00597-0080-62        SOL, IH          0.02%      2.5ml 25s          70.97               5.68             5.68
Ipratropium Bromide-Novaplus/Roxane        00054-8404-11        SOL, IH          0.02%      2.5ml 25s          44.06               3.52             3.52
Ipratropium Bromide-Novaplus/Roxane        00054-8404-13        SOL, IH          0.02%      2.5ml 30s          52.87               3.52             3.52
Ipratropium Bromide-Novaplus/Roxane        00054-8404-21        SOL, IH          0.02%      2.5ml 60s         105.74               3.52             3.52

                                                                                                                            J7644KO & KP        $       3.52
Unit dose form: SOL, IH - 0.02%                                                                                                  UD(mg) x                 0.5
Unit dose amt.: 0.5mg                                                                                                                 =                  1.76
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                             J7051 -                0.19
                                                                                                                                      =                  1.57
                                                                                                                                UD(mg) ÷                  0.5
                                                                                                                            J7644KQ             $       3.14

                                                                                              July 02                                                                                     J7644 K0518.xls


REVISED ARRAY - DEY & ROXANE

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                              EFFECTIVE DATE:                      4/1/2000
                                                                                                                                                            Previous                Current      Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                                             Price                   Price       95%
            unit dose form, per milligram                                                                                                      J7644KO     $      3.52            $       1.49   $   1.42
                                                                                                                                               J7644KP     $      3.52            $       1.49   $   1.42
SOURCE: April 2002 Redbook Database                                                                                                            J7644KQ     $      3.14            $       1.11   $   1.05

                                                                                                                                               STATUS:          No Change =
                                                                                                                                                                Changed Fee = **
                                                                                                                                                                Source Deleted = ##

   MANUFACTURER/DISTRIBUTOR                     NDC             FORM          STRENGTH QUANTITY                AWP                PRICE          ARRAY              STATUS
                                                                                                              PRICE              PER MG           ALL
Dey                                        49502-0685-03        SOL, IH          0.02%      2.5ml 25s          8.54                0.68           0.68
Dey                                        49502-0685-33        SOL, IH          0.02%      2.5ml 30s          9.92                0.66           0.66
Dey                                        49502-0685-60        SOL, IH          0.02%      2.5ml 60s          19.81               0.66           0.66
Ipratropium Bromide-Novaplus/Roxane        00054-8402-11        SOL, IH          0.02%      2.5ml 25s          9.04                0.72           0.72
Ipratropium Bromide-Novaplus/Roxane        00054-8402-13        SOL, IH          0.02%      2.5ml 30s          11.39               0.76           0.76
Ipratropium Bromide-Novaplus/Roxane        00054-8402-21        SOL, IH          0.02%      2.5ml 60s          20.10               0.67           0.67
Alpharma USPD                              00472-0751-60        SOL, IH          0.02%      2.5ml 60s         118.80               3.96           3.96                **
Alpharma USPD                              00472-0751-23        SOL, IH          0.02%      2.5ml 25s          56.50               4.52           4.52                **
Alpharma USPD                              00472-0751-30        SOL, IH          0.02%      2.5ml 30s          67.80               4.52           4.52                **
Apotex                                     60505-0806-01        SOL, IH          0.02%      2.5ml 25s          56.00               4.48           4.48
Allscripts                                 54569-4910-00        SOL, IH          0.02%      2.5ml 25s          18.62               1.49           1.49
Ivax Pharm                                 00172-6407-44        SOL, IH          0.02%      2.5ml 25s          44.10               3.53           3.53
Ivax Pharm                                 00172-6407-49        SOL, IH          0.02%      2.5ml 60s         105.60               3.52           3.52
Phys Total Care                            54868-4082-00        SOL, IH          0.02%      2.5ml 60s          42.25               1.41           1.41
Phys Total Care                            54868-4082-01        SOL, IH          0.02%      2.5ml 25s          23.54               1.88           1.88
                                                                                                                                               MEDIAN           $          1.49
BRAND NAMES:
Atrovent/Boehr Ingelheim                   00597-0080-62        SOL, IH          0.02%      2.5ml 25s          70.97               5.68             5.68
Ipratropium Bromide-Novaplus/Roxane        00054-8404-11        SOL, IH          0.02%      2.5ml 25s          44.06               3.52             3.52
Ipratropium Bromide-Novaplus/Roxane        00054-8404-13        SOL, IH          0.02%      2.5ml 30s          52.87               3.52             3.52
Ipratropium Bromide-Novaplus/Roxane        00054-8404-21        SOL, IH          0.02%      2.5ml 60s         105.74               3.52             3.52

                                                                                                                            J7644KO & KP        $       1.49
Unit dose form: SOL, IH - 0.02%                                                                                                  UD(mg) x                 0.5
Unit dose amt.: 0.5mg                                                                                                                 =                  1.76
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                             J7051 -                0.19
                                                                                                                                      =                  1.57
                                                                                                                                UD(mg) ÷                  0.5
                                                                                                                            J7644KQ             $       1.11

                                                                                              July 02                                                                                     J7644 K0518.xls


NOTES:

1. Source: Hard copy arrays, AWP033-1352 and AWP038-0704
2. According to the carrier array document, the Medicare allowance amounts are calculated in cells K6-K8 of the original array and cells K56-K58, K103-K105, and K150-K152 of the revised arrays. The
allowance amounts for the KO and KP modifiers are 95% of the median of the "ARRAY ALL" values. The allowance amount for the KQ modifier is 95% of the median of the "ARRAY ALL" values
adjusted by unit dose and compounding factors.
3. The original array contained several keying errors of NDC numbers. The revised arrays contain corrected NDC numbers.
4. The original array contained duplicate entries of the 3 Dey products. The duplicate entries of the Dey products have been removed from the revised arrays.




                                                                                                                                                                                                            2002 Q3
                                                                                                                                                                                                                  2
                                                                                                 29
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 30 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                               EFFECTIVE DATE:      4/1/2000
                                                                                                                                           Previous  Current             Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                            Price     Price              95%
            unit dose form, per milligram                                                                                       J7644KO     $ 3.52 $       3.52      $       3.34
                                                                                                                                J7644KP     $ 3.52 $       3.52      $       3.34
SOURCE: July 2002 Redbook Database                                                                                              J7644KQ     $ 3.14 $       3.14      $       2.98

                                                                                                                                STATUS:        No Change =
                                                                                                                                               Changed Fee = **
                                                                                                                                               Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                 NDC          FORM      STRENGTH    QUANTITY       AWP        PRICE       PRICE         ARRAY        STATUS
                                                                                                                   PER MG          ALL
Dey                                   49502-0685-03     SOL, IH    0.02%       2.5ml 25s           44.10             3.53          3.53
Dey                                    49502-685030     SOL, IH    0.02%       2.5ml 25s            44.10            3.53          3.53
Dey                                   49502-0685-33     SOL, IH    0.02%       2.5ml 30s            52.80            3.52          3.52
Dey                                    49502-685330     SOL, IH    0.02%       2.5ml 30s            52.80            3.52          3.52
Dey                                   49502-0685600     SOL, IH    0.02%       2.5ml 60s           105.60            3.52          3.52
Dey                                   49502-0685-60     SOL, IH    0.02%       2.5ml 60s           105.60            3.52          3.52
Alpharma USPD                         00472-0751-60     SOL, IH    0.02%       2.5ml 60s           118.80            3.96          3.96            **
Alpharma USPD                         00472-0751-23     SOL, IH    0.02%       2.5ml 25s            56.50            4.52          4.52            **
Alpharma USPD                         00472-0751-30     SOL, IH    0.02%       2.5ml 30s            67.80            4.52          4.52            **
Apotex                                60505-0806-01     SOL, IH    0.02%       2.5ml 25s            56.00            4.48          4.48
Allscripts                            54569-4910-00     SOL, IH    0.02%       2.5ml 25s            18.46            1.48          1.48
Ivax Pharm                            00172-6407-44     SOL, IH    0.02%       2.5ml 25s            44.10            3.53          3.53
Ivax Pharm                            00172-6407-49     SOL, IH    0.02%       2.5ml 60s           105.60            3.52          3.52
Phys Total Care                       54868-4082-00     SOL, IH    0.02%       2.5ml 60s            42.25            1.41          1.41
Phys Total Care                       54868-4082-01     SOL, IH    0.02%       2.5ml 25s            23.54            1.88          1.88
                                                                                                                                MEDIAN         $   3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              00597-0080-62     SOL, IH    0.02%       2.5ml 25s            73.09            5.85
Ipratropium Bromide-Novaplus/Roxane   00054-8404-11     SOL, IH    0.02%       2.5ml 25s            44.06            3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH    0.02%       2.5ml 25s            44.06            3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH    0.02%       2.5ml 30s            52.87            3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH    0.02%       2.5ml 30s            52.87            3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-21     SOL, IH    0.02%       2.5ml 60s           105.74            3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-21     SOL, IH    0.02%       2.5ml 60s           105.74            3.52           3.52

Unit dose form: SOL, IH - 0.02%                                                                                 J7644KO & KP    $      3.52
Unit dose amt.: 0.5mg                                                                                                UD(mg) x            0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                      =            1.76
                                                                                                                      J7051 -           0.19
                                                                                                                           =            1.57
                                                                                                                     UD(mg) ÷            0.5
                                                                                                                J7644KQ         $      3.14

                                                                                    Oct 02                                                                       J7644 K0518.xls


REVISED ARRAY - DEY ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                               EFFECTIVE DATE:      4/1/2000
                                                                                                                                           Previous  Current             Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                            Price     Price              95%
            unit dose form, per milligram                                                                                       J7644KO     $ 3.52 $       3.52      $       3.34
                                                                                                                                J7644KP     $ 3.52 $       3.52      $       3.34
SOURCE: July 2002 Redbook Database                                                                                              J7644KQ     $ 3.14 $       3.14      $       2.98

                                                                                                                                STATUS:        No Change =
                                                                                                                                               Changed Fee = **
                                                                                                                                               Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                 NDC          FORM      STRENGTH     QUANTITY      AWP        PRICE       PRICE         ARRAY        STATUS
                                                                                                                   PER MG          ALL
Dey                                   49502-0685-03     SOL, IH    0.02%       2.5ml 25s             8.62            0.69          0.69
Dey                                   49502-0685-33     SOL, IH    0.02%       2.5ml 30s             9.28            0.62          0.62
Dey                                   49502-0685-60     SOL, IH    0.02%       2.5ml 60s            18.89            0.63          0.63
Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH    0.02%       2.5ml 25s            44.06            3.52          3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-13     SOL, IH    0.02%       2.5ml 30s            52.87            3.52          3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-21     SOL, IH    0.02%       2.5ml 60s           105.74            3.52          3.52
Alpharma USPD                         00472-0751-60     SOL, IH    0.02%       2.5ml 60s           118.80            3.96          3.96            **
Alpharma USPD                         00472-0751-23     SOL, IH    0.02%       2.5ml 25s            56.50            4.52          4.52            **
Alpharma USPD                         00472-0751-30     SOL, IH    0.02%       2.5ml 30s            67.80            4.52          4.52            **
Apotex                                60505-0806-01     SOL, IH    0.02%       2.5ml 25s            56.00            4.48          4.48
Allscripts                            54569-4910-00     SOL, IH    0.02%       2.5ml 25s            18.62            1.49          1.49
Ivax Pharm                            00172-6407-44     SOL, IH    0.02%       2.5ml 25s            44.10            3.53          3.53
Ivax Pharm                            00172-6407-49     SOL, IH    0.02%       2.5ml 60s           105.60            3.52          3.52
Phys Total Care                       54868-4082-00     SOL, IH    0.02%       2.5ml 60s            42.25            1.41          1.41
Phys Total Care                       54868-4082-01     SOL, IH    0.02%       2.5ml 25s            23.54            1.88          1.88
                                                                                                                                MEDIAN         $   3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              00597-0080-62     SOL, IH    0.02%       2.5ml 25s            73.09            5.85
Ipratropium Bromide-Novaplus/Roxane   00054-8404-11     SOL, IH    0.02%       2.5ml 25s            44.06            3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-13     SOL, IH    0.02%       2.5ml 30s            52.87            3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-21     SOL, IH    0.02%       2.5ml 60s           105.74            3.52           3.52

Unit dose form: SOL, IH - 0.02%                                                                                 J7644KO & KP    $      3.52
Unit dose amt.: 0.5mg                                                                                                UD(mg) x            0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                      =            1.76
                                                                                                                      J7051 -           0.19
                                                                                                                           =            1.57
                                                                                                                     UD(mg) ÷            0.5
                                                                                                                J7644KQ         $      3.14

                                                                                    Oct 02                                                                       J7644 K0518.xls




                                                                                                                                                                                    2002 Q4
                                                                                                                                                                                          1
                                                                                      30
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 31 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                          EFFECTIVE DATE:      4/1/2000
                                                                                                                                                      Previous  Current               Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                                       Price     Price                95%
            unit dose form, per milligram                                                                                                  J7644KO     $ 3.52 $       3.52        $       3.34
                                                                                                                                           J7644KP     $ 3.52 $       3.52        $       3.34
SOURCE: July 2002 Redbook Database                                                                                                         J7644KQ     $ 3.14 $       3.14        $       2.98

                                                                                                                                           STATUS:         No Change =
                                                                                                                                                           Changed Fee = **
                                                                                                                                                           Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                   NDC           FORM      STRENGTH          QUANTITY        AWP        PRICE        PRICE         ARRAY         STATUS
                                                                                                                              PER MG          ALL
Dey                                     49502-0685-03     SOL, IH       0.02%           2.5ml 25s             44.10             3.53          3.53
Dey                                     49502-0685-33     SOL, IH       0.02%           2.5ml 30s             52.80             3.52          3.52
Dey                                     49502-0685-60     SOL, IH       0.02%           2.5ml 60s            105.60             3.52          3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8402-11     SOL, IH       0.02%           2.5ml 25s              9.03             0.72          0.72
Ipratropium Bromide-Novaplus/Roxane     00054-8402-13     SOL, IH       0.02%           2.5ml 30s             11.19             0.75          0.75
Ipratropium Bromide-Novaplus/Roxane     00054-8402-21     SOL, IH       0.02%           2.5ml 60s             19.12             0.64          0.64
Alpharma USPD                           00472-0751-60     SOL, IH       0.02%           2.5ml 60s            118.80             3.96          3.96             **
Alpharma USPD                           00472-0751-23     SOL, IH       0.02%           2.5ml 25s             56.50             4.52          4.52             **
Alpharma USPD                           00472-0751-30     SOL, IH       0.02%           2.5ml 30s             67.80             4.52          4.52             **
Apotex                                  60505-0806-01     SOL, IH       0.02%           2.5ml 25s             56.00             4.48          4.48
Allscripts                              54569-4910-00     SOL, IH       0.02%           2.5ml 25s             18.62             1.49          1.49
Ivax Pharm                              00172-6407-44     SOL, IH       0.02%           2.5ml 25s             44.10             3.53          3.53
Ivax Pharm                              00172-6407-49     SOL, IH       0.02%           2.5ml 60s            105.60             3.52          3.52
Phys Total Care                         54868-4082-00     SOL, IH       0.02%           2.5ml 60s             42.25             1.41          1.41
Phys Total Care                         54868-4082-01     SOL, IH       0.02%           2.5ml 25s             23.54             1.88          1.88
                                                                                                                                           MEDIAN          $   3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                00597-0080-62     SOL, IH       0.02%           2.5ml 25s            73.09              5.85
Ipratropium Bromide-Novaplus/Roxane     00054-8404-11     SOL, IH       0.02%           2.5ml 25s             44.06             3.52           3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8404-13     SOL, IH       0.02%           2.5ml 30s             52.87             3.52           3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8404-21     SOL, IH       0.02%           2.5ml 60s            105.74             3.52           3.52

Unit dose form: SOL, IH - 0.02%                                                                                           J7644KO & KP     $       3.52
Unit dose amt.: 0.5mg                                                                                                          UD(mg) x              0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                                =              1.76
                                                                                                                                J7051 -             0.19
                                                                                                                                     =              1.57
                                                                                                                               UD(mg) ÷              0.5
                                                                                                                          J7644KQ          $       3.14

                                                                                         Oct 02                                                                              J7644 K0518.xls


REVISED ARRAY - DEY & ROXANE

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                          EFFECTIVE DATE:      4/1/2000
                                                                                                                                                      Previous  Current               Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                                       Price     Price                95%
            unit dose form, per milligram                                                                                                  J7644KO     $ 3.52 $       1.49        $       1.42
                                                                                                                                           J7644KP     $ 3.52 $       1.49        $       1.42
SOURCE: July 2002 Redbook Database                                                                                                         J7644KQ     $ 3.14 $       1.11        $       1.05

                                                                                                                                           STATUS:         No Change =
                                                                                                                                                           Changed Fee = **
                                                                                                                                                           Source Deleted = ##

   MANUFACTURER/DISTRIBUTOR                  NDC           FORM      STRENGTH          QUANTITY        AWP        PRICE        PRICE         ARRAY         STATUS
                                                                                                                              PER MG          ALL
Dey                                     49502-0685-03     SOL, IH       0.02%           2.5ml 25s              8.62             0.69          0.69
Dey                                     49502-0685-33     SOL, IH       0.02%           2.5ml 30s              9.28             0.62          0.62
Dey                                     49502-0685-60     SOL, IH       0.02%           2.5ml 60s             18.89             0.63          0.63
Ipratropium Bromide-Novaplus/Roxane     00054-8402-11     SOL, IH       0.02%           2.5ml 25s              9.03             0.72          0.72
Ipratropium Bromide-Novaplus/Roxane     00054-8402-13     SOL, IH       0.02%           2.5ml 30s             11.19             0.75          0.75
Ipratropium Bromide-Novaplus/Roxane     00054-8402-21     SOL, IH       0.02%           2.5ml 60s             19.12             0.64          0.64
Alpharma USPD                           00472-0751-60     SOL, IH       0.02%           2.5ml 60s            118.80             3.96          3.96             **
Alpharma USPD                           00472-0751-23     SOL, IH       0.02%           2.5ml 25s             56.50             4.52          4.52             **
Alpharma USPD                           00472-0751-30     SOL, IH       0.02%           2.5ml 30s             67.80             4.52          4.52             **
Apotex                                  60505-0806-01     SOL, IH       0.02%           2.5ml 25s             56.00             4.48          4.48
Allscripts                              54569-4910-00     SOL, IH       0.02%           2.5ml 25s             18.62             1.49          1.49
Ivax Pharm                              00172-6407-44     SOL, IH       0.02%           2.5ml 25s             44.10             3.53          3.53
Ivax Pharm                              00172-6407-49     SOL, IH       0.02%           2.5ml 60s            105.60             3.52          3.52
Phys Total Care                         54868-4082-00     SOL, IH       0.02%           2.5ml 60s             42.25             1.41          1.41
Phys Total Care                         54868-4082-01     SOL, IH       0.02%           2.5ml 25s             23.54             1.88          1.88
                                                                                                                                           MEDIAN          $   1.49
BRAND NAMES:
Atrovent/Boehr Ingelheim                00597-0080-62     SOL, IH       0.02%           2.5ml 25s            73.09              5.85
Ipratropium Bromide-Novaplus/Roxane     00054-8404-11     SOL, IH       0.02%           2.5ml 25s             44.06             3.52           3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8404-13     SOL, IH       0.02%           2.5ml 30s             52.87             3.52           3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8404-21     SOL, IH       0.02%           2.5ml 60s            105.74             3.52           3.52

Unit dose form: SOL, IH - 0.02%                                                                                           J7644KO & KP     $       1.49
Unit dose amt.: 0.5mg                                                                                                          UD(mg) x              0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                                =              1.76
                                                                                                                                J7051 -             0.19
                                                                                                                                     =              1.57
                                                                                                                               UD(mg) ÷              0.5
                                                                                                                          J7644KQ          $       1.11

                                                                                         Oct 02                                                                              J7644 K0518.xls


NOTES:

1. Source: Hard copy arrays, AWP033-1243 and AWP038-1461
2. According to the carrier array document, the Medicare allowance amounts are calculated in cells K6-K8 of the original array and cells K56-K58, K103-K105, and K150-K152 of the revised
arrays. The allowance amounts for the KO and KP modifiers are 95% of the median of the "ARRAY ALL" values. The allowance amount for the KQ modifier is 95% of the median of the "ARRAY
ALL" values adjusted by unit dose and compounding factors.
3. The original array contained several keying errors of NDC numbers. The revised arrays contain corrected NDC numbers.
4. The original array contained duplicate entries of the 3 Dey products. The duplicate entries of the Dey products have been removed from the revised arrays.




                                                                                                                                                                                                 2002 Q4
                                                                                                                                                                                                       2
                                                                                            31
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 32 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                        EFFECTIVE DATE:              4/1/2000
                                                                                                                                     Previous         Current          Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                      Price            Price           95%
            unit dose form, per milligram                                                                                J7644KO     $    3.52      $       3.52   $       3.34
                                                                                                                         J7644KP     $    3.52      $       3.52   $       3.34
SOURCE: October 2002 Redbook Database                                                                                    J7644KQ     $    3.14      $       3.14   $       2.98

                                                                                                                         STATUS:        No Change =
                                                                                                                                        Changed Fee = **
                                                                                                                                        Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                 NDC          FORM         STRENGTH       QUANTITY     AWP         PRICE         ARRAY         STATUS
                                                                                                PRICE       PER MG          ALL
Dey                                   49502-0685-03     SOL, IH        0.02%        2.5ml 25s    44.10        3.53          3.53
Dey                                    49502-685030     SOL, IH        0.02%        2.5ml 25s    44.10        3.53          3.53
Dey                                   49502-0685-33     SOL, IH        0.02%        2.5ml 30s    52.80        3.52          3.52
Dey                                   49502-0685330     SOL, IH        0.02%        2.5ml 30s    52.80        3.52          3.52
Dey                                   49502-0685600     SOL, IH        0.02%        2.5ml 60s   105.60        3.52          3.52
Dey                                   49502-0685-60     SOL, IH        0.02%        2.5ml 60s   105.60        3.52          3.52
Alpharma USPD                         00472-0751-60     SOL, IH        0.02%        2.5ml 60s   118.80        3.96          3.96
Alpharma USPD                         00472-0751-23     SOL, IH        0.02%        2.5ml 25s    56.50        4.52          4.52
Alpharma USPD                         00472-0751-30     SOL, IH        0.02%        2.5ml 30s    67.80        4.52          4.52
Apotex                                60505-0806-01     SOL, IH        0.02%        2.5ml 25s    56.00        4.48          4.48
Allscripts                            54569-4910-00     SOL, IH        0.02%        2.5ml 25s    18.46        1.48          1.48            **
Ivax Pharm                            00172-6407-44     SOL, IH        0.02%        2.5ml 25s    44.10        3.53          3.53
Ivax Pharm                            00172-6407-49     SOL, IH        0.02%        2.5ml 60s   105.60        3.52          3.52
Phys Total Care                       54868-4082-00     SOL, IH        0.02%        2.5ml 60s    42.25        1.41          1.41
Phys Total Care                       54868-4082-01     SOL, IH        0.02%        2.5ml 25s    23.54        1.88          1.88
                                                                                                                         MEDIAN         $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              00597-0080-62     SOL, IH        0.02%        2.5ml 25s    73.09        5.85
Ipratropium Bromide-Novaplus/Roxane   00054-8404-11     SOL, IH        0.02%        2.5ml 25s    44.06        3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH        0.02%        2.5ml 25s    44.06        3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH        0.02%        2.5ml 30s    52.87        3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH        0.02%        2.5ml 30s    52.87        3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-21     SOL, IH        0.02%        2.5ml 60s   105.74        3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-21     SOL, IH        0.02%        2.5ml 60s   105.74        3.52           3.52

Unit dose form: SOL, IH - 0.02%                                                                          J7644KO & KP    $      3.52
Unit dose amt.: 0.5mg                                                                                         UD(mg) x            0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                               =           1.76
                                                                                                               J7051 -           0.19
                                                                                                                    =           1.57
                                                                                                              UD(mg) ÷            0.5
                                                                                                         J7644KQ         $      3.14

                                                                                     Jan 03                                                                   J7644 K0518.xls


REVISED ARRAY - DEY ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                        EFFECTIVE DATE:              4/1/2000
                                                                                                                                     Previous         Current          Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                      Price            Price           95%
            unit dose form, per milligram                                                                                J7644KO     $    3.52      $       3.52   $       3.34
                                                                                                                         J7644KP     $    3.52      $       3.52   $       3.34
SOURCE: October 2002 Redbook Database                                                                                    J7644KQ     $    3.14      $       3.14   $       2.98

                                                                                                                         STATUS:        No Change =
                                                                                                                                        Changed Fee = **
                                                                                                                                        Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                 NDC          FORM         STRENGTH       QUANTITY     AWP         PRICE         ARRAY         STATUS
                                                                                                PRICE       PER MG          ALL
Dey                                   49502-0685-03     SOL, IH        0.02%        2.5ml 25s     8.52        0.68          0.68
Dey                                   49502-0685-33     SOL, IH        0.02%        2.5ml 30s     9.11        0.61          0.61
Dey                                   49502-0685-60     SOL, IH        0.02%        2.5ml 60s    18.65        0.62          0.62
Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH        0.02%        2.5ml 25s    44.06        3.52          3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-13     SOL, IH        0.02%        2.5ml 30s    52.87        3.52          3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-21     SOL, IH        0.02%        2.5ml 60s   105.74        3.52          3.52
Alpharma USPD                         00472-0751-60     SOL, IH        0.02%        2.5ml 60s   118.80        3.96          3.96
Alpharma USPD                         00472-0751-23     SOL, IH        0.02%        2.5ml 25s    56.50        4.52          4.52
Alpharma USPD                         00472-0751-30     SOL, IH        0.02%        2.5ml 30s    67.80        4.52          4.52
Apotex                                60505-0806-01     SOL, IH        0.02%        2.5ml 25s    56.00        4.48          4.48
Allscripts                            54569-4910-00     SOL, IH        0.02%        2.5ml 25s    18.46        1.48          1.48            **
Ivax Pharm                            00172-6407-44     SOL, IH        0.02%        2.5ml 25s    44.10        3.53          3.53
Ivax Pharm                            00172-6407-49     SOL, IH        0.02%        2.5ml 60s   105.60        3.52          3.52
Phys Total Care                       54868-4082-00     SOL, IH        0.02%        2.5ml 60s    42.25        1.41          1.41
Phys Total Care                       54868-4082-01     SOL, IH        0.02%        2.5ml 25s    23.54        1.88          1.88
                                                                                                                         MEDIAN         $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              00597-0080-62     SOL, IH        0.02%        2.5ml 25s    73.09        5.85
Ipratropium Bromide-Novaplus/Roxane   00054-8404-11     SOL, IH        0.02%        2.5ml 25s    44.06        3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-13     SOL, IH        0.02%        2.5ml 30s    52.87        3.52           3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-21     SOL, IH        0.02%        2.5ml 60s   105.74        3.52           3.52

Unit dose form: SOL, IH - 0.02%                                                                          J7644KO & KP    $      3.52
Unit dose amt.: 0.5mg                                                                                         UD(mg) x            0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                               =           1.76
                                                                                                               J7051 -           0.19
                                                                                                                    =           1.57
                                                                                                              UD(mg) ÷            0.5
                                                                                                         J7644KQ         $      3.14

                                                                                     Jan 03                                                                   J7644 K0518.xls




                                                                                                                                                                                  2003 Q1
                                                                                                                                                                                        1
                                                                                     32
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 33 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                      EFFECTIVE DATE:                 4/1/2000
                                                                                                                                                   Previous            Current          Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                                    Price               Price           95%
            unit dose form, per milligram                                                                                              J7644KO     $    3.52         $       3.52   $       3.34
                                                                                                                                       J7644KP     $    3.52         $       3.52   $       3.34
SOURCE: October 2002 Redbook Database                                                                                                  J7644KQ     $    3.14         $       3.14   $       2.98

                                                                                                                                       STATUS:           No Change =
                                                                                                                                                         Changed Fee = **
                                                                                                                                                         Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                    NDC              FORM         STRENGTH       QUANTITY         AWP            PRICE         ARRAY            STATUS
                                                                                                           PRICE          PER MG          ALL
Dey                                      49502-0685-03        SOL, IH          0.02%       2.5ml 25s        44.10           3.53          3.53
Dey                                      49502-0685-33        SOL, IH          0.02%       2.5ml 30s        52.80           3.52          3.52
Dey                                      49502-0685-60        SOL, IH          0.02%       2.5ml 60s       105.60           3.52          3.52
Ipratropium Bromide-Novaplus/Roxane      00054-8402-11        SOL, IH          0.02%       2.5ml 25s         8.97           0.72          0.72
Ipratropium Bromide-Novaplus/Roxane      00054-8402-13        SOL, IH          0.02%       2.5ml 30s        11.05           0.74          0.74
Ipratropium Bromide-Novaplus/Roxane      00054-8402-21        SOL, IH          0.02%       2.5ml 60s        18.99           0.63          0.63
Alpharma USPD                            00472-0751-60        SOL, IH          0.02%       2.5ml 60s       118.80           3.96          3.96
Alpharma USPD                            00472-0751-23        SOL, IH          0.02%       2.5ml 25s        56.50           4.52          4.52
Alpharma USPD                            00472-0751-30        SOL, IH          0.02%       2.5ml 30s        67.80           4.52          4.52
Apotex                                   60505-0806-01        SOL, IH          0.02%       2.5ml 25s        56.00           4.48          4.48
Allscripts                               54569-4910-00        SOL, IH          0.02%       2.5ml 25s        18.46           1.48          1.48               **
Ivax Pharm                               00172-6407-44        SOL, IH          0.02%       2.5ml 25s        44.10           3.53          3.53
Ivax Pharm                               00172-6407-49        SOL, IH          0.02%       2.5ml 60s       105.60           3.52          3.52
Phys Total Care                          54868-4082-00        SOL, IH          0.02%       2.5ml 60s        42.25           1.41          1.41
Phys Total Care                          54868-4082-01        SOL, IH          0.02%       2.5ml 25s        23.54           1.88          1.88
                                                                                                                                       MEDIAN            $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                 00597-0080-62        SOL, IH          0.02%       2.5ml 25s       73.09            5.85
Ipratropium Bromide-Novaplus/Roxane      00054-8404-11        SOL, IH          0.02%       2.5ml 25s        44.06           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane      00054-8404-13        SOL, IH          0.02%       2.5ml 30s        52.87           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane      00054-8404-21        SOL, IH          0.02%       2.5ml 60s       105.74           3.52            3.52

Unit dose form: SOL, IH - 0.02%                                                                                       J7644KO & KP      $        3.52
Unit dose amt.: 0.5mg                                                                                                      UD(mg) x                0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                            =               1.76
                                                                                                                            J7051 -               0.19
                                                                                                                                 =               1.57
                                                                                                                           UD(mg) ÷                0.5
                                                                                                                      J7644KQ           $        3.14

                                                                                             Jan 03                                                                            J7644 K0518.xls


REVISED ARRAY - DEY & ROXANE

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                      EFFECTIVE DATE:                 4/1/2000
                                                                                                                                                   Previous            Current          Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                                    Price               Price           95%
            unit dose form, per milligram                                                                                              J7644KO     $    3.52         $       1.48   $       1.41
                                                                                                                                       J7644KP     $    3.52         $       1.48   $       1.41
SOURCE: October 2002 Redbook Database                                                                                                  J7644KQ     $    3.14         $       1.10   $       1.05

                                                                                                                                       STATUS:           No Change =
                                                                                                                                                         Changed Fee = **
                                                                                                                                                         Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                    NDC              FORM         STRENGTH       QUANTITY         AWP            PRICE         ARRAY            STATUS
                                                                                                           PRICE          PER MG          ALL
Dey                                      49502-0685-03        SOL, IH          0.02%       2.5ml 25s         8.52           0.68          0.68
Dey                                      49502-0685-33        SOL, IH          0.02%       2.5ml 30s         9.11           0.61          0.61
Dey                                      49502-0685-60        SOL, IH          0.02%       2.5ml 60s        18.65           0.62          0.62
Ipratropium Bromide-Novaplus/Roxane      00054-8402-11        SOL, IH          0.02%       2.5ml 25s         8.97           0.72          0.72
Ipratropium Bromide-Novaplus/Roxane      00054-8402-13        SOL, IH          0.02%       2.5ml 30s        11.05           0.74          0.74
Ipratropium Bromide-Novaplus/Roxane      00054-8402-21        SOL, IH          0.02%       2.5ml 60s        18.99           0.63          0.63
Alpharma USPD                            00472-0751-60        SOL, IH          0.02%       2.5ml 60s       118.80           3.96          3.96
Alpharma USPD                            00472-0751-23        SOL, IH          0.02%       2.5ml 25s        56.50           4.52          4.52
Alpharma USPD                            00472-0751-30        SOL, IH          0.02%       2.5ml 30s        67.80           4.52          4.52
Apotex                                   60505-0806-01        SOL, IH          0.02%       2.5ml 25s        56.00           4.48          4.48
Allscripts                               54569-4910-00        SOL, IH          0.02%       2.5ml 25s        18.46           1.48          1.48               **
Ivax Pharm                               00172-6407-44        SOL, IH          0.02%       2.5ml 25s        44.10           3.53          3.53
Ivax Pharm                               00172-6407-49        SOL, IH          0.02%       2.5ml 60s       105.60           3.52          3.52
Phys Total Care                          54868-4082-00        SOL, IH          0.02%       2.5ml 60s        42.25           1.41          1.41
Phys Total Care                          54868-4082-01        SOL, IH          0.02%       2.5ml 25s        23.54           1.88          1.88
                                                                                                                                       MEDIAN            $    1.48
BRAND NAMES:
Atrovent/Boehr Ingelheim                 00597-0080-62        SOL, IH          0.02%       2.5ml 25s       73.09            5.85
Ipratropium Bromide-Novaplus/Roxane      00054-8404-11        SOL, IH          0.02%       2.5ml 25s        44.06           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane      00054-8404-13        SOL, IH          0.02%       2.5ml 30s        52.87           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane      00054-8404-21        SOL, IH          0.02%       2.5ml 60s       105.74           3.52            3.52

Unit dose form: SOL, IH - 0.02%                                                                                       J7644KO & KP      $        1.48
Unit dose amt.: 0.5mg                                                                                                      UD(mg) x                0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                            =               0.74
                                                                                                                            J7051 -               0.19
                                                                                                                                 =               0.55
                                                                                                                           UD(mg) ÷                0.5
                                                                                                                      J7644KQ           $        1.10

                                                                                             Jan 03                                                                            J7644 K0518.xls


NOTES:

1. Source: Hard copy array, AWP033-1810
2. According to the carrier array document, the Medicare allowance amounts are calculated in cells K6-K8 of the original array and cells K56-K58, K103-K105, and K150-K152 of the revised
arrays. The allowance amounts for the KO and KP modifiers are 95% of the median of the "ARRAY ALL" values. The allowance amount for the KQ modifier is 95% of the median of the "ARRAY
ALL" values adjusted by unit dose and compounding factors.
3. The original array contained several keying errors of NDC numbers. The revised arrays contain corrected NDC numbers.
4. The original array contained duplicate entries of the 3 Dey products. The duplicate entries of the Dey products have been removed from the revised arrays.




                                                                                                                                                                                                   2003 Q1
                                                                                                                                                                                                         2
                                                                                            33
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 34 of 75



 ORIGINAL ARRAY (Per Carrier Array Documents)

 HCPCS CODE: J7644 (K0518 3/31/00)                                  April 03                                        EFFECTIVE DATE:              4/1/2000
                                                                                                                                Previous         Current          Current
 NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                Price            Price           95%
             unit dose form, per milligram                                                                          J7644KO     $    3.52      $       3.52   $       3.34
                                                                                                                    J7644KP     $    3.52      $       3.52   $       3.34
 SOURCE: Jan 2003 Redbook Database                                                                                  J7644KQ     $    3.14      $       3.14   $       2.98

                                                                                                                    STATUS:        No Change =
                                                                                                                                   Changed Fee = **
                                                                                                                                   Source Deleted = ##

   MANUFACTURER/DISTRIBUTOR                 NDC          FORM      STRENGTH QUANTITY        AWP         PRICE         ARRAY         STATUS
                                                                                           PRICE       PER MG          ALL
 Dey                                   49502-0685-03     SOL, IH    0.02%      2.5ml 25s    44.10        3.53          3.53
 Dey                                    49502-685030     SOL, IH    0.02%      2.5ml 25s    44.10        3.53          3.53
 Dey                                   49502-0685-33     SOL, IH    0.02%      2.5ml 30s    52.80        3.52          3.52
 Dey                                   49502-0685330     SOL, IH    0.02%      2.5ml 30s    52.80        3.52          3.52
 Dey                                   49502-0685600     SOL, IH    0.02%      2.5ml 60s   105.60        3.52          3.52
 Dey                                   49502-0685-60     SOL, IH    0.02%      2.5ml 60s   105.60        3.52          3.52
 Alpharma USPD                         00472-0751-60     SOL, IH    0.02%      2.5ml 60s   118.80        3.96          3.96
 Alpharma USPD                         00472-0751-23     SOL, IH    0.02%      2.5ml 25s    56.50        4.52          4.52
 Alpharma USPD                         00472-0751-30     SOL, IH    0.02%      2.5ml 30s    67.80        4.52          4.52
 Apotex                                60505-0806-01     SOL, IH    0.02%      2.5ml 25s    56.00        4.48          4.48
 Allscripts                            54569-4910-00     SOL, IH    0.02%      2.5ml 25s    18.46        1.48          1.48            **
 Ivax Pharm                            00172-6407-44     SOL, IH    0.02%      2.5ml 25s    44.10        3.53          3.53
 Ivax Pharm                            00172-6407-49     SOL, IH    0.02%      2.5ml 60s   105.60        3.52          3.52
 Phys Total Care                       54868-4082-00     SOL, IH    0.02%      2.5ml 60s    42.25        1.41          1.41
 Phys Total Care                       54868-4082-01     SOL, IH    0.02%      2.5ml 25s    23.54        1.88          1.88
                                                                                                                    MEDIAN         $    3.52
 BRAND NAMES:
 Atrovent/Boehr Ingelheim              00597-0080-62     SOL, IH    0.02%      2.5ml 25s    73.09        5.85
 Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH    0.02%      2.5ml 25s    44.06        3.52           3.52
 Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH    0.02%      2.5ml 25s    44.06        3.52           3.52
 Ipratropium Bromide-Novaplus/Roxane   00054-8402-13     SOL, IH    0.02%      2.5ml 30s    52.87        3.52           3.52
 Ipratropium Bromide-Novaplus/Roxane   00054-8402-13     SOL, IH    0.02%      2.5ml 30s    52.87        3.52           3.52
 Ipratropium Bromide-Novaplus/Roxane   00054-8402-21     SOL, IH    0.02%      2.5ml 60s   105.74        3.52           3.52
 Ipratropium Bromide-Novaplus/Roxane   00054-8402-21     SOL, IH    0.02%      2.5ml 60s   105.74        3.52           3.52

 Unit dose form: SOL, IH - 0.02%                                                                    J7644KO & KP    $      3.52
 Unit dose amt.: 0.5mg                                                                                   UD(mg) x            0.5
 Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                         =           1.76
                                                                                                          J7051 -           0.19
                                                                                                               =           1.57
                                                                                                         UD(mg) ÷            0.5
                                                                                                    J7644KQ         $      3.14




 REVISED ARRAY - DEY ONLY

 HCPCS CODE: J7644 (K0518 3/31/00)                                  April 03                                        EFFECTIVE DATE:              4/1/2000
                                                                                                                                Previous         Current          Current
 NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                Price            Price           95%
             unit dose form, per milligram                                                                          J7644KO     $    3.52      $       3.52   $       3.34
                                                                                                                    J7644KP     $    3.52      $       3.52   $       3.34
 SOURCE: Jan 2003 Redbook Database                                                                                  J7644KQ     $    3.14      $       3.14   $       2.98

                                                                                                                    STATUS:        No Change =
                                                                                                                                   Changed Fee = **
                                                                                                                                   Source Deleted = ##

   MANUFACTURER/DISTRIBUTOR                 NDC          FORM      STRENGTH QUANTITY        AWP         PRICE         ARRAY         STATUS
                                                                                           PRICE       PER MG          ALL
 Dey                                   49502-0685-03     SOL, IH    0.02%      2.5ml 25s     7.34        0.59          0.59
 Dey                                   49502-0685-33     SOL, IH    0.02%      2.5ml 30s     8.26        0.55          0.55
 Dey                                   49502-0685-60     SOL, IH    0.02%      2.5ml 60s    16.74        0.56          0.56
 Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH    0.02%      2.5ml 25s    44.06        3.52          3.52
 Ipratropium Bromide-Novaplus/Roxane   00054-8402-13     SOL, IH    0.02%      2.5ml 30s    52.87        3.52          3.52
 Ipratropium Bromide-Novaplus/Roxane   00054-8402-21     SOL, IH    0.02%      2.5ml 60s   105.74        3.52          3.52
 Alpharma USPD                         00472-0751-60     SOL, IH    0.02%      2.5ml 60s   118.80        3.96          3.96
 Alpharma USPD                         00472-0751-23     SOL, IH    0.02%      2.5ml 25s    56.50        4.52          4.52
 Alpharma USPD                         00472-0751-30     SOL, IH    0.02%      2.5ml 30s    67.80        4.52          4.52
 Apotex                                60505-0806-01     SOL, IH    0.02%      2.5ml 25s    56.00        4.48          4.48
 Allscripts                            54569-4910-00     SOL, IH    0.02%      2.5ml 25s    18.46        1.48          1.48            **
 Ivax Pharm                            00172-6407-44     SOL, IH    0.02%      2.5ml 25s    44.10        3.53          3.53
 Ivax Pharm                            00172-6407-49     SOL, IH    0.02%      2.5ml 60s   105.60        3.52          3.52
 Phys Total Care                       54868-4082-00     SOL, IH    0.02%      2.5ml 60s    42.25        1.41          1.41
 Phys Total Care                       54868-4082-01     SOL, IH    0.02%      2.5ml 25s    23.54        1.88          1.88
                                                                                                                    MEDIAN         $    3.52
 BRAND NAMES:
 Atrovent/Boehr Ingelheim              00597-0080-62     SOL, IH    0.02%      2.5ml 25s    73.09        5.85
 Ipratropium Bromide-Novaplus/Roxane   00054-8404-11     SOL, IH    0.02%      2.5ml 25s    44.06        3.52           3.52
 Ipratropium Bromide-Novaplus/Roxane   00054-8404-13     SOL, IH    0.02%      2.5ml 30s    52.87        3.52           3.52
 Ipratropium Bromide-Novaplus/Roxane   00054-8404-21     SOL, IH    0.02%      2.5ml 60s   105.74        3.52           3.52

 Unit dose form: SOL, IH - 0.02%                                                                    J7644KO & KP    $      3.52
 Unit dose amt.: 0.5mg                                                                                   UD(mg) x            0.5
 Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                         =           1.76
                                                                                                          J7051 -           0.19
                                                                                                               =           1.57
                                                                                                         UD(mg) ÷            0.5
                                                                                                    J7644KQ         $      3.14




                                                                                                                                                                             2003 Q2
                                                                                                                                                                                   1
                                                                                 34
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 35 of 75



 REVISED ARRAY - ROXANE ONLY

 HCPCS CODE: J7644 (K0518 3/31/00)                                         April 03                                               EFFECTIVE DATE:               4/1/2000
                                                                                                                                              Previous          Current          Current
 NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                              Price             Price           95%
             unit dose form, per milligram                                                                                        J7644KO     $    3.52       $       3.52   $       3.34
                                                                                                                                  J7644KP     $    3.52       $       3.52   $       3.34
 SOURCE: Jan 2003 Redbook Database                                                                                                J7644KQ     $    3.14       $       3.14   $       2.98

                                                                                                                                  STATUS:         No Change =
                                                                                                                                                  Changed Fee = **
                                                                                                                                                  Source Deleted = ##

   MANUFACTURER/DISTRIBUTOR                   NDC            FORM        STRENGTH QUANTITY            AWP            PRICE          ARRAY          STATUS
                                                                                                     PRICE          PER MG           ALL
 Dey                                     49502-0685-03       SOL, IH       0.02%       2.5ml 25s      44.10           3.53           3.53
 Dey                                     49502-0685-33       SOL, IH       0.02%       2.5ml 30s      52.80           3.52           3.52
 Dey                                     49502-0685-60       SOL, IH       0.02%       2.5ml 60s     105.60           3.52           3.52
 Ipratropium Bromide-Novaplus/Roxane     00054-8402-11       SOL, IH       0.02%       2.5ml 25s       8.87           0.71           0.71
 Ipratropium Bromide-Novaplus/Roxane     00054-8402-13       SOL, IH       0.02%       2.5ml 30s      10.95           0.73           0.73
 Ipratropium Bromide-Novaplus/Roxane     00054-8402-21       SOL, IH       0.02%       2.5ml 60s      18.53           0.62           0.62
 Alpharma USPD                           00472-0751-60       SOL, IH       0.02%       2.5ml 60s     118.80           3.96           3.96
 Alpharma USPD                           00472-0751-23       SOL, IH       0.02%       2.5ml 25s      56.50           4.52           4.52
 Alpharma USPD                           00472-0751-30       SOL, IH       0.02%       2.5ml 30s      67.80           4.52           4.52
 Apotex                                  60505-0806-01       SOL, IH       0.02%       2.5ml 25s      56.00           4.48           4.48
 Allscripts                              54569-4910-00       SOL, IH       0.02%       2.5ml 25s      18.46           1.48           1.48             **
 Ivax Pharm                              00172-6407-44       SOL, IH       0.02%       2.5ml 25s      44.10           3.53           3.53
 Ivax Pharm                              00172-6407-49       SOL, IH       0.02%       2.5ml 60s     105.60           3.52           3.52
 Phys Total Care                         54868-4082-00       SOL, IH       0.02%       2.5ml 60s      42.25           1.41           1.41
 Phys Total Care                         54868-4082-01       SOL, IH       0.02%       2.5ml 25s      23.54           1.88           1.88
                                                                                                                                  MEDIAN          $    3.52
 BRAND NAMES:
 Atrovent/Boehr Ingelheim                00597-0080-62       SOL, IH       0.02%       2.5ml 25s      73.09            5.85
 Ipratropium Bromide-Novaplus/Roxane     00054-8404-11       SOL, IH       0.02%       2.5ml 25s       44.06           3.52            3.52
 Ipratropium Bromide-Novaplus/Roxane     00054-8404-13       SOL, IH       0.02%       2.5ml 30s       52.87           3.52            3.52
 Ipratropium Bromide-Novaplus/Roxane     00054-8404-21       SOL, IH       0.02%       2.5ml 60s      105.74           3.52            3.52

 Unit dose form: SOL, IH - 0.02%                                                                                J7644KO & KP       $      3.52
 Unit dose amt.: 0.5mg                                                                                               UD(mg) x               0.5
 Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                     =              1.76
                                                                                                                      J7051 -              0.19
                                                                                                                           =              1.57
                                                                                                                     UD(mg) ÷               0.5
                                                                                                                J7644KQ            $      3.14




 REVISED ARRAY - DEY & ROXANE

 HCPCS CODE: J7644 (K0518 3/31/00)                                         April 03                                               EFFECTIVE DATE:               4/1/2000
                                                                                                                                              Previous          Current          Current
 NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                              Price             Price           95%
             unit dose form, per milligram                                                                                        J7644KO     $    3.52       $       1.48   $       1.41
                                                                                                                                  J7644KP     $    3.52       $       1.48   $       1.41
 SOURCE: Jan 2003 Redbook Database                                                                                                J7644KQ     $    3.14       $       1.10   $       1.05

                                                                                                                                  STATUS:         No Change =
                                                                                                                                                  Changed Fee = **
                                                                                                                                                  Source Deleted = ##

   MANUFACTURER/DISTRIBUTOR                   NDC            FORM        STRENGTH QUANTITY            AWP            PRICE          ARRAY          STATUS
                                                                                                     PRICE          PER MG           ALL
 Dey                                     49502-0685-03       SOL, IH       0.02%       2.5ml 25s       7.34           0.59           0.59
 Dey                                     49502-0685-33       SOL, IH       0.02%       2.5ml 30s       8.26           0.55           0.55
 Dey                                     49502-0685-60       SOL, IH       0.02%       2.5ml 60s      16.74           0.56           0.56
 Ipratropium Bromide-Novaplus/Roxane     00054-8402-11       SOL, IH       0.02%       2.5ml 25s       8.87           0.71           0.71
 Ipratropium Bromide-Novaplus/Roxane     00054-8402-13       SOL, IH       0.02%       2.5ml 30s      10.95           0.73           0.73
 Ipratropium Bromide-Novaplus/Roxane     00054-8402-21       SOL, IH       0.02%       2.5ml 60s      18.53           0.62           0.62
 Alpharma USPD                           00472-0751-60       SOL, IH       0.02%       2.5ml 60s     118.80           3.96           3.96
 Alpharma USPD                           00472-0751-23       SOL, IH       0.02%       2.5ml 25s      56.50           4.52           4.52
 Alpharma USPD                           00472-0751-30       SOL, IH       0.02%       2.5ml 30s      67.80           4.52           4.52
 Apotex                                  60505-0806-01       SOL, IH       0.02%       2.5ml 25s      56.00           4.48           4.48
 Allscripts                              54569-4910-00       SOL, IH       0.02%       2.5ml 25s      18.46           1.48           1.48             **
 Ivax Pharm                              00172-6407-44       SOL, IH       0.02%       2.5ml 25s      44.10           3.53           3.53
 Ivax Pharm                              00172-6407-49       SOL, IH       0.02%       2.5ml 60s     105.60           3.52           3.52
 Phys Total Care                         54868-4082-00       SOL, IH       0.02%       2.5ml 60s      42.25           1.41           1.41
 Phys Total Care                         54868-4082-01       SOL, IH       0.02%       2.5ml 25s      23.54           1.88           1.88
                                                                                                                                  MEDIAN          $    1.48
 BRAND NAMES:
 Atrovent/Boehr Ingelheim                00597-0080-62       SOL, IH       0.02%       2.5ml 25s      73.09            5.85
 Ipratropium Bromide-Novaplus/Roxane     00054-8404-11       SOL, IH       0.02%       2.5ml 25s       44.06           3.52            3.52
 Ipratropium Bromide-Novaplus/Roxane     00054-8404-13       SOL, IH       0.02%       2.5ml 30s       52.87           3.52            3.52
 Ipratropium Bromide-Novaplus/Roxane     00054-8404-21       SOL, IH       0.02%       2.5ml 60s      105.74           3.52            3.52

 Unit dose form: SOL, IH - 0.02%                                                                                J7644KO & KP       $      1.48
 Unit dose amt.: 0.5mg                                                                                               UD(mg) x               0.5
 Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                     =              0.74
                                                                                                                      J7051 -              0.19
                                                                                                                           =              0.55
                                                                                                                     UD(mg) ÷               0.5
                                                                                                                J7644KQ            $      1.10




 NOTES:

 1. Source: Hard copy array, AWP033-1653 - AWP033-1654
 2. According to the carrier array document, the Medicare allowance amounts are calculated in cells K6-K8 of the original array and cells K56-K58, K103-K105, and K150-K152 of the
 revised arrays. The allowance amounts for the KO and KP modifiers are 95% of the median of the "ARRAY ALL" values. The allowance amount for the KQ modifier is 95% of the median
 of the "ARRAY ALL" values adjusted by unit dose and compounding factors.
 3. The original array contained several keying errors of NDC numbers. The revised arrays contain corrected NDC numbers.
 4. The original array contained duplicate entries of the 3 Dey products. The duplicate entries of the Dey products have been removed from the revised arrays.




                                                                                                                                                                                            2003 Q2
                                                                                                                                                                                                  2
                                                                                         35
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 36 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                        EFFECTIVE DATE:              4/1/2000
                                                                                                                                     Previous         Current          Current
NAME OF DRUG: Ipratropium bromide, inhalation solution administered through DME,                                                       Price            Price           95%
            unit dose form, per milligram                                                                                J7644KO     $    3.52      $       3.52   $       3.34
                                                                                                                         J7644 KP    $    3.52      $       3.52   $       3.34
SOURCE: April 2003 Redbook Database                                                                                      J7644KQ     $    3.14      $       3.22   $       3.06

                                                                                                                         STATUS:        No Change =
                                                                                                                                        Changed Fee = **
                                                                                                                                        Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                 NDC          FORM         STRENGTH QUANTITY           AWP          PRICE        ARRAY         STATUS
                                                                                                PRICE        PER MG         ALL
Dey                                   49502-0685-03     SOL, IH        0.02%        2.5ml 25s    44.10         3.53         3.53
Dey                                   49502-0685003     SOL, IH        0.02%        2.5ml 25s    44.10         3.53         3.53
Dey                                   49502-0685-33     SOL, IH        0.02%        2.5ml 30s    52.80         3.52         3.52
Dey                                   49502-0685330     SOL, IH        0.02%        2.5ml 30s    52.80         3.52         3.52
Dey                                   49502-0685600     SOL, IH        0.02%        2.5ml 60s   105.60         3.52         3.52
Dey                                   49502-0685-60     SOL, IH        0.02%        2.5ml 60s   105.60         3.52         3.52
Alpharma USPD                          00472-0751-60    SOL, IH        0.02%        2.5ml 60s   118.80         3.96         3.96
Alpharma USPD                          00472-0751-23    SOL, IH        0.02%        2.5ml 25s    56.50         4.52         4.52
Alpharma USPD                          00472-0751-30    SOL, IH        0.02%        2.5ml 30s    67.80         4.52         4.52
Aslung Pharm L.P.                     665271-0001-25    SOL, IH        0.02%        2.5ml 25s    44.00         3.52         3.52
Aslung Pharm L.P.                      65271-0001-30    SOL, IH        0.02%        2.5ml 30s    52.80         3.52         3.52
Aslung Pharm L.P.                      65271-0001-60    SOL, IH        0.02%        2.5ml 60s   105.60         3.52         3.52
Aslung Pharm L.P.                      65271-0001-12    SOL, IH        0.02%       2.5ml 120s   211.20         3.52         3.52
Apotex                                60505-0806-01     SOL, IH        0.02%        2.5ml 25s    56.00         4.48         4.48
Allscripts                            54569-4910-00     SOL, IH        0.02%        2.5ml 25s    18.84         1.51         1.51            **
Ivax Pharm                            00172-6407-44     SOL, IH        0.02%        2.5ml 25s    44.10         3.53         3.53
Ivax Pharm                            00172-6407-49     SOL, IH        0.02%        2.5ml 60s   105.60         3.52         3.52
Phys Total Care                       54868-4082-00     SOL, IH        0.02%        2.5ml 60s    42.25         1.41         1.41
Phys Total Care                       54868-4082-01     SOL, IH        0.02%        2.5ml 25s    23.54         1.88         1.88
                                                                                                                         MEDIAN         $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              00597-0080-62     SOL, IH        0.02%       2.5ml 25s     84.06         6.72
Ipratropium Bromide-Novaplus/Roxane   00054-8402-11     SOL, IH        0.02%       2.5ml 25s     44.06         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-13     SOL, IH        0.02%       2.5ml 30s     52.87         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8402-21     SOL, IH        0.02%       2.5ml 60s    105.74         3.52          3.52

Unit dose form: SOL, IH - 0.02%                                                                          J7644KO & KP    $      3.52
Unit dose amt.: 0.5mg                                                                                         UD(mg) x            0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                               =           1.76
                                                                                                               J7051 -           0.15
                                                                                                                    =           1.61
                                                                                                              UD(mg) ÷            0.5
                                                                                                         J7644KQ         $      3.22

                                                                                    July 03                                                                   J7644 K0518.xls

REVISED ARRAY - DEY ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                        EFFECTIVE DATE:              4/1/2000
                                                                                                                                     Previous         Current          Current
NAME OF DRUG: Ipratropium bromide, inhalation solution administered through DME,                                                       Price            Price           95%
            unit dose form, per milligram                                                                                J7644KO     $    3.52      $       3.52   $       3.34
                                                                                                                         J7644 KP    $    3.52      $       3.52   $       3.34
SOURCE: April 2003 Redbook Database                                                                                      J7644KQ     $    3.14      $       3.22   $       3.06

                                                                                                                         STATUS:        No Change =
                                                                                                                                        Changed Fee = **
                                                                                                                                        Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                 NDC          FORM         STRENGTH QUANTITY           AWP          PRICE        ARRAY         STATUS
                                                                                                PRICE        PER MG         ALL
Dey                                   49502-0685-03     SOL, IH        0.02%        2.5ml 25s     6.86         0.55         0.55
Dey                                   49502-0685-33     SOL, IH        0.02%        2.5ml 30s     7.91         0.53         0.53
Dey                                   49502-0685-60     SOL, IH        0.02%        2.5ml 60s    15.78         0.53         0.53
Alpharma USPD                         00472-0751-60     SOL, IH        0.02%        2.5ml 60s   118.80         3.96         3.96
Alpharma USPD                         00472-0751-23     SOL, IH        0.02%        2.5ml 25s    56.50         4.52         4.52
Alpharma USPD                         00472-0751-30     SOL, IH        0.02%        2.5ml 30s    67.80         4.52         4.52
Aslung Pharm L.P.                     65271-0001-25     SOL, IH        0.02%        2.5ml 25s    44.00         3.52         3.52
Aslung Pharm L.P.                     65271-0001-30     SOL, IH        0.02%        2.5ml 30s    52.80         3.52         3.52
Aslung Pharm L.P.                     65271-0001-60     SOL, IH        0.02%        2.5ml 60s   105.60         3.52         3.52
Aslung Pharm L.P.                     65271-0001-12     SOL, IH        0.02%       2.5ml 120s   211.20         3.52         3.52
Apotex                                60505-0806-01     SOL, IH        0.02%        2.5ml 25s    56.00         4.48         4.48
Allscripts                            54569-4910-00     SOL, IH        0.02%        2.5ml 25s    18.84         1.51         1.51            **
Ivax Pharm                            00172-6407-44     SOL, IH        0.02%        2.5ml 25s    44.10         3.53         3.53
Ivax Pharm                            00172-6407-49     SOL, IH        0.02%        2.5ml 60s   105.60         3.52         3.52
Phys Total Care                       54868-4082-00     SOL, IH        0.02%        2.5ml 60s    42.25         1.41         1.41
Phys Total Care                       54868-4082-01     SOL, IH        0.02%        2.5ml 25s    23.54         1.88         1.88
                                                                                                                         MEDIAN         $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim              00597-0080-62     SOL, IH        0.02%       2.5ml 25s     84.06         6.72
Ipratropium Bromide-Novaplus/Roxane   00054-8404-11     SOL, IH        0.02%       2.5ml 25s     44.06         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-13     SOL, IH        0.02%       2.5ml 30s     52.87         3.52          3.52
Ipratropium Bromide-Novaplus/Roxane   00054-8404-21     SOL, IH        0.02%       2.5ml 60s    105.74         3.52          3.52

Unit dose form: SOL, IH - 0.02%                                                                          J7644KO & KP    $      3.52
Unit dose amt.: 0.5mg                                                                                         UD(mg) x            0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                               =           1.76
                                                                                                               J7051 -           0.15
                                                                                                                    =           1.61
                                                                                                              UD(mg) ÷            0.5
                                                                                                         J7644KQ         $      3.22

                                                                                    July 03                                                                   J7644 K0518.xls




                                                                                                                                                                                  2003 Q3
                                                                                                                                                                                        1
                                                                                    36
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 37 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                        EFFECTIVE DATE:                4/1/2000
                                                                                                                                                     Previous           Current          Current
NAME OF DRUG: Ipratropium bromide, inhalation solution administered through DME,                                                                       Price              Price           95%
            unit dose form, per milligram                                                                                                J7644KO     $    3.52        $       3.52   $       3.34
                                                                                                                                         J7644 KP    $    3.52        $       3.52   $       3.34
SOURCE: April 2003 Redbook Database                                                                                                      J7644KQ     $    3.14        $       3.22   $       3.06

                                                                                                                                         STATUS:          No Change =
                                                                                                                                                          Changed Fee = **
                                                                                                                                                          Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                    NDC               FORM          STRENGTH QUANTITY             AWP            PRICE           ARRAY           STATUS
                                                                                                           PRICE          PER MG            ALL
Dey                                      49502-0685-03          SOL, IH          0.02%       2.5ml 25s      44.10           3.53            3.53
Dey                                      49502-0685-33          SOL, IH          0.02%       2.5ml 30s      52.80           3.52            3.52
Dey                                      49502-0685-60          SOL, IH          0.02%       2.5ml 60s     105.60           3.52            3.52
Alpharma USPD                            00472-0751-60          SOL, IH          0.02%       2.5ml 60s     118.80           3.96            3.96
Alpharma USPD                            00472-0751-23          SOL, IH          0.02%       2.5ml 25s      56.50           4.52            4.52
Alpharma USPD                            00472-0751-30          SOL, IH          0.02%       2.5ml 30s      67.80           4.52            4.52
Aslung Pharm L.P.                        65271-0001-25          SOL, IH          0.02%       2.5ml 25s      44.00           3.52            3.52
Aslung Pharm L.P.                        65271-0001-30          SOL, IH          0.02%       2.5ml 30s      52.80           3.52            3.52
Aslung Pharm L.P.                        65271-0001-60          SOL, IH          0.02%       2.5ml 60s     105.60           3.52            3.52
Aslung Pharm L.P.                        65271-0001-12          SOL, IH          0.02%      2.5ml 120s     211.20           3.52            3.52
Apotex                                   60505-0806-01          SOL, IH          0.02%       2.5ml 25s      56.00           4.48            4.48
Allscripts                               54569-4910-00          SOL, IH          0.02%       2.5ml 25s      18.84           1.51            1.51              **
Ivax Pharm                               00172-6407-44          SOL, IH          0.02%       2.5ml 25s      44.10           3.53            3.53
Ivax Pharm                               00172-6407-49          SOL, IH          0.02%       2.5ml 60s     105.60           3.52            3.52
Phys Total Care                          54868-4082-00          SOL, IH          0.02%       2.5ml 60s      42.25           1.41            1.41
Phys Total Care                          54868-4082-01          SOL, IH          0.02%       2.5ml 25s      23.54           1.88            1.88
                                                                                                                                         MEDIAN           $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                 00597-0080-62          SOL, IH          0.02%       2.5ml 25s     84.06            6.72
Ipratropium Bromide-Novaplus/Roxane      00054-8404-11          SOL, IH          0.02%       2.5ml 25s      44.06           3.52              3.52
Ipratropium Bromide-Novaplus/Roxane      00054-8404-13          SOL, IH          0.02%       2.5ml 30s      52.87           3.52              3.52
Ipratropium Bromide-Novaplus/Roxane      00054-8404-21          SOL, IH          0.02%       2.5ml 60s     105.74           3.52              3.52

Unit dose form: SOL, IH - 0.02%                                                                                      J7644KO & KP         $       3.52
Unit dose amt.: 0.5mg                                                                                                     UD(mg) x                  0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                           =                 1.76
                                                                                                                           J7051 -                 0.15
                                                                                                                                =                 1.61
                                                                                                                          UD(mg) ÷                  0.5
                                                                                                                     J7644KQ              $       3.22

                                                                                              July 03                                                                           J7644 K0518.xls

REVISED ARRAY - DEY & ROXANE

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                        EFFECTIVE DATE:                4/1/2000
                                                                                                                                                     Previous           Current          Current
NAME OF DRUG: Ipratropium bromide, inhalation solution administered through DME,                                                                       Price              Price           95%
            unit dose form, per milligram                                                                                                J7644KO     $    3.52        $       3.52   $       3.34
                                                                                                                                         J7644 KP    $    3.52        $       3.52   $       3.34
SOURCE: April 2003 Redbook Database                                                                                                      J7644KQ     $    3.14        $       3.22   $       3.06

                                                                                                                                         STATUS:          No Change =
                                                                                                                                                          Changed Fee = **
                                                                                                                                                          Source Deleted = ##

  MANUFACTURER/DISTRIBUTOR                    NDC               FORM          STRENGTH QUANTITY             AWP            PRICE           ARRAY           STATUS
                                                                                                           PRICE          PER MG            ALL
Dey                                      49502-0685-03          SOL, IH          0.02%       2.5ml 25s       6.86           0.55            0.55
Dey                                      49502-0685-33          SOL, IH          0.02%       2.5ml 30s       7.91           0.53            0.53
Dey                                      49502-0685-60          SOL, IH          0.02%       2.5ml 60s      15.78           0.53            0.53
Alpharma USPD                            00472-0751-60          SOL, IH          0.02%       2.5ml 60s     118.80           3.96            3.96
Alpharma USPD                            00472-0751-23          SOL, IH          0.02%       2.5ml 25s      56.50           4.52            4.52
Alpharma USPD                            00472-0751-30          SOL, IH          0.02%       2.5ml 30s      67.80           4.52            4.52
Aslung Pharm L.P.                        65271-0001-25          SOL, IH          0.02%       2.5ml 25s      44.00           3.52            3.52
Aslung Pharm L.P.                        65271-0001-30          SOL, IH          0.02%       2.5ml 30s      52.80           3.52            3.52
Aslung Pharm L.P.                        65271-0001-60          SOL, IH          0.02%       2.5ml 60s     105.60           3.52            3.52
Aslung Pharm L.P.                        65271-0001-12          SOL, IH          0.02%      2.5ml 120s     211.20           3.52            3.52
Apotex                                   60505-0806-01          SOL, IH          0.02%       2.5ml 25s      56.00           4.48            4.48
Allscripts                               54569-4910-00          SOL, IH          0.02%       2.5ml 25s      18.84           1.51            1.51              **
Ivax Pharm                               00172-6407-44          SOL, IH          0.02%       2.5ml 25s      44.10           3.53            3.53
Ivax Pharm                               00172-6407-49          SOL, IH          0.02%       2.5ml 60s     105.60           3.52            3.52
Phys Total Care                          54868-4082-00          SOL, IH          0.02%       2.5ml 60s      42.25           1.41            1.41
Phys Total Care                          54868-4082-01          SOL, IH          0.02%       2.5ml 25s      23.54           1.88            1.88
                                                                                                                                         MEDIAN           $    3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                 00597-0080-62          SOL, IH          0.02%       2.5ml 25s     84.06            6.72
Ipratropium Bromide-Novaplus/Roxane      00054-8404-11          SOL, IH          0.02%       2.5ml 25s      44.06           3.52              3.52
Ipratropium Bromide-Novaplus/Roxane      00054-8404-13          SOL, IH          0.02%       2.5ml 30s      52.87           3.52              3.52
Ipratropium Bromide-Novaplus/Roxane      00054-8404-21          SOL, IH          0.02%       2.5ml 60s     105.74           3.52              3.52

Unit dose form: SOL, IH - 0.02%                                                                                      J7644KO & KP         $       3.52
Unit dose amt.: 0.5mg                                                                                                     UD(mg) x                  0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                           =                 1.76
                                                                                                                           J7051 -                 0.15
                                                                                                                                =                 1.61
                                                                                                                          UD(mg) ÷                  0.5
                                                                                                                     J7644KQ              $       3.22

                                                                                              July 03                                                                           J7644 K0518.xls

NOTES:

1. Source: Hard copy array, AWP033-2124
2. According to the carrier array document, the Medicare allowance amounts are calculated in cells K6-K8 of the original array and cells K56-K58, K103-K105, and K150-K152 of the revised
arrays. The allowance amounts for the KO and KP modifiers are 95% of the median of the "ARRAY ALL" values. The allowance amount for the KQ modifier is 95% of the median of the
"ARRAY ALL" values adjusted by unit dose and compounding factors.
3. The original array contained several keying errors of NDC numbers. The revised arrays contain corrected NDC numbers.
4. The original array contained duplicate entries of the 3 Dey products. The duplicate entries of the Dey products have been removed from the revised arrays.




                                                                                                                                                                                                    2003 Q3
                                                                                                                                                                                                          2
                                                                                             37
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 38 of 75



ORIGINAL ARRAY (Per Carrier Array Documents)

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                     EFFECTIVE DATE:          4/1/2000
                                                                                                                                 Previous      Current      Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                  Price         Price       95%
            unit dose form, per milligram                                                                             J7644KO    $    3.52   $       3.52   $   3.34
                                                                                                                      J7644KP    $    3.52   $       3.52   $   3.34
SOURCE: July/Aug 2003 Redbook Database                                                                                J7644KQ    $    3.14   $       3.22   $   3.06


   MANUFACTURER/DISTRIBUTOR                 NDC         FORM       STRENGTH     QUANTITY      AWP     PRICE     PER ARRAY ALL STATUS
                                                                                             PRICE         MG
Dey                                    49502-0685-03    SOL, IH       0.02%     2.5ml 25s    44.10         3.53        3.53
Dey                                    49502-0685-33    SOL, IH       0.02%     2.5ml 30s    52.80         3.52        3.52
Dey                                    49502-0685-60    SOL, IH       0.02%     2.5ml 60s    105.60        3.52        3.52
Alpharma USPD                           00472-0751-60   SOL, IH       0.02%     2.5ml 60s    118.80        3.96        3.96
Alpharma USPD                           00472-0751-23   SOL, IH       0.02%     2.5ml 25s    56.50         4.52        4.52
Aslung Pharm L.P.                      665271-0001-25   SOL, IH       0.02%     2.5ml 25s    44.00         3.52        3.52
Aslung Pharm L.P.                       65271-0001-30   SOL, IH       0.02%     2.5ml 30s    52.80         3.52        3.52
Aslung Pharm L.P.                       65271-0001-60   SOL, IH       0.02%     2.5ml 60s    105.60        3.52        3.52
Aslung Pharm L.P.                       65271-0001-12   SOL, IH       0.02%     2.5ml 120s   211.20        3.52        3.52
Allscripts                             54569-4910-00    SOL, IH       0.02%     2.5ml 25s    18.84         1.51        1.51
Ivax Pharm                             00172-6407-44    SOL, IH       0.02%     2.5ml 25s    44.10         3.53        3.53
Ivax Pharm                             00172-6407-49    SOL, IH       0.02%     2.5ml 60s    105.60        3.52        3.52
Phys Total Care                        54868-4082-00    SOL, IH       0.02%     2.5ml 60s    42.25         1.41        1.41
Phys Total Care                        54868-4082-01    SOL, IH       0.02%     2.5ml 25s    23.54         1.88        1.88
Roxane                                 00054-8402-11    SOL, IH       0.02%     2.5ml 25s    44.06         3.52        3.52
Roxane                                 00054-8402-13    SOL, IH       0.02%     2.5ml 30s    52.87         3.52        3.52
Roxane                                 00054-8402-21    SOL, IH       0.02%     2.5ml 60s    105.74        3.52        3.52
                                                                                                                    MEDIAN    $  3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                00597-0080-62   SOL, IH       0.02%     2.5ml 25s    84.06         6.72
Ipratropium Bromide-Novaplus/Roxane     00054-8402-11   SOL, IH       0.02%     2.5ml 25s    44.06         3.52           3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8402-13   SOL, IH       0.02%     2.5ml 30s    52.87         3.52           3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8402-21   SOL, IH       0.02%     2.5ml 60s    105.74        3.52           3.52


Unit dose form: SOL, IH - 0.02%                                                                       J7644KO & KP    $     3.52
Unit dose amt.: 0.5mg                                                                                      UD(mg) x           0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                            =          1.76
                                                                                                            J7051 -          0.15
                                                                                                                =           1.61
                                                                                                          UD(mg) ÷            0.5
                                                                                                      J7644KQ         $     3.22

                                                                                    Oct 03                                                            J7644 K0518.xls


REVISED ARRAY - DEY ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                     EFFECTIVE DATE:          4/1/2000
                                                                                                                                 Previous      Current      Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                  Price         Price       95%
            unit dose form, per milligram                                                                             J7644KO    $    3.52   $       3.52   $   3.34
                                                                                                                      J7644KP    $    3.52   $       3.52   $   3.34
SOURCE: July/Aug 2003 Redbook Database                                                                                J7644KQ    $    3.14   $       3.22   $   3.06


   MANUFACTURER/DISTRIBUTOR                 NDC         FORM       STRENGTH     QUANTITY      AWP     PRICE     PER ARRAY ALL STATUS
                                                                                             PRICE         MG
Dey                                    49502-0685-03    SOL, IH       0.02%     2.5ml 25s     6.19         0.50        0.50
Dey                                    49502-0685-33    SOL, IH       0.02%     2.5ml 30s     6.83         0.46        0.46
Dey                                    49502-0685-60    SOL, IH       0.02%     2.5ml 60s    13.61         0.45        0.45
Alpharma USPD                          00472-0751-60    SOL, IH       0.02%     2.5ml 60s    118.80        3.96        3.96
Alpharma USPD                          00472-0751-23    SOL, IH       0.02%     2.5ml 25s    56.50         4.52        4.52
Aslung Pharm L.P.                      65271-0001-25    SOL, IH       0.02%     2.5ml 25s    44.00         3.52        3.52
Aslung Pharm L.P.                      65271-0001-30    SOL, IH       0.02%     2.5ml 30s    52.80         3.52        3.52
Aslung Pharm L.P.                      65271-0001-60    SOL, IH       0.02%     2.5ml 60s    105.60        3.52        3.52
Aslung Pharm L.P.                      65271-0001-12    SOL, IH       0.02%     2.5ml 120s   211.20        3.52        3.52
Allscripts                             54569-4910-00    SOL, IH       0.02%     2.5ml 25s    18.84         1.51        1.51
Ivax Pharm                             00172-6407-44    SOL, IH       0.02%     2.5ml 25s    44.10         3.53        3.53
Ivax Pharm                             00172-6407-49    SOL, IH       0.02%     2.5ml 60s    105.60        3.52        3.52
Phys Total Care                        54868-4082-00    SOL, IH       0.02%     2.5ml 60s    42.25         1.41        1.41
Phys Total Care                        54868-4082-01    SOL, IH       0.02%     2.5ml 25s    23.54         1.88        1.88
Roxane                                 00054-8402-11    SOL, IH       0.02%     2.5ml 25s    44.06         3.52        3.52
Roxane                                 00054-8402-13    SOL, IH       0.02%     2.5ml 30s    52.87         3.52        3.52
Roxane                                 00054-8402-21    SOL, IH       0.02%     2.5ml 60s    105.74        3.52        3.52
                                                                                                                    MEDIAN    $  3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                00597-0080-62   SOL, IH       0.02%     2.5ml 25s    84.06         6.72
Ipratropium Bromide-Novaplus/Roxane     00054-8404-11   SOL, IH       0.02%     2.5ml 25s    44.06         3.52           3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8404-13   SOL, IH       0.02%     2.5ml 30s    52.87         3.52           3.52
Ipratropium Bromide-Novaplus/Roxane     00054-8404-21   SOL, IH       0.02%     2.5ml 60s    105.74        3.52           3.52


Unit dose form: SOL, IH - 0.02%                                                                       J7644KO & KP    $     3.52
Unit dose amt.: 0.5mg                                                                                      UD(mg) x           0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                            =          1.76
                                                                                                            J7051 -          0.15
                                                                                                                =           1.61
                                                                                                          UD(mg) ÷            0.5
                                                                                                      J7644KQ         $     3.22

                                                                                    Oct 03                                                            J7644 K0518.xls




                                                                                                                                                                        2003 Q4
                                                                                                                                                                              1
                                                                                38
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 39 of 75



REVISED ARRAY - ROXANE ONLY

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                    EFFECTIVE DATE:              4/1/2000
                                                                                                                                                Previous          Current       Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                                 Price             Price        95%
            unit dose form, per milligram                                                                                            J7644KO    $    3.52       $       3.52   $    3.34
                                                                                                                                     J7644KP    $    3.52       $       3.52   $    3.34
SOURCE: July/Aug 2003 Redbook Database                                                                                               J7644KQ    $    3.14       $       3.22   $    3.06


   MANUFACTURER/DISTRIBUTOR                     NDC             FORM        STRENGTH       QUANTITY        AWP      PRICE     PER ARRAY ALL STATUS
                                                                                                          PRICE          MG
Dey                                        49502-0685-03        SOL, IH        0.02%       2.5ml 25s      44.10          3.53        3.53
Dey                                        49502-0685-33        SOL, IH        0.02%       2.5ml 30s      52.80          3.52        3.52
Dey                                        49502-0685-60        SOL, IH        0.02%       2.5ml 60s      105.60         3.52        3.52
Alpharma USPD                              00472-0751-60        SOL, IH        0.02%       2.5ml 60s      118.80         3.96        3.96
Alpharma USPD                              00472-0751-23        SOL, IH        0.02%       2.5ml 25s      56.50          4.52        4.52
Aslung Pharm L.P.                          65271-0001-25        SOL, IH        0.02%       2.5ml 25s      44.00          3.52        3.52
Aslung Pharm L.P.                          65271-0001-30        SOL, IH        0.02%       2.5ml 30s      52.80          3.52        3.52
Aslung Pharm L.P.                          65271-0001-60        SOL, IH        0.02%       2.5ml 60s      105.60         3.52        3.52
Aslung Pharm L.P.                          65271-0001-12        SOL, IH        0.02%       2.5ml 120s     211.20         3.52        3.52
Allscripts                                 54569-4910-00        SOL, IH        0.02%       2.5ml 25s      18.84          1.51        1.51
Ivax Pharm                                 00172-6407-44        SOL, IH        0.02%       2.5ml 25s      44.10          3.53        3.53
Ivax Pharm                                 00172-6407-49        SOL, IH        0.02%       2.5ml 60s      105.60         3.52        3.52
Phys Total Care                            54868-4082-00        SOL, IH        0.02%       2.5ml 60s      42.25          1.41        1.41
Phys Total Care                            54868-4082-01        SOL, IH        0.02%       2.5ml 25s      23.54          1.88        1.88
Roxane                                     00054-8402-11        SOL, IH        0.02%       2.5ml 25s       8.82          0.71        0.71
Roxane                                     00054-8402-13        SOL, IH        0.02%       2.5ml 30s       9.80          0.65        0.65
Roxane                                     00054-8402-21        SOL, IH        0.02%       2.5ml 60s      21.50          0.72        0.72
                                                                                                                                  MEDIAN    $  3.52
BRAND NAMES:
Atrovent/Boehr Ingelheim                   00597-0080-62        SOL, IH        0.02%       2.5ml 25s      84.06           6.72
Ipratropium Bromide-Novaplus/Roxane        00054-8404-11        SOL, IH        0.02%       2.5ml 25s      44.06           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane        00054-8404-13        SOL, IH        0.02%       2.5ml 30s      52.87           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane        00054-8404-21        SOL, IH        0.02%       2.5ml 60s      105.74          3.52            3.52


Unit dose form: SOL, IH - 0.02%                                                                                    J7644KO & KP       $      3.52
Unit dose amt.: 0.5mg                                                                                                   UD(mg) x               0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                         =              1.76
                                                                                                                         J7051 -              0.15
                                                                                                                             =               1.61
                                                                                                                       UD(mg) ÷                0.5
                                                                                                                   J7644KQ            $      3.22

                                                                                             Oct 03                                                                      J7644 K0518.xls


REVISED ARRAY - DEY & ROXANE

HCPCS CODE: J7644 (K0518 3/31/00)                                                                                                    EFFECTIVE DATE:              4/1/2000
                                                                                                                                                Previous          Current       Current
NAME OF DRUG: Ipratropium bromide, inhalation solution admininstered through DME,                                                                 Price             Price        95%
            unit dose form, per milligram                                                                                            J7644KO    $    3.52       $       1.88   $    1.79
                                                                                                                                     J7644KP    $    3.52       $       1.88   $    1.79
SOURCE: July/Aug 2003 Redbook Database                                                                                               J7644KQ    $    3.14       $       1.58   $    1.50


   MANUFACTURER/DISTRIBUTOR                     NDC             FORM        STRENGTH       QUANTITY        AWP      PRICE     PER ARRAY ALL STATUS
                                                                                                          PRICE          MG
Dey                                        49502-0685-03        SOL, IH        0.02%       2.5ml 25s       6.19          0.50        0.50
Dey                                        49502-0685-33        SOL, IH        0.02%       2.5ml 30s       6.83          0.46        0.46
Dey                                        49502-0685-60        SOL, IH        0.02%       2.5ml 60s      13.61          0.45        0.45
Alpharma USPD                              00472-0751-60        SOL, IH        0.02%       2.5ml 60s      118.80         3.96        3.96
Alpharma USPD                              00472-0751-23        SOL, IH        0.02%       2.5ml 25s      56.50          4.52        4.52
Aslung Pharm L.P.                          65271-0001-25        SOL, IH        0.02%       2.5ml 25s      44.00          3.52        3.52
Aslung Pharm L.P.                          65271-0001-30        SOL, IH        0.02%       2.5ml 30s      52.80          3.52        3.52
Aslung Pharm L.P.                          65271-0001-60        SOL, IH        0.02%       2.5ml 60s      105.60         3.52        3.52
Aslung Pharm L.P.                          65271-0001-12        SOL, IH        0.02%       2.5ml 120s     211.20         3.52        3.52
Allscripts                                 54569-4910-00        SOL, IH        0.02%       2.5ml 25s      18.84          1.51        1.51
Ivax Pharm                                 00172-6407-44        SOL, IH        0.02%       2.5ml 25s      44.10          3.53        3.53
Ivax Pharm                                 00172-6407-49        SOL, IH        0.02%       2.5ml 60s      105.60         3.52        3.52
Phys Total Care                            54868-4082-00        SOL, IH        0.02%       2.5ml 60s      42.25          1.41        1.41
Phys Total Care                            54868-4082-01        SOL, IH        0.02%       2.5ml 25s      23.54          1.88        1.88
Roxane                                     00054-8402-11        SOL, IH        0.02%       2.5ml 25s       8.82          0.71        0.71
Roxane                                     00054-8402-13        SOL, IH        0.02%       2.5ml 30s       9.80          0.65        0.65
Roxane                                     00054-8402-21        SOL, IH        0.02%       2.5ml 60s      21.50          0.72        0.72
                                                                                                                                  MEDIAN    $  1.88
BRAND NAMES:
Atrovent/Boehr Ingelheim                   00597-0080-62        SOL, IH        0.02%       2.5ml 25s      84.06           6.72
Ipratropium Bromide-Novaplus/Roxane        00054-8404-11        SOL, IH        0.02%       2.5ml 25s      44.06           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane        00054-8404-13        SOL, IH        0.02%       2.5ml 30s      52.87           3.52            3.52
Ipratropium Bromide-Novaplus/Roxane        00054-8404-21        SOL, IH        0.02%       2.5ml 60s      105.74          3.52            3.52


Unit dose form: SOL, IH - 0.02%                                                                                    J7644KO & KP       $      1.88
Unit dose amt.: 0.5mg                                                                                                   UD(mg) x               0.5
Concentration form: Calculation Memo 3/5/97 Dr. Oleck                                                                         =              0.94
                                                                                                                         J7051 -              0.15
                                                                                                                             =               0.79
                                                                                                                       UD(mg) ÷                0.5
                                                                                                                   J7644KQ            $      1.58

                                                                                             Oct 03                                                                      J7644 K0518.xls


NOTES:

1. Source: Hard copy array, AWP033-1988
2. According to the carrier array document, the Medicare allowance amounts are calculated in cells K6-K8 of the original array and cells K53-K55, K100-K102, and K147-K149 of the revised
arrays. The allowance amounts for the KO and KP modifiers are 95% of the median of the "ARRAY ALL" values. The allowance amount for the KQ modifier is 95% of the median of the
"ARRAY ALL" values adjusted by unit dose and compounding factors.




                                                                                                                                                                                            2003 Q4
                                                                                                                                                                                                  2
                                                                                           39
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 40 of 75




                   Palmetto Arrays
                 (2001Q4-2003Q4)




                                40
                      Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 41 of 75
ORIGINAL ARRAY (Per Carrier Array Documents)


  PROC      Brand       NDC            Company              Product              Add'l Desc       Size           Strength   Form   AWP Unit Price       Price   Fee    Source
                                                                            (S.D.V.,5X5,PROTECT
J7644          N     00054840211   Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34        G
                                                                            (S.D.V.,6X5,PROTECT
J7644          N     00054840213   Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34        G
                                                                           (S.D.V.,12X5,PROTECT
J7644          N     00054840221   Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34        G

J7644          N     00472075123   ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)           2.500 ML 25    0.02%     SOL    56.50      4.52      3.52    3.34        G

J7644          N     00472075130   ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)          2.500 ML 30s    0.02%     SOL    67.80      4.52      3.52    3.34        G
J7644          N     00472075160   Alpharma USPD   IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    118.80     3.96      3.52    3.34        G
J7644          N     49502068503   Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL     44.10     3.53      3.52    3.34        G
J7644          N     49502068533   Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 30s    0.02%     SOL     52.80     3.52      3.52    3.34        G
J7644          N     49502068560   Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    105.60     3.52      3.52    3.34        G
J7644          N     54569491000   Allscripts      IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL     18.62     1.49      3.52    3.34        G
J7644          N     54868408200   Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL     42.25     1.41      3.52    3.34        G
J7644          N     54868408201   Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL     23.54     1.88      3.52    3.34        G
J7644          N     60505080601   APOTEX          IPRATROPIUM BROMIDE            (AMP)           2.500 ML 25s    0.02%     SOL     56.00     4.48      3.52    3.34        G
                                                                                                                                            KO & KP
                                                                                                                                            (median)    3.52

                                                                                                                                            UD (mg) X   0.50
                                                                                                                                                  =     1.76
                                                                                                                                              -J7051    0.22
                                                                                                                                                  =     1.54
                                                                                                                                            UD (mg) /   0.50
                                                                                                                                                 KQ
                                                                                                                                             (median)   3.08
                                                                                                                                            KQ (95%)    2.93
                                                                                                                                            KO & KP
                                                                                                                                               (95%)    3.34
Brand
Source
                                                     IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644      Y         00054840411   Roxane            NOVAPLU                       APAK)          2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34        G
                                                     IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644      Y         00054840413   Roxane            NOVAPLU                       APAK)          2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34        G
                                                     IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644      Y         00054840421   Roxane            NOVAPLU                       APAK)          2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34        G
J7644      Y         00597008062   Boehr Ingelheim   ATROVENT                      (VIAL)         2.500 ML 25s    0.02%     SOL    68.90      5.51      3.52    3.34        G




REVISED ARRAY - DEY ONLY


  PROC      Brand       NDC            Company              Product              Add'l Desc       Size           Strength   Form   AWP Unit Price       Price   Fee       Source
                                                                            (S.D.V.,5X5,PROTECT
J7644          N     00054840211   Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34        G
                                                                            (S.D.V.,6X5,PROTECT
J7644          N     00054840213   Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34        G
                                                                           (S.D.V.,12X5,PROTECT
J7644          N     00054840221   Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34        G

J7644          N     00472075123   ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)           2.500 ML 25    0.02%     SOL    56.50      4.52      3.52    3.34        G

J7644          N     00472075130   ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)          2.500 ML 30s    0.02%     SOL    67.80      4.52      3.52    3.34        G
J7644          N     00472075160   Alpharma USPD   IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    118.80     3.96      3.52    3.34        G
J7644          N     49502068503   Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL     10.81     0.86      3.52    3.34        G
J7644          N     49502068533   Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 30s    0.02%     SOL     12.55     0.84      3.52    3.34        G
J7644          N     49502068560   Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL     25.14     0.84      3.52    3.34        G
J7644          N     54569491000   Allscripts      IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL     18.62     1.49      3.52    3.34        G
J7644          N     54868408200   Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL     42.25     1.41      3.52    3.34        G
J7644          N     54868408201   Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL     23.54     1.88      3.52    3.34        G
J7644          N     60505080601   APOTEX          IPRATROPIUM BROMIDE            (AMP)           2.500 ML 25s    0.02%     SOL     56.00     4.48      3.52    3.34        G
                                                                                                                                            KO & KP
                                                                                                                                            (median)    3.52

                                                                                                                                            UD (mg) X   0.50
                                                                                                                                                  =     1.76
                                                                                                                                              -J7051    0.22
                                                                                                                                                  =     1.54
                                                                                                                                            UD (mg) /   0.50
                                                                                                                                                 KQ
                                                                                                                                             (median)   3.08
                                                                                                                                            KQ (95%)    2.93
                                                                                                                                            KO & KP
                                                                                                                                               (95%)    3.34
Brand
Source
                                                     IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644      Y         00054840411   Roxane            NOVAPLU                       APAK)          2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34        G
                                                     IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644      Y         00054840413   Roxane            NOVAPLU                       APAK)          2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34        G
                                                     IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644      Y         00054840421   Roxane            NOVAPLU                       APAK)          2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34        G
J7644      Y         00597008062   Boehr Ingelheim   ATROVENT                      (VIAL)         2.500 ML 25s    0.02%     SOL    68.90      5.51      3.52    3.34        G




                                                                                           41                                                                   2001 Q4
                                                                                                                                                                      1
                          Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 42 of 75
REVISED ARRAY - ROXANE ONLY


   PROC       Brand          NDC             Company                  Product                  Add'l Desc                  Size          Strength      Form        AWP Unit Price       Price        Fee     Source
                                                                                          (S.D.V.,5X5,PROTECT
J7644            N      00054840211     Roxane              IPRATROPIUM BROMIDE                   APAK)                   2.500 ML 25s    0.02%         SOL        10.11     0.81        3.52        3.34        G
                                                                                          (S.D.V.,6X5,PROTECT
J7644            N      00054840213     Roxane              IPRATROPIUM BROMIDE                   APAK)                   2.500 ML 30s    0.02%         SOL        12.57     0.84        3.52        3.34        G
                                                                                         (S.D.V.,12X5,PROTECT
J7644            N      00054840221     Roxane              IPRATROPIUM BROMIDE                   APAK)                   2.500 ML 60s    0.02%         SOL        22.88     0.76        3.52        3.34        G

J7644            N      00472075123     ALPHARMA USPD IPRATROPIUM BROMIDE                         (VIAL)                   2.500 ML 25    0.02%         SOL        56.50     4.52        3.52        3.34        G

J7644            N      00472075130     ALPHARMA USPD IPRATROPIUM BROMIDE                         (VIAL)                  2.500 ML 30s    0.02%         SOL       67.80      4.52        3.52        3.34        G
J7644            N      00472075160     Alpharma USPD   IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 60s    0.02%         SOL       118.80     3.96        3.52        3.34        G
J7644            N      49502068503     Dey             IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 25s    0.02%         SOL        44.10     3.53        3.52        3.34        G
J7644            N      49502068533     Dey             IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 30s    0.02%         SOL        52.80     3.52        3.52        3.34        G
J7644            N      49502068560     Dey             IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 60s    0.02%         SOL       105.60     3.52        3.52        3.34        G
J7644            N      54569491000     Allscripts      IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 25s    0.02%         SOL        18.62     1.49        3.52        3.34        G
J7644            N      54868408200     Phys Total Care IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 60s    0.02%         SOL        42.25     1.41        3.52        3.34        G
J7644            N      54868408201     Phys Total Care IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 25s    0.02%         SOL        23.54     1.88        3.52        3.34        G
J7644            N      60505080601     APOTEX          IPRATROPIUM BROMIDE                       (AMP)                   2.500 ML 25s    0.02%         SOL        56.00     4.48        3.52        3.34        G
                                                                                                                                                                           KO & KP
                                                                                                                                                                           (median)      3.52

                                                                                                                                                                           UD (mg) X     0.50
                                                                                                                                                                                 =       1.76
                                                                                                                                                                             -J7051      0.22
                                                                                                                                                                                 =       1.54
                                                                                                                                                                           UD (mg) /     0.50
                                                                                                                                                                                KQ
                                                                                                                                                                            (median)     3.08
                                                                                                                                                                           KQ (95%)      2.93
                                                                                                                                                                           KO & KP
                                                                                                                                                                              (95%)      3.34
Brand
Source
                                                            IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644        Y          00054840411     Roxane              NOVAPLU                       APAK)                           2.500 ML 25s    0.02%         SOL        44.06     3.52        3.52        3.34        G
                                                            IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644        Y          00054840413     Roxane              NOVAPLU                       APAK)                           2.500 ML 30s    0.02%         SOL        52.87     3.52        3.52        3.34        G
                                                            IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644        Y          00054840421     Roxane              NOVAPLU                       APAK)                           2.500 ML 60s    0.02%         SOL       105.74     3.52        3.52        3.34        G
J7644        Y          00597008062     Boehr Ingelheim     ATROVENT                      (VIAL)                          2.500 ML 25s    0.02%         SOL       68.90      5.51        3.52        3.34        G


REVISED ARRAY - DEY & ROXANE


   PROC       Brand          NDC             Company                  Product                  Add'l Desc                  Size          Strength      Form        AWP Unit Price       Price        Fee       Source
                                                                                          (S.D.V.,5X5,PROTECT
J7644            N      00054840211     Roxane              IPRATROPIUM BROMIDE                   APAK)                   2.500 ML 25s    0.02%         SOL        10.11     0.81        1.41        1.34        G
                                                                                          (S.D.V.,6X5,PROTECT
J7644            N      00054840213     Roxane              IPRATROPIUM BROMIDE                   APAK)                   2.500 ML 30s    0.02%         SOL        12.57     0.84        1.41        1.34        G
                                                                                         (S.D.V.,12X5,PROTECT
J7644            N      00054840221     Roxane              IPRATROPIUM BROMIDE                   APAK)                   2.500 ML 60s    0.02%         SOL        22.88     0.76        1.41        1.34        G

J7644            N      00472075123     ALPHARMA USPD IPRATROPIUM BROMIDE                         (VIAL)                   2.500 ML 25    0.02%         SOL        56.50     4.52        1.41        1.34        G

J7644            N      00472075130     ALPHARMA USPD IPRATROPIUM BROMIDE                         (VIAL)                  2.500 ML 30s    0.02%         SOL       67.80      4.52        1.41        1.34        G
J7644            N      00472075160     Alpharma USPD   IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 60s    0.02%         SOL       118.80     3.96        1.41        1.34        G
J7644            N      49502068503     Dey             IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 25s    0.02%         SOL        10.81     0.86        1.41        1.34        G
J7644            N      49502068533     Dey             IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 30s    0.02%         SOL        12.55     0.84        1.41        1.34        G
J7644            N      49502068560     Dey             IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 60s    0.02%         SOL        25.14     0.84        1.41        1.34        G
J7644            N      54569491000     Allscripts      IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 25s    0.02%         SOL        18.62     1.49        1.41        1.34        G
J7644            N      54868408200     Phys Total Care IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 60s    0.02%         SOL        42.25     1.41        1.41        1.34        G
J7644            N      54868408201     Phys Total Care IPRATROPIUM BROMIDE                       (VIAL)                  2.500 ML 25s    0.02%         SOL        23.54     1.88        1.41        1.34        G
J7644            N      60505080601     APOTEX          IPRATROPIUM BROMIDE                       (AMP)                   2.500 ML 25s    0.02%         SOL        56.00     4.48        1.41        1.34        G
                                                                                                                                                                           KO & KP
                                                                                                                                                                           (median)      1.41

                                                                                                                                                                           UD (mg) X     0.50
                                                                                                                                                                                 =       0.71
                                                                                                                                                                             -J7051      0.22
                                                                                                                                                                                 =       0.49
                                                                                                                                                                           UD (mg) /     0.50
                                                                                                                                                                                KQ
                                                                                                                                                                            (median)     0.97
                                                                                                                                                                           KQ (95%)      0.92
                                                                                                                                                                           KO & KP
                                                                                                                                                                              (95%)      1.34
Brand
Source
                                                            IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644        Y          00054840411     Roxane              NOVAPLU                       APAK)                           2.500 ML 25s    0.02%         SOL        44.06     3.52        1.41        1.34        G
                                                            IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644        Y          00054840413     Roxane              NOVAPLU                       APAK)                           2.500 ML 30s    0.02%         SOL        52.87     3.52        1.41        1.34        G
                                                            IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644        Y          00054840421     Roxane              NOVAPLU                       APAK)                           2.500 ML 60s    0.02%         SOL       105.74     3.52        1.41        1.34        G
J7644        Y          00597008062     Boehr Ingelheim     ATROVENT                      (VIAL)                          2.500 ML 25s    0.02%         SOL       68.90      5.51        1.41        1.34        G




NOTES:

1. Source: Hard copy array, AWQ037-0050 through AWQ037-0052
2. The original array did not contain formulas and calculations for determining the median and Medicare allowable amounts. The calculations of the median and the KO/KP and KQ modifier allowable amounts are based
on calculations used in previous Palmetto arrays.
3. The Medicare allowance amounts are calcluated in cells L24 - L25 of the original array and cells L58 - L59, L91 - L92, and L124 - L125 of the revised arrays. The allowance amounts for the KO and KP modifiers are
95% of the the median of the "Unit Price" values. The allowance amount for the KQ modifier is 95% of the median of the "Unit Price" values adjusted by unit dose and compounding factors.

                                                                                                           42                                                                                        2001 Q4
                                                                                                                                                                                                           2
                        Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 43 of 75
ORIGINAL ARRAY (Per Carrier Array Documents)


  PROC      Brand      NDC           Company             Product               Add'l Desc       Size           Strength   Form   AWP Unit Price       Price     Fee     Source
                                                                         (S.D.V.,5X5,PROTECTA
J7644          N    00054840211 Roxane            IPRATROPIUM BROMIDE              PAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52     3.34       G
                                                                         (S.D.V.,6X5,PROTECTA
J7644          N    00054840213 Roxane            IPRATROPIUM BROMIDE              PAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52     3.34       G
                                                                         (S.D.V.,12X5,PROTECT
J7644          N    00054840221 Roxane            IPRATROPIUM BROMIDE             APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52     3.34       G
J7644          N    00472075123 ALPHARMA USPD     IPRATROPIUM BROMIDE             (VIAL)         2.500 ML 25    0.02%     SOL    56.50      4.52      3.52     3.34       G
J7644          N    00472075130 ALPHARMA USPD     IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 30s    0.02%     SOL    67.80      4.52      3.52     3.34       G
J7644          N    00472075160 Alpharma USPD     IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL    118.80     3.96      3.52     3.34       G
J7644          N    49502068503 Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL    44.10      3.53      3.52     3.34       G
J7644          N    49502068533 Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 30s    0.02%     SOL    52.80      3.52      3.52     3.34       G
J7644          N    49502068560 Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL    105.60     3.52      3.52     3.34       G
J7644          N    54569491000 Allscripts        IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL    18.62      1.49      3.52     3.34       G
J7644          N    54868408200 Phys Total Care   IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL    42.25      1.41      3.52     3.34       G
J7644          N    54868408201 Phys Total Care   IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL    23.54      1.88      3.52     3.34       G
J7644          N    60505080601 APOTEX            IPRATROPIUM BROMIDE             (AMP)         2.500 ML 25s    0.02%     SOL     56.00     4.48      3.52     3.34       G
                                                                                                                                          KO & KP
                                                                                                                                          (median)    3.52

                                                                                                                                          UD (mg) X   0.50
                                                                                                                                               =      1.76
                                                                                                                                           -J7051     0.19
                                                                                                                                               =      1.57
                                                                                                                                          UD (mg) /   0.50
                                                                                                                                              KQ
                                                                                                                                          (median)    3.14
                                                                                                                                          KQ (95%)    2.98
                                                                                                                                          KO & KP
                                                                                                                                            (95%)     3.34
Brand
Source
                                                  IPRATROPIUM BROMIDE-   (S.D.V.,5X5,PROTECTA
J7644      Y        00054840411 Roxane            NOVAPLU                          PAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52     3.34       G
                                                  IPRATROPIUM BROMIDE-   (S.D.V.,6X5,PROTECTA
J7644      Y        00054840413 Roxane            NOVAPLU                          PAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52     3.34       G
                                                  IPRATROPIUM BROMIDE-   (S.D.V.,12X5,PROTECT
J7644      Y        00054840421 Roxane            NOVAPLU                         APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52     3.34       G
J7644      Y        00597008062 Boehr Ingelheim   ATROVENT                        (VIAL)        2.500 ML 25s    0.02%     SOL    68.90      5.51      3.52     3.34       G




REVISED ARRAY - DEY ONLY


  PROC      Brand      NDC           Company             Product               Add'l Desc       Size           Strength   Form   AWP Unit Price       Price     Fee     Source
                                                                         (S.D.V.,5X5,PROTECTA
J7644          N    00054840211 Roxane            IPRATROPIUM BROMIDE              PAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52     3.34       G
                                                                         (S.D.V.,6X5,PROTECTA
J7644          N    00054840213 Roxane            IPRATROPIUM BROMIDE              PAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52     3.34       G
                                                                         (S.D.V.,12X5,PROTECT
J7644          N    00054840221 Roxane            IPRATROPIUM BROMIDE             APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52     3.34       G
J7644          N    00472075123 ALPHARMA USPD     IPRATROPIUM BROMIDE             (VIAL)         2.500 ML 25    0.02%     SOL    56.50      4.52      3.52     3.34       G
J7644          N    00472075130 ALPHARMA USPD     IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 30s    0.02%     SOL    67.80      4.52      3.52     3.34       G
J7644          N    00472075160 Alpharma USPD     IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL    118.80     3.96      3.52     3.34       G
J7644          N    49502068503 Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL    10.17      0.81      3.52     3.34       G
J7644          N    49502068533 Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 30s    0.02%     SOL    11.64      0.78      3.52     3.34       G
J7644          N    49502068560 Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL    23.47      0.78      3.52     3.34       G
J7644          N    54569491000 Allscripts        IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL    18.62      1.49      3.52     3.34       G
J7644          N    54868408200 Phys Total Care   IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL    42.25      1.41      3.52     3.34       G
J7644          N    54868408201 Phys Total Care   IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL    23.54      1.88      3.52     3.34       G
J7644          N    60505080601 APOTEX            IPRATROPIUM BROMIDE             (AMP)         2.500 ML 25s    0.02%     SOL     56.00     4.48      3.52     3.34       G
                                                                                                                                          KO & KP
                                                                                                                                          (median)    3.52

                                                                                                                                          UD (mg) X   0.50
                                                                                                                                              =       1.76
                                                                                                                                           -J7051     0.19
                                                                                                                                              =       1.57
                                                                                                                                          UD (mg) /   0.50
                                                                                                                                             KQ
                                                                                                                                          (median)    3.14
                                                                                                                                          KQ (95%)    2.98
                                                                                                                                          KO & KP
                                                                                                                                           (95%)      3.34
Brand
Source
                                                  IPRATROPIUM BROMIDE-   (S.D.V.,5X5,PROTECTA
J7644      Y        00054840411 Roxane            NOVAPLU                          PAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52     3.34       G
                                                  IPRATROPIUM BROMIDE-   (S.D.V.,6X5,PROTECTA
J7644      Y        00054840413 Roxane            NOVAPLU                          PAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52     3.34       G
                                                  IPRATROPIUM BROMIDE-   (S.D.V.,12X5,PROTECT
J7644      Y        00054840421 Roxane            NOVAPLU                         APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52     3.34       G
J7644      Y        00597008062 Boehr Ingelheim   ATROVENT                        (VIAL)        2.500 ML 25s    0.02%     SOL    68.90      5.51      3.52     3.34       G




                                                                                      43                                                                      2002 Q1
                                                                                                                                                                    1
                            Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 44 of 75
REVISED ARRAY - ROXANE ONLY


   PROC        Brand        NDC            Company                    Product                  Add'l Desc                  Size           Strength      Form        AWP Unit Price       Price        Fee      Source
                                                                                         (S.D.V.,5X5,PROTECTA
J7644             N    00054840211 Roxane                  IPRATROPIUM BROMIDE                     PAK)                    2.500 ML 25s    0.02%         SOL        9.39      0.75        3.52        3.34        G
                                                                                         (S.D.V.,6X5,PROTECTA
J7644             N    00054840213 Roxane                  IPRATROPIUM BROMIDE                     PAK)                    2.500 ML 30s    0.02%         SOL        11.27     0.75        3.52        3.34        G
                                                                                         (S.D.V.,12X5,PROTECT
J7644             N    00054840221 Roxane                  IPRATROPIUM BROMIDE                    APAK)                    2.500 ML 60s    0.02%         SOL       21.35      0.71        3.52        3.34        G
J7644             N    00472075123 ALPHARMA USPD           IPRATROPIUM BROMIDE                    (VIAL)                    2.500 ML 25    0.02%         SOL       56.50      4.52        3.52        3.34        G
J7644             N    00472075130 ALPHARMA USPD           IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 30s    0.02%         SOL       67.80      4.52        3.52        3.34        G
J7644             N    00472075160 Alpharma USPD           IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 60s    0.02%         SOL       118.80     3.96        3.52        3.34        G
J7644             N    49502068503 Dey                     IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 25s    0.02%         SOL       44.10      3.53        3.52        3.34        G
J7644             N    49502068533 Dey                     IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 30s    0.02%         SOL       52.80      3.52        3.52        3.34        G
J7644             N    49502068560 Dey                     IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 60s    0.02%         SOL       105.60     3.52        3.52        3.34        G
J7644             N    54569491000 Allscripts              IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 25s    0.02%         SOL       18.62      1.49        3.52        3.34        G
J7644             N    54868408200 Phys Total Care         IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 60s    0.02%         SOL       42.25      1.41        3.52        3.34        G
J7644             N    54868408201 Phys Total Care         IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 25s    0.02%         SOL       23.54      1.88        3.52        3.34        G
J7644             N    60505080601 APOTEX                  IPRATROPIUM BROMIDE                    (AMP)                    2.500 ML 25s    0.02%         SOL        56.00     4.48        3.52        3.34        G
                                                                                                                                                                            KO & KP
                                                                                                                                                                            (median)      3.52

                                                                                                                                                                            UD (mg) X     0.50
                                                                                                                                                                                 =        1.76
                                                                                                                                                                             -J7051       0.19
                                                                                                                                                                                 =        1.57
                                                                                                                                                                            UD (mg) /     0.50
                                                                                                                                                                                KQ
                                                                                                                                                                            (median)      3.14
                                                                                                                                                                            KQ (95%)      2.98
                                                                                                                                                                            KO & KP
                                                                                                                                                                              (95%)       3.34
Brand
Source
                                                           IPRATROPIUM BROMIDE-          (S.D.V.,5X5,PROTECTA
J7644         Y        00054840411 Roxane                  NOVAPLU                                 PAK)                    2.500 ML 25s    0.02%         SOL        44.06     3.52        3.52        3.34        G
                                                           IPRATROPIUM BROMIDE-          (S.D.V.,6X5,PROTECTA
J7644         Y        00054840413 Roxane                  NOVAPLU                                 PAK)                    2.500 ML 30s    0.02%         SOL        52.87     3.52        3.52        3.34        G
                                                           IPRATROPIUM BROMIDE-          (S.D.V.,12X5,PROTECT
J7644         Y        00054840421 Roxane                  NOVAPLU                                APAK)                    2.500 ML 60s    0.02%         SOL       105.74     3.52        3.52        3.34        G
J7644         Y        00597008062 Boehr Ingelheim         ATROVENT                               (VIAL)                   2.500 ML 25s    0.02%         SOL       68.90      5.51        3.52        3.34        G


REVISED ARRAY - DEY & ROXANE


   PROC        Brand        NDC            Company                    Product                  Add'l Desc                  Size           Strength      Form        AWP Unit Price       Price        Fee      Source
                                                                                         (S.D.V.,5X5,PROTECTA
J7644             N    00054840211 Roxane                  IPRATROPIUM BROMIDE                     PAK)                    2.500 ML 25s    0.02%         SOL        9.39      0.75        1.41        1.34        G
                                                                                         (S.D.V.,6X5,PROTECTA
J7644             N    00054840213 Roxane                  IPRATROPIUM BROMIDE                     PAK)                    2.500 ML 30s    0.02%         SOL        11.27     0.75        1.41        1.34        G
                                                                                         (S.D.V.,12X5,PROTECT
J7644             N    00054840221 Roxane                  IPRATROPIUM BROMIDE                    APAK)                    2.500 ML 60s    0.02%         SOL       21.35      0.71        1.41        1.34        G
J7644             N    00472075123 ALPHARMA USPD           IPRATROPIUM BROMIDE                    (VIAL)                    2.500 ML 25    0.02%         SOL       56.50      4.52        1.41        1.34        G
J7644             N    00472075130 ALPHARMA USPD           IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 30s    0.02%         SOL       67.80      4.52        1.41        1.34        G
J7644             N    00472075160 Alpharma USPD           IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 60s    0.02%         SOL       118.80     3.96        1.41        1.34        G
J7644             N    49502068503 Dey                     IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 25s    0.02%         SOL       10.17      0.81        1.41        1.34        G
J7644             N    49502068533 Dey                     IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 30s    0.02%         SOL       11.64      0.78        1.41        1.34        G
J7644             N    49502068560 Dey                     IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 60s    0.02%         SOL       23.47      0.78        1.41        1.34        G
J7644             N    54569491000 Allscripts              IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 25s    0.02%         SOL       18.62      1.49        1.41        1.34        G
J7644             N    54868408200 Phys Total Care         IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 60s    0.02%         SOL       42.25      1.41        1.41        1.34        G
J7644             N    54868408201 Phys Total Care         IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 25s    0.02%         SOL       23.54      1.88        1.41        1.34        G
J7644             N    60505080601 APOTEX                  IPRATROPIUM BROMIDE                    (AMP)                    2.500 ML 25s    0.02%         SOL        56.00     4.48        1.41        1.34        G
                                                                                                                                                                            KO & KP
                                                                                                                                                                            (median)      1.41

                                                                                                                                                                            UD (mg) X     0.50
                                                                                                                                                                                =         0.71
                                                                                                                                                                             -J7051       0.19
                                                                                                                                                                                =         0.52
                                                                                                                                                                            UD (mg) /     0.50
                                                                                                                                                                               KQ
                                                                                                                                                                            (median)      1.03
                                                                                                                                                                            KQ (95%)      0.98
                                                                                                                                                                            KO & KP
                                                                                                                                                                             (95%)        1.34
Brand
Source
                                                           IPRATROPIUM BROMIDE-          (S.D.V.,5X5,PROTECTA
J7644         Y        00054840411 Roxane                  NOVAPLU                                 PAK)                    2.500 ML 25s    0.02%         SOL        44.06     3.52        1.41        1.34        G
                                                           IPRATROPIUM BROMIDE-          (S.D.V.,6X5,PROTECTA
J7644         Y        00054840413 Roxane                  NOVAPLU                                 PAK)                    2.500 ML 30s    0.02%         SOL        52.87     3.52        1.41        1.34        G
                                                           IPRATROPIUM BROMIDE-          (S.D.V.,12X5,PROTECT
J7644         Y        00054840421 Roxane                  NOVAPLU                                APAK)                    2.500 ML 60s    0.02%         SOL       105.74     3.52        1.41        1.34        G
J7644         Y        00597008062 Boehr Ingelheim         ATROVENT                               (VIAL)                   2.500 ML 25s    0.02%         SOL       68.90      5.51        1.41        1.34        G




NOTES:

1. Source: Hard copy array, AWQ037-0054 through AWQ037-0057
2. The original array did not contain formulas and calculations for determining the median and Medicare allowable amounts. The calculations of the median and the KO/KP and KQ modifier allowable amounts are based
on calculations used in previous Palmetto arrays.
3. The Medicare allowance amounts are calcluated in cells L24 - L25 of the original array and cells L58 - L59, L91 - L92, and L124 - L125 of the revised arrays. The allowance amounts for the KO and KP modifiers are
95% of the the median of the "Unit Price" values. The allowance amount for the KQ modifier is 95% of the median of the "Unit Price" values adjusted by unit dose and compounding factors.

                                                                                                          44                                                                                        2002 Q1
                                                                                                                                                                                                          2
                    Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 45 of 75
ORIGINAL ARRAY (Per Carrier Array Documents)


  PROC      Brand      NDC          Company              Product              Add'l Desc       Size           Strength   Form   AWP Unit Price       Price   Fee    Source
                                                                         (S.D.V.,5X5,PROTECT
J7644          N    00054840211 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34       G
                                                                         (S.D.V.,6X5,PROTECT
J7644          N    00054840213 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34       G
                                                                        (S.D.V.,12X5,PROTECT
J7644          N    00054840221 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34       G

J7644          N    00472075123 ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)           2.500 ML 25    0.02%     SOL    56.50      4.52      3.52    3.34       G

J7644          N    00472075130 ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)          2.500 ML 30s    0.02%     SOL    67.80       4.52     3.52    3.34       G
J7644          N    00472075160 Alpharma USPD   IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    118.80      3.96     3.52    3.34       G
J7644          N    49502068503 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL     44.10      3.53     3.52    3.34       G
J7644          N    49502068533 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 30s    0.02%     SOL     52.80      3.52     3.52    3.34       G
J7644          N    49502068560 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    105.60      3.52     3.52    3.34       G
J7644          N    54569491000 Allscripts      IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL    18.62       1.49     3.52    3.34       G
J7644          N    54868408200 Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    42.25       1.41     3.52    3.34       G
J7644          N    54868408201 Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL    23.54       1.88     3.52    3.34       G
J7644          N    60505080601 APOTEX          IPRATROPIUM BROMIDE            (AMP)           2.500 ML 25s    0.02%     SOL     56.00      4.48     3.52    3.34       G
                                                                                                                                         KO & KP
                                                                                                                                         (median)    3.52
                                                                                                                                         UD (mg)
                                                                                                                                              X      0.50
                                                                                                                                              =      1.76
                                                                                                                                          -J7051     0.19
                                                                                                                                              =      1.57
                                                                                                                                         UD (mg) /   0.50
                                                                                                                                             KQ
                                                                                                                                         (median)    3.14
                                                                                                                                         KQ (95%)    2.98
                                                                                                                                         KO & KP
                                                                                                                                           (95%)     3.34
Brand
Source
                                                  IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644      Y        00054840411 Roxane            NOVAPLU                       APAK)          2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34       G
                                                  IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644      Y        00054840413 Roxane            NOVAPLU                       APAK)          2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34       G
                                                  IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644      Y        00054840421 Roxane            NOVAPLU                       APAK)          2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34       G
J7644      Y        00597008062 Boehr Ingelheim   ATROVENT                      (VIAL)         2.500 ML 25s    0.02%     SOL    70.97      5.68      3.52    3.34       G




REVISED ARRAY - DEY ONLY


  PROC      Brand      NDC          Company              Product              Add'l Desc       Size           Strength   Form   AWP Unit Price       Price   Fee    Source
                                                                         (S.D.V.,5X5,PROTECT
J7644          N    00054840211 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34       G
                                                                         (S.D.V.,6X5,PROTECT
J7644          N    00054840213 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34       G
                                                                        (S.D.V.,12X5,PROTECT
J7644          N    00054840221 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34       G

J7644          N    00472075123 ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)           2.500 ML 25    0.02%     SOL    56.50      4.52      3.52    3.34       G

J7644          N    00472075130 ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)          2.500 ML 30s    0.02%     SOL    67.80       4.52     3.52    3.34       G
J7644          N    00472075160 Alpharma USPD   IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    118.80      3.96     3.52    3.34       G
J7644          N    49502068503 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL      9.02      0.72     3.52    3.34       G
J7644          N    49502068533 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 30s    0.02%     SOL     10.48      0.70     3.52    3.34       G
J7644          N    49502068560 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL     20.97      0.70     3.52    3.34       G
J7644          N    54569491000 Allscripts      IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL    18.62       1.49     3.52    3.34       G
J7644          N    54868408200 Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    42.25       1.41     3.52    3.34       G
J7644          N    54868408201 Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL    23.54       1.88     3.52    3.34       G
J7644          N    60505080601 APOTEX          IPRATROPIUM BROMIDE            (AMP)           2.500 ML 25s    0.02%     SOL    56.00       4.48     3.52    3.34       G
                                                                                                                                         KO & KP
                                                                                                                                         (median)    3.52
                                                                                                                                         UD (mg)
                                                                                                                                              X      0.50
                                                                                                                                              =      1.76
                                                                                                                                          -J7051     0.19
                                                                                                                                              =      1.57
                                                                                                                                         UD (mg) /   0.50
                                                                                                                                             KQ
                                                                                                                                         (median)    3.14
                                                                                                                                         KQ (95%)    2.98
                                                                                                                                         KO & KP
                                                                                                                                           (95%)     3.34
Brand
Source
                                                  IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644      Y        00054840411 Roxane            NOVAPLU                       APAK)          2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34       G
                                                  IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644      Y        00054840413 Roxane            NOVAPLU                       APAK)          2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34       G
                                                  IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644      Y        00054840421 Roxane            NOVAPLU                       APAK)          2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34       G
J7644      Y        00597008062 Boehr Ingelheim   ATROVENT                      (VIAL)         2.500 ML 25s    0.02%     SOL    70.97      5.68      3.52    3.34       G




                                                                                        45                                                                    2002 Q2
                                                                                                                                                                    1
                        Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 46 of 75
REVISED ARRAY - ROXANE ONLY


   PROC       Brand        NDC            Company                  Product                   Add'l Desc                 Size           Strength      Form        AWP Unit Price       Price        Fee     Source
                                                                                        (S.D.V.,5X5,PROTECT
J7644            N     00054840211 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 25s    0.02%         SOL        9.40      0.75       3.52        3.34        G
                                                                                        (S.D.V.,6X5,PROTECT
J7644            N     00054840213 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 30s    0.02%         SOL       11.59      0.77       3.52        3.34        G
                                                                                       (S.D.V.,12X5,PROTECT
J7644            N     00054840221 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 60s    0.02%         SOL       20.56      0.69       3.52        3.34        G

J7644            N     00472075123 ALPHARMA USPD IPRATROPIUM BROMIDE                            (VIAL)                   2.500 ML 25    0.02%         SOL       56.50      4.52       3.52        3.34        G

J7644            N     00472075130 ALPHARMA USPD IPRATROPIUM BROMIDE                            (VIAL)                  2.500 ML 30s    0.02%         SOL       67.80       4.52      3.52        3.34        G
J7644            N     00472075160 Alpharma USPD   IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL       118.80      3.96      3.52        3.34        G
J7644            N     49502068503 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL       44.10       3.53      3.52        3.34        G
J7644            N     49502068533 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 30s    0.02%         SOL       52.80       3.52      3.52        3.34        G
J7644            N     49502068560 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL       105.60      3.52      3.52        3.34        G
J7644            N     54569491000 Allscripts      IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL       18.62       1.49      3.52        3.34        G
J7644            N     54868408200 Phys Total Care IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL       42.25       1.41      3.52        3.34        G
J7644            N     54868408201 Phys Total Care IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL       23.54       1.88      3.52        3.34        G
J7644            N     60505080601 APOTEX          IPRATROPIUM BROMIDE                          (AMP)                   2.500 ML 25s    0.02%         SOL        56.00      4.48      3.52        3.34        G
                                                                                                                                                                         KO & KP
                                                                                                                                                                         (median)     3.52
                                                                                                                                                                         UD (mg)
                                                                                                                                                                              X       0.50
                                                                                                                                                                              =       1.76
                                                                                                                                                                          -J7051      0.19
                                                                                                                                                                              =       1.57
                                                                                                                                                                         UD (mg) /    0.50
                                                                                                                                                                             KQ
                                                                                                                                                                         (median)     3.14
                                                                                                                                                                         KQ (95%)     2.98
                                                                                                                                                                         KO & KP
                                                                                                                                                                           (95%)      3.34
Brand
Source
                                                         IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644        Y         00054840411 Roxane                NOVAPLU                       APAK)                            2.500 ML 25s    0.02%         SOL       44.06      3.52       3.52        3.34        G
                                                         IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644        Y         00054840413 Roxane                NOVAPLU                       APAK)                            2.500 ML 30s    0.02%         SOL       52.87      3.52       3.52        3.34        G
                                                         IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644        Y         00054840421 Roxane                NOVAPLU                       APAK)                            2.500 ML 60s    0.02%         SOL       105.74     3.52       3.52        3.34        G
J7644        Y         00597008062 Boehr Ingelheim       ATROVENT                      (VIAL)                           2.500 ML 25s    0.02%         SOL       70.97      5.68       3.52        3.34        G


REVISED ARRAY - DEY & ROXANE


   PROC       Brand        NDC            Company                  Product                   Add'l Desc                 Size           Strength      Form        AWP Unit Price       Price        Fee     Source
                                                                                        (S.D.V.,5X5,PROTECT
J7644            N     00054840211 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 25s    0.02%         SOL        9.40      0.75       1.41        1.34        G
                                                                                        (S.D.V.,6X5,PROTECT
J7644            N     00054840213 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 30s    0.02%         SOL       11.59      0.77       1.41        1.34        G
                                                                                       (S.D.V.,12X5,PROTECT
J7644            N     00054840221 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 60s    0.02%         SOL       20.56      0.69       1.41        1.34        G

J7644            N     00472075123 ALPHARMA USPD IPRATROPIUM BROMIDE                            (VIAL)                   2.500 ML 25    0.02%         SOL       56.50      4.52       1.41        1.34        G

J7644            N     00472075130 ALPHARMA USPD IPRATROPIUM BROMIDE                            (VIAL)                  2.500 ML 30s    0.02%         SOL       67.80       4.52      1.41        1.34        G
J7644            N     00472075160 Alpharma USPD   IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL       118.80      3.96      1.41        1.34        G
J7644            N     49502068503 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL         9.02      0.72      1.41        1.34        G
J7644            N     49502068533 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 30s    0.02%         SOL        10.48      0.70      1.41        1.34        G
J7644            N     49502068560 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL        20.97      0.70      1.41        1.34        G
J7644            N     54569491000 Allscripts      IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL       18.62       1.49      1.41        1.34        G
J7644            N     54868408200 Phys Total Care IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL       42.25       1.41      1.41        1.34        G
J7644            N     54868408201 Phys Total Care IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL       23.54       1.88      1.41        1.34        G
J7644            N     60505080601 APOTEX          IPRATROPIUM BROMIDE                          (AMP)                   2.500 ML 25s    0.02%         SOL       56.00       4.48      1.41        1.34        G
                                                                                                                                                                         KO & KP
                                                                                                                                                                         (median)     1.41
                                                                                                                                                                         UD (mg)
                                                                                                                                                                              X       0.50
                                                                                                                                                                              =       0.71
                                                                                                                                                                          -J7051      0.19
                                                                                                                                                                              =       0.52
                                                                                                                                                                         UD (mg) /    0.50
                                                                                                                                                                             KQ
                                                                                                                                                                         (median)     1.03
                                                                                                                                                                         KQ (95%)     0.98
                                                                                                                                                                         KO & KP
                                                                                                                                                                           (95%)      1.34
Brand
Source
                                                         IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644        Y         00054840411 Roxane                NOVAPLU                       APAK)                            2.500 ML 25s    0.02%         SOL       44.06      3.52       1.41        1.34        G
                                                         IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644        Y         00054840413 Roxane                NOVAPLU                       APAK)                            2.500 ML 30s    0.02%         SOL       52.87      3.52       1.41        1.34        G
                                                         IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644        Y         00054840421 Roxane                NOVAPLU                       APAK)                            2.500 ML 60s    0.02%         SOL       105.74     3.52       1.41        1.34        G
J7644        Y         00597008062 Boehr Ingelheim       ATROVENT                      (VIAL)                           2.500 ML 25s    0.02%         SOL       70.97      5.68       1.41        1.34        G




NOTES:

1. Source: Hard copy array, AWQ037-0059 through AWQ037-0062
2. The original array did not contain formulas and calculations for determining the median and Medicare allowable amounts. The calculations of the median and the KO/KP and KQ modifier allowable amounts are
based on calculations used in previous Palmetto arrays.
3. The Medicare allowance amounts are calcluated in cells L24 - L25 of the original array and cells L58 - L59, L91 - L92, and L124 - L125 of the revised arrays. The allowance amounts for the KO and KP modifiers
are 95% of the the median of the "Unit Price" values. The allowance amount for the KQ modifier is 95% of the median of the "Unit Price" values adjusted by unit dose and compounding factors.

                                                                                                         46                                                                                         2002 Q2
                                                                                                                                                                                                          2
                    Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 47 of 75
ORIGINAL ARRAY (Per Carrier Array Documents)


  PROC      Brand      NDC          Company              Product              Add'l Desc       Size           Strength   Form   AWP Unit Price       Price   Fee    Source
                                                                         (S.D.V.,5X5,PROTECT
J7644          N    00054840211 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34       G
                                                                         (S.D.V.,6X5,PROTECT
J7644          N    00054840213 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34       G
                                                                        (S.D.V.,12X5,PROTECT
J7644          N    00054840221 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34       G

J7644          N    00472075123 ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)           2.500 ML 25    0.02%     SOL    56.50      4.52      3.52    3.34       G

J7644          N    00472075130 ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)          2.500 ML 30s    0.02%     SOL    67.80       4.52     3.52    3.34       G
J7644          N    00472075160 Alpharma USPD   IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    118.80      3.96     3.52    3.34       G
J7644          N    49502068503 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL     44.10      3.53     3.52    3.34       G
J7644          N    49502068533 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 30s    0.02%     SOL     52.80      3.52     3.52    3.34       G
J7644          N    49502068560 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    105.60      3.52     3.52    3.34       G
J7644          N    54569491000 Allscripts      IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL    18.62       1.49     3.52    3.34       G
J7644          N    54868408200 Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    42.25       1.41     3.52    3.34       G
J7644          N    54868408201 Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL    23.54       1.88     3.52    3.34       G
J7644          N    60505080601 APOTEX          IPRATROPIUM BROMIDE            (AMP)           2.500 ML 25s    0.02%     SOL     56.00      4.48     3.52    3.34       G
                                                                                                                                         KO & KP
                                                                                                                                         (median)    3.52
                                                                                                                                         UD (mg)
                                                                                                                                              X      0.50
                                                                                                                                              =      1.76
                                                                                                                                          -J7051     0.19
                                                                                                                                              =      1.57
                                                                                                                                         UD (mg) /   0.50
                                                                                                                                             KQ
                                                                                                                                         (median)    3.14
                                                                                                                                         KQ (95%)    2.98
                                                                                                                                         KO & KP
                                                                                                                                           (95%)     3.34
Brand
Source
                                                  IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644      Y        00054840411 Roxane            NOVAPLU                       APAK)          2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34       G
                                                  IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644      Y        00054840413 Roxane            NOVAPLU                       APAK)          2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34       G
                                                  IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644      Y        00054840421 Roxane            NOVAPLU                       APAK)          2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34       G
J7644      Y        00597008062 Boehr Ingelheim   ATROVENT                      (VIAL)         2.500 ML 25s    0.02%     SOL    70.97      5.68      3.52    3.34       G




REVISED ARRAY - DEY ONLY


  PROC      Brand      NDC          Company              Product              Add'l Desc       Size           Strength   Form   AWP Unit Price       Price   Fee    Source
                                                                         (S.D.V.,5X5,PROTECT
J7644          N    00054840211 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34       G
                                                                         (S.D.V.,6X5,PROTECT
J7644          N    00054840213 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34       G
                                                                        (S.D.V.,12X5,PROTECT
J7644          N    00054840221 Roxane            IPRATROPIUM BROMIDE            APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34       G

J7644          N    00472075123 ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)           2.500 ML 25    0.02%     SOL    56.50      4.52      3.52    3.34       G

J7644          N    00472075130 ALPHARMA USPD IPRATROPIUM BROMIDE              (VIAL)          2.500 ML 30s    0.02%     SOL    67.80       4.52     3.52    3.34       G
J7644          N    00472075160 Alpharma USPD   IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    118.80      3.96     3.52    3.34       G
J7644          N    49502068503 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL     8.54       0.68     3.52    3.34       G
J7644          N    49502068533 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 30s    0.02%     SOL     9.92       0.66     3.52    3.34       G
J7644          N    49502068560 Dey             IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL     19.81      0.66     3.52    3.34       G
J7644          N    54569491000 Allscripts      IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL    18.62       1.49     3.52    3.34       G
J7644          N    54868408200 Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 60s    0.02%     SOL    42.25       1.41     3.52    3.34       G
J7644          N    54868408201 Phys Total Care IPRATROPIUM BROMIDE            (VIAL)          2.500 ML 25s    0.02%     SOL    23.54       1.88     3.52    3.34       G
J7644          N    60505080601 APOTEX          IPRATROPIUM BROMIDE            (AMP)           2.500 ML 25s    0.02%     SOL    56.00       4.48     3.52    3.34       G
                                                                                                                                         KO & KP
                                                                                                                                         (median)    3.52
                                                                                                                                         UD (mg)
                                                                                                                                              X      0.50
                                                                                                                                              =      1.76
                                                                                                                                          -J7051     0.19
                                                                                                                                              =      1.57
                                                                                                                                         UD (mg) /   0.50
                                                                                                                                             KQ
                                                                                                                                         (median)    3.14
                                                                                                                                         KQ (95%)    2.98
                                                                                                                                         KO & KP
                                                                                                                                           (95%)     3.34
Brand
Source
                                                  IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644      Y        00054840411 Roxane            NOVAPLU                       APAK)          2.500 ML 25s    0.02%     SOL    44.06      3.52      3.52    3.34       G
                                                  IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644      Y        00054840413 Roxane            NOVAPLU                       APAK)          2.500 ML 30s    0.02%     SOL    52.87      3.52      3.52    3.34       G
                                                  IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644      Y        00054840421 Roxane            NOVAPLU                       APAK)          2.500 ML 60s    0.02%     SOL    105.74     3.52      3.52    3.34       G
J7644      Y        00597008062 Boehr Ingelheim   ATROVENT                      (VIAL)         2.500 ML 25s    0.02%     SOL    70.97      5.68      3.52    3.34       G




                                                                                        47                                                                    2002 Q3
                                                                                                                                                                    1
                        Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 48 of 75
REVISED ARRAY - ROXANE ONLY


   PROC       Brand        NDC            Company                  Product                   Add'l Desc                 Size           Strength      Form        AWP Unit Price       Price        Fee     Source
                                                                                        (S.D.V.,5X5,PROTECT
J7644            N     00054840211 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 25s    0.02%         SOL        9.04      0.72       3.52        3.34        G
                                                                                        (S.D.V.,6X5,PROTECT
J7644            N     00054840213 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 30s    0.02%         SOL       11.39      0.76       3.52        3.34        G
                                                                                       (S.D.V.,12X5,PROTECT
J7644            N     00054840221 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 60s    0.02%         SOL       20.10      0.67       3.52        3.34        G

J7644            N     00472075123 ALPHARMA USPD IPRATROPIUM BROMIDE                            (VIAL)                   2.500 ML 25    0.02%         SOL       56.50      4.52       3.52        3.34        G

J7644            N     00472075130 ALPHARMA USPD IPRATROPIUM BROMIDE                            (VIAL)                  2.500 ML 30s    0.02%         SOL       67.80       4.52      3.52        3.34        G
J7644            N     00472075160 Alpharma USPD   IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL       118.80      3.96      3.52        3.34        G
J7644            N     49502068503 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL       44.10       3.53      3.52        3.34        G
J7644            N     49502068533 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 30s    0.02%         SOL       52.80       3.52      3.52        3.34        G
J7644            N     49502068560 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL       105.60      3.52      3.52        3.34        G
J7644            N     54569491000 Allscripts      IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL       18.62       1.49      3.52        3.34        G
J7644            N     54868408200 Phys Total Care IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL       42.25       1.41      3.52        3.34        G
J7644            N     54868408201 Phys Total Care IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL       23.54       1.88      3.52        3.34        G
J7644            N     60505080601 APOTEX          IPRATROPIUM BROMIDE                          (AMP)                   2.500 ML 25s    0.02%         SOL        56.00      4.48      3.52        3.34        G
                                                                                                                                                                         KO & KP
                                                                                                                                                                         (median)     3.52
                                                                                                                                                                         UD (mg)
                                                                                                                                                                              X       0.50
                                                                                                                                                                              =       1.76
                                                                                                                                                                          -J7051      0.19
                                                                                                                                                                              =       1.57
                                                                                                                                                                         UD (mg) /    0.50
                                                                                                                                                                             KQ
                                                                                                                                                                         (median)     3.14
                                                                                                                                                                         KQ (95%)     2.98
                                                                                                                                                                         KO & KP
                                                                                                                                                                           (95%)      3.34
Brand
Source
                                                         IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644        Y         00054840411 Roxane                NOVAPLU                       APAK)                            2.500 ML 25s    0.02%         SOL       44.06      3.52       3.52        3.34        G
                                                         IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644        Y         00054840413 Roxane                NOVAPLU                       APAK)                            2.500 ML 30s    0.02%         SOL       52.87      3.52       3.52        3.34        G
                                                         IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644        Y         00054840421 Roxane                NOVAPLU                       APAK)                            2.500 ML 60s    0.02%         SOL       105.74     3.52       3.52        3.34        G
J7644        Y         00597008062 Boehr Ingelheim       ATROVENT                      (VIAL)                           2.500 ML 25s    0.02%         SOL       70.97      5.68       3.52        3.34        G


REVISED ARRAY - DEY & ROXANE


   PROC       Brand        NDC            Company                  Product                   Add'l Desc                 Size           Strength      Form        AWP Unit Price       Price        Fee     Source
                                                                                        (S.D.V.,5X5,PROTECT
J7644            N     00054840211 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 25s    0.02%         SOL        9.04      0.72       1.41        1.34        G
                                                                                        (S.D.V.,6X5,PROTECT
J7644            N     00054840213 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 30s    0.02%         SOL       11.39      0.76       1.41        1.34        G
                                                                                       (S.D.V.,12X5,PROTECT
J7644            N     00054840221 Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 60s    0.02%         SOL       20.10      0.67       1.41        1.34        G

J7644            N     00472075123 ALPHARMA USPD IPRATROPIUM BROMIDE                            (VIAL)                   2.500 ML 25    0.02%         SOL       56.50      4.52       1.41        1.34        G

J7644            N     00472075130 ALPHARMA USPD IPRATROPIUM BROMIDE                            (VIAL)                  2.500 ML 30s    0.02%         SOL       67.80       4.52      1.41        1.34        G
J7644            N     00472075160 Alpharma USPD   IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL       118.80      3.96      1.41        1.34        G
J7644            N     49502068503 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL        8.54       0.68      1.41        1.34        G
J7644            N     49502068533 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 30s    0.02%         SOL        9.92       0.66      1.41        1.34        G
J7644            N     49502068560 Dey             IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL        19.81      0.66      1.41        1.34        G
J7644            N     54569491000 Allscripts      IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL       18.62       1.49      1.41        1.34        G
J7644            N     54868408200 Phys Total Care IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 60s    0.02%         SOL       42.25       1.41      1.41        1.34        G
J7644            N     54868408201 Phys Total Care IPRATROPIUM BROMIDE                          (VIAL)                  2.500 ML 25s    0.02%         SOL       23.54       1.88      1.41        1.34        G
J7644            N     60505080601 APOTEX          IPRATROPIUM BROMIDE                          (AMP)                   2.500 ML 25s    0.02%         SOL       56.00       4.48      1.41        1.34        G
                                                                                                                                                                         KO & KP
                                                                                                                                                                         (median)     1.41
                                                                                                                                                                         UD (mg)
                                                                                                                                                                              X       0.50
                                                                                                                                                                              =       0.71
                                                                                                                                                                          -J7051      0.19
                                                                                                                                                                              =       0.52
                                                                                                                                                                         UD (mg) /    0.50
                                                                                                                                                                             KQ
                                                                                                                                                                         (median)     1.03
                                                                                                                                                                         KQ (95%)     0.98
                                                                                                                                                                         KO & KP
                                                                                                                                                                           (95%)      1.34
Brand
Source
                                                         IPRATROPIUM BROMIDE- (S.D.V.,5X5,PROTECT
J7644        Y         00054840411 Roxane                NOVAPLU                       APAK)                            2.500 ML 25s    0.02%         SOL       44.06      3.52       1.41        1.34        G
                                                         IPRATROPIUM BROMIDE- (S.D.V.,6X5,PROTECT
J7644        Y         00054840413 Roxane                NOVAPLU                       APAK)                            2.500 ML 30s    0.02%         SOL       52.87      3.52       1.41        1.34        G
                                                         IPRATROPIUM BROMIDE- (S.D.V.,12X5,PROTECT
J7644        Y         00054840421 Roxane                NOVAPLU                       APAK)                            2.500 ML 60s    0.02%         SOL       105.74     3.52       1.41        1.34        G
J7644        Y         00597008062 Boehr Ingelheim       ATROVENT                      (VIAL)                           2.500 ML 25s    0.02%         SOL       70.97      5.68       1.41        1.34        G




NOTES:

1. Source: Hard copy array, AWQ037-0064 through AWQ037-0067
2. The original array did not contain formulas and calculations for determining the median and Medicare allowable amounts. The calculations of the median and the KO/KP and KQ modifier allowable amounts are
based on calculations used in previous Palmetto arrays.
3. The Medicare allowance amounts are calcluated in cells L24 - L25 of the original array and cells L58 - L59, L91 - L92, and L124 - L125 of the revised arrays. The allowance amounts for the KO and KP modifiers
are 95% of the the median of the "Unit Price" values. The allowance amount for the KQ modifier is 95% of the median of the "Unit Price" values adjusted by unit dose and compounding factors.

                                                                                                         48                                                                                         2002 Q3
                                                                                                                                                                                                          2
                          Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 49 of 75
ORIGINAL ARRAY (Per Carrier Array Documents)


  PROC      Brand        NDC           Company              Product               Add'l Desc       Size           Strength   Form   AWP      Unit Price   Price      Fee    Source
                                                                            (S.D.V.,5X5,PROTECTA
J7644          N     00054840211   Roxane            IPRATROPIUM BROMIDE              PAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52       3.52       3.34     G
                                                                            (S.D.V.,6X5,PROTECTA
J7644          N     00054840213   Roxane            IPRATROPIUM BROMIDE              PAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52       3.52       3.34     G
                                                                            (S.D.V.,12X5,PROTECT
J7644          N     00054840221   Roxane            IPRATROPIUM BROMIDE             APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52       3.52       3.34     G
J7644          N     00472075123   ALPHARMA USPD     IPRATROPIUM BROMIDE             (VIAL)         2.500 ML 25    0.02%     SOL     56.50     4.52       3.52       3.34     G
J7644          N     00472075130   ALPHARMA USPD     IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 30s    0.02%     SOL     67.80     4.52       3.52       3.34     G
J7644          N     00472075160   Alpharma USPD     IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL    118.80     3.96       3.52       3.34     G
J7644          N     49502068503   Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL     44.10     3.53       3.52       3.34     G
J7644          N     49502068533   Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 30s    0.02%     SOL     52.80     3.52       3.52       3.34     G
J7644          N     49502068560   Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL    105.60     3.52       3.52       3.34     G
J7644          N     54569491000   Allscripts        IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL     18.62     1.49       3.52       3.34     G
J7644          N     54868408200   Phys Total Care   IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL     42.25     1.41       3.52       3.34     G
J7644          N     54868408201   Phys Total Care   IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL     23.54     1.88       3.52       3.34     G
J7644          N     60505080601   APOTEX            IPRATROPIUM BROMIDE             (AMP)         2.500 ML 25s    0.02%     SOL     56.00     4.48       3.52       3.34     G
                                                                                                                                             KO & KP
                                                                                                                                             (median)     3.52

                                                                                                                                             UD (mg) X    0.50
                                                                                                                                                  =       1.76
                                                                                                                                              -J7051      0.19
                                                                                                                                                  =       1.57
                                                                                                                                             UD (mg) /    0.50
                                                                                                                                                 KQ
                                                                                                                                             (median)     3.14
                                                                                                                                             KQ (95%)     2.98
                                                                                                                                             KO & KP
                                                                                                                                               (95%)      3.34
Brand
Source
                                                     IPRATROPIUM BROMIDE-   (S.D.V.,5X5,PROTECTA
J7644      Y         00054840411   Roxane            NOVAPLU                          PAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52       3.52       3.34     G
                                                     IPRATROPIUM BROMIDE-   (S.D.V.,6X5,PROTECTA
J7644      Y         00054840413   Roxane            NOVAPLU                          PAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52       3.52       3.34     G
                                                     IPRATROPIUM BROMIDE-   (S.D.V.,12X5,PROTECT
J7644      Y         00054840421   Roxane            NOVAPLU                         APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52       3.52       3.34     G
J7644      Y         00597008062   Boehr Ingelheim   ATROVENT                        (VIAL)        2.500 ML 25s    0.02%     SOL     70.97     5.68       3.52       3.34     G




REVISED ARRAY - DEY ONLY


  PROC      Brand        NDC           Company              Product               Add'l Desc       Size           Strength   Form   AWP      Unit Price   Price      Fee    Source
                                                                            (S.D.V.,5X5,PROTECTA
J7644          N     00054840211   Roxane            IPRATROPIUM BROMIDE              PAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52       3.52       3.34     G
                                                                            (S.D.V.,6X5,PROTECTA
J7644          N     00054840213   Roxane            IPRATROPIUM BROMIDE              PAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52       3.52       3.34     G
                                                                            (S.D.V.,12X5,PROTECT
J7644          N     00054840221   Roxane            IPRATROPIUM BROMIDE             APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52       3.52       3.34     G
J7644          N     00472075123   ALPHARMA USPD     IPRATROPIUM BROMIDE             (VIAL)         2.500 ML 25    0.02%     SOL     56.50     4.52       3.52       3.34     G
J7644          N     00472075130   ALPHARMA USPD     IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 30s    0.02%     SOL     67.80     4.52       3.52       3.34     G
J7644          N     00472075160   Alpharma USPD     IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL    118.80     3.96       3.52       3.34     G
J7644          N     49502068503   Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL     8.52      0.68       3.52       3.34     G
J7644          N     49502068533   Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 30s    0.02%     SOL     9.11      0.61       3.52       3.34     G
J7644          N     49502068560   Dey               IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL     18.65     0.62       3.52       3.34     G
J7644          N     54569491000   Allscripts        IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL     18.62     1.49       3.52       3.34     G
J7644          N     54868408200   Phys Total Care   IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 60s    0.02%     SOL     42.25     1.41       3.52       3.34     G
J7644          N     54868408201   Phys Total Care   IPRATROPIUM BROMIDE             (VIAL)        2.500 ML 25s    0.02%     SOL     23.54     1.88       3.52       3.34     G
J7644          N     60505080601   APOTEX            IPRATROPIUM BROMIDE             (AMP)         2.500 ML 25s    0.02%     SOL     56.00     4.48       3.52       3.34     G
                                                                                                                                             KO & KP
                                                                                                                                             (median)     3.52

                                                                                                                                             UD (mg) X    0.50
                                                                                                                                                 =        1.76
                                                                                                                                              -J7051      0.19
                                                                                                                                                 =        1.57
                                                                                                                                             UD (mg) /    0.50
                                                                                                                                                KQ
                                                                                                                                             (median)     3.14
                                                                                                                                             KQ (95%)     2.98
                                                                                                                                             KO & KP
                                                                                                                                              (95%)       3.34
Brand
Source
                                                     IPRATROPIUM BROMIDE-   (S.D.V.,5X5,PROTECTA
J7644      Y         00054840411   Roxane            NOVAPLU                          PAK)         2.500 ML 25s    0.02%     SOL    44.06      3.52       3.52       3.34     G
                                                     IPRATROPIUM BROMIDE-   (S.D.V.,6X5,PROTECTA
J7644      Y         00054840413   Roxane            NOVAPLU                          PAK)         2.500 ML 30s    0.02%     SOL    52.87      3.52       3.52       3.34     G
                                                     IPRATROPIUM BROMIDE-   (S.D.V.,12X5,PROTECT
J7644      Y         00054840421   Roxane            NOVAPLU                         APAK)         2.500 ML 60s    0.02%     SOL    105.74     3.52       3.52       3.34     G
J7644      Y         00597008062   Boehr Ingelheim   ATROVENT                        (VIAL)        2.500 ML 25s    0.02%     SOL     70.97     5.68       3.52       3.34     G




                                                                                        49                                                                        2003 Q1
                                                                                                                                                                        1
                               Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 50 of 75
REVISED ARRAY - ROXANE ONLY


   PROC        Brand         NDC               Company                   Product                   Add'l Desc                  Size          Strength       Form        AWP     Unit Price     Price       Fee      Source
                                                                                             (S.D.V.,5X5,PROTECTA
J7644             N      00054840211     Roxane                IPRATROPIUM BROMIDE                     PAK)                   2.500 ML 25s     0.02%         SOL         8.97      0.72        3.52        3.34        G
                                                                                             (S.D.V.,6X5,PROTECTA
J7644             N      00054840213     Roxane                IPRATROPIUM BROMIDE                     PAK)                   2.500 ML 30s     0.02%         SOL        11.05      0.74        3.52        3.34        G
                                                                                             (S.D.V.,12X5,PROTECT
J7644             N      00054840221     Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 60s     0.02%         SOL        18.99      0.63        3.52        3.34        G
J7644             N      00472075123     ALPHARMA USPD         IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 25     0.02%         SOL        56.50      4.52        3.52        3.34        G
J7644             N      00472075130     ALPHARMA USPD         IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 30s     0.02%         SOL        67.80      4.52        3.52        3.34        G
J7644             N      00472075160     Alpharma USPD         IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 60s     0.02%         SOL       118.80      3.96        3.52        3.34        G
J7644             N      49502068503     Dey                   IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 25s     0.02%         SOL        44.10      3.53        3.52        3.34        G
J7644             N      49502068533     Dey                   IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 30s     0.02%         SOL        52.80      3.52        3.52        3.34        G
J7644             N      49502068560     Dey                   IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 60s     0.02%         SOL       105.60      3.52        3.52        3.34        G
J7644             N      54569491000     Allscripts            IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 25s     0.02%         SOL        18.62      1.49        3.52        3.34        G
J7644             N      54868408200     Phys Total Care       IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 60s     0.02%         SOL        42.25      1.41        3.52        3.34        G
J7644             N      54868408201     Phys Total Care       IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 25s     0.02%         SOL        23.54      1.88        3.52        3.34        G
J7644             N      60505080601     APOTEX                IPRATROPIUM BROMIDE                    (AMP)                   2.500 ML 25s     0.02%         SOL        56.00      4.48        3.52        3.34        G
                                                                                                                                                                                 KO & KP
                                                                                                                                                                                 (median)      3.52

                                                                                                                                                                                UD (mg) X      0.50
                                                                                                                                                                                     =         1.76
                                                                                                                                                                                 -J7051        0.19
                                                                                                                                                                                     =         1.57
                                                                                                                                                                                UD (mg) /      0.50
                                                                                                                                                                                    KQ
                                                                                                                                                                                (median)       3.14
                                                                                                                                                                                KQ (95%)       2.98
                                                                                                                                                                                KO & KP
                                                                                                                                                                                  (95%)        3.34
Brand
Source
                                                               IPRATROPIUM BROMIDE-          (S.D.V.,5X5,PROTECTA
J7644         Y          00054840411     Roxane                NOVAPLU                                 PAK)                   2.500 ML 25s     0.02%         SOL        44.06      3.52        3.52        3.34        G
                                                               IPRATROPIUM BROMIDE-          (S.D.V.,6X5,PROTECTA
J7644         Y          00054840413     Roxane                NOVAPLU                                 PAK)                   2.500 ML 30s     0.02%         SOL        52.87      3.52        3.52        3.34        G
                                                               IPRATROPIUM BROMIDE-          (S.D.V.,12X5,PROTECT
J7644         Y          00054840421     Roxane                NOVAPLU                                APAK)                   2.500 ML 60s     0.02%         SOL       105.74      3.52        3.52        3.34        G
J7644         Y          00597008062     Boehr Ingelheim       ATROVENT                               (VIAL)                  2.500 ML 25s     0.02%         SOL        70.97      5.68        3.52        3.34        G


REVISED ARRAY - DEY & ROXANE


   PROC        Brand         NDC               Company                   Product                   Add'l Desc                  Size          Strength       Form        AWP     Unit Price     Price       Fee      Source
                                                                                             (S.D.V.,5X5,PROTECTA
J7644             N      00054840211     Roxane                IPRATROPIUM BROMIDE                     PAK)                   2.500 ML 25s     0.02%         SOL         8.97      0.72        1.41        1.34        G
                                                                                             (S.D.V.,6X5,PROTECTA
J7644             N      00054840213     Roxane                IPRATROPIUM BROMIDE                     PAK)                   2.500 ML 30s     0.02%         SOL        11.05      0.74        1.41        1.34        G
                                                                                             (S.D.V.,12X5,PROTECT
J7644             N      00054840221     Roxane                IPRATROPIUM BROMIDE                    APAK)                   2.500 ML 60s     0.02%         SOL        18.99      0.63        1.41        1.34        G
J7644             N      00472075123     ALPHARMA USPD         IPRATROPIUM BROMIDE                    (VIAL)                   2.500 ML 25     0.02%         SOL        56.50      4.52        1.41        1.34        G
J7644             N      00472075130     ALPHARMA USPD         IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 30s     0.02%         SOL        67.80      4.52        1.41        1.34        G
J7644             N      00472075160     Alpharma USPD         IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 60s     0.02%         SOL       118.80      3.96        1.41        1.34        G
J7644             N      49502068503     Dey                   IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 25s     0.02%         SOL        8.52       0.68        1.41        1.34        G
J7644             N      49502068533     Dey                   IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 30s     0.02%         SOL        9.11       0.61        1.41        1.34        G
J7644             N      49502068560     Dey                   IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 60s     0.02%         SOL        18.65      0.62        1.41        1.34        G
J7644             N      54569491000     Allscripts            IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 25s     0.02%         SOL        18.62      1.49        1.41        1.34        G
J7644             N      54868408200     Phys Total Care       IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 60s     0.02%         SOL        42.25      1.41        1.41        1.34        G
J7644             N      54868408201     Phys Total Care       IPRATROPIUM BROMIDE                    (VIAL)                  2.500 ML 25s     0.02%         SOL        23.54      1.88        1.41        1.34        G
J7644             N      60505080601     APOTEX                IPRATROPIUM BROMIDE                    (AMP)                   2.500 ML 25s     0.02%         SOL        56.00      4.48        1.41        1.34        G
                                                                                                                                                                                 KO & KP
                                                                                                                                                                                 (median)      1.41

                                                                                                                                                                                UD (mg) X      0.50
                                                                                                                                                                                    =          0.71
                                                                                                                                                                                 -J7051        0.19
                                                                                                                                                                                    =          0.52
                                                                                                                                                                                UD (mg) /      0.50
                                                                                                                                                                                   KQ
                                                                                                                                                                                (median)       1.03
                                                                                                                                                                                KQ (95%)       0.98
                                                                                                                                                                                KO & KP
                                                                                                                                                                                 (95%)         1.34
Brand
Source
                                                               IPRATROPIUM BROMIDE-          (S.D.V.,5X5,PROTECTA
J7644         Y          00054840411     Roxane                NOVAPLU                                 PAK)                   2.500 ML 25s     0.02%         SOL        44.06      3.52        1.41        1.34        G
                                                               IPRATROPIUM BROMIDE-          (S.D.V.,6X5,PROTECTA
J7644         Y          00054840413     Roxane                NOVAPLU                                 PAK)                   2.500 ML 30s     0.02%         SOL        52.87      3.52        1.41        1.34        G
                                                               IPRATROPIUM BROMIDE-          (S.D.V.,12X5,PROTECT
J7644         Y          00054840421     Roxane                NOVAPLU                                APAK)                   2.500 ML 60s     0.02%         SOL       105.74      3.52        1.41        1.34        G
J7644         Y          00597008062     Boehr Ingelheim       ATROVENT                               (VIAL)                  2.500 ML 25s     0.02%         SOL        70.97      5.68        1.41        1.34        G




NOTES:

1. Source: Hard copy array, AWQ037-0069 through AWQ037-0072
2. The original array did not contain formulas and calculations for determining the median and Medicare allowable amounts. The calculations of the median and the KO/KP and KQ modifier allowable amounts are based on
calculations used in previous Palmetto arrays.
3. The Medicare allowance amounts are calcluated in cells L24 - L25 of the original array and cells L58 - L59, L91 - L92, and L124 - L125 of the revised arrays. The allowance amounts for the KO and KP modifiers are 95% of
the the median of the "Unit Price" values. The allowance amount for the KQ modifier is 95% of the median of the "Unit Price" values adjusted by unit dose and compounding factors.

                                                                                                            50                                                                                         2003 Q1
                                                                                                                                                                                                             2
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 51 of 75
     ORIGINAL ARRAY (Per Carrier Array Documents)

                                                                   April 2003 DMERC Drug Updates

                                                                                                   awp_pk
        code     short_na       prod_nam       size_tex   strength   form_cod         ndc            g_        price      price99   oprice   otype   add
                            IPRATROPIUM
     J7644      Roxane      BROMIDE                 25     0.02%        SOL       00054840211      44.06       3.52        3.52      3.34     G
                            IPRATROPIUM
     J7644      Roxane      BROMIDE                 30     0.02%        SOL       00054840213      52.87       3.52        3.52      3.34     G
                            IPRATROPIUM
     J7644      Roxane      BROMIDE                 60     0.02%        SOL       00054840221      105.74      3.52        3.52      3.34     G
                            IPRATROPIUM
     J7644      Roxane      BROMIDE                 25     0.02%        SOL       00054840411      44.06       3.52        3.52      3.34     G
                            IPRATROPIUM
     J7644      Roxane      BROMIDE                 30     0.02%        SOL       00054840413      52.84       3.52        3.52      3.34     G
                            IPRATROPIUM
     J7644      Roxane      BROMIDE                 60     0.02%        SOL       00054840421      105.74      3.52        3.52      3.34     G
                Alpharma    IPRATROPIUM
     J7644      USPD        BROMIDE                 25     0.02%        SOL       00472075123      56.50       4.52        3.52      3.34     G
                Alpharma    IPRATROPIUM
     J7644      USPD        BROMIDE                 30     0.02%        SOL       00472075130      67.80       4.52        3.52      3.34     G
                Alpharma    IPRATROPIUM
     J7644      USPD        BROMIDE                 60     0.02%        SOL       00472075160      118.80      3.96        3.52      3.34     G
                Boehr
                Ingelheim
     J7644      Phar       ATROVENT                 25     0.02%        SOL       00597008062      73.09       5.85        3.52      3.34     G
                           IPRATROPIUM
     J7644      Dey        BROMIDE                  25     0.02%        SOL       49502068503      44.10       3.53        3.52      3.34     G
                           IPRATROPIUM
     J7644      Dey        BROMIDE                  30     0.02%        SOL       49502068533      52.80       3.52        3.52      3.34     G
                           IPRATROPIUM
     J7644      Dey        BROMIDE                  60     0.02%        SOL       49502068560      105.60      3.52        3.52      3.34     G
                           IPRATROPIUM
     J7644      Allscripts BROMIDE                  25     0.02%        SOL       54569491000      18.84       1.51        3.52      3.34     G
                Phys Total IPRATROPIUM
     J7644      Care       BROMIDE                  60     0.02%        SOL       54868408200      42.25       1.41        3.52      3.34     G
                Phys Total IPRATROPIUM
     J7644      Care       BROMIDE                  25     0.02%        SOL       54868408201      23.54       1.88        3.52      3.34     G
                Apotex     IPRATROPIUM
     J7644      Corp       BROMIDE                  25     0.02%        SOL       60505080601      56.00       4.48        3.52      3.34     G      A
                           IPRATROPIUM
     J7644      Aslung     BROMIDE                  120    0.02%        SOL       65271000112      211.20      3.52        3.52      3.34     G      A
                           IPRATROPIUM
     J7644      Aslung     BROMIDE                  25     0.02%        SOL       65271000125      44.00       3.52        3.52      3.34     G      A
                           IPRATROPIUM
     J7644      Aslung     BROMIDE                  30     0.02%        SOL       65271000130      52.80       3.52        3.52      3.34     G
                           IPRATROPIUM
     J7644      Aslung     BROMIDE                  60     0.02%        SOL       65271000160      105.60        3.52      3.52      3.34     G      A
                                                                                                              KO & KP
                                                                                                              (median)     3.52
                                                                                                             UD (mg) X     0.50
                                                                                                                   =       1.76
                                                                                                               -J7051      0.19
                                                                                                                   =       1.57
                                                                                                             UD (mg) /     0.50
                                                                                                            KQ (median)    3.14
                                                                                                             KQ (95%)      2.98
                                                                                                             KO & KP
                                                                                                                (95%)      3.34




     REVISED ARRAY - DEY ONLY

                                                                   April 2003 DMERC Drug Updates

                                                                                                   awp_pk
        code     short_na       prod_nam       size_tex   strength   form_cod         ndc            g_        price      price99   oprice   otype   add
                            IPRATROPIUM
     J7644      Roxane      BROMIDE                 25     0.02%        SOL       00054840211      44.06       3.52        3.52      3.34     G
                            IPRATROPIUM
     J7644      Roxane      BROMIDE                 30     0.02%        SOL       00054840213      52.87       3.52        3.52      3.34     G
                            IPRATROPIUM
     J7644      Roxane      BROMIDE                 60     0.02%        SOL       00054840221      105.74      3.52        3.52      3.34     G
                Alpharma    IPRATROPIUM
     J7644      USPD        BROMIDE                 25     0.02%        SOL       00472075123      56.50       4.52        3.52      3.34     G
                Alpharma    IPRATROPIUM
     J7644      USPD        BROMIDE                 30     0.02%        SOL       00472075130      67.80       4.52        3.52      3.34     G
                Alpharma    IPRATROPIUM
     J7644      USPD        BROMIDE                 60     0.02%        SOL       00472075160      118.80      3.96        3.52      3.34     G
                Boehr
                Ingelheim
     J7644      Phar       ATROVENT                 25     0.02%        SOL       00597008062      73.09       5.85        3.52      3.34     G
                           IPRATROPIUM
     J7644      Dey        BROMIDE                  25     0.02%        SOL       49502068503       7.34       0.59        3.52      3.34     G
                           IPRATROPIUM
     J7644      Dey        BROMIDE                  30     0.02%        SOL       49502068533       8.26       0.55        3.52      3.34     G
                           IPRATROPIUM
     J7644      Dey        BROMIDE                  60     0.02%        SOL       49502068560      16.74       0.56        3.52      3.34     G
                           IPRATROPIUM
     J7644      Allscripts BROMIDE                  25     0.02%        SOL       54569491000      18.84       1.51        3.52      3.34     G
                Phys Total IPRATROPIUM
     J7644      Care       BROMIDE                  60     0.02%        SOL       54868408200      42.25       1.41        3.52      3.34     G
                Phys Total IPRATROPIUM
     J7644      Care       BROMIDE                  25     0.02%        SOL       54868408201      23.54       1.88        3.52      3.34     G
                Apotex     IPRATROPIUM
     J7644      Corp       BROMIDE                  25     0.02%        SOL       60505080601      56.00       4.48        3.52      3.34     G      A
                           IPRATROPIUM
     J7644      Aslung     BROMIDE                  120    0.02%        SOL       65271000112      211.20      3.52        3.52      3.34     G      A
                           IPRATROPIUM
     J7644      Aslung     BROMIDE                  25     0.02%        SOL       65271000125      44.00       3.52        3.52      3.34     G      A
                           IPRATROPIUM
     J7644      Aslung     BROMIDE                  30     0.02%        SOL       65271000130      52.80       3.52        3.52      3.34     G
                           IPRATROPIUM
     J7644      Aslung     BROMIDE                  60     0.02%        SOL       65271000160      105.60        3.52      3.52      3.34     G      A
                                                                                                              KO & KP
                                                                                                              (median)     3.52
                                                                                                             UD (mg) X     0.50
                                                                                                                   =       1.76
                                                                                                               -J7051      0.19
                                                                                                                   =       1.57
                                                                                                             UD (mg) /     0.50
                                                                                                            KQ (median)    3.14
                                                                                                             KQ (95%)      2.98
                                                                                                             KO & KP
                                                                                                                (95%)      3.34




                                                                                51
                                                                                                                                                           2003 Q2
                                                                                                                                                                 1
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 52 of 75
     REVISED ARRAY - ROXANE ONLY

                                                                           April 2003 DMERC Drug Updates

                                                                                                               awp_pk
        code        short_na       prod_nam           size_tex    strength    form_cod            ndc            g_          price      price99   oprice      otype        add
                               IPRATROPIUM
     J7644        Roxane       BROMIDE                   25        0.02%        SOL          00054840211         8.87        0.71        3.52      3.34         G
                               IPRATROPIUM
     J7644        Roxane       BROMIDE                   30        0.02%        SOL          00054840213         10.95       0.73        3.52      3.34         G
                               IPRATROPIUM
     J7644        Roxane       BROMIDE                   60        0.02%        SOL          00054840221         18.53       0.62        3.52      3.34         G
                  Alpharma     IPRATROPIUM
     J7644        USPD         BROMIDE                   25        0.02%        SOL          00472075123         56.50       4.52        3.52      3.34         G
                  Alpharma     IPRATROPIUM
     J7644        USPD         BROMIDE                   30        0.02%        SOL          00472075130         67.80       4.52        3.52      3.34         G
                  Alpharma     IPRATROPIUM
     J7644        USPD         BROMIDE                   60        0.02%        SOL          00472075160        118.80       3.96        3.52      3.34         G
                  Boehr
                  Ingelheim
     J7644        Phar       ATROVENT                    25        0.02%        SOL          00597008062         73.09       5.85        3.52      3.34         G
                             IPRATROPIUM
     J7644        Dey        BROMIDE                     25        0.02%        SOL          49502068503         44.10       3.53        3.52      3.34         G
                             IPRATROPIUM
     J7644        Dey        BROMIDE                     30        0.02%        SOL          49502068533         52.80       3.52        3.52      3.34         G
                             IPRATROPIUM
     J7644        Dey        BROMIDE                     60        0.02%        SOL          49502068560        105.60       3.52        3.52      3.34         G
                             IPRATROPIUM
     J7644        Allscripts BROMIDE                     25        0.02%        SOL          54569491000         18.84       1.51        3.52      3.34         G
                  Phys Total IPRATROPIUM
     J7644        Care       BROMIDE                     60        0.02%        SOL          54868408200         42.25       1.41        3.52      3.34         G
                  Phys Total IPRATROPIUM
     J7644        Care       BROMIDE                     25        0.02%        SOL          54868408201         23.54       1.88        3.52      3.34         G
                  Apotex     IPRATROPIUM
     J7644        Corp       BROMIDE                     25        0.02%        SOL          60505080601         56.00       4.48        3.52      3.34         G           A
                             IPRATROPIUM
     J7644        Aslung     BROMIDE                     120       0.02%        SOL          65271000112        211.20       3.52        3.52      3.34         G           A
                             IPRATROPIUM
     J7644        Aslung     BROMIDE                     25        0.02%        SOL          65271000125         44.00       3.52        3.52      3.34         G           A
                             IPRATROPIUM
     J7644        Aslung     BROMIDE                     30        0.02%        SOL          65271000130         52.80       3.52        3.52      3.34         G
                             IPRATROPIUM
     J7644        Aslung     BROMIDE                     60        0.02%        SOL          65271000160        105.60        3.52       3.52      3.34         G           A
                                                                                                                           KO & KP
                                                                                                                           (median)      3.52
                                                                                                                          UD (mg) X      0.50
                                                                                                                                =        1.76
                                                                                                                            -J7051       0.19
                                                                                                                                =        1.57
                                                                                                                          UD (mg) /      0.50
                                                                                                                         KQ (median)     3.14
                                                                                                                          KQ (95%)       2.98
                                                                                                                          KO & KP
                                                                                                                             (95%)       3.34


     REVISED ARRAY - DEY & ROXANE

                                                                           April 2003 DMERC Drug Updates

                                                                                                               awp_pk
        code        short_na       prod_nam           size_tex    strength    form_cod            ndc            g_          price      price99   oprice      otype        add
                               IPRATROPIUM
     J7644        Roxane       BROMIDE                   25        0.02%        SOL          00054840211         8.87        0.71        2.70      2.57         G
                               IPRATROPIUM
     J7644        Roxane       BROMIDE                   30        0.02%        SOL          00054840213         10.95       0.73        2.70      2.57         G
                               IPRATROPIUM
     J7644        Roxane       BROMIDE                   60        0.02%        SOL          00054840221         18.53       0.62        2.70      2.57         G
                  Alpharma     IPRATROPIUM
     J7644        USPD         BROMIDE                   25        0.02%        SOL          00472075123         56.50       4.52        2.70      2.57         G
                  Alpharma     IPRATROPIUM
     J7644        USPD         BROMIDE                   30        0.02%        SOL          00472075130         67.80       4.52        2.70      2.57         G
                  Alpharma     IPRATROPIUM
     J7644        USPD         BROMIDE                   60        0.02%        SOL          00472075160        118.80       3.96        2.70      2.57         G
                  Boehr
                  Ingelheim
     J7644        Phar       ATROVENT                    25        0.02%        SOL          00597008062         73.09       5.85        2.70      2.57         G
                             IPRATROPIUM
     J7644        Dey        BROMIDE                     25        0.02%        SOL          49502068503         7.34        0.59        2.70      2.57         G
                             IPRATROPIUM
     J7644        Dey        BROMIDE                     30        0.02%        SOL          49502068533         8.26        0.55        2.70      2.57         G
                             IPRATROPIUM
     J7644        Dey        BROMIDE                     60        0.02%        SOL          49502068560         16.74       0.56        2.70      2.57         G
                             IPRATROPIUM
     J7644        Allscripts BROMIDE                     25        0.02%        SOL          54569491000         18.84       1.51        2.70      2.57         G
                  Phys Total IPRATROPIUM
     J7644        Care       BROMIDE                     60        0.02%        SOL          54868408200         42.25       1.41        2.70      2.57         G
                  Phys Total IPRATROPIUM
     J7644        Care       BROMIDE                     25        0.02%        SOL          54868408201         23.54       1.88        2.70      2.57         G
                  Apotex     IPRATROPIUM
     J7644        Corp       BROMIDE                     25        0.02%        SOL          60505080601         56.00       4.48        2.70      2.57         G           A
                             IPRATROPIUM
     J7644        Aslung     BROMIDE                     120       0.02%        SOL          65271000112        211.20       3.52        2.70      2.57         G           A
                             IPRATROPIUM
     J7644        Aslung     BROMIDE                     25        0.02%        SOL          65271000125         44.00       3.52        2.70      2.57         G           A
                             IPRATROPIUM
     J7644        Aslung     BROMIDE                     30        0.02%        SOL          65271000130         52.80       3.52        2.70      2.57         G
                             IPRATROPIUM
     J7644        Aslung     BROMIDE                     60        0.02%        SOL          65271000160        105.60        3.52       2.70      2.57         G           A
                                                                                                                           KO & KP
                                                                                                                           (median)      2.70
                                                                                                                          UD (mg) X      0.50
                                                                                                                                =        1.35
                                                                                                                            -J7051       0.19
                                                                                                                                =        1.16
                                                                                                                          UD (mg) /      0.50
                                                                                                                         KQ (median)     2.32
                                                                                                                          KQ (95%)        2.2
                                                                                                                          KO & KP
                                                                                                                             (95%)       2.57




     NOTES:

     1. Source: Hard copy array, AWQ037-0074 through AWQ037-0076
     2. The original array did not contain formulas and calculations for determining the median and Medicare allowable amounts. The calculations of the median and the KO/KP and KQ
     modifier allowable amounts are based on calculations used in previous Palmetto arrays.
     3. The Medicare allowance amounts are calcluated in cells J34 - J35 of the original array and cells J72 - J73, J109 - J110, and J146 - J147 of the revised arrays. The allowance
     amounts for the KO and KP modifiers are 95% of the the median of the "price" values. The allowance amount for the KQ modifier is 95% of the median of the "price" values
     adjusted by unit dose and compounding factors.




                                                                                         52
                                                                                                                                                                                        2003 Q2
                                                                                                                                                                                              2
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 53 of 75
 ORIGINAL ARRAY (Per Carrier Array Documents)

                                                       July 2003 DMERC Drug Calculations excluding Oral Anti-Emetic Drugs
                                                                        Based on May 2003 Redbook Database

                                                                                                                                                                   Median
                                                                                                                                                                       or
                                    Company       Product              price_   Addition        Package      Strength/                                 Price per   Lowest Overall
  PROC Description            Brand Name          Name                  chg     Descript        Size          Dosage Note Form NDC            AWP         unit      Brand Price     Type
                                    ALLSCRIPTS
 J7644    IPRATROPIUM BRO       N   HEAL          IPRATROPIUM BRO    20020808        (VIAL)       25.00       0.02        SOL   35456949100   18.84      1.51      3.52     3.34     G

 J7644    IPRATROPIUM BRO       N   ALPHARMA USPD IPRATROPIUM BRO    19990429        (VIAL)       60.00       0.02        SOL   10472075160   118.80     3.96      3.52     3.34     G

 J7644    IPRATROPIUM BRO       N   ALPHARMA USPD IPRATROPIUM BRO    20000627        (VIAL)       25.00       0.02        SOL   20047275123   56.50      4.52      3.52     3.34     G

 J7644    IPRATROPIUM BRO       N   ALPHARMA USPD IPRATROPIUM BRO    20000627        (VIAL)       30.00       0.02        SOL   20047275130   67.80      4.52      3.52     3.34     G
 J7644    IPRATROPIUM BRO       N   APOTEX CORP.  IPRATROPIUM BRO    20010701        (AMP)        25.00       0.02        SOL   36050508061   56.00      4.48      3.52     3.34     G
                                    ASLUNG
 J7644    IPRATROPIUM BRO       N   PHARMACE      IPRATROPIUM BRO    20010126        (VIAL)       120.00      0.02        SOL   26527100112   211.20     3.52      3.52     3.34     G
                                    ASLUNG
 J7644    IPRATROPIUM BRO       N   PHARMACE      IPRATROPIUM BRO    20010126        (VIAL)       25.00       0.02        SOL   26527100125   44.00      3.52      3.52     3.34     G
                                    ASLUNG
 J7644    IPRATROPIUM BRO       N   PHARMACE      IPRATROPIUM BRO    20010126        (VIAL)       30.00       0.02        SOL   26527100130   52.80      3.52      3.52     3.34     G
                                    ASLUNG
 J7644    IPRATROPIUM BRO       N   PHARMACE      IPRATROPIUM BRO    20010126        (VIAL)       60.00       0.02        SOL   26527100160   105.60     3.52      3.52     3.34     G
                                    COMPUMED
 J7644    IPRATROPIUM BRO       N   PHARMA        IPRATROPIUM BRO    19970501        (VIAL)       25.00       0.02        SOL   10403022918    40.30     3.22      3.52     3.34     G
 J7644    IPRATROPIUM BRO       N   DEY, L.P.     IPRATROPIUM BRO    20030401        (VIAL)       25.00       0.02        SOL   24950268503    44.10     3.53      3.52     3.34     G
 J7644    IPRATROPIUM BRO       N   DEY, L.P.     IPRATROPIUM BRO    20030401        (VIAL)       30.00       0.02        SOL   24950268533    52.80     3.52      3.52     3.34     G
 J7644    IPRATROPIUM BRO       N   DEY, L.P.     IPRATROPIUM BRO    20030401        (VIAL)       60.00       0.02        SOL   24950268560   105.60     3.52      3.52     3.34     G
                                    PHYSICIANS
 J7644    IPRATROPIUM BRO       N   TOTA          IPRATROPIUM BRO    20001016        (VIAL)       60.00       0.02        SOL   35486840820   42.25      1.41      3.52     3.34     G
                                    PHYSICIANS
 J7644    IPRATROPIUM BRO       N   TOTA          IPRATROPIUM BRO    20001016         (VIAL)      25.00       0.02        SOL   35486840821   23.54      1.88      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       N   LABORATO      IPRATROPIUM BRO    19980316    5X5,PROTECTA     25.00       0.02        SOL   10054840211   44.06      3.52      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       N   LABORATO      IPRATROPIUM BRO    19980316    6X5,PROTECTA     30.00       0.02        SOL   10054840213   52.87      3.52      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       N   LABORATO      IPRATROPIUM BRO    19971210   12X5,PROTECTA     60.00       0.02        SOL   10054840221   105.74       3.52    3.52     3.34     G
                                                                                                                                                        KO & KP
                                                                                                                                                        (median)   3.52
                                                                                                                                                       UD (mg) X   0.50
                                                                                                                                                             =     1.76
                                                                                                                                                         -J7051    0.14
                                                                                                                                                             =     1.62
                                                                                                                                                       UD (mg) /   0.50
                                                                                                                                                            KQ
                                                                                                                                                        (median)   3.24
                                                                                                                                                       KQ (95%)    3.08
                                                                                                                                                       KO & KP
                                                                                                                                                          (95%)    3.34

 Brand
 Source
                                    BOEHR
 J7644    IPRATROPIUM BRO       Y   INGELHEIM     ATROVENT           20030102        (VIAL)       25.00       0.02        SOL   10597008062   84.06      6.72      3.52     3.34     G
                                    COMPUMED
 J7644    IPRATROPIUM BRO       Y   PHARMA        ATROVENT           19970501                     25.00       0.02        SOL   10403064518   49.95      4.00      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       Y   LABORATO      IPRATROPIUM BRO    19990201     5X5,PROTECT     25.00       0.02        SOL   10054840411   44.06      3.52      3.52     3.34     G
                                                                                     (S.D.V.,
 J7644    IPRATROPIUM BRO       Y   Roxane        IPRATROPIUM BRO                6X5,PROTECTA     30.00       0.02        SOL   10054840413   52.87      3.52      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       Y   LABORATO      ATROVENT           20030102    12X5,PROTECT     60.00       0.02        SOL   10054840421   105.74     3.52      3.52     3.34     G




 REVISED ARRAY - DEY ONLY

                                                       July 2003 DMERC Drug Calculations excluding Oral Anti-Emetic Drugs
                                                                        Based on May 2003 Redbook Database

                                                                                                                                                                   Median
                                                                                                                                                                       or
                                    Company       Product              price_   Addition        Package      Strength/                                 Price per   Lowest Overall
  PROC Description            Brand Name          Name                  chg     Descript        Size          Dosage Note Form NDC            AWP         unit      Brand Price     Type
                                    ALLSCRIPTS
 J7644    IPRATROPIUM BRO       N   HEAL          IPRATROPIUM BRO    20020808        (VIAL)       25.00       0.02        SOL   35456949100   18.84      1.51      3.52     3.34     G

 J7644    IPRATROPIUM BRO       N   ALPHARMA USPD IPRATROPIUM BRO    19990429        (VIAL)       60.00       0.02        SOL   10472075160   118.80     3.96      3.52     3.34     G

 J7644    IPRATROPIUM BRO       N   ALPHARMA USPD IPRATROPIUM BRO    20000627        (VIAL)       25.00       0.02        SOL   20047275123   56.50      4.52      3.52     3.34     G

 J7644    IPRATROPIUM BRO       N   ALPHARMA USPD IPRATROPIUM BRO    20000627        (VIAL)       30.00       0.02        SOL   20047275130   67.80      4.52      3.52     3.34     G
 J7644    IPRATROPIUM BRO       N   APOTEX CORP.  IPRATROPIUM BRO    20010701        (AMP)        25.00       0.02        SOL   36050508061   56.00      4.48      3.52     3.34     G
                                    ASLUNG
 J7644    IPRATROPIUM BRO       N   PHARMACE      IPRATROPIUM BRO    20010126        (VIAL)       120.00      0.02        SOL   26527100112   211.20     3.52      3.52     3.34     G
                                    ASLUNG
 J7644    IPRATROPIUM BRO       N   PHARMACE      IPRATROPIUM BRO    20010126        (VIAL)       25.00       0.02        SOL   26527100125   44.00      3.52      3.52     3.34     G
                                    ASLUNG
 J7644    IPRATROPIUM BRO       N   PHARMACE      IPRATROPIUM BRO    20010126        (VIAL)       30.00       0.02        SOL   26527100130   52.80      3.52      3.52     3.34     G
                                    ASLUNG
 J7644    IPRATROPIUM BRO       N   PHARMACE      IPRATROPIUM BRO    20010126        (VIAL)       60.00       0.02        SOL   26527100160   105.60     3.52      3.52     3.34     G
                                    COMPUMED
 J7644    IPRATROPIUM BRO       N   PHARMA        IPRATROPIUM BRO    19970501        (VIAL)       25.00       0.02        SOL   10403022918   40.30      3.22      3.52     3.34     G
 J7644    IPRATROPIUM BRO       N   DEY, L.P.     IPRATROPIUM BRO    20030401        (VIAL)       25.00       0.02        SOL   49502068503    6.86      0.55      3.52     3.34     G
 J7644    IPRATROPIUM BRO       N   DEY, L.P.     IPRATROPIUM BRO    20030401        (VIAL)       30.00       0.02        SOL   49502068533    7.91      0.53      3.52     3.34     G
 J7644    IPRATROPIUM BRO       N   DEY, L.P.     IPRATROPIUM BRO    20030401        (VIAL)       60.00       0.02        SOL   49502068560   15.78      0.53      3.52     3.34     G
                                    PHYSICIANS
 J7644    IPRATROPIUM BRO       N   TOTA          IPRATROPIUM BRO    20001016        (VIAL)       60.00       0.02        SOL   35486840820   42.25      1.41      3.52     3.34     G
                                    PHYSICIANS
 J7644    IPRATROPIUM BRO       N   TOTA          IPRATROPIUM BRO    20001016         (VIAL)      25.00       0.02        SOL   35486840821   23.54      1.88      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       N   LABORATO      IPRATROPIUM BRO    19980316    5X5,PROTECTA     25.00       0.02        SOL   00054840211   44.06      3.52      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       N   LABORATO      IPRATROPIUM BRO    19980316    6X5,PROTECTA     30.00       0.02        SOL   00054840213   52.87      3.52      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       N   LABORATO      IPRATROPIUM BRO    19971210   12X5,PROTECTA     60.00       0.02        SOL   00054840221   105.74       3.52    3.52     3.34     G
                                                                                                                                                        KO & KP
                                                                                                                                                        (median)   3.52
                                                                                                                                                       UD (mg) X   0.50
                                                                                                                                                             =     1.76
                                                                                                                                                         -J7051    0.14
                                                                                                                                                             =     1.62
                                                                                                                                                       UD (mg) /   0.50
                                                                                                                                                            KQ
                                                                                                                                                        (median)   3.24
                                                                                                                                                       KQ (95%)    3.08
                                                                                                                                                       KO & KP
                                                                                                                                                          (95%)    3.34

 Brand
 Source
                                    BOEHR
 J7644    IPRATROPIUM BRO       Y   INGELHEIM     ATROVENT           20030102        (VIAL)       25.00       0.02        SOL   00597008062   84.06      6.72      3.52     3.34     G
                                    COMPUMED
 J7644    IPRATROPIUM BRO       Y   PHARMA        ATROVENT           19970501                     25.00       0.02        SOL   10403064518   49.95      4.00      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       Y   LABORATO      IPRATROPIUM BRO    19990201     5X5,PROTECT     25.00       0.02        SOL   00054840411   44.06      3.52      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       Y   LABORATO      IPRATROPIUM BRO                6X5,PROTECTA     30.00       0.02        SOL   00054840413   52.87      3.52      3.52     3.34     G
                                    ROXANE                                           (S.D.V.,
 J7644    IPRATROPIUM BRO       Y   LABORATO      ATROVENT           20030102    12X5,PROTECT     60.00       0.02        SOL   00054840421   105.74     3.52      3.52     3.34     G




                                                                                           53
                                                                                                                                                                                           2003 Q3
                                                                                                                                                                                                 1
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 54 of 75
 REVISED ARRAY - ROXANE ONLY

                                                                    July 2003 DMERC Drug Calculations excluding Oral Anti-Emetic Drugs
                                                                                           Based on May 2003 Redbook Database

                                                                                                                                                                                                     Median
                                                                                                                                                                                                         or
                                        Company               Product                    price_    Addition            Package       Strength/                                         Price per     Lowest Overall
  PROC Description                Brand Name                  Name                        chg      Descript            Size           Dosage Note Form NDC                     AWP        unit        Brand Price       Type
                                        ALLSCRIPTS
 J7644    IPRATROPIUM BRO           N   HEAL                  IPRATROPIUM BRO          20020808          (VIAL)            25.00       0.02            SOL    35456949100     18.84      1.51        3.52       3.34      G

 J7644    IPRATROPIUM BRO           N     ALPHARMA USPD IPRATROPIUM BRO                19990429          (VIAL)            60.00       0.02            SOL    10472075160     118.80     3.96        3.52       3.34      G

 J7644    IPRATROPIUM BRO           N     ALPHARMA USPD IPRATROPIUM BRO                20000627          (VIAL)            25.00       0.02            SOL    20047275123     56.50      4.52        3.52       3.34      G

 J7644    IPRATROPIUM BRO           N     ALPHARMA USPD IPRATROPIUM BRO                20000627          (VIAL)            30.00       0.02            SOL    20047275130     67.80      4.52        3.52       3.34      G
 J7644    IPRATROPIUM BRO           N     APOTEX CORP.  IPRATROPIUM BRO                20010701          (AMP)             25.00       0.02            SOL    36050508061     56.00      4.48        3.52       3.34      G
                                          ASLUNG
 J7644    IPRATROPIUM BRO           N     PHARMACE      IPRATROPIUM BRO                20010126          (VIAL)           120.00       0.02            SOL    26527100112     211.20     3.52        3.52       3.34      G
                                          ASLUNG
 J7644    IPRATROPIUM BRO           N     PHARMACE      IPRATROPIUM BRO                20010126          (VIAL)            25.00       0.02            SOL    26527100125     44.00      3.52        3.52       3.34      G
                                          ASLUNG
 J7644    IPRATROPIUM BRO           N     PHARMACE      IPRATROPIUM BRO                20010126          (VIAL)            30.00       0.02            SOL    26527100130     52.80      3.52        3.52       3.34      G
                                          ASLUNG
 J7644    IPRATROPIUM BRO           N     PHARMACE      IPRATROPIUM BRO                20010126          (VIAL)            60.00       0.02            SOL    26527100160     105.60     3.52        3.52       3.34      G
                                          COMPUMED
 J7644    IPRATROPIUM BRO           N     PHARMA        IPRATROPIUM BRO                19970501          (VIAL)            25.00       0.02            SOL    10403022918      40.30     3.22        3.52       3.34      G
 J7644    IPRATROPIUM BRO           N     DEY, L.P.     IPRATROPIUM BRO                20030401          (VIAL)            25.00       0.02            SOL    49502068503      44.10     3.53        3.52       3.34      G
 J7644    IPRATROPIUM BRO           N     DEY, L.P.     IPRATROPIUM BRO                20030401          (VIAL)            30.00       0.02            SOL    49502068533      52.80     3.52        3.52       3.34      G
 J7644    IPRATROPIUM BRO           N     DEY, L.P.     IPRATROPIUM BRO                20030401          (VIAL)            60.00       0.02            SOL    49502068560     105.60     3.52        3.52       3.34      G
                                          PHYSICIANS
 J7644    IPRATROPIUM BRO           N     TOTA          IPRATROPIUM BRO                20001016          (VIAL)            60.00       0.02            SOL    35486840820     42.25      1.41        3.52       3.34      G
                                          PHYSICIANS
 J7644    IPRATROPIUM BRO           N     TOTA          IPRATROPIUM BRO                20001016           (VIAL)           25.00       0.02            SOL    35486840821     23.54      1.88        3.52       3.34      G
                                          ROXANE                                                         (S.D.V.,
 J7644    IPRATROPIUM BRO           N     LABORATO      IPRATROPIUM BRO                19980316      5X5,PROTECTA          25.00       0.02            SOL    00054840211      8.94      0.72        3.52       3.34      G
                                          ROXANE                                                         (S.D.V.,
 J7644    IPRATROPIUM BRO           N     LABORATO      IPRATROPIUM BRO                19980316      6X5,PROTECTA          30.00       0.02            SOL    00054840213      10.78     0.72        3.52       3.34      G
                                          ROXANE                                                         (S.D.V.,
 J7644    IPRATROPIUM BRO           N     LABORATO      IPRATROPIUM BRO                19971210     12X5,PROTECTA          60.00       0.02            SOL    00054840221      20.25       0.68      3.52       3.34      G
                                                                                                                                                                                        KO & KP
                                                                                                                                                                                        (median)     3.52
                                                                                                                                                                                       UD (mg) X     0.50
                                                                                                                                                                                             =       1.76
                                                                                                                                                                                         -J7051      0.14
                                                                                                                                                                                             =       1.62
                                                                                                                                                                                       UD (mg) /     0.50
                                                                                                                                                                                            KQ
                                                                                                                                                                                        (median)     3.24
                                                                                                                                                                                       KQ (95%)      3.08
                                                                                                                                                                                       KO & KP
                                                                                                                                                                                          (95%)      3.34

 Brand
 Source
                                          BOEHR
 J7644    IPRATROPIUM BRO            Y    INGELHEIM           ATROVENT                 20030102          (VIAL)            25.00       0.02            SOL    00597008062      84.06     6.72        3.52       3.34      G
                                          COMPUMED
 J7644    IPRATROPIUM BRO            Y    PHARMA              ATROVENT                 19970501                            25.00       0.02            SOL    10403064518     49.95      4.00        3.52       3.34      G
                                          ROXANE                                                        (S.D.V.,
 J7644    IPRATROPIUM BRO            Y    LABORATO            IPRATROPIUM BRO          19990201      5X5,PROTECT           25.00       0.02            SOL    00054840411      44.06     3.52        3.52       3.34      G
                                          ROXANE                                                        (S.D.V.,
 J7644    IPRATROPIUM BRO            Y    LABORATO            IPRATROPIUM BRO                       6X5,PROTECTA           30.00       0.02            SOL    00054840413     52.87      3.52        3.52       3.34      G
                                          ROXANE                                                        (S.D.V.,
 J7644    IPRATROPIUM BRO            Y    LABORATO            ATROVENT                 20030102     12X5,PROTECT           60.00       0.02            SOL    00054840421     105.74     3.52        3.52       3.34      G




 REVISED ARRAY - DEY & ROXANE

                                                                    July 2003 DMERC Drug Calculations excluding Oral Anti-Emetic Drugs
                                                                                           Based on May 2003 Redbook Database

                                                                                                                                                                                                     Median
                                                                                                                                                                                                         or
                                        Company               Product                    price_    Addition            Package       Strength/                                         Price per     Lowest Overall
  PROC Description                Brand Name                  Name                        chg      Descript            Size           Dosage Note Form NDC                     AWP        unit        Brand Price       Type
                                        ALLSCRIPTS
 J7644    IPRATROPIUM BRO           N   HEAL                  IPRATROPIUM BRO          20020808          (VIAL)            25.00       0.02            SOL    35456949100     18.84      1.51        2.55       2.42      G

 J7644    IPRATROPIUM BRO           N     ALPHARMA USPD IPRATROPIUM BRO                19990429          (VIAL)            60.00       0.02            SOL    10472075160     118.80     3.96        2.55       2.42      G

 J7644    IPRATROPIUM BRO           N     ALPHARMA USPD IPRATROPIUM BRO                20000627          (VIAL)            25.00       0.02            SOL    20047275123     56.50      4.52        2.55       2.42      G

 J7644    IPRATROPIUM BRO           N     ALPHARMA USPD IPRATROPIUM BRO                20000627          (VIAL)            30.00       0.02            SOL    20047275130     67.80      4.52        2.55       2.42      G
 J7644    IPRATROPIUM BRO           N     APOTEX CORP.  IPRATROPIUM BRO                20010701          (AMP)             25.00       0.02            SOL    36050508061     56.00      4.48        2.55       2.42      G
                                          ASLUNG
 J7644    IPRATROPIUM BRO           N     PHARMACE      IPRATROPIUM BRO                20010126          (VIAL)           120.00       0.02            SOL    26527100112     211.20     3.52        2.55       2.42      G
                                          ASLUNG
 J7644    IPRATROPIUM BRO           N     PHARMACE      IPRATROPIUM BRO                20010126          (VIAL)            25.00       0.02            SOL    26527100125     44.00      3.52        2.55       2.42      G
                                          ASLUNG
 J7644    IPRATROPIUM BRO           N     PHARMACE      IPRATROPIUM BRO                20010126          (VIAL)            30.00       0.02            SOL    26527100130     52.80      3.52        2.55       2.42      G
                                          ASLUNG
 J7644    IPRATROPIUM BRO           N     PHARMACE      IPRATROPIUM BRO                20010126          (VIAL)            60.00       0.02            SOL    26527100160     105.60     3.52        2.55       2.42      G
                                          COMPUMED
 J7644    IPRATROPIUM BRO           N     PHARMA        IPRATROPIUM BRO                19970501          (VIAL)            25.00       0.02            SOL    10403022918     40.30      3.22        2.55       2.42      G
 J7644    IPRATROPIUM BRO           N     DEY, L.P.     IPRATROPIUM BRO                20030401          (VIAL)            25.00       0.02            SOL    49502068503      6.86      0.55        2.55       2.42      G
 J7644    IPRATROPIUM BRO           N     DEY, L.P.     IPRATROPIUM BRO                20030401          (VIAL)            30.00       0.02            SOL    49502068533      7.91      0.53        2.55       2.42      G
 J7644    IPRATROPIUM BRO           N     DEY, L.P.     IPRATROPIUM BRO                20030401          (VIAL)            60.00       0.02            SOL    49502068560     15.78      0.53        2.55       2.42      G
                                          PHYSICIANS
 J7644    IPRATROPIUM BRO           N     TOTA          IPRATROPIUM BRO                20001016          (VIAL)            60.00       0.02            SOL    35486840820     42.25      1.41        2.55       2.42      G
                                          PHYSICIANS
 J7644    IPRATROPIUM BRO           N     TOTA          IPRATROPIUM BRO                20001016           (VIAL)           25.00       0.02            SOL    35486840821     23.54      1.88        2.55       2.42      G
                                          ROXANE                                                         (S.D.V.,
 J7644    IPRATROPIUM BRO           N     LABORATO      IPRATROPIUM BRO                19980316      5X5,PROTECTA          25.00       0.02            SOL    00054840211      8.94      0.72        2.55       2.42      G
                                          ROXANE                                                         (S.D.V.,
 J7644    IPRATROPIUM BRO           N     LABORATO      IPRATROPIUM BRO                19980316      6X5,PROTECTA          30.00       0.02            SOL    00054840213      10.78     0.72        2.55       2.42      G
                                          ROXANE                                                         (S.D.V.,
 J7644    IPRATROPIUM BRO           N     LABORATO      IPRATROPIUM BRO                19971210     12X5,PROTECTA          60.00       0.02            SOL    00054840221      20.25      0.68       2.55       2.42      G
                                                                                                                                                                                        KO & KP
                                                                                                                                                                                        (median)     2.55
                                                                                                                                                                                       UD (mg) X     0.50
                                                                                                                                                                                           =         1.28
                                                                                                                                                                                        -J7051       0.14
                                                                                                                                                                                           =         1.14
                                                                                                                                                                                       UD (mg) /     0.50
                                                                                                                                                                                         KQ
                                                                                                                                                                                       (median)      2.27
                                                                                                                                                                                       KQ (95%)      2.16
                                                                                                                                                                                       KO & KP
                                                                                                                                                                                        (95%)        2.42

 Brand
 Source
                                          BOEHR
 J7644    IPRATROPIUM BRO            Y    INGELHEIM           ATROVENT                 20030102          (VIAL)            25.00       0.02            SOL    00597008062      84.06     6.72        2.55       2.42      G
                                          COMPUMED
 J7644    IPRATROPIUM BRO            Y    PHARMA              ATROVENT                 19970501                            25.00       0.02            SOL    10403064518     49.95      4.00        2.55       2.42      G
                                          ROXANE                                                        (S.D.V.,
 J7644    IPRATROPIUM BRO            Y    LABORATO            IPRATROPIUM BRO          19990201      5X5,PROTECT           25.00       0.02            SOL    00054840411      44.06     3.52        2.55       2.42      G
                                          ROXANE                                                        (S.D.V.,
 J7644    IPRATROPIUM BRO            Y    LABORATO            IPRATROPIUM BRO                       6X5,PROTECTA           30.00       0.02            SOL    00054840413     52.87      3.52        2.55       2.42      G
                                          ROXANE                                                        (S.D.V.,
 J7644    IPRATROPIUM BRO            Y    LABORATO            ATROVENT                 20030102     12X5,PROTECT           60.00       0.02            SOL    00054840421     105.74     3.52        2.55       2.42      G




 NOTES:

 1. Source: Hard copy arrays, AWQ037-0078 through AWQ037-0080
 2. Certain NDC numbers were keyed incorrectly on the original array file. On the revised arrays, the correct NDC numbers for the Dey and Roxane products were annotated by Myers and Stauffer from the 2003 annual Drug Topics
 Red Book, pages 219 and 384.
 3. The original array did not contain formulas and calculations for determining the median and Medicare allowable amounts. The calculations of the median and the KO/KP and KQ modifier allowable amounts are
 based on calculations used in previous Palmetto arrays.




                                                                                                              54
                                                                                                                                                                                                                                  2003 Q3
                                                                                                                                                                                                                                        2
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 55 of 75
ORIGINAL ARRAY (Per Carrier Array Documents)

                                                   October 2003 DMERC Drug Calculations excluding Oral Anti-Emetic Drugs
                                                                   Based on September 2003 Redbook Database

                                                                                                                                                               Median
                                                                                                                                                                   or
                                  Company        Product             price_   Addition        Package    Strength/                                 Price per   Lowest Overall
PROC Description            Brand Name           Name                 chg     Descript        Size        Dosage Note Form NDC             AWP        unit      Brand Price     Type
                                  ALLSCRIPTS
J7644    IPRATROPIUM BRO      N   HEAL           IPRATROPIUM BRO   20020808        (VIAL)       25.00         0.02    SOL 54569-4910-00   17.64      1.41      3.52     3.34     G
                                  ALPHARMA
J7644    IPRATROPIUM BRO      N   USPD           IPRATROPIUM BRO   19990429        (VIAL)       60.00         0.02    SOL 00472-0751-23   56.50      1.88      3.52     3.34     G
                                  ALPHARMA
J7644    IPRATROPIUM BRO      N   USPD           IPRATROPIUM BRO   20000627        (VIAL)       25.00         0.02    SOL 00472-0751-30   67.80      5.42      3.52     3.34     G
                                  ALPHARMA
J7644    IPRATROPIUM BRO      N   USPD           IPRATROPIUM BRO   20000627        (VIAL)       30.00         0.02    SOL 00472-0751-60 118.80       7.92      3.52     3.34     G
J7644    IPRATROPIUM BRO      N   APOTEX CORP.   IPRATROPIUM BRO   20010701        (AMP)        25.00         0.02    SOL 60505-0806-01 56.00        4.48      3.52     3.34     G
                                  ASLUNG
J7644    IPRATROPIUM BRO      N   PHARMACE       IPRATROPIUM BRO   20010126        (VIAL)       120.00        0.02    SOL 65271-0001-12 211.20       3.52      3.52     3.34     G
                                  ASLUNG
J7644    IPRATROPIUM BRO      N   PHARMACE       IPRATROPIUM BRO   20010126        (VIAL)       25.00         0.02    SOL 65271-0001-25   44.00      3.52      3.52     3.34     G
                                  ASLUNG
J7644    IPRATROPIUM BRO      N   PHARMACE       IPRATROPIUM BRO   20010126        (VIAL)       30.00         0.02    SOL 65271-0001-30   52.80      3.52      3.52     3.34     G
                                  ASLUNG
J7644    IPRATROPIUM BRO      N   PHARMACE       IPRATROPIUM BRO   20010126        (VIAL)       60.00         0.02    SOL   65271-0001-60 105.60     3.52      3.52     3.34     G
J7644    IPRATROPIUM BRO      N   DEY, L.P.      IPRATROPIUM BRO   20030401        (VIAL)       25.00         0.02    SOL   49502-0685-03 44.10      3.53      3.52     3.34     G
J7644    IPRATROPIUM BRO      N   DEY, L.P.      IPRATROPIUM BRO   20030401        (VIAL)       30.00         0.02    SOL   49502-0685-33 52.80      3.52      3.52     3.34     G
J7644    IPRATROPIUM BRO      N   DEY, L.P.      IPRATROPIUM BRO   20030401        (VIAL)       60.00         0.02    SOL   49502-0685-60 105.60     3.52      3.52     3.34     G
                                  PHYSICIANS
J7644    IPRATROPIUM BRO      N   TOTA           IPRATROPIUM BRO   20001016        (VIAL)       60.00         0.02    SOL 54868-4082-00   42.25      1.41      3.52     3.34     G
                                  PHYSICIANS
J7644    IPRATROPIUM BRO      N   TOTA           IPRATROPIUM BRO   20001016        (VIAL)       25.00         0.02    SOL 54868-4082-01   23.54      1.88      3.52     3.34     G
                                  ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      N   LABORATO       IPRATROPIUM BRO   19980316   5X5,PROTECTA      25.00         0.02    SOL 00054-8402-11   44.06      3.52      3.52     3.34     G
                                  ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      N   LABORATO       IPRATROPIUM BRO   19980316   6X5,PROTECTA      30.00         0.02    SOL 00054-8402-13   52.87      3.52      3.52     3.34     G
                                  ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      N   LABORATO       IPRATROPIUM BRO   19971210   12X5,PROTECTA     60.00         0.02    SOL 00054-8402-21 105.74         3.52    3.52     3.34     G
                                                                                                                                                   KO & KP
                                                                                                                                                    (median)   3.52
                                                                                                                                                   UD (mg) X   0.50
                                                                                                                                                         =     1.76
                                                                                                                                                     -J7051    0.14
                                                                                                                                                         =     1.62
                                                                                                                                                   UD (mg) /   0.50
                                                                                                                                                        KQ
                                                                                                                                                    (median)   3.24
                                                                                                                                                   KQ (95%)    3.08
                                                                                                                                                   KO & KP
                                                                                                                                                      (95%)    3.34

Brand
Source
                                   BOEHR
J7644    IPRATROPIUM BRO      Y    INGELHEIM     ATROVENT          20030102         (VIAL)      25.00         0.02    SOL 00597-0080-62   84.06      6.72      3.52     3.34     G
                                   ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      Y    LABORATO      IPRATROPIUM BRO   19990201     5X5,PROTECT     25.00         0.02    SOL 00054-8404-11   44.06      3.52      3.52     3.34     G
                                   ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      Y    LABORATO      IPRATROPIUM BRO   19990201    6X5,PROTECTA     30.00         0.02    SOL 00054-8404-13   52.87      3.52      3.52     3.34     G
                                   ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      Y    LABORATO      IPRATROPIUM BRO   19990201    12X5,PROTECT     60.00         0.02    SOL 00054-8404-21 105.74       3.52      3.52     3.34     G




REVISED ARRAY - DEY ONLY

                                                   October 2003 DMERC Drug Calculations excluding Oral Anti-Emetic Drugs
                                                                   Based on September 2003 Redbook Database

                                                                                                                                                               Median
                                                                                                                                                                   or
                                  Company        Product             price_   Addition        Package    Strength/                                 Price per   Lowest Overall
PROC Description            Brand Name           Name                 chg     Descript        Size        Dosage Note Form NDC             AWP        unit      Brand Price     Type
                                  ALLSCRIPTS
J7644    IPRATROPIUM BRO      N   HEAL           IPRATROPIUM BRO   20020808        (VIAL)       25.00         0.02    SOL 54569-4910-00   17.64      1.41      3.52     3.34     G
                                  ALPHARMA
J7644    IPRATROPIUM BRO      N   USPD           IPRATROPIUM BRO   19990429        (VIAL)       60.00         0.02    SOL 00472-0751-23   56.50      1.88      3.52     3.34     G
                                  ALPHARMA
J7644    IPRATROPIUM BRO      N   USPD           IPRATROPIUM BRO   20000627        (VIAL)       25.00         0.02    SOL 00472-0751-30   67.80      5.42      3.52     3.34     G
                                  ALPHARMA
J7644    IPRATROPIUM BRO      N   USPD           IPRATROPIUM BRO   20000627        (VIAL)       30.00         0.02    SOL 00472-0751-60 118.80       7.92      3.52     3.34     G
J7644    IPRATROPIUM BRO      N   APOTEX CORP.   IPRATROPIUM BRO   20010701        (AMP)        25.00         0.02    SOL 60505-0806-01 56.00        4.48      3.52     3.34     G
                                  ASLUNG
J7644    IPRATROPIUM BRO      N   PHARMACE       IPRATROPIUM BRO   20010126        (VIAL)       120.00        0.02    SOL 65271-0001-12 211.20       3.52      3.52     3.34     G
                                  ASLUNG
J7644    IPRATROPIUM BRO      N   PHARMACE       IPRATROPIUM BRO   20010126        (VIAL)       25.00         0.02    SOL 65271-0001-25   44.00      3.52      3.52     3.34     G
                                  ASLUNG
J7644    IPRATROPIUM BRO      N   PHARMACE       IPRATROPIUM BRO   20010126        (VIAL)       30.00         0.02    SOL 65271-0001-30   52.80      3.52      3.52     3.34     G
                                  ASLUNG
J7644    IPRATROPIUM BRO      N   PHARMACE       IPRATROPIUM BRO   20010126        (VIAL)       60.00         0.02    SOL   65271-0001-60 105.60     3.52      3.52     3.34     G
J7644    IPRATROPIUM BRO      N   DEY, L.P.      IPRATROPIUM BRO   20030401        (VIAL)       25.00         0.02    SOL   49502-0685-03 6.19       0.50      3.52     3.34     G
J7644    IPRATROPIUM BRO      N   DEY, L.P.      IPRATROPIUM BRO   20030401        (VIAL)       30.00         0.02    SOL   49502-0685-33 6.83       0.46      3.52     3.34     G
J7644    IPRATROPIUM BRO      N   DEY, L.P.      IPRATROPIUM BRO   20030401        (VIAL)       60.00         0.02    SOL   49502-0685-60 13.61      0.45      3.52     3.34     G
                                  PHYSICIANS
J7644    IPRATROPIUM BRO      N   TOTA           IPRATROPIUM BRO   20001016        (VIAL)       60.00         0.02    SOL 54868-4082-00   42.25      1.41      3.52     3.34     G
                                  PHYSICIANS
J7644    IPRATROPIUM BRO      N   TOTA           IPRATROPIUM BRO   20001016        (VIAL)       25.00         0.02    SOL 54868-4082-01   23.54      1.88      3.52     3.34     G
                                  ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      N   LABORATO       IPRATROPIUM BRO   19980316   5X5,PROTECTA      25.00         0.02    SOL 00054-8402-11   44.06      3.52      3.52     3.34     G
                                  ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      N   LABORATO       IPRATROPIUM BRO   19980316   6X5,PROTECTA      30.00         0.02    SOL 00054-8402-13   52.87      3.52      3.52     3.34     G
                                  ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      N   LABORATO       IPRATROPIUM BRO   19971210   12X5,PROTECTA     60.00         0.02    SOL 00054-8402-21 105.74       3.52      3.52     3.34     G
                                                                                                                                                   KO & KP
                                                                                                                                                   (median)    3.52

                                                                                                                                                   UD (mg) X   0.50
                                                                                                                                                         =     1.76
                                                                                                                                                     -J7051    0.14
                                                                                                                                                         =     1.62
                                                                                                                                                   UD (mg) /   0.50
                                                                                                                                                        KQ
                                                                                                                                                    (median)   3.24
                                                                                                                                                   KQ (95%)    3.08
                                                                                                                                                   KO & KP
                                                                                                                                                      (95%)    3.34

Brand
Source
                                   BOEHR
J7644    IPRATROPIUM BRO      Y    INGELHEIM     ATROVENT          20030102         (VIAL)      25.00         0.02    SOL 00597-0080-62   84.06      6.72      3.52     3.34     G
                                   ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      Y    LABORATO      IPRATROPIUM BRO   19990201     5X5,PROTECT     25.00         0.02    SOL 00054-8404-11   44.06      3.52      3.52     3.34     G
                                   ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      Y    LABORATO      IPRATROPIUM BRO   19990201    6X5,PROTECTA     30.00         0.02    SOL 00054-8404-13   52.87      3.52      3.52     3.34     G
                                   ROXANE                                          (S.D.V.,
J7644    IPRATROPIUM BRO      Y    LABORATO      IPRATROPIUM BRO   19990201    12X5,PROTECT     60.00         0.02    SOL 00054-8404-21 105.74       3.52      3.52     3.34     G




                                                                                         55
                                                                                                                                                                                       2003 Q4
                                                                                                                                                                                             1
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 56 of 75
REVISED ARRAY - ROXANE ONLY

                                                               October 2003 DMERC Drug Calculations excluding Oral Anti-Emetic Drugs
                                                                                      Based on September 2003 Redbook Database

                                                                                                                                                                                                   Median
                                                                                                                                                                                                       or
                                       Company              Product                     price_    Addition            Package      Strength/                                         Price per     Lowest Overall
PROC Description                 Brand Name                 Name                         chg      Descript            Size          Dosage Note Form NDC                     AWP        unit        Brand Price        Type
                                       ALLSCRIPTS
J7644    IPRATROPIUM BRO           N   HEAL                 IPRATROPIUM BRO           20020808          (VIAL)           25.00        0.02            SOL 54569-4910-00      17.64     1.41        3.52         3.34    G
                                       ALPHARMA
J7644    IPRATROPIUM BRO           N   USPD                 IPRATROPIUM BRO           19990429          (VIAL)           60.00        0.02            SOL 00472-0751-23      56.50     1.88        3.52         3.34    G
                                       ALPHARMA
J7644    IPRATROPIUM BRO           N   USPD                 IPRATROPIUM BRO           20000627          (VIAL)           25.00        0.02            SOL 00472-0751-30      67.80     5.42        3.52         3.34    G
                                       ALPHARMA
J7644    IPRATROPIUM BRO           N   USPD                 IPRATROPIUM BRO           20000627          (VIAL)           30.00        0.02            SOL 00472-0751-60 118.80         7.92        3.52         3.34    G
J7644    IPRATROPIUM BRO           N   APOTEX CORP.         IPRATROPIUM BRO           20010701          (AMP)            25.00        0.02            SOL 60505-0806-01 56.00          4.48        3.52         3.34    G
                                       ASLUNG
J7644    IPRATROPIUM BRO           N   PHARMACE             IPRATROPIUM BRO           20010126          (VIAL)           120.00       0.02            SOL 65271-0001-12 211.20         3.52        3.52         3.34    G
                                       ASLUNG
J7644    IPRATROPIUM BRO           N   PHARMACE             IPRATROPIUM BRO           20010126          (VIAL)           25.00        0.02            SOL 65271-0001-25      44.00     3.52        3.52         3.34    G
                                       ASLUNG
J7644    IPRATROPIUM BRO           N   PHARMACE             IPRATROPIUM BRO           20010126          (VIAL)           30.00        0.02            SOL 65271-0001-30      52.80     3.52        3.52         3.34    G
                                       ASLUNG
J7644    IPRATROPIUM BRO           N   PHARMACE             IPRATROPIUM BRO           20010126          (VIAL)           60.00        0.02            SOL   65271-0001-60 105.60       3.52        3.52         3.34    G
J7644    IPRATROPIUM BRO           N   DEY, L.P.            IPRATROPIUM BRO           20030401          (VIAL)           25.00        0.02            SOL   49502-0685-03 44.10        3.53        3.52         3.34    G
J7644    IPRATROPIUM BRO           N   DEY, L.P.            IPRATROPIUM BRO           20030401          (VIAL)           30.00        0.02            SOL   49502-0685-33 52.80        3.52        3.52         3.34    G
J7644    IPRATROPIUM BRO           N   DEY, L.P.            IPRATROPIUM BRO           20030401          (VIAL)           60.00        0.02            SOL   49502-0685-60 105.60       3.52        3.52         3.34    G
                                       PHYSICIANS
J7644    IPRATROPIUM BRO           N   TOTA                 IPRATROPIUM BRO           20001016          (VIAL)           60.00        0.02            SOL 54868-4082-00      42.25     1.41        3.52         3.34    G
                                       PHYSICIANS
J7644    IPRATROPIUM BRO           N   TOTA                 IPRATROPIUM BRO           20001016          (VIAL)           25.00        0.02            SOL 54868-4082-01      23.54     1.88        3.52         3.34    G
                                       ROXANE                                                          (S.D.V.,
J7644    IPRATROPIUM BRO           N   LABORATO             IPRATROPIUM BRO           19980316     5X5,PROTECTA          25.00        0.02            SOL 00054-8402-11       8.82     0.71        3.52         3.34    G
                                       ROXANE                                                          (S.D.V.,
J7644    IPRATROPIUM BRO           N   LABORATO             IPRATROPIUM BRO           19980316     6X5,PROTECTA          30.00        0.02            SOL 00054-8402-13       9.80     0.65        3.52         3.34    G
                                       ROXANE                                                          (S.D.V.,
J7644    IPRATROPIUM BRO           N   LABORATO             IPRATROPIUM BRO           19971210     12X5,PROTECTA         60.00        0.02            SOL 00054-8402-21      21.50     0.72        3.52         3.34    G
                                                                                                                                                                                     KO & KP
                                                                                                                                                                                     (median)      3.52

                                                                                                                                                                                     UD (mg) X     0.50
                                                                                                                                                                                           =       1.76
                                                                                                                                                                                       -J7051      0.14
                                                                                                                                                                                           =       1.62
                                                                                                                                                                                     UD (mg) /     0.50
                                                                                                                                                                                          KQ
                                                                                                                                                                                      (median)     3.24
                                                                                                                                                                                     KQ (95%)      3.08
                                                                                                                                                                                     KO & KP
                                                                                                                                                                                        (95%)      3.34

Brand
Source
                                         BOEHR
J7644    IPRATROPIUM BRO            Y    INGELHEIM          ATROVENT                  20030102          (VIAL)           25.00        0.02            SOL 00597-0080-62      84.06     6.72        3.52         3.34    G
                                         ROXANE                                                        (S.D.V.,
J7644    IPRATROPIUM BRO            Y    LABORATO           IPRATROPIUM BRO           19990201      5X5,PROTECT          25.00        0.02            SOL 00054-8404-11      44.06     3.52        3.52         3.34    G
                                         ROXANE                                                        (S.D.V.,
J7644    IPRATROPIUM BRO            Y    LABORATO           IPRATROPIUM BRO           19990201     6X5,PROTECTA          30.00        0.02            SOL 00054-8404-13      52.87     3.52        3.52         3.34    G
                                         ROXANE                                                        (S.D.V.,
J7644    IPRATROPIUM BRO            Y    LABORATO           IPRATROPIUM BRO           19990201     12X5,PROTECT          60.00        0.02            SOL 00054-8404-21 105.74         3.52        3.52         3.34    G




REVISED ARRAY - DEY & ROXANE

                                                               October 2003 DMERC Drug Calculations excluding Oral Anti-Emetic Drugs
                                                                                      Based on September 2003 Redbook Database

                                                                                                                                                                                                   Median
                                                                                                                                                                                                       or
                                       Company              Product                     price_    Addition            Package      Strength/                                         Price per     Lowest Overall
PROC Description                 Brand Name                 Name                         chg      Descript            Size          Dosage Note Form NDC                     AWP        unit        Brand Price        Type
                                       ALLSCRIPTS
J7644    IPRATROPIUM BRO           N   HEAL                 IPRATROPIUM BRO           20020808          (VIAL)           25.00        0.02            SOL 54569-4910-00      17.64     1.41        1.88         1.79    G
                                       ALPHARMA
J7644    IPRATROPIUM BRO           N   USPD                 IPRATROPIUM BRO           19990429          (VIAL)           60.00        0.02            SOL 00472-0751-23      56.50     1.88        1.88         1.79    G
                                       ALPHARMA
J7644    IPRATROPIUM BRO           N   USPD                 IPRATROPIUM BRO           20000627          (VIAL)           25.00        0.02            SOL 00472-0751-30      67.80     5.42        1.88         1.79    G
                                       ALPHARMA
J7644    IPRATROPIUM BRO           N   USPD                 IPRATROPIUM BRO           20000627          (VIAL)           30.00        0.02            SOL 00472-0751-60 118.80         7.92        1.88         1.79    G
J7644    IPRATROPIUM BRO           N   APOTEX CORP.         IPRATROPIUM BRO           20010701          (AMP)            25.00        0.02            SOL 60505-0806-01 56.00          4.48        1.88         1.79    G
                                       ASLUNG
J7644    IPRATROPIUM BRO           N   PHARMACE             IPRATROPIUM BRO           20010126          (VIAL)           120.00       0.02            SOL 65271-0001-12 211.20         3.52        1.88         1.79    G
                                       ASLUNG
J7644    IPRATROPIUM BRO           N   PHARMACE             IPRATROPIUM BRO           20010126          (VIAL)           25.00        0.02            SOL 65271-0001-25      44.00     3.52        1.88         1.79    G
                                       ASLUNG
J7644    IPRATROPIUM BRO           N   PHARMACE             IPRATROPIUM BRO           20010126          (VIAL)           30.00        0.02            SOL 65271-0001-30      52.80     3.52        1.88         1.79    G
                                       ASLUNG
J7644    IPRATROPIUM BRO           N   PHARMACE             IPRATROPIUM BRO           20010126          (VIAL)           60.00        0.02            SOL   65271-0001-60 105.60       3.52        1.88         1.79    G
J7644    IPRATROPIUM BRO           N   DEY, L.P.            IPRATROPIUM BRO           20030401          (VIAL)           25.00        0.02            SOL   49502-0685-03 6.19         0.50        1.88         1.79    G
J7644    IPRATROPIUM BRO           N   DEY, L.P.            IPRATROPIUM BRO           20030401          (VIAL)           30.00        0.02            SOL   49502-0685-33 6.83         0.46        1.88         1.79    G
J7644    IPRATROPIUM BRO           N   DEY, L.P.            IPRATROPIUM BRO           20030401          (VIAL)           60.00        0.02            SOL   49502-0685-60 13.61        0.45        1.88         1.79    G
                                       PHYSICIANS
J7644    IPRATROPIUM BRO           N   TOTA                 IPRATROPIUM BRO           20001016          (VIAL)           60.00        0.02            SOL 54868-4082-00      42.25     1.41        1.88         1.79    G
                                       PHYSICIANS
J7644    IPRATROPIUM BRO           N   TOTA                 IPRATROPIUM BRO           20001016          (VIAL)           25.00        0.02            SOL 54868-4082-01      23.54     1.88        1.88         1.79    G
                                       ROXANE                                                          (S.D.V.,
J7644    IPRATROPIUM BRO           N   LABORATO             IPRATROPIUM BRO           19980316     5X5,PROTECTA          25.00        0.02            SOL 00054-8402-11       8.82     0.71        1.88         1.79    G
                                       ROXANE                                                          (S.D.V.,
J7644    IPRATROPIUM BRO           N   LABORATO             IPRATROPIUM BRO           19980316     6X5,PROTECTA          30.00        0.02            SOL 00054-8402-13       9.80     0.65        1.88         1.79    G
                                       ROXANE                                                          (S.D.V.,
J7644    IPRATROPIUM BRO           N   LABORATO             IPRATROPIUM BRO           19971210     12X5,PROTECTA         60.00        0.02            SOL 00054-8402-21      21.50     0.72        1.88         1.79    G
                                                                                                                                                                                     KO & KP
                                                                                                                                                                                     (median)      1.88

                                                                                                                                                                                     UD (mg) X     0.50
                                                                                                                                                                                           =       0.94
                                                                                                                                                                                       -J7051      0.14
                                                                                                                                                                                           =       0.80
                                                                                                                                                                                     UD (mg) /     0.50
                                                                                                                                                                                          KQ
                                                                                                                                                                                      (median)     1.60
                                                                                                                                                                                     KQ (95%)      1.52
                                                                                                                                                                                     KO & KP
                                                                                                                                                                                        (95%)      1.79

Brand
Source
                                         BOEHR
J7644    IPRATROPIUM BRO            Y    INGELHEIM          ATROVENT                  20030102          (VIAL)           25.00        0.02            SOL 00597-0080-62      84.06     6.72        1.88         1.79    G
                                         ROXANE                                                        (S.D.V.,
J7644    IPRATROPIUM BRO            Y    LABORATO           IPRATROPIUM BRO           19990201      5X5,PROTECT          25.00        0.02            SOL 00054-8404-11      44.06     3.52        1.88         1.79    G
                                         ROXANE                                                        (S.D.V.,
J7644    IPRATROPIUM BRO            Y    LABORATO           IPRATROPIUM BRO           19990201     6X5,PROTECTA          30.00        0.02            SOL 00054-8404-13      52.87     3.52        1.88         1.79    G
                                         ROXANE                                                        (S.D.V.,
J7644    IPRATROPIUM BRO            Y    LABORATO           IPRATROPIUM BRO           19990201     12X5,PROTECT          60.00        0.02            SOL 00054-8404-21 105.74         3.52        1.88         1.79    G




NOTES:

1. Source: Hard copy arrays, AWQ037-0082 through AWQ037-0084
2. The original array did not contain formulas and calculations for determining the median and Medicare allowable amounts. The calculations of the median and the KO/KP and KQ modifier allowable amounts are
based on calculations used in previous Palmetto arrays.

                                                                                                             56
                                                                                                                                                                                                                              2003 Q4
                                                                                                                                                                                                                                    2
Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 57 of 75




                      Cigna Arrays
                 (2001Q4-2003Q4)




                                57
             Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 58 of 75


ORIGINAL ARRAY (Per Carrier Array Documents)
                                                                                   DMERC Medication Pricing

                                     UNIT       PRICE LIST          LISTED                          AWP FROM RED BOOK     PAGE  UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE      DRUG NAME          PACKAGING        NDC NUMBER       RED BOOK   DATE      NUMBER PACKAGING DOSAGE     UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts          .02%, 2.5ml 25s    54569-4910-00   $     18.62    Jul-01   CD      12.5   $    1.49 9/10/2001   CH
         Unit dose                          Alpharma USPD       .02%, 2.5ml 25s    00472-0751-23   $     56.50    Jul-01   CD      12.5   $    4.52 9/10/2001   CH
                                            Alpharma USPD       .02%, 2.5ml 30s    00472-0751-30   $     67.80    Jul-01   CD       15    $    4.52 9/10/2001   CH
                                            Alpharma USPD       .02%, 2.5ml 60s    00472-0751-60   $    118.80    Jul-01   CD       30    $    3.96 9/10/2001   CH
                                            Apotex Corp.        .02%, 2.5ml 25s    60505-0806-01   $     56.00    Jul-01   CD      12.5   $    4.48 9/10/2001   CH
                                            Dey                 .02%, 2.5ml 25s    49502-0685-03   $     44.10    Jul-01   CD      12.5   $    3.53 9/10/2001   CH
                                            Dey                 .02%, 2.5ml 30s    49502-0685-33   $     52.80    Jul-01   CD       15    $    3.52 9/10/2001   CH
                                            Dey                 .02%, 2.5ml 60s    49502-0685-60   $    105.60    Jul-01   CD       30    $    3.52 9/10/2001   CH
                                            Phys Total Care     .02%, 2.5ml 25s    54868-4082-01   $     23.54    Jul-01   CD      12.5   $    1.88 9/10/2001   CH
                                            Phys Total Care     .02%, 2.5ml 60s    54868-4082-00   $     42.25    Jul-01   CD       30    $    1.41 9/10/2001   CH
                                            Roxane              .02%, 2.5ml 25s    00054-8402-11   $     44.06    Jul-01   CD      12.5   $    3.52 9/10/2001   CH
                                            Roxane              .02%, 2.5ml 30s    00054-8402-13   $     52.87    Jul-01   CD       15    $    3.52 9/10/2001   CH
                                            Roxane              .02%, 2.5ml 60s    00054-8402-21   $    105.74    Jul-01   CD       30    $    3.52 9/10/2001   CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $    68.90     Jul-01   CD     12.5    $    5.51   9/10/2001   CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $    44.06     Jul-01   CD     12.5    $    3.52   9/10/2001   CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $    52.87     Jul-01   CD      15     $    3.52   9/10/2001   CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $   105.74     Jul-01   CD      30     $    3.52   9/10/2001   CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through September 2001 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.22
      =                    1.54
UD(gm) -                    0.5
KQ       $                3.08

         J7644KQ LESS 5% = $           2.93

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY ONLY
                                                                                   DMERC Medication Pricing

                                     UNIT       PRICE LIST          LISTED                          AWP FROM RED BOOK     PAGE  UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE      DRUG NAME          PACKAGING        NDC NUMBER       RED BOOK   DATE      NUMBER PACKAGING DOSAGE     UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts          .02%, 2.5ml 25s    54569-4910-00   $     18.62    Jul-01   CD      12.5   $    1.49 9/10/2001   CH
         Unit dose                          Alpharma USPD       .02%, 2.5ml 25s    00472-0751-23   $     56.50    Jul-01   CD      12.5   $    4.52 9/10/2001   CH
                                            Alpharma USPD       .02%, 2.5ml 30s    00472-0751-30   $     67.80    Jul-01   CD       15    $    4.52 9/10/2001   CH
                                            Alpharma USPD       .02%, 2.5ml 60s    00472-0751-60   $    118.80    Jul-01   CD       30    $    3.96 9/10/2001   CH
                                            Apotex Corp.        .02%, 2.5ml 25s    60505-0806-01   $     56.00    Jul-01   CD      12.5   $    4.48 9/10/2001   CH
                                            Dey                 .02%, 2.5ml 25s    49502-0685-03   $     10.81    Jul-01   CD      12.5   $    0.86 9/10/2001   CH
                                            Dey                 .02%, 2.5ml 30s    49502-0685-33   $     12.55    Jul-01   CD       15    $    0.84 9/10/2001   CH
                                            Dey                 .02%, 2.5ml 60s    49502-0685-60   $     25.14    Jul-01   CD       30    $    0.84 9/10/2001   CH
                                            Phys Total Care     .02%, 2.5ml 25s    54868-4082-01   $     23.54    Jul-01   CD      12.5   $    1.88 9/10/2001   CH
                                            Phys Total Care     .02%, 2.5ml 60s    54868-4082-00   $     42.25    Jul-01   CD       30    $    1.41 9/10/2001   CH
                                            Roxane              .02%, 2.5ml 25s    00054-8402-11   $     44.06    Jul-01   CD      12.5   $    3.52 9/10/2001   CH
                                            Roxane              .02%, 2.5ml 30s    00054-8402-13   $     52.87    Jul-01   CD       15    $    3.52 9/10/2001   CH
                                            Roxane              .02%, 2.5ml 60s    00054-8402-21   $    105.74    Jul-01   CD       30    $    3.52 9/10/2001   CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $    68.90     Jul-01   CD     12.5    $    5.51   9/10/2001   CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $    44.06     Jul-01   CD     12.5    $    3.52   9/10/2001   CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $    52.87     Jul-01   CD      15     $    3.52   9/10/2001   CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $   105.74     Jul-01   CD      30     $    3.52   9/10/2001   CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through September 2001 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.22
      =                    1.54
UD(gm) -                    0.5
KQ       $                3.08

         J7644KQ LESS 5% = $           2.93

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99




                                                                                             58                                                                        2001 Q4
                                                                                                                                                                             1
             Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 59 of 75


REVISED ARRAY - ROXANE ONLY
                                                                                     DMERC Medication Pricing

                                       UNIT       PRICE LIST          LISTED                           AWP FROM RED BOOK     PAGE  UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE      DRUG NAME          PACKAGING        NDC NUMBER        RED BOOK   DATE      NUMBER PACKAGING DOSAGE     UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts          .02%, 2.5ml 25s    54569-4910-00    $     18.62    Jul-01   CD      12.5   $    1.49 9/10/2001   CH
           Unit dose                          Alpharma USPD       .02%, 2.5ml 25s    00472-0751-23    $     56.50    Jul-01   CD      12.5   $    4.52 9/10/2001   CH
                                              Alpharma USPD       .02%, 2.5ml 30s    00472-0751-30    $     67.80    Jul-01   CD       15    $    4.52 9/10/2001   CH
                                              Alpharma USPD       .02%, 2.5ml 60s    00472-0751-60    $    118.80    Jul-01   CD       30    $    3.96 9/10/2001   CH
                                              Apotex Corp.        .02%, 2.5ml 25s    60505-0806-01    $     56.00    Jul-01   CD      12.5   $    4.48 9/10/2001   CH
                                              Dey                 .02%, 2.5ml 25s    49502-0685-03    $     44.10    Jul-01   CD      12.5   $    3.53 9/10/2001   CH
                                              Dey                 .02%, 2.5ml 30s    49502-0685-33    $     52.80    Jul-01   CD       15    $    3.52 9/10/2001   CH
                                              Dey                 .02%, 2.5ml 60s    49502-0685-60    $    105.60    Jul-01   CD       30    $    3.52 9/10/2001   CH
                                              Phys Total Care     .02%, 2.5ml 25s    54868-4082-01    $     23.54    Jul-01   CD      12.5   $    1.88 9/10/2001   CH
                                              Phys Total Care     .02%, 2.5ml 60s    54868-4082-00    $     42.25    Jul-01   CD       30    $    1.41 9/10/2001   CH
                                              Roxane              .02%, 2.5ml 25s    00054-8402-11    $     10.11    Jul-01   CD      12.5   $    0.81 9/10/2001   CH
                                              Roxane              .02%, 2.5ml 30s    00054-8402-13    $     12.57    Jul-01   CD       15    $    0.84 9/10/2001   CH
                                              Roxane              .02%, 2.5ml 60s    00054-8402-21    $     22.88    Jul-01   CD       30    $    0.76 9/10/2001   CH
           Generic Median =          $   3.52

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62    $       68.90         Jul-01    CD           12.5      $       5.51   9/10/2001        CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11    $      44.06          Jul-01    CD           12.5      $       3.52   9/10/2001        CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13    $      52.87          Jul-01    CD            15       $       3.52   9/10/2001        CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21    $     105.74          Jul-01    CD            30       $       3.52   9/10/2001        CH

           Lowest Brand =           $    3.52

           Allowable =              $    3.52 Updated through September 2001 Red Book updates

           Allowable less 5% =      $    3.34

KO & KP $                   3.52
UD(gm) x                      0.5
      =                      1.76
J7051 -                      0.22
      =                      1.54
UD(gm) -                      0.5
KQ       $                  3.08

           J7644KQ LESS 5% = $           2.93

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY & ROXANE
                                                                                     DMERC Medication Pricing

                                       UNIT       PRICE LIST          LISTED                           AWP FROM RED BOOK     PAGE  UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE      DRUG NAME          PACKAGING        NDC NUMBER        RED BOOK   DATE      NUMBER PACKAGING DOSAGE     UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts          .02%, 2.5ml 25s    54569-4910-00    $     18.62    Jul-01   CD      12.5   $    1.49 9/10/2001   CH
           Unit dose                          Alpharma USPD       .02%, 2.5ml 25s    00472-0751-23    $     56.50    Jul-01   CD      12.5   $    4.52 9/10/2001   CH
                                              Alpharma USPD       .02%, 2.5ml 30s    00472-0751-30    $     67.80    Jul-01   CD       15    $    4.52 9/10/2001   CH
                                              Alpharma USPD       .02%, 2.5ml 60s    00472-0751-60    $    118.80    Jul-01   CD       30    $    3.96 9/10/2001   CH
                                              Apotex Corp.        .02%, 2.5ml 25s    60505-0806-01    $     56.00    Jul-01   CD      12.5   $    4.48 9/10/2001   CH
                                              Dey                 .02%, 2.5ml 25s    49502-0685-03    $     10.81    Jul-01   CD      12.5   $    0.86 9/10/2001   CH
                                              Dey                 .02%, 2.5ml 30s    49502-0685-33    $     12.55    Jul-01   CD       15    $    0.84 9/10/2001   CH
                                              Dey                 .02%, 2.5ml 60s    49502-0685-60    $     25.14    Jul-01   CD       30    $    0.84 9/10/2001   CH
                                              Phys Total Care     .02%, 2.5ml 25s    54868-4082-01    $     23.54    Jul-01   CD      12.5   $    1.88 9/10/2001   CH
                                              Phys Total Care     .02%, 2.5ml 60s    54868-4082-00    $     42.25    Jul-01   CD       30    $    1.41 9/10/2001   CH
                                              Roxane              .02%, 2.5ml 25s    00054-8402-11    $     10.11    Jul-01   CD      12.5   $    0.81 9/10/2001   CH
                                              Roxane              .02%, 2.5ml 30s    00054-8402-13    $     12.57    Jul-01   CD       15    $    0.84 9/10/2001   CH
                                              Roxane              .02%, 2.5ml 60s    00054-8402-21    $     22.88    Jul-01   CD       30    $    0.76 9/10/2001   CH
           Generic Median =          $   1.41

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62    $       68.90         Jul-01    CD           12.5      $       5.51   9/10/2001        CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11    $      44.06          Jul-01    CD           12.5      $       3.52   9/10/2001        CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13    $      52.87          Jul-01    CD            15       $       3.52   9/10/2001        CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21    $     105.74          Jul-01    CD            30       $       3.52   9/10/2001        CH

           Lowest Brand =           $    3.52

           Allowable =              $    1.41 Updated through September 2001 Red Book updates

           Allowable less 5% =      $    1.34

KO & KP $                   1.41
UD(gm) x                      0.5
      =                      0.71
J7051 -                      0.22
      =                      0.49
UD(gm) -                      0.5
KQ       $                  0.98

           J7644KQ LESS 5% = $           0.93

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99


NOTES:

1. Source: Electronic array, AWQ020 CD#1\J7644.xls, Tab: 2001 - 4th qtr
2. According to the carrier array document, the Medicare allowance amounts are calcluated in cells C31 and C41 of the original array and cells C75, C85, C119, C129, C163, and C173 of the revised
arrays. The allowance amounts for the KO and KP modifiers are 95% of the lower of the median of the generic product "COST/UNIT DOSAGE" values or the lowest brand product "COST/UNIT
DOSAGE" value. The allowance amount for the KQ modifier is 95% of the lower of the median of the generic product "COST/UNIT DOSAGE" values or the lowest brand product "COST/UNIT
DOSAGE" value adjusted by unit dose and compounding factors.




                                                                                                59                                                                                                2001 Q4
                                                                                                                                                                                                        2
               Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 60 of 75


ORIGINAL ARRAY (Per Carrier Array Documents)
                                                                                   DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62       Oct-01   CD       12.5   $     1.49 12/4/2001  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50       Oct-01   CD       12.5   $     4.52 12/4/2001  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80       Oct-01   CD        15    $     4.52 12/4/2001  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80       Oct-01   CD        30    $     3.96 12/4/2001  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00       Oct-01   CD       12.5   $     4.48 12/4/2001  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10       Oct-01   CD       12.5   $     3.53 12/4/2001  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80       Oct-01   CD        15    $     3.52 12/4/2001  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60       Oct-01   CD        30    $     3.52 12/4/2001  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54       Oct-01   CD       12.5   $     1.88 12/4/2001  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25       Oct-01   CD        30    $     1.41 12/4/2001  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06       Oct-01   CD       12.5   $     3.52 12/4/2001  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87       Oct-01   CD        15    $     3.52 12/4/2001  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74       Oct-01   CD        30    $     3.52 12/4/2001  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     68.90       Oct-01   CD     12.5    $     5.51   12/4/2001   CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06       Oct-01   CD     12.5    $     3.52   12/4/2001   CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87       Oct-01   CD      15     $     3.52   12/4/2001   CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74       Oct-01   CD      30     $     3.52   12/4/2001   CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through December 2001 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% =        $    2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY ONLY
                                                                                   DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62       Oct-01   CD       12.5   $     1.49 12/4/2001  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50       Oct-01   CD       12.5   $     4.52 12/4/2001  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80       Oct-01   CD        15    $     4.52 12/4/2001  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80       Oct-01   CD        30    $     3.96 12/4/2001  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00       Oct-01   CD       12.5   $     4.48 12/4/2001  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $     10.17       Oct-01   CD       12.5   $     0.81 12/4/2001  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $     11.64       Oct-01   CD        15    $     0.78 12/4/2001  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $     23.47       Oct-01   CD        30    $     0.78 12/4/2001  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54       Oct-01   CD       12.5   $     1.88 12/4/2001  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25       Oct-01   CD        30    $     1.41 12/4/2001  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06       Oct-01   CD       12.5   $     3.52 12/4/2001  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87       Oct-01   CD        15    $     3.52 12/4/2001  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74       Oct-01   CD        30    $     3.52 12/4/2001  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     68.90       Oct-01   CD     12.5    $     5.51   12/4/2001   CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06       Oct-01   CD     12.5    $     3.52   12/4/2001   CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87       Oct-01   CD      15     $     3.52   12/4/2001   CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74       Oct-01   CD      30     $     3.52   12/4/2001   CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through December 2001 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% =        $    2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99




                                                                                             60                                                                       2002 Q1
                                                                                                                                                                            1
                 Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 61 of 75


REVISED ARRAY - ROXANE ONLY
                                                                                     DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62       Oct-01   CD       12.5   $     1.49 12/4/2001  CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50       Oct-01   CD       12.5   $     4.52 12/4/2001  CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80       Oct-01   CD        15    $     4.52 12/4/2001  CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80       Oct-01   CD        30    $     3.96 12/4/2001  CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00       Oct-01   CD       12.5   $     4.48 12/4/2001  CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10       Oct-01   CD       12.5   $     3.53 12/4/2001  CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80       Oct-01   CD        15    $     3.52 12/4/2001  CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60       Oct-01   CD        30    $     3.52 12/4/2001  CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54       Oct-01   CD       12.5   $     1.88 12/4/2001  CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25       Oct-01   CD        30    $     1.41 12/4/2001  CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      9.39       Oct-01   CD       12.5   $     0.75 12/4/2001  CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $     11.27       Oct-01   CD        15    $     0.75 12/4/2001  CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     21.35       Oct-01   CD        30    $     0.71 12/4/2001  CH
           Generic Median =          $   3.52

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     68.90       Oct-01   CD     12.5    $     5.51   12/4/2001   CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06       Oct-01   CD     12.5    $     3.52   12/4/2001   CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87       Oct-01   CD      15     $     3.52   12/4/2001   CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74       Oct-01   CD      30     $     3.52   12/4/2001   CH

           Lowest Brand =           $    3.52

           Allowable =              $    3.52 Updated through December 2001 Red Book updates

           Allowable less 5% =      $    3.34

KO & KP $                   3.52
UD(gm) x                      0.5
      =                      1.76
J7051 -                      0.19
      =                      1.57
UD(gm) -                      0.5
KQ       $                  3.14

           J7644KQ LESS 5% =        $    2.98

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY & ROXANE
                                                                                     DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62       Oct-01   CD       12.5   $     1.49 12/4/2001  CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50       Oct-01   CD       12.5   $     4.52 12/4/2001  CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80       Oct-01   CD        15    $     4.52 12/4/2001  CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80       Oct-01   CD        30    $     3.96 12/4/2001  CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00       Oct-01   CD       12.5   $     4.48 12/4/2001  CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $     10.17       Oct-01   CD       12.5   $     0.81 12/4/2001  CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $     11.64       Oct-01   CD        15    $     0.78 12/4/2001  CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $     23.47       Oct-01   CD        30    $     0.78 12/4/2001  CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54       Oct-01   CD       12.5   $     1.88 12/4/2001  CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25       Oct-01   CD        30    $     1.41 12/4/2001  CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      9.39       Oct-01   CD       12.5   $     0.75 12/4/2001  CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $     11.27       Oct-01   CD        15    $     0.75 12/4/2001  CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     21.35       Oct-01   CD        30    $     0.71 12/4/2001  CH
           Generic Median =          $   1.41

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     68.90       Oct-01   CD     12.5    $     5.51   12/4/2001   CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06       Oct-01   CD     12.5    $     3.52   12/4/2001   CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87       Oct-01   CD      15     $     3.52   12/4/2001   CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74       Oct-01   CD      30     $     3.52   12/4/2001   CH

           Lowest Brand =           $    3.52

           Allowable =              $    1.41 Updated through December 2001 Red Book updates

           Allowable less 5% =      $    1.34

KO & KP $                   1.41
UD(gm) x                      0.5
      =                      0.71
J7051 -                      0.19
      =                      0.52
UD(gm) -                      0.5
KQ       $                  1.04

           J7644KQ LESS 5% =        $    0.99

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99


NOTES:

1. Source: Electronic array, AWQ020 CD#1\J7644.xls, Tab: 2002 - 1st qtr




                                                                                               61                                                                       2002 Q1
                                                                                                                                                                              2
               Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 62 of 75


ORIGINAL ARRAY (Per Carrier Array Documents)
                                                                                   DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK  PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK       DATE   NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62     Jan-02   CD       12.5   $    1.49  3/26/2002  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jan-02   CD       12.5   $    4.52  3/26/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jan-02   CD        15    $    4.52  3/26/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jan-02   CD        30    $    3.96  3/26/2002  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jan-02   CD       12.5   $    4.48  3/26/2002  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10     Jan-02   CD       12.5   $    3.53  3/26/2002  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80     Jan-02   CD        15    $    3.52  3/26/2002  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60     Jan-02   CD        30    $    3.52  3/26/2002  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jan-02   CD       12.5   $    1.88  3/26/2002  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jan-02   CD        30    $    1.41  3/26/2002  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06     Jan-02   CD       12.5   $    3.52  3/26/2002  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87     Jan-02   CD        15    $    3.52  3/26/2002  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74     Jan-02   CD        30    $    3.52  3/26/2002  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     70.97    Feb-02    22       12.5   $    5.68   3/26/2002   CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jan-02    CD       12.5   $    3.52   3/26/2002   CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jan-02    CD        15    $    3.52   3/26/2002   CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jan-02    CD        30    $    3.52   3/26/2002   CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through March 2002 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% =        $    2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY ONLY
                                                                                   DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK  PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK       DATE   NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62     Jan-02   CD       12.5   $    1.49  3/26/2002  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jan-02   CD       12.5   $    4.52  3/26/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jan-02   CD        15    $    4.52  3/26/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jan-02   CD        30    $    3.96  3/26/2002  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jan-02   CD       12.5   $    4.48  3/26/2002  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $      9.02     Jan-02   CD       12.5   $    0.72  3/26/2002  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $     10.48     Jan-02   CD        15    $    0.70  3/26/2002  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $     20.97     Jan-02   CD        30    $    0.70  3/26/2002  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jan-02   CD       12.5   $    1.88  3/26/2002  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jan-02   CD        30    $    1.41  3/26/2002  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06     Jan-02   CD       12.5   $    3.52  3/26/2002  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87     Jan-02   CD        15    $    3.52  3/26/2002  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74     Jan-02   CD        30    $    3.52  3/26/2002  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     70.97    Feb-02    22       12.5   $    5.68   3/26/2002   CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jan-02    CD       12.5   $    3.52   3/26/2002   CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jan-02    CD        15    $    3.52   3/26/2002   CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jan-02    CD        30    $    3.52   3/26/2002   CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through March 2002 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% =        $    2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99




                                                                                             62                                                                     2002 Q2
                                                                                                                                                                          1
                 Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 63 of 75


REVISED ARRAY - ROXANE ONLY
                                                                                     DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK  PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK       DATE   NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62     Jan-02   CD       12.5   $    1.49  3/26/2002  CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jan-02   CD       12.5   $    4.52  3/26/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jan-02   CD        15    $    4.52  3/26/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jan-02   CD        30    $    3.96  3/26/2002  CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jan-02   CD       12.5   $    4.48  3/26/2002  CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10     Jan-02   CD       12.5   $    3.53  3/26/2002  CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80     Jan-02   CD        15    $    3.52  3/26/2002  CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60     Jan-02   CD        30    $    3.52  3/26/2002  CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jan-02   CD       12.5   $    1.88  3/26/2002  CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jan-02   CD        30    $    1.41  3/26/2002  CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      9.40     Jan-02   CD       12.5   $    0.75  3/26/2002  CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $     11.59     Jan-02   CD        15    $    0.77  3/26/2002  CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     20.56     Jan-02   CD        30    $    0.69  3/26/2002  CH
           Generic Median =          $   3.52

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     70.97    Feb-02    22       12.5   $    5.68   3/26/2002   CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jan-02    CD       12.5   $    3.52   3/26/2002   CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jan-02    CD        15    $    3.52   3/26/2002   CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jan-02    CD        30    $    3.52   3/26/2002   CH

           Lowest Brand =           $    3.52

           Allowable =              $    3.52 Updated through March 2002 Red Book updates

           Allowable less 5% =      $    3.34

KO & KP $                   3.52
UD(gm) x                      0.5
      =                      1.76
J7051 -                      0.19
      =                      1.57
UD(gm) -                      0.5
KQ       $                  3.14

           J7644KQ LESS 5% =        $    2.98

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY & ROXANE
                                                                                     DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK  PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK       DATE   NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62     Jan-02   CD       12.5   $    1.49  3/26/2002  CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jan-02   CD       12.5   $    4.52  3/26/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jan-02   CD        15    $    4.52  3/26/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jan-02   CD        30    $    3.96  3/26/2002  CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jan-02   CD       12.5   $    4.48  3/26/2002  CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $      9.02     Jan-02   CD       12.5   $    0.72  3/26/2002  CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $     10.48     Jan-02   CD        15    $    0.70  3/26/2002  CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $     20.97     Jan-02   CD        30    $    0.70  3/26/2002  CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jan-02   CD       12.5   $    1.88  3/26/2002  CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jan-02   CD        30    $    1.41  3/26/2002  CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      9.40     Jan-02   CD       12.5   $    0.75  3/26/2002  CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $     11.59     Jan-02   CD        15    $    0.77  3/26/2002  CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     20.56     Jan-02   CD        30    $    0.69  3/26/2002  CH
           Generic Median =          $   1.41

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     70.97    Feb-02    22       12.5   $    5.68   3/26/2002   CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jan-02    CD       12.5   $    3.52   3/26/2002   CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jan-02    CD        15    $    3.52   3/26/2002   CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jan-02    CD        30    $    3.52   3/26/2002   CH

           Lowest Brand =           $    3.52

           Allowable =              $    1.41 Updated through March 2002 Red Book updates

           Allowable less 5% =      $    1.34

KO & KP $                   1.41
UD(gm) x                      0.5
      =                      0.71
J7051 -                      0.19
      =                      0.52
UD(gm) -                      0.5
KQ       $                  1.04

           J7644KQ LESS 5% =        $    0.99

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99


NOTES:

1. Source: Electronic array, AWQ020 CD#1\J7644.xls, Tab: 2002 - 2nd qtr




                                                                                               63                                                                     2002 Q2
                                                                                                                                                                            2
                 Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 64 of 75


ORIGINAL ARRAY (Per Carrier Array Documents)
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62   Apr-02      CD       12.5   $     1.49 6/14/2002  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50   Apr-02      CD       12.5   $     4.52 6/14/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80   Apr-02      CD        15    $     4.52 6/14/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80   Apr-02      CD        30    $     3.96 6/14/2002  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00   Apr-02      CD       12.5   $     4.48 6/14/2002  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10   Apr-02      CD       12.5   $     3.53 6/14/2002  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80   Apr-02      CD        15    $     3.52 6/14/2002  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60   Apr-02      CD        30    $     3.52 6/14/2002  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54   Apr-02      CD       12.5   $     1.88 6/14/2002  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25   Apr-02      CD        30    $     1.41 6/14/2002  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06   Apr-02      CD       12.5   $     3.52 6/14/2002  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87   Apr-02      CD        15    $     3.52 6/14/2002  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74   Apr-02      CD        30    $     3.52 6/14/2002  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $    70.97    Apr-02      CD      12.5    $    5.68   6/14/2002     CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $    44.06    Apr-02      CD      12.5    $    3.52   6/14/2002     CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $    52.87    Apr-02      CD       15     $    3.52   6/14/2002     CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $   105.74    Apr-02      CD       30     $    3.52   6/14/2002     CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through June 2002 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% =        $    2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY ONLY
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62   Apr-02      CD       12.5   $     1.49 6/14/2002  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50   Apr-02      CD       12.5   $     4.52 6/14/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80   Apr-02      CD        15    $     4.52 6/14/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80   Apr-02      CD        30    $     3.96 6/14/2002  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00   Apr-02      CD       12.5   $     4.48 6/14/2002  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $      8.54   Apr-02      CD       12.5   $     0.68 6/14/2002  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $      9.92   Apr-02      CD        15    $     0.66 6/14/2002  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $     19.81   Apr-02      CD        30    $     0.66 6/14/2002  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54   Apr-02      CD       12.5   $     1.88 6/14/2002  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25   Apr-02      CD        30    $     1.41 6/14/2002  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06   Apr-02      CD       12.5   $     3.52 6/14/2002  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87   Apr-02      CD        15    $     3.52 6/14/2002  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74   Apr-02      CD        30    $     3.52 6/14/2002  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $    70.97    Apr-02      CD      12.5    $    5.68   6/14/2002     CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $    44.06    Apr-02      CD      12.5    $    3.52   6/14/2002     CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $    52.87    Apr-02      CD       15     $    3.52   6/14/2002     CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $   105.74    Apr-02      CD       30     $    3.52   6/14/2002     CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through June 2002 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% =        $    2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99




                                                                                               64                                                                    2002 Q3
                                                                                                                                                                           1
                    Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 65 of 75


REVISED ARRAY - ROXANE ONLY
                                                                                      DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62   Apr-02      CD       12.5   $     1.49 6/14/2002  CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50   Apr-02      CD       12.5   $     4.52 6/14/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80   Apr-02      CD        15    $     4.52 6/14/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80   Apr-02      CD        30    $     3.96 6/14/2002  CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00   Apr-02      CD       12.5   $     4.48 6/14/2002  CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10   Apr-02      CD       12.5   $     3.53 6/14/2002  CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80   Apr-02      CD        15    $     3.52 6/14/2002  CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60   Apr-02      CD        30    $     3.52 6/14/2002  CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54   Apr-02      CD       12.5   $     1.88 6/14/2002  CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25   Apr-02      CD        30    $     1.41 6/14/2002  CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      9.04   Apr-02      CD       12.5   $     0.72 6/14/2002  CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $     11.39   Apr-02      CD        15    $     0.76 6/14/2002  CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     20.10   Apr-02      CD        30    $     0.67 6/14/2002  CH
           Generic Median =          $   3.52

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $    70.97    Apr-02      CD      12.5    $    5.68   6/14/2002     CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $    44.06    Apr-02      CD      12.5    $    3.52   6/14/2002     CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $    52.87    Apr-02      CD       15     $    3.52   6/14/2002     CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $   105.74    Apr-02      CD       30     $    3.52   6/14/2002     CH

           Lowest Brand =           $    3.52

           Allowable =              $    3.52 Updated through June 2002 Red Book updates

           Allowable less 5% =      $    3.34

KO & KP $                   3.52
UD(gm) x                      0.5
      =                      1.76
J7051 -                      0.19
      =                      1.57
UD(gm) -                      0.5
KQ       $                  3.14

           J7644KQ LESS 5% =        $    2.98

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY & ROXANE
                                                                                      DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.62   Apr-02      CD       12.5   $     1.49 6/14/2002  CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50   Apr-02      CD       12.5   $     4.52 6/14/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80   Apr-02      CD        15    $     4.52 6/14/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80   Apr-02      CD        30    $     3.96 6/14/2002  CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00   Apr-02      CD       12.5   $     4.48 6/14/2002  CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $      8.54   Apr-02      CD       12.5   $     0.68 6/14/2002  CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $      9.92   Apr-02      CD        15    $     0.66 6/14/2002  CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $     19.81   Apr-02      CD        30    $     0.66 6/14/2002  CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54   Apr-02      CD       12.5   $     1.88 6/14/2002  CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25   Apr-02      CD        30    $     1.41 6/14/2002  CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      9.04   Apr-02      CD       12.5   $     0.72 6/14/2002  CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $     11.39   Apr-02      CD        15    $     0.76 6/14/2002  CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     20.10   Apr-02      CD        30    $     0.67 6/14/2002  CH
           Generic Median =          $   1.41

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $    70.97    Apr-02      CD      12.5    $    5.68   6/14/2002     CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $    44.06    Apr-02      CD      12.5    $    3.52   6/14/2002     CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $    52.87    Apr-02      CD       15     $    3.52   6/14/2002     CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $   105.74    Apr-02      CD       30     $    3.52   6/14/2002     CH

           Lowest Brand =           $    3.52

           Allowable =              $    1.41 Updated through June 2002 Red Book updates

           Allowable less 5% =      $    1.34

KO & KP $                   1.41
UD(gm) x                      0.5
      =                      0.71
J7051 -                      0.19
      =                      0.52
UD(gm) -                      0.5
KQ       $                  1.04

           J7644KQ LESS 5% =        $    0.99

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99


NOTES:

1. Source: Electronic array, AWQ020 CD#1\J7644.xls, Tab: 2002 - 3rd qtr




                                                                                                 65                                                                    2002 Q3
                                                                                                                                                                             2
                 Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 66 of 75


ORIGINAL ARRAY (Per Carrier Array Documents)
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                               AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER        RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00    $     18.46    Jul-02     CD       12.5   $     1.48 9/13/2002  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23    $     56.50    Jul-02     CD       12.5   $     4.52 9/13/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30    $     67.80    Jul-02     CD        15    $     4.52 9/13/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60    $    118.80    Jul-02     CD        30    $     3.96 9/13/2002  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01    $     56.00    Jul-02     CD       12.5   $     4.48 9/13/2002  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03    $     44.10    Jul-02     CD       12.5   $     3.53 9/13/2002  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33    $     52.80    Jul-02     CD        15    $     3.52 9/13/2002  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60    $    105.60    Jul-02     CD        30    $     3.52 9/13/2002  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01    $     23.54    Jul-02     CD       12.5   $     1.88 9/13/2002  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00    $     42.25    Jul-02     CD        30    $     1.41 9/13/2002  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11    $     44.06    Jul-02     CD       12.5   $     3.52 9/13/2002  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13    $     52.87    Jul-02     CD        15    $     3.52 9/13/2002  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21    $    105.74    Jul-02     CD        30    $     3.52 9/13/2002  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62    $    73.09    Jul-02      CD      12.5    $    5.85   9/13/2002     CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11    $    44.06    Jul-02      CD      12.5    $    3.52   9/13/2002     CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13    $    52.87    Jul-02      CD       15     $    3.52   9/13/2002     CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21    $   105.74    Jul-02      CD       30     $    3.52   9/13/2002     CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through September 2002 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% =        $    2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY ONLY
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                               AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER        RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00    $     18.46    Jul-02     CD       12.5   $     1.48 9/13/2002  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23    $     56.50    Jul-02     CD       12.5   $     4.52 9/13/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30    $     67.80    Jul-02     CD        15    $     4.52 9/13/2002  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60    $    118.80    Jul-02     CD        30    $     3.96 9/13/2002  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01    $     56.00    Jul-02     CD       12.5   $     4.48 9/13/2002  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03    $      8.62    Jul-02     CD       12.5   $     0.69 9/13/2002  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33    $      9.28    Jul-02     CD        15    $     0.62 9/13/2002  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60    $     18.89    Jul-02     CD        30    $     0.63 9/13/2002  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01    $     23.54    Jul-02     CD       12.5   $     1.88 9/13/2002  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00    $     42.25    Jul-02     CD        30    $     1.41 9/13/2002  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11    $     44.06    Jul-02     CD       12.5   $     3.52 9/13/2002  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13    $     52.87    Jul-02     CD        15    $     3.52 9/13/2002  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21    $    105.74    Jul-02     CD        30    $     3.52 9/13/2002  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62    $    73.09    Jul-02      CD      12.5    $    5.85   9/13/2002     CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11    $    44.06    Jul-02      CD      12.5    $    3.52   9/13/2002     CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13    $    52.87    Jul-02      CD       15     $    3.52   9/13/2002     CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21    $   105.74    Jul-02      CD       30     $    3.52   9/13/2002     CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through September 2002 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% =        $    2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99




                                                                                               66                                                                     2002 Q4
                                                                                                                                                                            1
                    Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 67 of 75


REVISED ARRAY - ROXANE ONLY
                                                                                      DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                               AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER        RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00    $     18.46    Jul-02     CD       12.5   $     1.48 9/13/2002  CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23    $     56.50    Jul-02     CD       12.5   $     4.52 9/13/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30    $     67.80    Jul-02     CD        15    $     4.52 9/13/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60    $    118.80    Jul-02     CD        30    $     3.96 9/13/2002  CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01    $     56.00    Jul-02     CD       12.5   $     4.48 9/13/2002  CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03    $     44.10    Jul-02     CD       12.5   $     3.53 9/13/2002  CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33    $     52.80    Jul-02     CD        15    $     3.52 9/13/2002  CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60    $    105.60    Jul-02     CD        30    $     3.52 9/13/2002  CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01    $     23.54    Jul-02     CD       12.5   $     1.88 9/13/2002  CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00    $     42.25    Jul-02     CD        30    $     1.41 9/13/2002  CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11    $      9.03    Jul-02     CD       12.5   $     0.72 9/13/2002  CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13    $     11.19    Jul-02     CD        15    $     0.75 9/13/2002  CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21    $     19.12    Jul-02     CD        30    $     0.64 9/13/2002  CH
           Generic Median =          $   3.52

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62    $    73.09    Jul-02      CD      12.5    $    5.85   9/13/2002     CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11    $    44.06    Jul-02      CD      12.5    $    3.52   9/13/2002     CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13    $    52.87    Jul-02      CD       15     $    3.52   9/13/2002     CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21    $   105.74    Jul-02      CD       30     $    3.52   9/13/2002     CH

           Lowest Brand =           $    3.52

           Allowable =              $    3.52 Updated through September 2002 Red Book updates

           Allowable less 5% =      $    3.34

KO & KP $                   3.52
UD(gm) x                      0.5
      =                      1.76
J7051 -                      0.19
      =                      1.57
UD(gm) -                      0.5
KQ       $                  3.14

           J7644KQ LESS 5% =        $    2.98

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY & ROXANE
                                                                                      DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                               AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER        RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00    $     18.46    Jul-02     CD       12.5   $     1.48 9/13/2002  CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23    $     56.50    Jul-02     CD       12.5   $     4.52 9/13/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30    $     67.80    Jul-02     CD        15    $     4.52 9/13/2002  CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60    $    118.80    Jul-02     CD        30    $     3.96 9/13/2002  CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01    $     56.00    Jul-02     CD       12.5   $     4.48 9/13/2002  CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03    $      8.62    Jul-02     CD       12.5   $     0.69 9/13/2002  CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33    $      9.28    Jul-02     CD        15    $     0.62 9/13/2002  CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60    $     18.89    Jul-02     CD        30    $     0.63 9/13/2002  CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01    $     23.54    Jul-02     CD       12.5   $     1.88 9/13/2002  CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00    $     42.25    Jul-02     CD        30    $     1.41 9/13/2002  CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11    $      9.03    Jul-02     CD       12.5   $     0.72 9/13/2002  CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13    $     11.19    Jul-02     CD        15    $     0.75 9/13/2002  CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21    $     19.12    Jul-02     CD        30    $     0.64 9/13/2002  CH
           Generic Median =          $   1.41

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62    $    73.09    Jul-02      CD      12.5    $    5.85   9/13/2002     CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11    $    44.06    Jul-02      CD      12.5    $    3.52   9/13/2002     CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13    $    52.87    Jul-02      CD       15     $    3.52   9/13/2002     CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21    $   105.74    Jul-02      CD       30     $    3.52   9/13/2002     CH

           Lowest Brand =           $    3.52

           Allowable =              $    1.41 Updated through September 2002 Red Book updates

           Allowable less 5% =      $    1.34

KO & KP $                   1.41
UD(gm) x                      0.5
      =                      0.71
J7051 -                      0.19
      =                      0.52
UD(gm) -                      0.5
KQ       $                  1.04

           J7644KQ LESS 5% =        $    0.99

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99


NOTES:

1. Source: Electronic array, AWQ020 CD#1\J7644.xls, Tab: 2002 - 4th qtr




                                                                                                 67                                                                     2002 Q4
                                                                                                                                                                              2
                 Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 68 of 75


ORIGINAL ARRAY (Per Carrier Array Documents)
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.46   Oct-02      CD       12.5   $     1.48 12/11/2002 CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50   Oct-02      CD       12.5   $     4.52 12/11/2002 CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80   Oct-02      CD        15    $     4.52 12/11/2002 CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80   Oct-02      CD        30    $     3.96 12/11/2002 CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00   Oct-02      CD       12.5   $     4.48 12/11/2002 CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10   Oct-02      CD       12.5   $     3.53 12/11/2002 CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80   Oct-02      CD        15    $     3.52 12/11/2002 CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60   Oct-02      CD        30    $     3.52 12/11/2002 CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54   Oct-02      CD       12.5   $     1.88 12/11/2002 CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25   Oct-02      CD        30    $     1.41 12/11/2002 CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06   Oct-02      CD       12.5   $     3.52 12/11/2002 CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87   Oct-02      CD        15    $     3.52 12/11/2002 CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74   Oct-02      CD        30    $     3.52 12/11/2002 CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $    73.09    Oct-02      CD      12.5    $    5.85   12/11/2002     CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $    44.06    Oct-02      CD      12.5    $    3.52   12/11/2002     CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $    52.87    Oct-02      CD       15     $    3.52   12/11/2002     CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $   105.74    Oct-02      CD       30     $    3.52   12/11/2002     CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through December 2002 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% =        $    2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY ONLY
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.46   Oct-02      CD       12.5   $     1.48 12/11/2002 CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50   Oct-02      CD       12.5   $     4.52 12/11/2002 CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80   Oct-02      CD        15    $     4.52 12/11/2002 CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80   Oct-02      CD        30    $     3.96 12/11/2002 CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00   Oct-02      CD       12.5   $     4.48 12/11/2002 CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $      8.52   Oct-02      CD       12.5   $     0.68 12/11/2002 CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $      9.11   Oct-02      CD        15    $     0.61 12/11/2002 CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $     18.65   Oct-02      CD        30    $     0.62 12/11/2002 CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54   Oct-02      CD       12.5   $     1.88 12/11/2002 CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25   Oct-02      CD        30    $     1.41 12/11/2002 CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06   Oct-02      CD       12.5   $     3.52 12/11/2002 CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87   Oct-02      CD        15    $     3.52 12/11/2002 CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74   Oct-02      CD        30    $     3.52 12/11/2002 CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $    73.09    Oct-02      CD      12.5    $    5.85   12/11/2002     CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $    44.06    Oct-02      CD      12.5    $    3.52   12/11/2002     CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $    52.87    Oct-02      CD       15     $    3.52   12/11/2002     CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $   105.74    Oct-02      CD       30     $    3.52   12/11/2002     CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through December 2002 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% =        $    2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99




                                                                                               68                                                                     2003 Q1
                                                                                                                                                                            1
                    Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 69 of 75


REVISED ARRAY - ROXANE ONLY
                                                                                      DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.46   Oct-02      CD       12.5   $     1.48 12/11/2002 CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50   Oct-02      CD       12.5   $     4.52 12/11/2002 CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80   Oct-02      CD        15    $     4.52 12/11/2002 CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80   Oct-02      CD        30    $     3.96 12/11/2002 CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00   Oct-02      CD       12.5   $     4.48 12/11/2002 CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10   Oct-02      CD       12.5   $     3.53 12/11/2002 CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80   Oct-02      CD        15    $     3.52 12/11/2002 CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60   Oct-02      CD        30    $     3.52 12/11/2002 CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54   Oct-02      CD       12.5   $     1.88 12/11/2002 CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25   Oct-02      CD        30    $     1.41 12/11/2002 CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      8.97   Oct-02      CD       12.5   $     0.72 12/11/2002 CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $     11.05   Oct-02      CD        15    $     0.74 12/11/2002 CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     18.99   Oct-02      CD        30    $     0.63 12/11/2002 CH
           Generic Median =          $   3.52

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $    73.09    Oct-02      CD      12.5    $    5.85   12/11/2002     CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $    44.06    Oct-02      CD      12.5    $    3.52   12/11/2002     CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $    52.87    Oct-02      CD       15     $    3.52   12/11/2002     CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $   105.74    Oct-02      CD       30     $    3.52   12/11/2002     CH

           Lowest Brand =           $    3.52

           Allowable =              $    3.52 Updated through December 2002 Red Book updates

           Allowable less 5% =      $    3.34

KO & KP $                   3.52
UD(gm) x                      0.5
      =                      1.76
J7051 -                      0.19
      =                      1.57
UD(gm) -                      0.5
KQ       $                  3.14

           J7644KQ LESS 5% =        $    2.98

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY & ROXANE
                                                                                      DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM                PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE           NAME      PACKAGING            NDC NUMBER       RED BOOK RED BOOK DATE NUMBER PACKAGING    DOSAGE   UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.46   Oct-02      CD       12.5   $     1.48 12/11/2002 CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50   Oct-02      CD       12.5   $     4.52 12/11/2002 CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80   Oct-02      CD        15    $     4.52 12/11/2002 CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80   Oct-02      CD        30    $     3.96 12/11/2002 CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00   Oct-02      CD       12.5   $     4.48 12/11/2002 CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $      8.52   Oct-02      CD       12.5   $     0.68 12/11/2002 CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $      9.11   Oct-02      CD        15    $     0.61 12/11/2002 CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $     18.65   Oct-02      CD        30    $     0.62 12/11/2002 CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54   Oct-02      CD       12.5   $     1.88 12/11/2002 CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25   Oct-02      CD        30    $     1.41 12/11/2002 CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      8.97   Oct-02      CD       12.5   $     0.72 12/11/2002 CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $     11.05   Oct-02      CD        15    $     0.74 12/11/2002 CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     18.99   Oct-02      CD        30    $     0.63 12/11/2002 CH
           Generic Median =          $   1.41

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $    73.09    Oct-02      CD      12.5    $    5.85   12/11/2002     CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $    44.06    Oct-02      CD      12.5    $    3.52   12/11/2002     CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $    52.87    Oct-02      CD       15     $    3.52   12/11/2002     CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $   105.74    Oct-02      CD       30     $    3.52   12/11/2002     CH

           Lowest Brand =           $    3.52

           Allowable =              $    1.41 Updated through December 2002 Red Book updates

           Allowable less 5% =      $    1.34

KO & KP $                   1.41
UD(gm) x                      0.5
      =                      0.71
J7051 -                      0.19
      =                      0.52
UD(gm) -                      0.5
KQ       $                  1.04

           J7644KQ LESS 5% =        $    0.99

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99


NOTES:

1. Source: Electronic array, AWQ020 CD#1\J7644.xls, Tab: 2003 - 1st qtr




                                                                                                 69                                                                     2003 Q1
                                                                                                                                                                              2
             Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 70 of 75


ORIGINAL ARRAY (Per Carrier Array Documents)
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.84     Jan-03     CD       12.5   $    1.51  3/18/2003  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jan-03     CD       12.5   $    4.52  3/18/2003  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jan-03     CD        15    $    4.52  3/18/2003  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jan-03     CD        30    $    3.96  3/18/2003  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jan-03     CD       12.5   $    4.48  3/18/2003  CH
                                            Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Jan-03     CD       12.5   $    3.52  3/18/2003  CH
                                            Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Jan-03     CD        15    $    3.52  3/18/2003  CH
                                            Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Jan-03     CD        30    $    3.52  3/18/2003  CH
                                            Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Jan-03     CD        60    $    3.52  3/18/2003  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10     Jan-03     CD       12.5   $    3.53  3/18/2003  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80     Jan-03     CD        15    $    3.52  3/18/2003  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60     Jan-03     CD        30    $    3.52  3/18/2003  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jan-03     CD       12.5   $    1.88  3/18/2003  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jan-03     CD        30    $    1.41  3/18/2003  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06     Jan-03     CD       12.5   $    3.52  3/18/2003  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87     Jan-03     CD        15    $    3.52  3/18/2003  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74     Jan-03     CD        30    $    3.52  3/18/2003  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     73.09    Jan-03      CD      12.5    $    5.85   3/18/2003   CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jan-03      CD      12.5    $    3.52   3/18/2003   CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jan-03      CD       15     $    3.52   3/18/2003   CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jan-03      CD       30     $    3.52   3/18/2003   CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through March 2003 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% = $           2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY ONLY
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.84     Jan-03     CD       12.5   $    1.51  3/18/2003  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jan-03     CD       12.5   $    4.52  3/18/2003  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jan-03     CD        15    $    4.52  3/18/2003  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jan-03     CD        30    $    3.96  3/18/2003  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jan-03     CD       12.5   $    4.48  3/18/2003  CH
                                            Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Jan-03     CD       12.5   $    3.52  3/18/2003  CH
                                            Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Jan-03     CD        15    $    3.52  3/18/2003  CH
                                            Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Jan-03     CD        30    $    3.52  3/18/2003  CH
                                            Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Jan-03     CD        60    $    3.52  3/18/2003  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $      7.34     Jan-03     CD       12.5   $    0.59  3/18/2003  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $      8.26     Jan-03     CD        15    $    0.55  3/18/2003  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $     16.74     Jan-03     CD        30    $    0.56  3/18/2003  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jan-03     CD       12.5   $    1.88  3/18/2003  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jan-03     CD        30    $    1.41  3/18/2003  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06     Jan-03     CD       12.5   $    3.52  3/18/2003  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87     Jan-03     CD        15    $    3.52  3/18/2003  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74     Jan-03     CD        30    $    3.52  3/18/2003  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     73.09    Jan-03      CD      12.5    $    5.85   3/18/2003   CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jan-03      CD      12.5    $    3.52   3/18/2003   CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jan-03      CD       15     $    3.52   3/18/2003   CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jan-03      CD       30     $    3.52   3/18/2003   CH

         Lowest Brand =           $    3.52

         Allowable =              $    3.52 Updated through March 2003 Red Book updates

         Allowable less 5% =      $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.19
      =                    1.57
UD(gm) -                    0.5
KQ       $                3.14

         J7644KQ LESS 5% = $           2.98

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99




                                                                                               70                                                                          2003 Q2
                                                                                                                                                                                 1
             Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 71 of 75


REVISED ARRAY - ROXANE ONLY
                                                                                     DMERC Medication Pricing

                                      UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE        DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644     Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.84     Jan-03     CD       12.5   $    1.51  3/18/2003  CH
          Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jan-03     CD       12.5   $    4.52  3/18/2003  CH
                                             Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jan-03     CD        15    $    4.52  3/18/2003  CH
                                             Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jan-03     CD        30    $    3.96  3/18/2003  CH
                                             Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jan-03     CD       12.5   $    4.48  3/18/2003  CH
                                             Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Jan-03     CD       12.5   $    3.52  3/18/2003  CH
                                             Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Jan-03     CD        15    $    3.52  3/18/2003  CH
                                             Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Jan-03     CD        30    $    3.52  3/18/2003  CH
                                             Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Jan-03     CD        60    $    3.52  3/18/2003  CH
                                             Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10     Jan-03     CD       12.5   $    3.53  3/18/2003  CH
                                             Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80     Jan-03     CD        15    $    3.52  3/18/2003  CH
                                             Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60     Jan-03     CD        30    $    3.52  3/18/2003  CH
                                             Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jan-03     CD       12.5   $    1.88  3/18/2003  CH
                                             Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jan-03     CD        30    $    1.41  3/18/2003  CH
                                             Roxane          .02%, 2.5ml 25s        00054-8402-11   $      8.87     Jan-03     CD       12.5   $    0.71  3/18/2003  CH
                                             Roxane          .02%, 2.5ml 30s        00054-8402-13   $     10.95     Jan-03     CD        15    $    0.73  3/18/2003  CH
                                             Roxane          .02%, 2.5ml 60s        00054-8402-21   $     18.53     Jan-03     CD        30    $    0.62  3/18/2003  CH
          Generic Median =          $   3.52

                                               Atrovent
                                               (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     73.09    Jan-03      CD      12.5    $    5.85   3/18/2003   CH
                                               Ipratropium Bromide NovaPlus
                                               (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jan-03      CD      12.5    $    3.52   3/18/2003   CH
                                               (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jan-03      CD       15     $    3.52   3/18/2003   CH
                                               (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jan-03      CD       30     $    3.52   3/18/2003   CH

          Lowest Brand =           $    3.52

          Allowable =              $    3.52 Updated through March 2003 Red Book updates

          Allowable less 5% =      $    3.34

KO & KP $                  3.52
UD(gm) x                     0.5
      =                     1.76
J7051 -                     0.19
      =                     1.57
UD(gm) -                     0.5
KQ       $                 3.14

          J7644KQ LESS 5% = $           2.98

          Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY & ROXANE
                                                                                     DMERC Medication Pricing

                                      UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE        DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644     Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.84     Jan-03     CD       12.5   $    1.51  3/18/2003  CH
          Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jan-03     CD       12.5   $    4.52  3/18/2003  CH
                                             Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jan-03     CD        15    $    4.52  3/18/2003  CH
                                             Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jan-03     CD        30    $    3.96  3/18/2003  CH
                                             Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jan-03     CD       12.5   $    4.48  3/18/2003  CH
                                             Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Jan-03     CD       12.5   $    3.52  3/18/2003  CH
                                             Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Jan-03     CD        15    $    3.52  3/18/2003  CH
                                             Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Jan-03     CD        30    $    3.52  3/18/2003  CH
                                             Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Jan-03     CD        60    $    3.52  3/18/2003  CH
                                             Dey             .02%, 2.5ml 25s        49502-0685-03   $      7.34     Jan-03     CD       12.5   $    0.59  3/18/2003  CH
                                             Dey             .02%, 2.5ml 30s        49502-0685-33   $      8.26     Jan-03     CD        15    $    0.55  3/18/2003  CH
                                             Dey             .02%, 2.5ml 60s        49502-0685-60   $     16.74     Jan-03     CD        30    $    0.56  3/18/2003  CH
                                             Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jan-03     CD       12.5   $    1.88  3/18/2003  CH
                                             Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jan-03     CD        30    $    1.41  3/18/2003  CH
                                             Roxane          .02%, 2.5ml 25s        00054-8402-11   $      8.87     Jan-03     CD       12.5   $    0.71  3/18/2003  CH
                                             Roxane          .02%, 2.5ml 30s        00054-8402-13   $     10.95     Jan-03     CD        15    $    0.73  3/18/2003  CH
                                             Roxane          .02%, 2.5ml 60s        00054-8402-21   $     18.53     Jan-03     CD        30    $    0.62  3/18/2003  CH
          Generic Median =          $   1.88

                                               Atrovent
                                               (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     73.09    Jan-03      CD      12.5    $    5.85   3/18/2003   CH
                                               Ipratropium Bromide NovaPlus
                                               (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jan-03      CD      12.5    $    3.52   3/18/2003   CH
                                               (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jan-03      CD       15     $    3.52   3/18/2003   CH
                                               (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jan-03      CD       30     $    3.52   3/18/2003   CH

          Lowest Brand =           $    3.52

          Allowable =              $    1.88 Updated through March 2003 Red Book updates

          Allowable less 5% =      $    1.79

KO & KP $                  1.88
UD(gm) x                     0.5
      =                     0.94
J7051 -                     0.19
      =                     0.75
UD(gm) -                     0.5
KQ       $                 1.50

          J7644KQ LESS 5% = $           1.43

          Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99


NOTES:

1. Source: Electronic array, AWQ020 CD#1\J7644.xls, Tab: 2003 - 2nd qtr




                                                                                                71                                                                          2003 Q2
                                                                                                                                                                                  2
             Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 72 of 75


ORIGINAL ARRAY (Per Carrier Array Documents)
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.84     Apr-03     CD       12.5   $    1.51   6/6/2003  AG
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Apr-03     CD       12.5   $    4.52   6/6/2003  AG
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Apr-03     CD        15    $    4.52   6/6/2003  AG
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Apr-03     CD        30    $    3.96   6/6/2003  AG
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Apr-03     CD       12.5   $    4.48   6/6/2003  AG
                                            Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Apr-03     CD       12.5   $    3.52   6/6/2003  AG
                                            Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Apr-03     CD        15    $    3.52   6/6/2003  AG
                                            Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Apr-03     CD        30    $    3.52   6/6/2003  AG
                                            Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Apr-03     CD        60    $    3.52   6/6/2003  AG
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10     Apr-03     CD       12.5   $    3.53   6/6/2003  AG
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80     Apr-03     CD        15    $    3.52   6/6/2003  AG
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60     Apr-03     CD        30    $    3.52   6/6/2003  AG
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Apr-03     CD       12.5   $    1.88   6/6/2003  AG
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Apr-03     CD        30    $    1.41   6/6/2003  AG
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06     Apr-03     CD       12.5   $    3.52   6/6/2003  AG
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87     Apr-03     CD        15    $    3.52   6/6/2003  AG
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74     Apr-03     CD        30    $    3.52  6/19/2003  AG
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     84.06    Apr-03      CD      12.5    $    6.72   6/19/2003   AG
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Apr-03      CD      12.5    $    3.52   6/19/2003   AG
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Apr-03      CD       15     $    3.52   6/19/2003   AG
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Apr-03      CD       30     $    3.52   6/19/2003   AG

         Lowest Brand =           $    3.52

         AWP =                    $    3.52 Updated through April 2003 Red Book Quarterly CD

         AWP less 5% =            $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.15
      =                    1.61
UD(gm) -                    0.5
KQ       $                3.22

         J7644KQ LESS 5% = $           3.06

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY ONLY
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.84     Apr-03     CD       12.5   $    1.51   6/6/2003  AG
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Apr-03     CD       12.5   $    4.52   6/6/2003  AG
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Apr-03     CD        15    $    4.52   6/6/2003  AG
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Apr-03     CD        30    $    3.96   6/6/2003  AG
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Apr-03     CD       12.5   $    4.48   6/6/2003  AG
                                            Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Apr-03     CD       12.5   $    3.52   6/6/2003  AG
                                            Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Apr-03     CD        15    $    3.52   6/6/2003  AG
                                            Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Apr-03     CD        30    $    3.52   6/6/2003  AG
                                            Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Apr-03     CD        60    $    3.52   6/6/2003  AG
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $      6.86     Apr-03     CD       12.5   $    0.55   6/6/2003  AG
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $      7.91     Apr-03     CD        15    $    0.53   6/6/2003  AG
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $     15.78     Apr-03     CD        30    $    0.53   6/6/2003  AG
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Apr-03     CD       12.5   $    1.88   6/6/2003  AG
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Apr-03     CD        30    $    1.41   6/6/2003  AG
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06     Apr-03     CD       12.5   $    3.52   6/6/2003  AG
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87     Apr-03     CD        15    $    3.52   6/6/2003  AG
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74     Apr-03     CD        30    $    3.52  6/19/2003  AG
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     84.06    Apr-03      CD      12.5    $    6.72   6/19/2003   AG
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Apr-03      CD      12.5    $    3.52   6/19/2003   AG
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Apr-03      CD       15     $    3.52   6/19/2003   AG
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Apr-03      CD       30     $    3.52   6/19/2003   AG

         Lowest Brand =           $    3.52

         AWP =                    $    3.52 Updated through April 2003 Red Book Quarterly CD

         AWP less 5% =            $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.15
      =                    1.61
UD(gm) -                    0.5
KQ       $                3.22

         J7644KQ LESS 5% = $           3.06

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99




                                                                                               72                                                                          2003 Q3
                                                                                                                                                                                 1
             Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 73 of 75


REVISED ARRAY - ROXANE ONLY
                                                                                      DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.84     Apr-03     CD       12.5   $    1.51   6/6/2003  AG
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Apr-03     CD       12.5   $    4.52   6/6/2003  AG
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Apr-03     CD        15    $    4.52   6/6/2003  AG
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Apr-03     CD        30    $    3.96   6/6/2003  AG
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Apr-03     CD       12.5   $    4.48   6/6/2003  AG
                                              Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Apr-03     CD       12.5   $    3.52   6/6/2003  AG
                                              Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Apr-03     CD        15    $    3.52   6/6/2003  AG
                                              Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Apr-03     CD        30    $    3.52   6/6/2003  AG
                                              Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Apr-03     CD        60    $    3.52   6/6/2003  AG
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10     Apr-03     CD       12.5   $    3.53   6/6/2003  AG
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80     Apr-03     CD        15    $    3.52   6/6/2003  AG
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60     Apr-03     CD        30    $    3.52   6/6/2003  AG
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Apr-03     CD       12.5   $    1.88   6/6/2003  AG
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Apr-03     CD        30    $    1.41   6/6/2003  AG
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      8.94     Apr-03     CD       12.5   $    0.72   6/6/2003  AG
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $     10.78     Apr-03     CD        15    $    0.72   6/6/2003  AG
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     20.25     Apr-03     CD        30    $    0.68  6/19/2003  AG
           Generic Median =          $   3.52

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     84.06    Apr-03      CD      12.5    $    6.72   6/19/2003   AG
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Apr-03      CD      12.5    $    3.52   6/19/2003   AG
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Apr-03      CD       15     $    3.52   6/19/2003   AG
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Apr-03      CD       30     $    3.52   6/19/2003   AG

           Lowest Brand =           $    3.52

           AWP =                    $    3.52 Updated through April 2003 Red Book Quarterly CD

           AWP less 5% =            $    3.34

KO & KP $                   3.52
UD(gm) x                      0.5
      =                      1.76
J7051 -                      0.15
      =                      1.61
UD(gm) -                      0.5
KQ       $                  3.22

           J7644KQ LESS 5% = $           3.06

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY & ROXANE
                                                                                      DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.84     Apr-03     CD       12.5   $    1.51   6/6/2003  AG
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Apr-03     CD       12.5   $    4.52   6/6/2003  AG
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Apr-03     CD        15    $    4.52   6/6/2003  AG
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Apr-03     CD        30    $    3.96   6/6/2003  AG
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Apr-03     CD       12.5   $    4.48   6/6/2003  AG
                                              Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Apr-03     CD       12.5   $    3.52   6/6/2003  AG
                                              Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Apr-03     CD        15    $    3.52   6/6/2003  AG
                                              Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Apr-03     CD        30    $    3.52   6/6/2003  AG
                                              Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Apr-03     CD        60    $    3.52   6/6/2003  AG
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $      6.86     Apr-03     CD       12.5   $    0.55   6/6/2003  AG
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $      7.91     Apr-03     CD        15    $    0.53   6/6/2003  AG
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $     15.78     Apr-03     CD        30    $    0.53   6/6/2003  AG
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Apr-03     CD       12.5   $    1.88   6/6/2003  AG
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Apr-03     CD        30    $    1.41   6/6/2003  AG
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      8.94     Apr-03     CD       12.5   $    0.72   6/6/2003  AG
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $     10.78     Apr-03     CD        15    $    0.72   6/6/2003  AG
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     20.25     Apr-03     CD        30    $    0.68  6/19/2003  AG
           Generic Median =          $   1.88

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     84.06    Apr-03      CD      12.5    $    6.72   6/19/2003   AG
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Apr-03      CD      12.5    $    3.52   6/19/2003   AG
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Apr-03      CD       15     $    3.52   6/19/2003   AG
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Apr-03      CD       30     $    3.52   6/19/2003   AG

           Lowest Brand =           $    3.52

           AWP =                    $    1.88 Updated through April 2003 Red Book Quarterly CD

           AWP less 5% =            $    1.79

KO & KP $                   1.88
UD(gm) x                      0.5
      =                      0.94
J7051 -                      0.15
      =                      0.79
UD(gm) -                      0.5
KQ       $                  1.58

           J7644KQ LESS 5% = $           1.50

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99


NOTES:

1. Source: Electronic array, AWQ020 CD#1\J7644.xls, Tab: 2003 - 3rd qtr




                                                                                                 73                                                                          2003 Q3
                                                                                                                                                                                   2
             Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 74 of 75


ORIGINAL ARRAY (Per Carrier Array Documents)
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.83     Jul-03     CD       12.5   $    1.51   9/2/2003  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jul-03     CD       12.5   $    4.52   9/2/2003  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jul-03     CD        15    $    4.52   9/2/2003  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jul-03     CD        30    $    3.96   9/2/2003  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jul-03     CD       12.5   $    4.48   9/2/2003  CH
                                            Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Jul-03     CD       12.5   $    3.52   9/2/2003  CH
                                            Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Jul-03     CD        15    $    3.52   9/2/2003  CH
                                            Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Jul-03     CD        30    $    3.52   9/2/2003  CH
                                            Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Jul-03     CD        60    $    3.52   9/2/2003  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10     Jul-03     CD       12.5   $    3.53   9/2/2003  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80     Jul-03     CD        15    $    3.52   9/2/2003  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60     Jul-03     CD        30    $    3.52   9/2/2003  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jul-03     CD       12.5   $    1.88   9/2/2003  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jul-03     CD        30    $    1.41   9/2/2003  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06     Jul-03     CD       12.5   $    3.52   9/2/2003  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87     Jul-03     CD        15    $    3.52   9/2/2003  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74     Jul-03     CD        30    $    3.52   9/2/2003  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     84.06    Jul-03      CD      12.5    $    6.72   9/2/2003   CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jul-03      CD      12.5    $    3.52   9/2/2003   CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jul-03      CD       15     $    3.52   9/2/2003   CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jul-03      CD       30     $    3.52   9/2/2003   CH

         Lowest Brand =           $    3.52

         AWP =                    $    3.52 Updated through July 2003 Red Book Quarterly CD

         AWP less 5% =            $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.15
      =                    1.61
UD(gm) -                    0.5
KQ       $                3.22

         J7644KQ LESS 5% = $           3.06

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY ONLY
                                                                                    DMERC Medication Pricing

                                     UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE       DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644    Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.83     Jul-03     CD       12.5   $    1.51   9/2/2003  CH
         Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jul-03     CD       12.5   $    4.52   9/2/2003  CH
                                            Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jul-03     CD        15    $    4.52   9/2/2003  CH
                                            Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jul-03     CD        30    $    3.96   9/2/2003  CH
                                            Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jul-03     CD       12.5   $    4.48   9/2/2003  CH
                                            Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Jul-03     CD       12.5   $    3.52   9/2/2003  CH
                                            Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Jul-03     CD        15    $    3.52   9/2/2003  CH
                                            Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Jul-03     CD        30    $    3.52   9/2/2003  CH
                                            Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Jul-03     CD        60    $    3.52   9/2/2003  CH
                                            Dey             .02%, 2.5ml 25s        49502-0685-03   $      6.19     Jul-03     CD       12.5   $    0.50   9/2/2003  CH
                                            Dey             .02%, 2.5ml 30s        49502-0685-33   $      6.83     Jul-03     CD        15    $    0.46   9/2/2003  CH
                                            Dey             .02%, 2.5ml 60s        49502-0685-60   $     13.61     Jul-03     CD        30    $    0.45   9/2/2003  CH
                                            Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jul-03     CD       12.5   $    1.88   9/2/2003  CH
                                            Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jul-03     CD        30    $    1.41   9/2/2003  CH
                                            Roxane          .02%, 2.5ml 25s        00054-8402-11   $     44.06     Jul-03     CD       12.5   $    3.52   9/2/2003  CH
                                            Roxane          .02%, 2.5ml 30s        00054-8402-13   $     52.87     Jul-03     CD        15    $    3.52   9/2/2003  CH
                                            Roxane          .02%, 2.5ml 60s        00054-8402-21   $    105.74     Jul-03     CD        30    $    3.52   9/2/2003  CH
         Generic Median =          $   3.52

                                              Atrovent
                                              (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     84.06    Jul-03      CD      12.5    $    6.72   9/2/2003   CH
                                              Ipratropium Bromide NovaPlus
                                              (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jul-03      CD      12.5    $    3.52   9/2/2003   CH
                                              (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jul-03      CD       15     $    3.52   9/2/2003   CH
                                              (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jul-03      CD       30     $    3.52   9/2/2003   CH

         Lowest Brand =           $    3.52

         AWP =                    $    3.52 Updated through July 2003 Red Book Quarterly CD

         AWP less 5% =            $    3.34

KO & KP $                 3.52
UD(gm) x                    0.5
      =                    1.76
J7051 -                    0.15
      =                    1.61
UD(gm) -                    0.5
KQ       $                3.22

         J7644KQ LESS 5% = $           3.06

         Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99




                                                                                               74                                                                         2003 Q4
                                                                                                                                                                                1
             Case 1:01-cv-12257-PBS Document 6970-3 Filed 03/12/10 Page 75 of 75


REVISED ARRAY - ROXANE ONLY
                                                                                      DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.83     Jul-03     CD       12.5   $    1.51   9/2/2003  CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jul-03     CD       12.5   $    4.52   9/2/2003  CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jul-03     CD        15    $    4.52   9/2/2003  CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jul-03     CD        30    $    3.96   9/2/2003  CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jul-03     CD       12.5   $    4.48   9/2/2003  CH
                                              Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Jul-03     CD       12.5   $    3.52   9/2/2003  CH
                                              Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Jul-03     CD        15    $    3.52   9/2/2003  CH
                                              Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Jul-03     CD        30    $    3.52   9/2/2003  CH
                                              Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Jul-03     CD        60    $    3.52   9/2/2003  CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $     44.10     Jul-03     CD       12.5   $    3.53   9/2/2003  CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $     52.80     Jul-03     CD        15    $    3.52   9/2/2003  CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $    105.60     Jul-03     CD        30    $    3.52   9/2/2003  CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jul-03     CD       12.5   $    1.88   9/2/2003  CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jul-03     CD        30    $    1.41   9/2/2003  CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      8.82     Jul-03     CD       12.5   $    0.71   9/2/2003  CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $      9.80     Jul-03     CD        15    $    0.65   9/2/2003  CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     21.50     Jul-03     CD        30    $    0.72   9/2/2003  CH
           Generic Median =          $   3.52

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     84.06    Jul-03      CD      12.5    $    6.72   9/2/2003   CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jul-03      CD      12.5    $    3.52   9/2/2003   CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jul-03      CD       15     $    3.52   9/2/2003   CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jul-03      CD       30     $    3.52   9/2/2003   CH

           Lowest Brand =           $    3.52

           AWP =                    $    3.52 Updated through July 2003 Red Book Quarterly CD

           AWP less 5% =            $    3.34

KO & KP $                   3.52
UD(gm) x                      0.5
      =                      1.76
J7051 -                      0.15
      =                      1.61
UD(gm) -                      0.5
KQ       $                  3.22

           J7644KQ LESS 5% = $           3.06

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99

REVISED ARRAY - DEY & ROXANE
                                                                                      DMERC Medication Pricing

                                       UNIT   PRICE LIST DRUG     LISTED                              AWP FROM     RED BOOK    PAGE   UNITS PER COST/UNIT DATE LAST UPDATED
  CODE         DESCRIPTION           DOSAGE          NAME       PACKAGING            NDC NUMBER       RED BOOK       DATE     NUMBER PACKAGING DOSAGE      UPDATED    BY
J7644      Ipratropium Bromide      1 mg      Allscripts      .02%, 2.5ml 25s        54569-4910-00   $     18.83     Jul-03     CD       12.5   $    1.51   9/2/2003  CH
           Unit dose                          Alpharma USPD   .02%, 2.5ml 25s        00472-0751-23   $     56.50     Jul-03     CD       12.5   $    4.52   9/2/2003  CH
                                              Alpharma USPD   .02%, 2.5ml 30s        00472-0751-30   $     67.80     Jul-03     CD        15    $    4.52   9/2/2003  CH
                                              Alpharma USPD   .02%, 2.5ml 60s        00472-0751-60   $    118.80     Jul-03     CD        30    $    3.96   9/2/2003  CH
                                              Apotex Corp.    .02%, 2.5ml 25s        60505-0806-01   $     56.00     Jul-03     CD       12.5   $    4.48   9/2/2003  CH
                                              Aslung          .02%, 2.5ml 25s        65271-0001-25   $     44.00     Jul-03     CD       12.5   $    3.52   9/2/2003  CH
                                              Aslung          .02%, 2.5ml 30s        65271-0001-30   $     52.80     Jul-03     CD        15    $    3.52   9/2/2003  CH
                                              Aslung          .02%, 2.5ml 60s        65271-0001-60   $    105.60     Jul-03     CD        30    $    3.52   9/2/2003  CH
                                              Aslung          .02%, 2.5ml 120s       65271-0001-12   $    211.20     Jul-03     CD        60    $    3.52   9/2/2003  CH
                                              Dey             .02%, 2.5ml 25s        49502-0685-03   $      6.19     Jul-03     CD       12.5   $    0.50   9/2/2003  CH
                                              Dey             .02%, 2.5ml 30s        49502-0685-33   $      6.83     Jul-03     CD        15    $    0.46   9/2/2003  CH
                                              Dey             .02%, 2.5ml 60s        49502-0685-60   $     13.61     Jul-03     CD        30    $    0.45   9/2/2003  CH
                                              Phys Total Care .02%, 2.5ml 25s        54868-4082-01   $     23.54     Jul-03     CD       12.5   $    1.88   9/2/2003  CH
                                              Phys Total Care .02%, 2.5ml 60s        54868-4082-00   $     42.25     Jul-03     CD        30    $    1.41   9/2/2003  CH
                                              Roxane          .02%, 2.5ml 25s        00054-8402-11   $      8.82     Jul-03     CD       12.5   $    0.71   9/2/2003  CH
                                              Roxane          .02%, 2.5ml 30s        00054-8402-13   $      9.80     Jul-03     CD        15    $    0.65   9/2/2003  CH
                                              Roxane          .02%, 2.5ml 60s        00054-8402-21   $     21.50     Jul-03     CD        30    $    0.72   9/2/2003  CH
           Generic Median =          $   1.88

                                                Atrovent
                                                (Boehr Ingelheim) .02%, 2.5ml 25s    00597-0080-62   $     84.06    Jul-03      CD      12.5    $    6.72   9/2/2003   CH
                                                Ipratropium Bromide NovaPlus
                                                (Roxane)           .02%, 2.5ml 25s   00054-8404-11   $     44.06    Jul-03      CD      12.5    $    3.52   9/2/2003   CH
                                                (Roxane)           .02%, 2.5ml 30s   00054-8404-13   $     52.87    Jul-03      CD       15     $    3.52   9/2/2003   CH
                                                (Roxane)           .02%, 2.5ml 60s   00054-8404-21   $    105.74    Jul-03      CD       30     $    3.52   9/2/2003   CH

           Lowest Brand =           $    3.52

           AWP =                    $    1.88 Updated through July 2003 Red Book Quarterly CD

           AWP less 5% =            $    1.79

KO & KP $                   1.88
UD(gm) x                      0.5
      =                      0.94
J7051 -                      0.15
      =                      0.79
UD(gm) -                      0.5
KQ       $                  1.58

           J7644KQ LESS 5% = $           1.50

           Compumed(Atrovent) product removed from array per October 1999 CD item deactivated 6/8/99


NOTES:

1. Source: Electronic array, AWQ020 CD#1\J7644.xls, Tab: 2003 - 4th qtr




                                                                                                 75                                                                         2003 Q4
                                                                                                                                                                                  2
